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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
       ________________x
       L. Davies

                                       Plaintiff,

                           -against-                             FOURTH AMENDED

       The Corporation of the City of New York;                     COMPLAINT

       NYPD Defendants: (Tax# in parentheses)                   17-CV-4519 (AMD) (ST)
       Sir William Bratton,
       Commissioner James O'Neill,
       Commissioner (Office)
       Chief of Staff (for Commissioner Bratton)
               John or Jane Doe 1
       Chief of Staff (for Commissioner O'Neill)
               John or Jane Doe 2
       Police Administration Staff
               John or Jane Does (Twenty)
       Police Operations Staff and Senior Systems
               Administrators J. Does (Ten)
       Deputy Commissioner Reznick,
       Deputy Commissioner IAB (Office)
       IAB Command Center (all command or
               critical operations personnel
               John or Janes Yoes (Twenty)
       Internal Affairs Senior Management
               John or Janes Yoes (15))
       Deputy Commissioner, Information
               Technology Jessica Tisch
       Deputy Commissioner, Counsel to Police
               Commissioner Ashley Waters
       Deputy Commissioner, Legal Matters
               Ernest F. Hart
       Staff of Deputy Commissioner, Legal
               Matters (Does [])
       Deputy Commissioner, Risk Management
               Jeffrey Schlanger
       Deputy Commissioner of Intelligence
               John Miller
       Deputy Commissioner, Trials
               Rosemarie Maldonado
       Retired Chief of Department Carlos Gomez


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       Chief of Department Terence Monahan
       Chief of Department (Office)
       Chief of Department Senior Management
              (John or Jane Does (Fifteen)
       Chief of Patrol Terence Monahan
       Chief of Patrol (Office)
       Chief of Patrol Rodney Harrison
       Management at Chief of Patrol
              (John or Jane Does Ten)
       Chief of Detectives Dermot F. Shea
       Chief of Intelligence Thomas Galati
       Chief of Personnel William Morris
       IAB teams preparing annual reports to the
              annual post-Mollen (J. Yoes Twelve):
       Chief and supervisors of the IAB team
              preparing annual reports to the
              annual post-Mollen (J. Yoes Nine)
       Other Police-Administrator Racketeers
       IAB Complaint Managers (and persons of
              pertaining or related duties
              (John or Jane Yoes 6 Twelve)
       Supervisor(s) and Trainers of Chieflnsp.
              S. Henderson (Does (Six)
       Supervisors of Lts. Gluf and Parese
              (John or Jane Yoes (Six)
       Chief Inspector Scott Henderson
       Police waiting at 81 st Precinct at 8:15 p.m.
                     1\
              Oct. 81 2014 upon Plaintiff arrival
              (i\ 29: John Does (Ten)
       Other 81 st Precinct police7 involved after
              8:15 p.m.; John Does (Nine)
       Lieutenant "Gluf' (Brooklyn IAB)
       Lieutenant J. Parese [spelling unknown]
       Lieutenant Richard Matellino
       Lieutenant "Picoulli" (IAB)
       End-of-Bratton
       Managers8 & Supervisors of Sergeant
              Rosello in summer of2017


       6
         Including the IAB superior(s) whom the tall, slight-haired IAB Detective at Manhattan
       IAB HQ: referred 2015 IAB-complaint concerning Lt. Blake certainty that Sergeant
       Brown was not on duty on the evening of October 811\ 2014 having triple checked all
       paperwork of that day (J Doe 52-55)
       7
         Processor and police member stating there was no record identifying who had
       yerformed the removing-seizure of Plaintiff to the 81 st .
         regarding orders given to Sgt. Rosello regarding Sgt. Rosello's recorded call to Plaintiff
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                (Does (Seven)
       "Brooklyn North" Command of2015-2016
                (J. Does Five)
       Police assigned IAB investigation at
                Brooklyn North (J. Does Eight)
       Sergeant Shaun Brown
       Sergeant Rosello
       Sergeant Brazys
       Sergeant Fishman, Louis (922347)
       Sergeants signing as if supervising signing
                of"D00007 #1 (J. Doe) and
                #2 (J. Doe)
       Memo book supervisors 81 st Precinct
                signatories (illegible)
       NYPD Liaison with CCRB Inspector Butler :
                (J. Doe(s) [])
       Supervisors and Trainers ofNYPD Liaison
                with CCRB Inspector Butler
                (J. Does)
       Michael Culkin (897277)
       Supervisors and Trainers of
                M. Culkin (J. Does)
       Detective Glenn Tomasello (926214)
       Supervisors and Trainers of G. Tomasello
                (J. Does)
       NYPD "Liaison" to Corporate Counsel
       Supervisors and Trainers ofNYPD
                "Liaison" to Corporate Counsel
                (J. Does)
       Officer Carraciolo, Michael (950158)
       Supervisors and Trainers of M. Carracciolo
                (J. Does)
       Officer Casciola, Gerald (950168)
       Supervisors and Trainers of G. Cascio la
                (J. Does)
       Officer Hellberg
       Supervisors and Trainers of Hellberg
                (J. Does)
       Police overseeing or approving vulnerable
                police records and data at all recent
                times of review
       Police database operators and administrators :
                (J. Does)
       81 st Precinct Dispatch Operators

       Additional Does (X)& Yoes (Y);


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       King's County (District) Attorney's Office:
       King's County (District) Attorney
       Supervisor(s) and Trainers of Defendant
              Anthony Barosi
              (J. Roe 1-4)
       Supervisor(s) and Trainers of Defendant
              J. Scarcella (J. Roe 5-8)
       Supervisor(s) and Trainers of Defendant
              M. Midey (J. Roe 9-12)
       Supervisor(s) and Trainers of Defendant
              T. Middleton (J. Roe 13-16)
       Supervisor(s) and Trainers of Defendant
              Parugia (J. Roe 17-20)
       Supervisor(s) and Trainers of other involved:
              or of pertaining duties Defendant
              KCDA attorneys (J. Roe 21-31)
       Manager or liaison of primary Autumn of
              2015 KCDA attorney representing
              the State, i.e. the "penultimate"9
               (J. Roe 32-34)
       Communicator(s) with John Gutman
              (J. Roe 35-36)
       Anthony Barosi
       Persons of duties witnessing Barosi (and


       9
         Corporate counsel continues to refuse to identify this Defendant among persons
       specifically requested for identification amounting to injunction-meriting DaCosta
       violations against Rosenkilde, Fudim, and Carter of the Corporation Counsel as Plaintiff
       has prepared, but had to defer to attend to the instant Statement (Plaintiff has long
       (without the proper name) referred to this male KCDA attorney (whom Plaintiff would
       certainly recognize and who was potentially not of ADA rank in 2015) as "the
       penultimate" for the pivotal significance of this KCDA attorney's court record admission
       of "Brady violation" obstructions among those KCDA had overtly reinforced for over a
       year against Plaintiff at the request and directive of police Defendants, et cetera (an act
       the penultimate was forced to do by another (see 'I] 30)); penultimancy being particularly
       important as the penultimate essentially declared Plaintiff to be a victim and invoked
       protocol that an additional appearance would be appropriate upon some inquiry KCDA
       would be obligated to perform regarding malicious prosecution (the penultimate did not
       reappear at the withdrawal-(see Count [])-the final KCDA representative was
       consistent with the penultimate, but seemed to lack having being the most knowledgeable
       person and rather merely a message carrier (as a defensive tactic by KCDA-there was
       no promised follow-up to the Court concerning the penultimate's (ashamed and reluctant)
       describing the penultimate's of duty to investigate defrauding of the King's County court)
       in saying, in sum and substance, the evidence required full withdrawal by the State on all
       City assertions against Plaintiff).
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              otherwise witnessing and
              participating in KCDA racketeering
              operations and corruption tort
              (J. Roe 37-50)
       ADA Jacqueline Scarcella
       ADA Matthew Midey
       ADA Tyear Middleton
       ADA Parugia                               :
                          10
       "The penultimate" (supra; KCDA attorney):
              (John Roe 51)
       Other KCDA attorneys involved or of
              pertaining duties (J. Roes 52-66
       Mr. Waters
       Other John and Jane Roes (W);

       CCRB Defendants:
       The Civilian Complaint Review Board
       Trainers of J. Butler
              (J. Soe 1-2)
       Christopher DeNitto
       Inspector J. Butler
       Additional John or Jane Soes (Z);


       Corporation Counsel (municipal entity)
       Zachary Carter

       (W, X, Y, Z (supra; additional Does, Roes,
              Yoes, and Soes are of number
              unknownable-without discovery)

                                      Defendants. 11

       10
          See Footnote 6, supra
       11
          Individual liabilities specifications have been commenced at ,i 781. In addition to
       being defendants in an individual capacity-each is a defendant by the official capacity
       to a full extent the latter is not superfluous given the municipal corporation of the City is
       a Defendant. Individual Defendants may find the indentification of Claims against them
       at ,i,i [after Claims] and ,i,i [] collect all Claims against the Municipality. Plaintiff does
       not name the 9-1-1 operators on duty on the [all operators] evening of October 81\ 2014
       as Plaintiff believes the entries in their names which Defendants Admit are fabrication
       have nothing to do with them other then those operators having worked at that time, i.e.
       that the Admitted fabrication was done without their knowledge. Other persons to be
       deposed may need to become Defendants even though to Plaintiffs best lmowledge at
       present, those persons may or should not need to be named as Defendants-see ,i [prior to
       the supra] regarding Plaintiffs considerations regarding the identification of individual
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       -----------------X
       1.     The instant Action obtained and obtains original Article III jurisdiction under:

              Title 28 of the United States Code§§ 1331, 1332, & 1343-as well as pendant

              jurisdiction of State law 12 via 28 U.S.C. § 1367; Title 42, which concerns The

              Public Health and Welfare, §§ 1981, 1983, 1985, 1988, 13 & 1989; and Title 18,

              [obstruction] including The Organized Crime Control Act of 1970 §§ 1961, 1962,

              1964, & 1965 [attorney fee [Footnote 4]]];. Regarding venue: most or, perhaps,

              all Defendants' being in New York, including the City of New York, is the

              greatest determining factor for a N.Y. D.C., particularly the present venue, E.D.

              N.Y., one of the City-inclusive districts.


       Defendants, including reasons against naming potential Defendants for such as Plaintiffs
       belief that individual Defendants are doing their best to avoid or mitigation tort against
       Plaintiff and the public under duress from Defendants. [Reference ,i BtoC (given the
       fraudulent and fabricated ). See ,i 20 regarding definitions and use of abbreviations-
       many of which apply to Defendants and Defendant groups. Specifications of liability
       imposed by each person of the Defendants is indicated at ,i,i [end of Claims].
       12
          Legal-categories of common-law Cause of Action are stated at ,i,i [list of certain from
       10l-149][if diverse, describe with reference to the identified]
       13
          Attorney fees jurisdiction is necessary under Titles 42 and 18 of the U.S.C. (or
       otherwise) as the Plaintiff Party is entitled to recovery of the billable hours expended in
       the enacting and conduct of suit-including homs billable described by Mr. Stancati as
       amounting to a bill around $$ 60,000-85,000 (as well as any additional attorney hours
       representing Plaintiff by an eligibile attorney as well as any other attorneys potentially
       retained in the course of Proceedings). It is worth currently noting. that per the 8
       February 2018 agreement of Mr. Stancati and Mr. Benson-Staebler, before this Court, to
       resolve Mr. Stancati's termination; Mr. Stancati is limited to receive a set maximum of
       $17,500 (the amount Mr. Stancati and Mr. Rosenkilde (Corporate Counsel) had bargained
       for Mr. Stancati to receive through Plaintiff amid Mr. Stancati' s extreme fiduciary
       obligations pertaining to the Action's damages to bunt the Action for the benefit of
       Defendants-i.e. Mr. Stancati's former and aspired employer (Defendant Corporation
       Counsel). The whole (or remainder) of the recovery under § 1988 pertaining to Mr.
       Stancati-who explicitly refused to provide documentation of billable hours as well as
       fufill other fiducirary obligations in transition-should be fairly retained by Plaintiff
       prope persona (consideration as compensation for various prejudicing conduct by Mr.
       Stancati could be more specifically considered with regard to Defendants' various role
       and participation in fraudulent conduct by Mr. Stancati violating basic fiduciary law).
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       2.      To simplify the statement of the Complaint: various abbreviation is used (FRCiP,
               14
                    O.F.C., 15 CoA, 16 as well as abbreviation for Defendant bureaucratic divisions
                              17             18
               ("KCDA              IAB            CoD " 19 "NYPD " 20 "CoP " 21 "CCRB " 22 )         and in certain
                          '              '            '           '        '                '    '
               abbreviations by paragraph number outlined at                   ~   20) and certain specific acts or



       14
           (the) Federal Rules of Civil Procedure
       15
           Originally Filed Complaint. Plaintiffs prope persona amendment process could
        largely be considered the proper restoration of the instant Action to the Complaint
        statement filed in 2015 to King's County court (major updates being the application of
        law (the O.F.C. lacked any legal observation or analysis simply making lay facts of
        KCDA, IAB, et alia Defendants' crimes injuring Plaintiff rasing the need for Plaintiffs
        damages and injunctive reform of operating municipal law enforcement. The attorney
       who picked up Plaintiff as a client through a friend of Plaintiff upon Defendants' being
       forced to withdraw the fraudulent, et cetera, action against Plaintiff, stalled (for a total net
       of about two years) and then unilaterally bunted the statement of the Action without
       explanation before committing more overt and extreme fiduciary violations for the
       benefit of Defendants and Corporation Counsel, that attorney's former and aspired-for-
       future employer (Plaintiff did not even know the extent of that attorney's outrageous
       ficuiary violations when there was more than sufficient basis for Plaintiff to take a lawyer
       friend's advice (familiar enough with Plaintiff to know that Plaintiff was capable of
       reading law, et cetera) to fire that attorney and figure out bring the Action pro se.
       Defendants have always possessed the O.F.C. since Plaintiff was first instructed of the
       need (and existence of the very principle, for that matter) of serving Defendants (i.e.
       KCDA) a copy of the O.F.C. (which was prior to the termination of Kafka-esque
       coercion by Defendants which clearly equitably estopped all limitations.
       16
          Categories of legal action by the whole variety of bases of Claims are brought (see
       Footnote 27, infra)
       17
          (the) King's County (District) Attorney: either the incumbency, the incumbent, or the
       bureau, e.g KCDA attorney-an attorney representing the KCDA: Corporation Counsel
       was aware of Plaintiffs intent to civilly prosecute the police-instructed-and-designed
       tortfeasance of the many involved KCD A (one or two exceptions)
       18
          for the Internal Affairs Bureau (sometimes including lower internal investigation
       divisions to be specified further upon discovery) of the NYPD; at times, the Internal
       Affairs Bureau satellite affiliate "integrity" staff in are referred to as "IAB" (as
       distinctions pertaining to relevant individuals have not been explained by the possessors
       of such information, Defendants)
       19
          Chief of Department (as either the bureau, the office as occupied by an incumbent, or
       that incumbent) of the NYPD,
       20
          for the New York Police Depaitment
       21
          Chief of Patrol
       22
          Civilian Complaint Review Board (entity (of the municipality under the City Charter)
       or its individual members)
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              events of tort, et alia, are, here, defined (information-assemblage, 23 furtherance
                       24        · ·                    25                           26
              array,        constitut10na1 -operator,        corruption blue wall,        opening and
                                                                                          27              28
              completion of racketeering and corruption posse commitatus,                      ejectum,




       23
         the compilation of materials generated by police Defendants at KCDA which was full
       of red flags prompting duties that were failed by KCDA attorneys to work with it or
       represent it, et cetera. It was created to be defaming and injuring Plaintiff and thus
       naturally increasing damages to Plaintiff with any or every publication, should not be
       published to the Docket, but treated with appropriate care to prevent aggravation and
       continuing injuries to Plaintiff caused by Defendants' injuring to Plaintiff. Plaintiff will
       subsequently discuss as necessary.
       24
          Coordinated racketeering and organized corruption furtherance (i.e. tort to advance the
       objectives, or to support, already committed, initiated, or planned tort. Both for the sake
       of managing maintaining or administering racket and organized corruption operability,
       systems, or capacity of the Defendant Corporation and with regard to finishing off
       victims or achieving particular objectives.
       25
          The person at KCDA who forced KCDA Defendants to admit Brady-violation
       obstmction and fold case with suspicion cast (at least) on police Defendants with Ms.
       Obi.
       26
          Racket (enterprise participants) and organized cormption coordination, collaboration,
       assistance, hand-off, responsive to racket or corruption participant's request for role
       f7erformance of (or pertaining to) furtherance array tort
          Police sex bribery contract to which Ms. Obi was recruit and upon which Ms. Obi and
       Defendant Brown bargained involved Ms. Obi opening (when theft, harassment, or other
       crime of Ms. Obi was felt to be needed to be escalated into physical violence upon the
       corruption and racketeering victim) and completed upon Ms. Obi's call to Defendant
       Brown for Defendant Brown to appear.
       28
          Ms. Obi ejected data storage (the "ejectum") that Ms. Obi stated contained criminal
       material Ms. Obi consistently of tampered misappropriated material from Plaintiff (of a
       nature that was enhanced by Ms. Obi's admitted and harassingly discussed secret and
       unprivileged or defensible (as Ms. Obi admitted) invasions into Plaintiffs chattels to read
       Plaintiffs text messages with women, et cetera) that Plaintiff had on a previous day
       warned gave Plaintiff effective rights against and upon the data for self defense and the
       blocking of misappropriation crime, et cetera (ranging from harassment, to extortion
       based on fabrication of the extortion, to unlawful emichment with the misappropriate
       material noxious or worse to Plaintiff (depending on the tortious editing by Ms. Obi (who
       was a professional radio sound editor with access and experience regarding manipulation
       of persons with manipulation of recorded material) power of enforcing government
       obtaining of the material to review the criminal intent, et cetera, destroy the unlawfully
       obtained material, and enjoin entirely, et cetera.
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              mashed, 29   )   to anchor such terms reducing the need for reiteration in the

              statement and discussion of Claims. Given such as the needed multifariousness of

              the legal basis of Claims for full recovery and Remedy, Plaintiff has sequenced

                                    °
              aspects (prologue, 3 CoA,        31
                                                    Counts,   32
                                                                   injuries,   33
                                                                                    Claims,   34
                                                                                                   assignments of
                                        36                                             37
              liability, 35 Remedies,        § 1961 (R.l.C.O.) predicates,                  and background to

              Counts) 38 of the statements of Claims of the Action.

       3.     The instant Action began, with respect to its directly involving Plaintiff, 39 when
                                                                               40
              Plaintiff objected to crimes committed from                           Defendants' racketeering



       29
          Ms. Obi worked or works as a sound editor for a state of the art radio business where
       Ms. Obi had equipment knowledge and access from which to "mash" (i.e. mix, fabricate,
       et cetera) recording of one material with another and to alter recordings. Ms. Obi
       demonstrated one mash, which was overtly for a hundred reasons and would be clearly
       evidenced as such-which is why in spite of Defendants making reference to it-it has
       never been presented as it would demonstrate the rampant fraud of the material.
       Preclusion would, at this point, strike inadmissible anything Defendants would have been
       obligated to gather in 2014 and 2015, et cetera-if Defendants did not know that
       Defendants obligations were only to take responsibility and admit Defendants' crimes
       (not that Defendants were particularly, pointed, or frequently aware of this)-but that
       Defendants could not recover and produce any material as the mashed recordings Ms.
       Obi had prepared were not usable except to clearly and easily demonstrate Defendants
       racketeering and conuption with the misappropriated and other material (see Counts [] ).
       Matter relates to ongoing and permanent damages Plaintiff suffers (see Injuries() ()).
       30
           , , 3-19 begin at the accruing-involvement of Plaintiff with regard to the Action; ,,
       41-49 discuss[];,, 50-59 the audio recording of Defendants, Plaintiff, and the only 9-1-1
       caller (i.e. , 26); ,, 60-69 discussion the information-assemblage;,, 70
       31
          , , 100-155 introduce the legal-categories of the Cause of Action: i.e.,, 101-155 each
       define at category of law that apply to certain Counts resulting in Claims-each is thus
       referenced by a CoA # corresponding to the order stated 1-50.
       32
           , , 200- Defendants' tortious or tortious and unconstitutional acts or events injuring
       Plaintiff; the end of each statement indicates Co A that apply for a Claim using the CoA #
       33
          , , 525 et sequent state injury descriptions referenced and give injury overview
       34
          , , ~600 Claim statements are bundled in paragraphs as introduced at
       35
          , , 781 et sequen
       36
          , , 11000-1299
       37
          , , 1300-1349 sample racketeering predicates of Defendant racketeering enterprise
       38
          , , 1350-1399, providing some additional detail pertaining to Counts
       39
          See footnote [] supra
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               operations 41 in service of tyrannical 42 racketeering, with Plaintiff seeking

               government actors to intervene against the particular crimes43 ; Plaintiff was (and



        40
          i.e. via, resultant, and as a product of (with regard to Plaintiff the State action is also
       elaborately jointly enacted and furthered, et cetera, by Defendants' racketeering
       operations); regarding these precipating-Plaintiff-petition-action "crimes"-see Footnote
       8, infra.
       41
          These initiating-Plaintiffs-being-victimized operations involved Ms. Rita Akweugo
       Obi, a woman by her own confident, verbal swearing of oath who was a Defendant-
       racketeering-participant, having been recruited into police sex bribery racketeering by a
       group of frequently participating-in-Defendant's-racketeering women in New York City
       with a contract with Sgt. Shaun Brown allowing Ms. Obi power-via-such-racketeering to
       break laws and, specifically, violently assault at-will whom Ms. Obi were to choose (it is
       worth broadcasting that all of such is independently grounded in 2014 evidentiary
       material, et cetera). Given the immense evidentiary support from all sources including
       Defendant Brown's 2017 Admission of having committed administrative perjury to
       cover-up the previously secreted-from-written-record "prior relationship" with Ms. Obi
       (see ,r [BtoC]-it would be amendable error for the fact of sex-based unlawful state-
       power bargain execution to not be presumed)
       42
          The word "tyrannical" is of particular and highly-important reference as per its
       meaning in regard of the Constitution as the United States Constitution was designed
       with significantly-judicial (co-equality and fully separated) dimension to ward against
       tyranny, tyranny in consideration of 2100 years of history state or proto-state (ancient
       tyrant kings preceeding the Roman state as a state which was clearly by modern standards
       a state as a thing in itself)-the word tyranny in English coming directly from those early
       Kings of Rome and in the context of representative democracy functioning to prevent
       abuses of power subsequently in history of the Roman Republic and Empire known and
       imminently influential to the founding of the United States as a jurisdiction of law, order,
       and government beside and not controlled by the Crown. Illegal benefit seeking through
       and with continuing monopolization of force to wage tyranny as currency and for benefits
       including organized criminal purposes as an enterprise within the law enforcement
       mechanisms of New York City is properly described as "tyrannical" speaking in the
       context of the word's meaning. "Tyranny" as a dimension of Bill of Rights design,
       strengthened by Fourteenth Amendment enforcement [case] particularly mandating
       enforcement of tyranny's prohibition and, when found established in these United States,
       tyranny's rooting-out: is an elemental part of certain Claims enforced by the instant
       Action; no word could rightly replace the use of "tyranny" in the instant Action given the
       very etymological strength of"tyranny" as diction for the instant Proceeding.
       43
          For this detail see description at ,r [BtoC] concerning communications and events of
       which notice to the Docket has more than sufficiently occurred. Ms. Obi, by Ms. Obi's
       own gloating and prideful boasting (of which Defendants possess non-pa1iy-sourced
       evidencing), was refused the participation of a fellow student in the commissions of
       violations of academic intergrity at Brooklyn College and (Ms. Obi crowed as warning of
       Ms. Obi's own municipal-racketeering-power as a municipal-racketeering-participant via
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               is futihermore and continuingly) unconstitutionally and tortiously-under-

               common-law put under duress by the Defendant-tyrannical-racketeering.44 For

               petitioning 45 against Defendant's tyrannical racketeering, its victimization 46 of

               Plaintiff and others, Plaintiff was retaliated against47 causing further injuries to

               Plaintff, threating the immediate termination of Plaintiffs life ( in succession and

               generally) to a continuing extent, as well as, moreover, destroying Plaintiffs life

               with respect to the full array of property ( stated otherwise as life, liberty, privacy,

               and property 48) interests of Plaintiff protected by the Bill of Rights and New York

               Constitution; Plaintiffs exercise of Plaintiffs life, liberty, privacy, and certain




       the sex-bribery defacto-program) destroyed the classmate victim's lab report from
       Brooklyn College's files to injury the classmate victim's protected interests. Plaintiff
       was elected at Plaintiffs undergraduate liberal arts college as a member of its Honor
       Council to adjudicate violations of academic integrity and thus Plaintiffs responsible
       petitioning to Brooklyn College against the racketeering-enabled-and-caused crime was
       all the more instinctive for Plaintiff amid the context of Plaintiffs other petitioning
       afainst the racketeering's victimization of others and Plaintiff.
       4
          see Counts [C] ; this racketeering is, of course, actionable under not just constitutional
       and common-law, but federal law against racketeering. The legal-categories of the Cause
       of Action are introduced at~~ 99 & 100.
       45
          Plaintiffs activities from: objecting to Defendants' racketeering, causing government
       to act against the municipal corruption, attempting to cause the government to quash the
       municipal corruption, and seeing, including very much in the instant Action, judicial
       enforcement to remedy with reforms against the municipal corruption are protected
       petition activities under the First Amendment and Substantive Due Process-Defendants'
       past and continuing retaliations against and for Plaintiffs petition activity is the legal-
       category of the Cause of Action is stated at ~ 13 7 & ~ I 38 (two work side by side
       frequently [consider citation/cut]), respectively-most of Defendants' tort is actionable as
       r,etition retaliation giving the action broad applicability.
        6
          actionable under criminal, statutory civil, and common law. Racketeering predicates
       are identified for purposes of Civil R.I.C.O. at~~[]
       47
          see Counts [C[]]
       48
          See ~ 5[][] on property injury for encompassing use of "property" [and the
       compendium], e.g. "property" under the application of Civil R.I.C.O. damages is
       distinguished.
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               other personalty (and economic advantages under NY law) 1s still actionably

               confined under common law.

       4.      Defendants' confinement49 of Plaintiff, as part of Defendants' retaliation for

               Plaintiffs petitioning against Defendants' corruption and crimes, became absolute

               on October 81\ 2014, on three occasions 50 shortly after mid-day, under homicidal

               threats and actions 51 imposed as Defendant-racketeering, in furtherance of

               Defendant racketeering, antecedent Defendant-racketeering (as declared-by-
                                                     52
               Defendant-racketeering-participant         )   qua   Defendant-racketeering-contract
                                                                               53
               execution ensuite with further Defendant-racketeering,               and which has



       49
          New York law of tortious confinement (which includes known common law "false
       imprisonment" (which has been construed by the Eastern District Judiciary under the
       name "tortious confinement" and for which Plaintiff uses as it is less-prejudicing to
       Plaintiff) closely tracks the law of Fourth Amendment confinement under the United
       States Constitution. Plaintiff has separated the operation of confining (seizing) tort by
       several statements of such legal-categories of the Cause of Action: 1 107 being tortious
       confinement under common-law (New York law extending in Minnesota and Colorado
       law), 1 121-unconstitutional seizure, 11 122 & 123 being confining as if under the
       operation of process-at-law (Constitutional and Common-law malicious process of State
       aggression, prosecution).       Another matter very much sterning from the Fourth
       Amendment is the legal-category of Cause of Action of unconstitutional search, 1 120;
       furthermore 11 [] discuss important planning Claims in accordance with such as the
       Second Circuits' Terebesi].
       50
           see Counts [C[]]. Plaintiff distinguishes "absolute" confinements from partial
       confinements where Defendants' completely restrained Plaintiff to a state of physical
       immobility; Justice Ginsburg is a leading figure in the Second Circuit and more broadly
       on the wider scope of confinement as the impinging of liberties sufficient for vindication
       by constitutional enforcement (that is not to say that Plaintiff would suggest Justice
       Ginsburg's dissent in Oliver encapsulates Second Circuit's stare decisis).
       51
          see Counts [C[]]; [summary]
       52
          Declarations of Ms. Obi-see Footnote 6, supra
       53
          Counts were declared, as discussed above by defendant-racketeering-participant, Ms.
       Obi, to be part of an exchanged bargain between recruited racketeering participant, Ms.
       Obi and Defendant Brown, racketeering participant, as an authorized agent to promise
       and execute the corruption racketeering facility (more on the latter at 1 []). In regard to
       the preceeding list describing distinct arrivals for the liability Defendants' racketeering as
       tort: Defendants' to1t is actionable for various Counts were an individual Defendant was
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               successively (and is continually) furthered by Defendants' racketeering, 54

               including such as contumacious obstruction55 of the instant Proceeding. 56 The

               latter being from the Proceeding's first written fo1m (conceived but not extant in




       not physically present where Defendants' proximately caused the tort: in joint-State-
        action; where Defendants' furthered Defendants' tort; where Defendants' had
       premediateted Defendants' tort as parts of other Defendant tort with specific acts and
       agreement; et cetera. Defendants practiced most of Defendants' process tort [Counts []]
       as necessary operational parts of Defendants' racketeering facility, which was necessary
       for the commissions and omissions of Defendants' tort and which did and does further
       and advance Defendants' tort; it is entirely implausible to suggest Defendants employed
       the obstruction which is much of the tort which the instant Action contravenes not from
       an established menu of racketeering furtherance sufficient for enforcement of dismissal
       of Defendants' offering of any such Defense. [] [Rewrite in reference of'i) 20]
       54
          Counts [[most all from x point]] are in furtherance of Counts [C[ll
       55
          Counts [] portend and raise Claims of obstruction of the instant Action under § 1985
       (2); see such Claims at ,i,i [].
       56
          The whole of Defendants' furthering tort upon the Defendants' to1t which (as described
       in the first sentence of 'ii 2) involed Plaintiff (made Plaintiff involved, i.e. the racketeering
       enterprise existed before Plaintiffs being involved and without the Action of this Coutt
       (or parallel Action) which will continue-Defendants' involvement of Plaintiff should
       result by the instant Action in reform to facilitate (against a long trend (i.e. see Footnote
       1)) sufficient prevention of much or most of the racketeering enterprise and corruption of
       which the instant Action has scope) is part of the package generated by the
       enterprise's(s') racketeers to which the police-sex-bribery-racketeering-women recruited
       Ms. Obi and of which Defendant Brown and Ms. Obi had a meeting of the minds upon
       which Defendant Brown and Ms. Obi established a bargain of which Ms. Obi exercised
       in anticipation of available execution with the occurrence of execution staiting on
       October 811\ 2014. Thus Defendants' liability for these Counts is actionable for
       Defendants': tortious facility; tortious premeditation with instigation and witnessing of
       the proven racketeering practices successful for preventing federal and common-law
       vindication against the Defendant's Plaintiff-involving tort; tortious premeditation
       presented as encouragement (to such as and patticularly) the Defendant's Plaintiff-
       invovling tort committed; tortious premeditation with guarantees of adoption and
       furtherance to ensure against federal or common-law vindication against the Defendant's
       Plaintiff-involving tort; and Defendants' many, committed furtherances upon the
       Defendant's Plaintiff-involving tort, including joint-State-action, et cetera State action,
       tmt committed with several other non-m[ capitalize]unicipality-employees which has
       occurred and continues.
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                Filing), to its first written form filed in King's County court (the latest 57

                antecedent to which the enacted-in-federal-court Action relates back), and to

                present contumacious obstructions including that requiring the foremost attention

                for the Court's sanctions against this false appearing 58 by Defendants as stated in

                the Motion for Initial Inherent Power Sanction of Defendants. 59

        5.      Tortious-under-New York-law and unconstitutional confinement of Plaintiff as

                retaliation by Defendants' for Plaintiffs petition against Defendants' corruption

                and crimes continued on October 811\ 2014 precipitating with the aforementioned

                "ensuite" Defendant-racketeering, which occurred upon Plaintiffs return to eat60

                after avoiding the same racketeering participant in the aftermath of the homicidal

                attack61 against Plaintiff which had only ended with the physical arrest of the

                Defendant racketeering (see ,i 27, infra): as per the aforementioned Defendant-

                racketeering-participant declarations (see Footnote 6[, 16]) upon Defendant-



        57
            Attorney employees of Defendants, it is established in disinterested evidentiary
        material, received notice of Defendants' liability and certain of Plaintiffs Claims along
        with statement of the res gestae.
        58
           Defendants' contempt demonstrated from Defendants'                   Defendants'        are
        failing to legitimately (without wholesale contempt) Answer the Claims or Appear before
        this Court raising adjudication of Defendants' default.
        59
            One of the documents contained in Docket Entry#
        60
           Plaintiff has a fairly restricted diet causing Plaintiff to cook Plaintiffs own meals more
        than may be typical. Plaintiff eagerly sought to avoid the homicidal attacker's last hours
        at 677 Quincy (prior to the previously scheduled landlord removal the next day), but had
        been tortuously inhibited from cooking since October 711\ 2014 and needed to return to
        cook a meal (Plaintiff has many times described details relating to Plaintiffs need to
        cook to the Defendants-for more detail, see ,i [BtoC]). As Plaintiff had been prevented
        from cooking up to that time, early on the evening of October 811\ 2014 and then, before
        Plaintiff had boiling a large pot that Plaintiff had started on the stove upon returning from
        the evasion of errands, Plaintiffs being, again, absolutey confined by Defendants (upon
        ,i 28) through, as described, supra, at Footnote 26, without food-Plaintiff was deprived
        of eating for fifty hours.
        61
           Counts[]
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               racketeering gurantees, a fourth62 absolute confinement of Plaintiff occurred with

               calculated-but-scant veneer (as if to give appearance as being not wholly

                      . d-racketeenng)
                                   .                                              63 f
               preme d1tate            upon the overt1y tyranmca
                                                              . 1 removmg-se1zure
                                                                       ·     ·      o

               Plaintiff at approximately 8:20 p.m. (20h20) following the preceding Terry-

               seizure at 7 :00 (19h00); during the absolutely-confining-removed-seizure of 8 & 9

               October 2014, Defendants' used homicide-threating and Sixth-Amendment-

               implicating coercion64 as part of in toto usurpation65 of the adjudication that was

               to be given to The Honorable John Hecht including broadcast of written and

               spoken distinctly-injurious fiercely-deliberately-false and fraudulent defamation

               to ensure the exclusion of a constitutional operator from allowing the United

               States Constitution to operate through that appearance of Plaintiff in King's

               County court.

        6.     Paragraphs 3-5 have introduced Defendants' joint-action (et cetera) tortfeasance

              with particular regard to confinements of Plaintiff all pursuant to fraudulent

        62
          extending from approximately 7:00 p.m. (19h00) to 10:00 p.m. (22h00) on October 91",
       2014 and including Plaintiffs removal from 677 Quincy to 31 Rogers Avenue (81 st
       Precinct), a police van, and then downtown Brooklyn (processing and King's County
       court facilities).
       63
          see Count CC[]
       64
          See Counts CC[] [Rikers upon Pinder and coercion of 122 (including systemic such as
       1122)]
        5
          Plaintiff raises an Eighth Amendment Claim (Claim # [], see 1 []) upon Defendants'
       usurpation of the constitutionally required hearing for Plaintiff to be subjected to process:
       this Claim's compensatory derives from the harm Plaintiff suffers as a result of Plaintiffs
       know ledge of suffering such vindication--of which Plaintiff continues to be denied-as
       well as hearing process. Plaintiffs profession in government, skills related to
       governmental knowledge and relation, and particularly germane to the impact. Real
       estate business owners commented on the value to to the cooperation of their business
       with Plaintiff given Plaintiffs excellent and knowledgeable relations with government.
       This eighth-amendment-implicating usurpation of hearing by an adjudicator [recovery
       under amplification of [Zeta] 21, 22, 23) the process required hearing. raises concerns
       very much rooted in the Constitution's peneaological .
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               imposition of quasi-process-at-law. 66        Plaintiff uses the term joint-action,

               though-more specifically-the non-municipal-actor-State-actors are municipal-

               State-actors by several configurations: of which, with regard to the instant Action,

               the contract discussed in 'lf'lf 3-5 generally can be used to, importantly, separate the

               the injurious-to-Plaintiff-tortfeasance-by-Defendants into tlu-ee parts: tortfeasance

               which facilitated the police-sex-bribery recruitment of Ms. Obi by the group of

               police-sex-bribery-participating-recruiting-women and Ms. Obi's contracting

               police-sex-bribery with Defendant Brown; secondly, the contracting between Ms.

               Obi and Defendant Brown activitating Ms. Obi's powers to exercise crimes under

               such police-sex-bribery contract given the en-suite racketeering by the whole of

               the enterprise; and thirdly, all of the enterprise's resources and racketeers'

               exercising of the contracts' guarantees to recruiters, Ms. Obi, Defendant Brown

               and in furtherance of ensuring continued racketeering operations: facilitation of

               racketeering that led to the formation of police sex bribery contract; the

               racketeering under the contract prior Ms. Obi repaying racketeering for contract;

               and the en suite racketeering with the contract (which followed Ms. Obi's

               physical arrest by police and warning of a menacing citation) involving Ms. Obi's

               return to the racket for exercising powers under Ms. Obi's participation. 67 Most

               of the Counts are tortfeasance of the third category-and they continue to accrue

       66
          regarding "quasi" as opposed to actual, i.e. not as-if, process at law, see the end of 'If 4,
       supra, and 'If 149.
       67
          Ms. Obi and Defendant Brown admit going into Ms. Obi's room alone where Ms. Obi
       admits, (payments at-least-began (no reason to think police-sex-bribery-participating-
       women are ever free from coerced sex from the racket, et cetera) Ms. Obi at a minimum
       privately disrobed for Defendant Brown; though Ms. Obi indicated the bribe price to be
       oral or anal sex by Ms. Obi to Defendant Brown) for all racketeering that would be
       needed to complete the victimization).
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               and be committed by Defendants' in furtherance or all and to manage racketeering

               operability for the enterprise.

        7.     Defendants' state-Action with regard to the second part described in 1 5: i.e. the

               racketeering under the contract prior to Ms. Obi's repayment 68 (or, more

               precisely, calling Defendant Brown (Admitted fact) to schedule repayment or the

               initiation of repayment and to inform Defendant Brown of the imminent needs for

               the en suite racketeering to cover up Ms. Obi's crimes and to ensure the arresting

               of Plaintiffs petition via further injuring of Plaintiff by Defendants' State-power

               racketeering) is State-action for purposes of tort liability as in common-law and as

               such is established in stare decisis (which although somewhat varying by Claim

               and legal-category of the Cause of Action-may generally be described as meets

               and exceeds standards for State-action in decisions) on 42 U.S.C. § 1983. Details

               of 11 2-4 describe various ways Defendants' actions prior to accruing-involement

               against Plaintiff and the en-suite racketeering has particularly furthered various

               aspects of stage two of the racketeering as well as more generally, and futherance

               of such part of Defendants' racketeering, et cetera, against Plaintiff more for or

               with the purpose of more specifically retaliating against Plaintiffs petitioning

               against Defendants' racketeering to maintain operability for the enterprise-

               which is all the more a driver of all-the-more of Defendants' continuing

               retaliation and racketeering against Plaintiff.



        68
           (sexual overtones of Defendant Brown and admitted private disrobing (admissions of
        Ms. Obi) with sexual touching or intercourse may or may not have included the payment
        of oral or anal sex Ms. Obi indicated was payment while Plaintiff and 1 28 were present
        at the scene at which Ms. Obi had been physically arrested and given only a warning of a
        menacing citation)
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        8.     Retaliatory quasi-process at King County court's end.          The King's County's

               court's suspicions against the retaliatory proceeding that was against Plaintiff

               when the scales broke freeing Plaintiff of hesitation about abandoning the sixth-

               amendment-attorneys, not just immediately to counter the immediate necessity

               that arose that day, 7 May 2015, even though no attorney to be confident in was

               reasonably to be hired. 69 Plaintiff made plain that what were ultimate facts

               (contravening the malicious action against Plaintiff) were entirely available from

               the police who arrested70 Ms. Obi at 2:10 p.m. (14h10) on 8 October 2014 (this

               pair of police officers are identified in and as ,i 27, infra: referenced, hereafter in

               the Action, as either Complaint ,i 27 or "the 9-1-1-responding police") who were

               being obstructed "boxed-out (per the evidentiary material)" entirely from

               involvement--even though the 9-1-1-responding police were obvious witnesses.

               Judge Campanelli tested Defendants asking Defendant (ADA) Midey that if

               Plaintiff had taken anything without privilege or right so to do, had any such thing

               been recovered: to which Defendant Midey responded to Judge Campanelli that

               he, Defendant Midey, could not answer for lack of information or belief.

        9.     Plaintiff effected a message to a constitutional-operator, i.e. someone at the

               King's County (District) Attorney's Office operating constitutionally all the time,



        69
           given the intimidation of any attorney in taking on such tyranny against Due Process, et
        cetera, from Defendants and where Plaintiff articulated sources of abundant genuine
        material should have produced the end of the quasi-process against Plaintiff where
        Plaintiff had agreed representation for the proceeding of Plaintiffs Claims.
        70
           See ,i [BtoC] as required by duty to the (stipulated by Parties) only 9-1-1 call from 677
        Quincy on or around 8 October 2014 made by the (stipulated by Parties) eyewitness to all
        relevant events of8 October 2014 (the stipulated-by-Parties-only 9-1-1 caller is discussed
        fmther at and hereafter referenced as ,i 26, infra) after Ms. Obi refused the commands of
        the 9-1-1-responding-police
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              as this Court enforces, as opposed to other employees at the King's County

              (District) Attorney, including the past and present titular incumbent: pro-se, for

              lack of sound alternative; as such simple communication was all that was more .

              than sufficient to make obvious the need for Defendants' tortious actions against

              Plaintiff to be halted and for further remedy; and it was rather plainly obvious that

              a lay statement would suffice.         By cause of the constitutional operator's

              impostition of constitutionality with the force of whistle blowing, Defendants were

              forced to terminate the action against Plaintiff, more than a year after Defendants

              had reduced Plaintiffs partial, compromised, and all-but-absolutely-confined

              liberty to expirations-in-one-month-increments in succession.

        10.   Any police official or King's County official to take a substantive evaluation of a

              case as it stood with a primary allegation which was contrary to physics and,

              independently, contrary to reasonable human behavior. The dossier futher lacked

              what procedure required including manifest of ,r 27 and explanation of the contact

              precipitating ,r 28, as only ,r 26 was in the file as audio or Sprint report; including

              these points, the file had a number of holes which would have required any

              observer to inquire, which would have resulted in the same as the constitutional

              operator's findings. The fact that the case managers at the King's County

              (District) Attorney's Office, not only did not follow procedure regarding the

              critical flaws and holes, [no audio recording(s) represented sworn by Caracciolo

              to be primary evidentiary material in police possession-which KHR has

              represented were never in police possession [check exact phrasing of KHR in 20

              Feb email in regard to Plaintiffs 19 Feb]] but pointedly stated that they were



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              following (racketeering) policy availed by police administration to block , 27

              absolutely from any involvement or contact with coercion effected upon , 22 to

              that effect and under threats communicated to , 22 regrading abuse of Plaintiff. It

              is wholly implausible that Defendants Midey, Scarcella, Picoulli, Middleton, and

              Roe made such overt unconstitutional furtherance at the command, instigation,

              and sufficiently proximate cause of Defendants in total contravention of duties .

              Defendants refused to produce the Class A Misdemeanor citation against Ms. Obi

              as a mere warning .

        11.   The withdrawal of the retaliatory action against Plaintiff, upon forced exposure to

              the King's County court of immense "Brady violation" (quoting the writing of

              Court Reporter "A" of ADA Midey's words to court), confitmed by dismissal and

              sealing of the action against Plaintiff: only partially remedied the cause of action

              that Plaintiff had asserted in pro se Filings to that Comt, which included claims

              for damages; most of Plaintiffs Claims relate back to Filings to King's County,

              noticed to King's County attorneys. Defendants' obtained delays to Plaintiffs

              enaction in this Court via a former corporate counsel employee who severally

              acted to Defendants' b_enefit and committed absolute violations of fiduciary and

              agency obligations in an effort to reduce the present Action to be not more than a

              bunt that Mr. Stancati and Defendants intended to force to be excepted with an

              enforcement mechanism to silence Plaintiffs witness and further petition. The

              existence of the instant Instrument is a testament to Plaintiffs dedication to the

              necessary vindication of the Constitution, remedy of the municipal law

              enforcement corruption, and the need for Plaintiffs full compensation for and all



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              injunctive means of reducing Plaintiffs injuries via continuing petition: and so

              functions with separated sections identifying the legal-categories of the Cause of

              Action, the Counts, and the Action's Claims applying the categories of tort law

              upon Defendants' tortious acts and events, the Counts.

        12.   The Action begins, Plaintiff states in the first phrases of~ 2-supra, with respect

              to Plaintiff, as Defendants' unconstitutional and tortious-under-common-law

              commissions and omissions sufficiently causing the Action's damages and raising

              the Action's injuctive relief measures began prior to Plaintffs being injured. The

              central Defendant-racketeering contract: crimes covered up unconstitutional-and-

              t01tious-under-common-law seizures and fraudulent process with usurpation of an

              adjudication to initiate process at law: exchanging sexual favors for law

              enforcement furtherance of crimes and tyrannical crimes surrounding process to

              ensure successful furtherance with mechanisms of support throughout and the

              management of internal affairs up to the furtherances by the very police

              Comissioner, King's County (District) Attomey, agents of the CCRB, and a

              sufficient network of non-municipal-employee confederates to ensure target fish

              do not escape the net: chits trading, coercion, or blackmail, as available, as means

              to ensure the racketeering enterprise is succsful in benefit-seeking and furthering

              the enterprise's operations, continuation, and monopolization-of-force's safety

              from the Constitution. Defendants' caused Plaintiffs injuries under conspiracy

              law and proximately, as a link in a chain not committing to readiness to be part of

              the corruption facility would undermine the whole chain as each Defendant

              understood, has knowledge, and is aware of multiple predicate acts to be



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              committed upon each target fish. The distinction of the Actions' begininng with

              respect to the direct involving of Plaintiff is made (and is important) as

              Defendants' tort which the Action addresses and the systems of Defendants'

              facility (in and with Defendants' governance and setting of municipal policy,

              practices, and operations) is sufficiently rife with tort of proximate cause of the

              injuries and injustice raising the Remedies of the Action.

        13.   The overt agreement to facilitate the racketeering furtherance mechanisms (which

              occurred prior to the Action's roots with respect to the dye casting of Plaintiffs

              becoming am injured victim) which were followed tlu·ough upon Plaintiff once

              Plaintiff was identified for the pulling of the various and successive triggers,

              including ongoing obstructions including, e.g. Counts [], Defendant's procuring

              the King's County Court reporter's clerk's coordinator, Ms. Doreen Ierardo, to

              obstruct Plaintiffs access to the record, cited supra at 1 [], by Court Reporter "A,"

              of which Plaintiff had described the importance and contents amounting to forced

              admissions by Defendants of Brady violations-followed by Ms. Ierardo's

              nonsensical menacing indicating all copies of the notes had been destroyed71 and

              that production of the King's County court record would never occur: only the

              intervention of a fourth party led to the production of the record, but with certain

              tampering 72 designed to deflect Defendant liability 73-Ms. Ierardo, in delivering

              the particular record, while continuing other obstructions upon which the fourth



       71
          Count[]
       72
          Count[]
       73
          of which the Supervising Judge of that King's County court is a witness given
       Defendants' nonsensical tampering with words of the Supervising Judge which contradict
       the Supervising Judge
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              party did not intervene, 74 which Ms. Ierardo had stated was ready to mail to

              Plaintiff upon Ms. Ierardo's receipt of payment from Plaintiff, fraudulently

              represented cause for delay 75 in remitting the transcript to Plaintiff in order for

              Defendants to attempt such tampering with the coordination Mr. Anthory Barosi

              and likely in consideration of information from Mr. Stancati, as certain tampering

              and errors-to-the-tampering reflect more than a jury could find coincidental,76 Mr.

              Stancati's questioning of Plaintiff about the document, i.e. Defendants' hoped that

              with information (perhaps indirectly from Mr. Stancati-through intermediary)

              that the tampering could be subtle enough that Plaintiff would not notice certain

              differences and ad libbing by Court Reporter Appel, which sought to deflect77

              broad Defendant liability upon the prepared for sacrifice (by Defendants) , 28,

              particularly Defendants Brown and Caracciolo. Defendants actions to till the field

              that it be furthered sufficiently for optimal racketeering operations prior to

              Plaintiffs being the one to receive an injury directly each cause, given the

              necessity of links everywhere in the chain that it takes to submit each victim to

              successful fraudulent, et cetera, adjudication or the signing of a waiver to rights to

              raise law enforcement corruption issue before the constitutional enforcement

              mechanism, the courts. As Plaintiff brings Claims (see## []) against Defendants

              for the integral readiness in greasing the rails for the execution of racketeering of

              the enterprise, including police sex bribery.

        74
          Count[]
       75
          Count[]
       76
          Plaintiff noticed having immediately found the extensive, yet-in-some-ways subtle
       corruption of the evidentiary material by cause of Defendants unconstitutional, tortious-
       under-common-law obstruction in the late summer of 2017 to the Docket.
       77
          Claim#
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        14.   Upon the Defendants' racketeering corruption facility, Defendant Brown could

              bargain a contract with police sex-bribery recruit, Ms. Rita Akweugo Obi, with

              the confidence that Defendant Brown had upon the tremendous assurances and

              testimonials   from   the   Brooklyn-police-sex-bribery-racketeering-patiicipant-

              women who recruited Ms. Obi recounting the smooth operation of the law

              enforcement execution of false arrest and malicious prosecution upon the assault

              and battery, et cetera, of the racketeering patiicipant women (these women

              possess, by municipal-racketeering paiiicipation, what could analogized to a jury

              as a superpower); without Defendants' 78 commissions of proven racketeering

              facilitation, the police-sex-bribery-recruiting women could not so successfully

              have recruited Ms. Obi and Defendant Brown could not have so successfully

              bargained a sex bribery contract with Ms. Obi and so smoothly, carelessly, and

              powerfully have precipitated exercise of racketeering beyond with joint-action

              with Ms. Obi and, fmiher, for so many operators of cogs through the process to

              have so steadily, unquestionably, and firmly violated constitutional obigations and

              operations to commit t01i in furtherance of Defendants' tort. Close examination

              of the process reveals fine details demonstrating the vastly shocking scope of

              Defendants' shockingly wanton and unconstitutional tort. Ms. Obi could not have

              been an successfully recruited to commit the joint-action racketeering as Ms. Obi

              did with the individual Defendant which only together form the sum facility;

              Defendants could not have carried out the vast airny of fu1iherances, which

              Defendants did, without the same facility for which each individual Defendant

       78
          and other racketeering participants including municipal employees outside of likely
       outside adjudication in the instant Action
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              having committed to the establishment of the facility. The system simply could

              not work as smoothly, steadfastly, and without risk or interruption as it did in

              furtherance of the prior sum of Defendants' tort, as fact finders will observe and

              find in the whole of the Evidence upon close examination of what was committed

              and Defendants'      corruption systems.        Preparations to present on the

              apportionment of the plural liability are appropriately made after much or most

              discovery that must examine, very closely, Defendants' relevant operations.

        15.   The scope of corruption and sufficient Evidence to establish wholesale Internal

              Affairs cormption and fraudulent reporting to the post-Mollen annual review

              committee and Police Commissioner operational leadership establishes sufficient

              gravity of tyrannical operations for the scale of injunctive-power-utilizing inquiry

              and, upon such inquiry and other findings, the appropriate measures of punitive

              damages and injunctive reform identified in Remedies, infra.

                      Implications needing focused varieties of substantive due process for

              adjudication.

        16.   Varities of punitive damages, based on total of accumulated commission of

              intended damages; introduction to Plaintiffs compensatory, continuing, et cetera.

              Preventing permanent damages (Plaintiff holding the dyke of permanent life-

              destroying damages). Corruption facility punitive liability primarily on command

              units and officers participating and thereby causing.

        17.   Distinction between cases calling for 1985 (2) enforcement, generally, and the

              instant case where the obstruction is not just obstruction of civil rights, but clearly

              pmi of racketeering enterprise with maintained operational functionality and



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              discrete role cooperation throughout controllable bureaucratic system: in-your-

              face approach, not guarding loose ends (i.e. demonstrating systemic confidence),

              IAB spoliation (there-is-one), fabricated Tomasello report in response to amended

              pleading, house-of-cards collapse of action against Plaintiff, intimidating

              obstruction of transcripts, tampering with court transcripts, brazen and outrageous

              Kafkaesque tyrannical retaliation, systemic KCDA obstruction reinforcement,

              admitted sex bribery, admitted 81 st Precinct fabrication of records (other than

              Tomasello), Corporation Counsel participation and reinforcement (sidelining of

              Mr. Rosenkilde) and use of fraud to injure and attempt to obstruct, Defendant

              Barosi's assertion of assistance by Mr. Barsoi's friends at the local FBI office.

        18.   Synopsis preceeding: Obi first show of aggression was harassment which Ms. Obi

              openly referred to as wishing bad death to a person's sexual orientation

              (subsequent reference to the person in the declaration in the context of violently

              attacking); violation of surety, pending landlord-ordered-removal-before-thirty-

              days of Ms. Obi, recording threat and evidentiary implications given Plaintiffs

              belief that most contacts had been recorded [intent of recordings to violate § 50

              regarding publication; then the tlu·eat was imposed]. Defendants attempted to

              plant material on Plaintiffs phone and took successful and deliberate steps to

              accomplish such (only narrowly not complete due to Plaintiffs having used

              confidential limited secure storage)].                Plaintiffs    adds     to     the

              discussion of the "bargain," the word (frequently used in discussions of state

              action and cause) "nexus:" passim, Plaintiffs references to the instant Footnote

              and to the "bargain nexus" encompass and include the variety or package of



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              Defendants' liaibilties causally established at this nexus of state action, causation,

              and liability.   Defendants' liabilities intersect at this nexus or fulcrum as

              Defendants' corruption and racketeering facilitation set up the mechanisms

              necessary for the involvement of racketeers and the ability of racketeers to

              racketeering under the facility, protections, and operations of the corruption and

              racketeering facility of the municipality; also tied to the same "particular police-

              sex-bribery-bargain nexus" are Defendants' many tortious commissions and

              omissions for Ms. Obi to be recruited and to come to the point of being able to be

              contracted by Defendant Brown (all as Ms. Obi admissibly declared (also tied to

              the same "particular police-sex-bribery-bargain nexus" is the actually meeting to

              meet minds of Ms. Obi and Defendant Brown, where both understood usage of

              the color of law, established racketeering and corruption facility including most

              used against Plaintiff (with ancillaries); also tied to the same "particular police-

              sex-bribery-bargain nexus" are all the furtherance understood by the recruited and

              contracted certainty of all corruption, obstruction, and racketeering necessary to

              maintain the enterprise and exculpate the acts of the bargain, including

              Defendants' many ongoing deliberate furtherance of the widely-involved

              corruption known to involve varieties of tortious and unconstitutional acts

              including with persons of various different departments of the City of New York

              and non-employees of the City of New York.

        19.

        20.

        21.



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        20.

        21.   677 Quincy refers to King's County address where Plaintiff had pre-leased ("pre-

              leased explained elsewhere-had full tenant rights but the arrangement was

              informal given trust and odds of it being temporary.

        22.   Plaintiffs first opportunity to speak about being wrongfully removed, as Plaintiff

              has recorded many times in prior Pleading Filing, and documents including

              privileged documents was to the person who is represented in this Complaint as 1

              22, i.e. the person referenced in 1 22 and referenced by reference to   1 22.   As the

              person of   1 22   has been considerably detailed in these, the former, writings,

              Plaintiff does not reiterate such material at this time. Plaintiff may likely continue

              to reference "Complaint    1 22"   as a reference for this person throughout the

              Proceeding of 17CV4519.

        23.   Paragraph 23, as in previous iterations, was named as an advisor to Plaintiff prior

              to Plaintiff writing Plaintiffs O.F.C. (Originally Filed Complaint).

        24.   Paragraph 24, like 123, is structured like   ~I 22 as a reference to a previously well
              identified personage of Plaintiffs prior Pleading, Filing, and writings: the IAB

              police staff who determined that as a matter of absolute certainty upon triple-

              checking all related documentation (including that identifying the other person on

              the duty shift in question) that Sgt. Shaun Brown was not on duty and thus could

              not have been in uniform (Sgt. Shaun Brown's appearance was municipal-backed,

              organized, facilitated, furthered, and propounded-upon-still racketeering-not

              Constitutionally-lawful police work, permissible use of the color of law and State

              power, or non-liable violation).



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        25.   Plaintiff confidential matters discussed under the mutual protective order.

        26.   Paragraph 26, like ,i 25, is structure like ,i 22 as a reference to the 9-1-1 caller, the

              only person to call 9-1-1 from 677 Quincy from the time Plaintiff took executed

              interest in space at 677 Quincy until 10 October 2014, when Plaintiff was

              mandated to call. Several Counts concern the only 9-1-1 caller (referred to by the

              abbreviation "'ii 26").

        27.   Paragraph 27, like ,i 22 references a person: ,i 27 references the only-9-1-1-

              responding police. Mr. Rosenkilde definitively admitted that Ms. Obi did not call

              police, did not call 9-1-1, but called Sgt. Brown's private cell phone from Ms.

              Obi's cell phone (and Sgt. Brown then contacted Officers Caracciolo and

              Casciola-Sgt. Brown told Officers Caracciolo and Casciola that Sgt. Brown

              needed racketeering duty from them regarding Ms. Obi and that Sgt. Brown

              would follow up when it was time for Officers Caracciolo and Casciola to go to

              677 Quincy for Sgt. Brown). That the Sgt. Brown four        ('ii 28, infra) obstructed the
              police work of the 9-1-1-responding police (the instant pair, ,i 27) is judicially

              noticeable from the penultimate 's King's County court statement that the

              obstruction and hiding what        ('ii 27)   witnessed was a "Brady violation"

              obstruction, as described in Plaintiff's late August 2018 Filing. 79



       79
          Plaintiff had previously described on record to the penultimate how the obstruction of
       the 9-1-1-responding police was immensely important as it massively contradicted the
       (fraudulent) statements against Plaintiff brought by the municipal racketeering
       organization and the Sgt. Brown four, by Sgt. Brown in Sgt. Brown's own words of
       ownership of the (horribly abusively and violative) action against Plaintiff. The
       penultimate states on this November, 2015 court appearance that the penultimate
       conclusion that the 9-1-1-responding police's having been "Brady"-obstructed was based
       on telephone conversations with the 9-1-1-responding police (the 9-1-1-responding police
       saved Plaintiff from the appearing-qua-psychotic attacks of Ms. Obi, whom the 9-1-1-
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        28.    Paragraph 28, like the supra through , 22 references personage: , 28 references

               Sgt. Brown and Officers Caracciolo, Casciola, and Hellberg. These four, whom

              Plaintiff has also referred to as "the Sgt. Brown four" submitted written

              statements which Defendants have admitted were fraudulent and likewise were

              recorded by the CCRB on these matters which Defendants have also admitted

              were fraudulent80 : Sgt. Brown organized the appearance of the three, Officers

              Caracciolo and Casciola described Sgt. Brown as "the boss" and after Sgt. Brown

              was in Ms. Obi's room where Sgt. Brown had stated Sgt. Brown was going to

              "examine her [Ms. Obi's] body" Officers Caraciolo and Casciola told Plaintiff,

              still under the seizure imposed at the arrival of Officer Caracciolo and Casciola,

              that the Sgt. Brown four would just leave after Sgt. Brown finished in Ms. Obi's


       responding had to lawfully arrest from Ms. Obi's attacking Plaintiff, who was barricaded
       behind a door on the floor covering Plaintiffs head from the strikes of Ms. Obi: Ms. Obi
       proceeded to admit to repeated homicidal attacks of Plaintiff and having said to Plaintiff
       that Ms. Obi would "kill" Plaintiff: such circumstances have never been denied in
       assertion other than on occasions by Defendants in which Defendants now admit having
       committed frauds in such statements of assertions: Mr. Rosenkilde admitted upon Mr.
       Rosenkilde's review of materials known to Defendants and Mr. Rosenkilde's
       conversations with the 9-1-1-responding pair that Defendants action against Plaintiff was
       "wrong." Fourth Amendment law clearly does not allow police to override other police
       witnessing the events in question on the basis of the identified perpetrator (Defendants
       successively have admitted as did Mr. Rosenkilde Ms. Obi was cited for Class A
       Misdemeanor (not at Plaintiffs request) and Ms. Obi discusses on Ms. Obi's CCRB
       interview that Ms. Obi pressed for action against Plaintiff (the 9-1-1 responding police
       said the most that could be alleged against Plaintiff was a warning regarding text
       messages sent to Ms. Obi on a prior day (which were in regard to Ms. Obi's extmtive
       actions with State power which the State has amplified with the actions of the very Police
       Commissioner) which Plaintiff could address along with the broader circumstances when
       submitting an affidavit concerning Ms. Obi along with the 9-1-1 caller's supporting
       affidavit (in spite of the 9-1-1 caller's submission of an affidavit to the 81 st Precinct in
       short order Defendants continue to represent--even upon the furtherance of the 9-1-1
       caller's testimony the 9-1-1 caller's testimony in the CCRB interview.
       80
          though Officer Hellberg clearly did not want to be blatantly racketeering and denied
       remembering much of anything in Officer Hellberg' s CCRB interview and thus in a
       number of ways is less aligned and involved than the other three
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              room and that Plaintiff need not be stressed at being then seized while all waited

              for Sgt. Brown and Ms. Obi: Sgt. Brown emerged and whispered to Sgt. Brown's

              three officers instructions and left.    The Sgt. Brown four admit in CCRB

              interviews that the Sgt. Brown four had ascertained that the 9-1-1 caller was

              present at the time the the Sgt. Brown four's appearance at 677 Quincy with Sgt.

              Brown making the only contact which consisted of Sgt. Brown identifying the

              presence, willingness to testify, and relevance of the 9-1-1 caller (but with Sgt.

              Brown telling the 9-1-1 caller that Sgt. Brown was acting against Plaintiff and did

              not want to hear from the 9-1-1 caller as the 9-1-1 caller related in sworn affidavit

              and sworn CCRB interview. The Sgt. Brown four told the King's County District

              Attorney's racketeering facilitators and participants not to allow the 9-1-1-

              responding pair to be called to court and to assert that the Sgt. Brown four has

              appeared earlier (as if not the 9-1-1-responding pair, but Officers Caraciolo and

              Casciola had appeared earlier-to thereby entirely obstruct the 9-1-1-responding

              pair: Mr. Rosenkilde Plead this fabrication in reply as Defendants still thought

              such a fabrication, at that time, was a live ball-Plaintiff identified such in

              Plaintiffs May 71\ 2018 prope persona Pleading.

        29.   Consists of the group several police that were gathered for Plaintiffs arrival on

              October 81\ 2014 that as the paperwork could be fabricated in accordance with

              Sgt. Brown's wishes, all potential false witnesses could potentially be ready to say

              they were involved at the scene as Sgt. Brown and Officer Hellberg's not having

              been on duty made for cause for wide racketeering participation at the precinct to

              ensure bases necessary were covered.



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        30.   KCDA constitutional operator

        31.   First 2017 IAB contact

        32.   Confidential witnesses of employ of the Defendant New York Corporation

        33.   Academic-setting witnesses including in New York area

        34.   Plaintiff confidential business witnesses and material

        35.   Plaintiff private matters of various confidential nature (description of nature

              would injure non-parties)

        36.   Plaintiff privileged Documents that recount Defendant tort

        37.   Plaintiff privileged information pertaining to Defendants' sexual, racio-sexual,

              and extortive misappropriation and harassment violations

        38.

        39.

        40.   Plaintiff detail Plaintiff discussed m King's County court, regarding self-

              representation, Plaintiffs education which has included some time preparing

              towards a thesis project to earn a Doctoral Degree in Great Britain, ultimately,

              over Nine Months working with various faculty under association with a

              University, Plaintiff decided that as Plaintiff had no intention to particularly use a

              doctoral degree (as has been broadly a family occupation) and instead decided to

              move to New York to trade equities, 81 arriving in March of 2011. Plaintiff had

              lived in New York for a month conducting an independent (advised) study with


        81
          Deciding that building independent capital was the needed priority, which the identical
       objective with Plaintiffs switch to real estate, which Plaintiff had brought to a quarterly
       transaction amount of [] (see lost profits (injury a # 1) in profit at the time of first-
       accruing-Defendant-injuring of Plaintiff (many injuries obviously continue and with
       ongoing Defendant tortfeasance, continue to accrue) after completing two mentorship
       training experiences under high-8-or-well-into-9 figure-transaction-volume brokers.
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               some oblique association with Columbia University to the extent of attending

               some classes related to the study topic and using the library, in 2007. The Course

               was based on Aristotle's notion of the "The City as a Teacher" and sought to

               examine the built environment and construable government interests with regard

               to planning: focusing particularly on a dichotomy of applications in Jane Jacobs

               and Robert Moses: how does the City facilitate eudaimonia (the object of

               wisedom, as would be said in the philosophical terms) or tax eudaimonia with its

               built environment. Plaintiff had the opportunity to conduct a few other such

               independent studies: examining "Ethics of Web Friendship," which Plaintiff

               attempted to, indirectly, use to obtain a summer position at the Washington Post

               trying to convince an executive that such as Facebook could take over the News

               business if it applied itself correctly (and thus Washington Post, should invest in

               its own software (competing platform82) with Plaintiffs assistance), and more

               relevant, Plaintiff studied how the Constitutional framers of The United States

               sought to use the best lessons from the history of ancient Rome and Greece to not

               fail 83 in reincarnating a democratic State.   Constitutional enforcement against

               tyranny is quite literally a major subject of the instant Vindication, particularly

               rasing the need for the patticular Substantive Due Process Co A84 designed against

               systemic corrupt government usages, practices, and policy (including written

               policy chosen to allow scarcely written corruption and racketeering policy-such

        82
           Plaintiff has been since serious undergraduate courses a middling mathematician and
        classicist, among other continuing academic interest: Plaintiffs math knowledge is
        mostly in pure mathematics-translatable into computer science-of which Plaintiff does
        have fundamental training and knowledge.
        83
           See tyranny, discussed at, []
        84
           ( , , 125, 126, 127,128,136, [149])

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              as weakness of law enforcement data systems to facilitate municipal and

              racketeering fraud 85 ).   The largest latest accruing injury involves Defendants'

              injuring Plaintiffs 2013 drafted contract (et cetera) as a part of development

              project of which the municipality had some 2013 notice regarding its strong

              interests and its role (including privately supported public infrastructure not

              otherwise built). 86 [synopsis RE: injuries, more generally as not indicated supra:]

        41.   Defendants, across the tortfeasance, made and make it increasingly impossible

              (through Defendants' action and specific words and manner, continuing) that

              Defendants' are not operating precisely what Ms. Obi described, racketeering

              (police sex bribery was the component Ms. Obi admissibly described in detail and

              then executed against Plaintiff-an irony Plaintiff raised to Defendant Brown on

               8 January 2014-of which there is no excuse but Defendant unconstitutionality

              for Defendants' non-production (given Plaintiffs immediate notice to Internal

              Affairs-which incidently led to the Internal Affairs finding that Defendant

              Brown was not on duty and not-according to written municipal policy allowed to

              be wearing). 87 Internal Affairs, in discussing in the Spring of 2015 why such

              finding of Internal Affairs had not ceased the wildly, horribly, and life



        85
          Particularly, to thwart the post-Mollen review (demonstrated succinctly in a 2017 IAB
       interrogation
       86
           ( of which Plaintiff cannot discuss in certain detail without seal and (on another level,
       with record) to prevent third party injury, et cetera)-see injuy c # [1 ]; and of which the
       City would strongly prefer to the alternative, which does not involve Plaintiff (accrual has
       occurred as the weaker-municipal-interest alternative has received excluding go ahead in
       February of 2019 as Plaintiff immediately noticed to the Docket.
       87
          Which is among the reasons Plaintiff was seized for no reason but to wait for
       Defendant Brown while he went home, dressed, and got Officer Hellberg (who was also
       not on duty) to dress and drive Defendant Brown to Plaintiff for police sex bribery with
       Ms. Obi
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              destroyingly fraudulent Action against Plaintiff (different personnel) dramatically

              furthered the retaliation against Plaintiffs petition against municipal government

              corruption upon Plaintiff's next accruing tortious and unconstitutional seizure.

        42.   Among the red flags of the information-assemblage 88 are: reference a piece of

              pseudo-evidence Defendants knew was fraudulent (and otherwise non-existent)

              and thus it was never collected into the assemblage (a glaring red flag hole in the

              information); reference to physically-impossible physical acts (inherent from

              examination of the text); no explanation for the chronological irregularities

              (which pertained to the forcing by the "constitutional-operator" 89 at the KCDA to

              have "the penultimate" Admit was based in Brady-violation obstruction90 of the

              relevant or material police witnesses); inherently identifying a witness and yet

              asse1ting "zero" witnesses (the Admitted-only-9-1-1 caller, clearly a witness from

              the 91 audio, that Defendants knew to be a contrary witness and thus Brady-




        88
          Which as it was created to be defaming and injuring Plaintiff and thus naturally
       increasing damages to Plaintiff with any or every publication, should not be published to
       the Docket, but treated with appropriate care to prevent aggravation and continuing
       injuries to Plaintiff caused by Defendants' injuring to Plaintiff.            Plaintiff will
       subsequently discuss as necessmy.
       89
          See Affidavit~ 1.41 regarding the "constitutional-operator." As Plaintiff still has been
       refused basic FRCiP # 26(a)(l )(A)(i) identifications from Corporation Counsel, even
       upon the 19 February 2018 identification requests still (evaded and) unanswered, Plaintiff
       must continue to reference certain persons by such identifications. The "constitutional-
       operator" is described as such as it was the one person (or with another) of those involved
       at KCDA who, instead of reinforcing the obstructions that were red flags with the
       information-document: forced the "penultimate" to admit "Brady-violation (court
       reporter text-which has been otherwise discussed aside from this citation)"
       9
        °
       91
          Complaint~ 27
          (tortiously redacted of Plaintiff's opening statements declaring being under attack);
       which Corporate Counsel tortiously suggested had to do with the protection of a phone
       number which was provided in the middle of the recording, not the beginning, (point
       related to other Defendant tort)
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               obstructed92); after its first (and wildest) iteration, always in conflict with prior

               iterations. Essentially, the information-document failed 93 who, what, when, how

               review based on fraud originating from the 81 st Precinct: all agency (with

               leadership) involved at the KCDA, IAB, and 81 st Precinct only responded to

               various layer flaws and red flags raised by Plaintiff in objections, inquiries,

               forcing attention and the supposed administrative remedies (IAB, CCRB, et

               cetera) only to enforce the obstructions and overtly increase Defendants'

               expressions of knowledge of the red flags of the information-assemblage

               (furtherance)-until the constitutional operator's forcing the penultimate to make

               Admission of Brady violation obstruction et cetera.

        43.    Plaintiffs "Exhibit A" of Plaintiffs mid-May 2019 Filing cites the O.F.C., which

               as it was made with quite essentially nothing but lay knowledge and intent ( Case

               so obvious that a jury would by unconstitutionally shocked (which is arguably as

               perceivable to the lay as to the law) if that jury were told the law did not allow

               such as punitive damages to Plaintiff and injunctive relief including municipal

               reform (e.g. Defendants explicitly threatened on 7 May 2015 (at 120

               Schermerhorn) that Plaintiff totally shut up about internal affairs police corruption

               or Plaintiff was going to death or gagged-solitaiy without ever seeing or saying a

               word to a jury (the reason for Plaintiffs premature prope persona Complaint

               Amendment being made prematurely was to re-incorporate into the federally-

        92
           even upon 81 st Precinct receipt of notarized "testimony" document in 2014 from the
        Admitted-only-9-1-1 caller
        93
           Though such is ce1tainly not the limit of the to1t the instant Action addresses regarding
        the tortiously formed, maintained, and subsequently treated information-assemblage and
        other process, nor, certainly, the main tort or nexus of the variety addressed by the
        Action, 17-CV-4519.
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              enacted Pleading fresh notice of the Count from the O.F.C. on the 2018

              anniversary of the Count))-i.e. in stating the Claim in the O.F.C., no need for

              legal knowledge or inquiry beyond lay facts statements seemed (nor was-for

              complaint status-as it included damages with equity power) the least bit

              necessary (given this shocking, obvious, and inherent nature) for Plaintiff to

              establish in written statement cause for the Court to grant Plaintiffs request of 31

              March 2015 that Plaintiff be immediately allowed court hearing for Plaintiffs

              damages: therefore (all-the-more with consideration of such as Defendants'

              coercing and imposing duress), the O.F.C. should be, generally, delimited-

              outside establishment of Plaintiffs uses. The assault (et cetera) of 7 May 2015

              did further quiet Plaintiffs petition activity (as Plaintiff was obligated to mitigate

              and reduce risk of damages such as death) and did delimit Plaintiff, necessarily,

              from initiation of further contact to NYC police. All of the facts of the instant FN

              have been already asseverated to the Docket and are completely consistent with

              and supported by the universe of evidentiaiy material.

        44.   Plaintiff described (to the Docket in 2018) a strong indicator of the severe more-

              than-intentional-infliction-of-mental-anguish     having    been    aggravating    of

              Defendants' prior and continuing inj urying as Plaintiffs having been encouraged

              by a State of Italy Attorney to consider Asylum in Italy rather than to risk

              continuing to appear in the Autumn of 2015 given Defendants promised

              escalation of retaliation after having destroyed Plaintiffs life and homicidally

              menaced Plaintiff with such comfort, establishment, practice , and ease.




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        100.    Legal-categories of the Cause of Action (abbreviation CoA) are identified in the

                foregoing,, 101-155; a frequently used word for differentiation multifarious the

                legal bases of Action is species. 94 Defendants' tort broadly offends common law

                and the constitution as applied in bill of rights enforcement law via the Fourteenth

                Amendment so that most Counts have many legal means of recovering. The

                "CoA" tags are used to demarcate at least most of each individual attachment of a

                Claim to a Count, i.e. every Count contains significations of at least most of the

                Claims which independently attach (some Claims are aggregates of Counts and

                thus are reached by clusters of Counts rather than an individual-the

                identification of a Claim in a given Count paragraph (which start at , 200)

                signifies particularly that the finding of the Count reaches the identified Claim(s

        101.    Cause of Action legal-catego1y Civil R.I.C.O. (18 U.S.C. §§ 1961-1968) (CoA[A]

                "Alpha") is best stated95 in Claims (under Second Circuit and New York City

                (districts) local pleading standards) with reference to the three of the four forms of

                § 1962: b-d (by which Defendants could be criminally prosecuted (by, likely,

                many of the United States Attorneys across the country) under Title 18 under the

                distinct criminal-law-adjudication standards). See, 612 for further description of

                Civil R.I.C.O. Claims varying by subpart of § 1962. Certain Counts labeled



        94
           Plaintiff takes difference with the term species for several reasons, thus it is only, here,
        included as a reference to familiarize Plaintiffs organization to the reader. Plaintiff uses
        the term legal-categories of Cause of Action, or "the" Cause of Action. Even with the
        distinguishable legal categories there are distinct groups operating, each "legal-category"
        comes from a distinct source or body of law drawing causes for the Adjudication.
        95

        introducto1y paragraphs   c,,
           the instant paragraph sufficiently surmises (additionally by reference to content in the
                                       2-[]) and reference forward to the Claims statements and
        Civil R.I.C.O. predicate paragraphs) as (and serves in lieu of) such as an adjoining case
        statement
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              XCI-XCVI (though not precisely in that order) allow configuration of the

              enterprise and the enterprise-within-the-enterprise (Claims are stated as operating

              with the larger racketeering enterprise or the more particular sex-bribery-ring

              enterprise within the larger enterprise). The Civil R.I.C.O. which reference the

              Civil R.I.C.O. predicate acts introduced at 'II 1300   The    two        Counts   could,

              perhaps,   be    compared     to   micro    and   macro      economics      where    the

              microracketeering is the police sex bribery ring and the macroracketeering the

              larger system of which it is part of which the former is part, more broadly

              encompassing the municipal corruption racketeering of law enforcement-which

              is, perhaps, the most fundamental cause of Defendants' injuring Plaintiff, et alia.

                              While there are two R.I.C.O. Counts, there are many Counts for

              which the finding of which finds concurrently either of the R.I.C.O. Counts, such

              as Count I, the Defendant Default Count.

       102.   Cause of Action legal-category "Battery" invokes the well-established common

              law tort (and is abbreviated: CoA[B] "Beta"). Battery recovers damages 96 for the

              Defendants' causing of harmful physical impact 97 upon Plaintiff.             Battery is

              considerably applied as joint-State-action as described at    'II 3-6.   The police-sex-

              bribery-participating-and-recruiting women explicitly described authorization,

              approval, furtherance, and protection the women had experienced in using

              battering victims that participating police would subsequently fraudulently arrest

              as en suite completion and furtherance had identified element of the battery of the



       96
         see [bodily harm injuries] ,i [] and Remedy 'I[ 1202
       97
         [cut:] see Counts C[] C[] C[] C[] C[] C[] C[] at '1!'11 []; and (Defendant C tight
       unprivileged application of wrist restraints) C[] at 'II[] and Claims at ,i []
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               racketeering victim pursuant to the fraudulent arrests, et cetera.        Ms. Obi

               specifically articulated the intent, expectation, eagerness, authorization, and

               guaranteed furtherances Ms. Obi had to ensure Ms. Obi's successful State-action

               battering of Ms. Obi's selected victims.         Compensatory recovered under

               respondeat superior.

       103.    Cause of Action legal-category "Assault" invokes the well-established common

               law tort (and is abbreviated: CoA [Ml "Mu"). [clip: Assault recovers damages98

               for the Defendants' causing harm to Plaintiff from Plaintiffs natural and

               reasonable apprehension of Defendant's causing harmful physical impacts99 upon

               Plaintiff. A considerable amount of Defendants' to1tfeasance of assault against

               Plaintiff were commited in conjunction with, upon, and as aggravations of

               batteries and under State-action described at ,i 6, though a considerable amount of

               the injury results from compounding and aggravations. Compensatory recovered

               under respondeat superior.

       104.    Cause of Action (abbreviated: CoA[T] "Tau") represents a variety of potentially-

               distinguishable action for Trespasses of Personalty and Real Estate (other than

               Conversion, Reputational Prope1ty, and Tortious Interference with Economic

               Advantage) which are stated at ,i 105 and ,i 139, respectively) operating under

               common law. Tortious acts include description of trespasses by terms such as

               violations, invasions, destructions, and interference. [Search common law

               equivalent] Compensatory recovered under respondeat superior.

        98
           see [fear of harm from physical contact injuries and harm paragraph(s)] ,i [] and
        Remedy ,i 1203
        99
           see Counts C[] C[] C[] C[] C[] C[] C[] at ,i,i []; and (Defendant C tight unprivileged
        application of wrist restraints) C[] at ,i [] and Claims at ,i []
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       105.   Cause of Action legal-category "Conversion" invokes the well-established

              common law tort, which is also construed as "civil theft" (and is abbreviated:

              CoA[K] "Kappa"). The legal-category of Cause of Action is significantly applied

              to Defendants both as State-action under ,i 6 and [in joint furtherances under the

              en suite part of the contract] as well as better suiting part of the injury of some of

              Defendants' continuing and most recent Counts, although with the latter-it is

              likely that ,i 124 would be preferable for final Adjudication of the means, amoung

              eligible means of recovery. Although the recovery under conversion is a smaller

              portion of the one-full-Plaintiffs-recovery: the finding of most of the Counts to

              which conversion applies is necessary for additional reasons, hence-there are

              necessary contigent reasons for determining the Counts to which Conversion (or

              Conversion by itself) applies.      There are at least five kinds of Defendant

              conversions against Plaintiff: misappropriation of audio and the tortious staging to

              procure such audio (this kind overlaps with Fourth Amendment seizure CoA[Z]

              stated at ,i 121. A second type of conversion is Ms. Obi's thefts of Plaintiffs

              chattels (Claims ## 5.-5.). A third type of conversion is the taking of Plaintiff

              lease arraignment and with two months lost (the dislocation expenses of storage

              and travel are address at the Due Process violation implication the Liberty Right

              of Movement and Travel at ,i 133); A fourth kind of conversion is Ms. Obi and

              Defendant continued tenure of evidentiary materials that should have been and

              should be produced. Compensatmy recovered under respondeat superior

       106.   Cause of Action legal-category "Outrage" invokes the common law tort (and is

              abbreviated: CoA [M] "Mu"CoA[O]). Outrage is applied (as is well established



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               as in New York law) as continuing tort. Outrage is also known by other names

               including: intentional infliction of mental anguish; the Second Circuit has

               established that where another legal-category of Cause of Action is actionable-

               recovery should, in most cases, be under the latter rather than outrage. Outrage is

               widely applicable to Defendants' tortfeasance injuring Plaintiff given the amount

               of Defendants' tortfeasance that shocks the conscience. To a certain extent, the

               statement of Defendants' tortfeasance as being so shocking is consolidated with

               the statement of Outrage Claims, which are referenced in discussing the same

               with such as substantive due process and punitive damages, et cetera. All types of

               operating State-action as discussed at   '1!'11   5-6, and 'I) [] apply considerably to the

               statement of Outrage Claims.        Compensatory recovered under respondeat

               supenor.

       107.    Cause of Action legal-category "Tortious Confinement" 100 invokes the common

               law to1t redressing Defendants' tortious seizing of Plaintiff (and is abbreviated:

               CoA[Z] "Zeta;" the other legal-categories of Action against tortious seziures and

               Fomth-Amendment implicating action are likewise abbreviate with [Zeta]: for the

               instant: [Z]?). 101 The finding of Counts to which [Z]7 recovers is also recovered

               under [Z]2 l Claims, the insant legal-category of the Cause of Action

               predominates in the final selection of Remedy from the several available means

        100
              "Tortious confinement" was used to mean the same thing recently (case) in the
        Eastern District of New York; thus Plaintiffs less-prejudicing nomenclature (formed
        from the language of such as the Restatement) has precedence in the Eastern District.
        101
            of which each may be distinguished in such abbreviation by the abbreviations' pairing
        with the number corresponding to the paragraph after 'I) 100: 'I) 120 Fourth Amendment
        Search CoA ([Z]20), 'I) 121 Fourth Amendment Seizure CoA ([Z]21); 'I) 122 Fourth
        Amendment Quasi-Process CoA ([Z]22); 'I) 123 Common-Law Quasi-Process CoA
        ([Z]23)
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                  (for compensatory damages) given the preference for a State common-law

                  Remedy where equal relief may be had and the preference for State-law where the

                  state law Remedy difference is the States preferred differentiation from the

                  Federal convention under the constitutional Remedy arrival: thus the New York

                  law respondeat superior for the applies.         Compensatory recovered under

                  respondeat superior.

       108.       Cause of Action legal-category Equal Protection Clause Violations of Plaintiff by

                  Defendants' Tort Against Defendant's Racketeering (Corruption) Victims

                  (abbreviated: CoA[E] "Epsilon": "[E]8" distinguishes racketeering victim class

                  application of action under Equal Protection from the other two legal-categories

                  under Equal Protection 102).    The legal-category of CoA is actionable via 42

                  U.S.C. § 1983 for Defendants' injuring of Plaintiff as a Defendants' racketeering

                  victim or organized corruption victim. It is inherent that the racketeering and

                  corruption practices Defendants have practiced and continue to employ to injure

                  Plaintiff, which inherently required experience and knowledge based on

                  experience to have so employed (in so many ways in regard to various aspects of)

                  Defendants' racketeering and corruption tortfeasance. Defendants' employments

                  of these honed, tailored, and statistically-impossibly of spontaneous design

                  demonstrate developed practice of employment of the injuring for analogous

                  corruption and racketeering purposes; development of the techniques would only

                  be perfo1med in an environment employing racketeering and corruption and

                  seeking to improve operability and power of racketeering and corruption and so



        102
              [E]9 & [E]l0 are listed at ,i,i 109 & 110
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                  casually availed with the low activation-energy-threshold provmg regular

                  employment across similarity selected racketeering and corruption victims. Once

                  racketeering and corruption victims have been made aware of acutely-wanton

                  fraudulent victimization by law enforcement-the larger well of corruption and

                  racketeering is available as it is presumed a blank check may be used as the

                  victim will eventually be shut up (typically coercion to waiver agreements with

                  plea deals) or discredited with sufficient consistency that the risk such as the

                  instant Action reaching the Constitutionally mandated hearing in spite of

                  Defendants efforts, including instructing Corporation Counsel to attempt

                  obstruction of such as the instant Action.        Some Claims conform to Selective

                  Enforcement and Selective Legal Process Claims known under Equal Protection

                  Clause enforcement.

       109.       Cause of Action Action legal-category Equal Protection Clause Violations of

                  Plaintiff by Defendants' Tort Against Defendant's Racketeering (Corruption)

                  Victims (abbreviated: CoA[E] "Epsilon": "[E]9" distinguishes Defendants'

                  disparate-injuring-of-Plaintiff-as-a-particularly-identified-Defendant-team-victim

                  application of action under Equal Protection from the other two legal-categories
                                                   103
                  under    Equal    Protection).            Defendants'   specific   injuriously-disparate

                  tortfeasance in place of procedure (including tortious misuses and abuses of

                  procedure-which otherwise applied could be constitutional) as Plaintiff was to

                  be tortiously injured given Plaintiffs petition and pa1ticularly injured in other

                  ways, particularly with regard to calculations of Defendants' racketeering and



        103
              [E]8 are E] 10 are listed at ,i,i 108 & 110
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              corruption mechanisms with resepect to what Defendants' believed would ensure

              elimination of threat from Plaintiffs petition needed and appropriately availed

              under the levels and methods of consideration by which Defendants' employ

              Defendants' retaliatory racketeering and corruption, et cetera.

       110.   Cause of Action Action legal-category Equal Protection Clause Violations of

              Plaintiff by    Defendants'    Tort   Against   Defendant's       Anti-Miscegenatory

              Disctimination (abbreviated: CoA[E] "Epsilon": "[E] 1O" distinguishes anti-

              miscegenatory victim-class application of action under Equal Protection from the
                                                                         104
              other two legal-categories under Equal Protection).                Defendant Brown

              particularly disparaged Plaintiff as being a miscegenator and Defendants'

              tortfeasance carried the unequal aspect of injuring seeking to intimidate Plaintiff

              against crossing from Plaintiffs euroid racial description to relations with women

              of more sub-saharan african racial description. Anti-miscegenato1y policies in

              practice from before by New York police from a bureaucratic level have been the

              subject of considerable legislation including a recent harassment action

              concerning police administrative tolerance and fostering of antimiscegenation

              against a policewoman in Manhattan.          Defendants,' prompted initially by

              Defendant Brown's instigation (which was related to Defendant Brown's sexual

              benefit receipt from Ms. Obi-beyond and as demonstrated 105 by Defendant

              Brown in Defendant Brown's words and actions at the 'I] 28, infra, tortious

              appearance including stating on Defendant Brown's way into Ms. Obi's room for



        104
          [E]8 & [E]9 are listed at 'l]'l] 108 & 109
        105
          as Plaintiff has related to such as the audio recorded by the CCRB produced by
        Defendants, and otherwise consistently to police, et cetera, since 8 October 2014
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              Ms. Obi's initiation of repayment that Plaintiff should know better than to have

              relations with black women), sought to carry forward Defendant Brown's

              penultimate instruction to Plaintiff: i.e. before a final shut up, as Defendant

              Brown encouraged all of     'I! 28 and 'I! 29, and Defendant-tortfeasors of the 81 st
              Precinct, generally, to tortiously injure Plaintiff with respect to Defendants' anti-

              miscegenation and prejudices against a trope of African Americans. As Plaintiff

              has many times asseverated to records and the Docket, Defendant Brown's taking

              Ms. Obi's information regarding Ms. Obi's then-a-degree-mixed feelings towards

              Plaintiff 106 was self-serving by Defendant Brown and Defendant Brown's

              instructions portending obstruction of administration (i.e. a violation) for non-

              compliance with Defendant Brown's instructions that prevent Plaintiff from

              speaking (which had other racketeering motive as the less other ,i 28 knew beyond

              what racketeering instructions ,i 28-other-than-Defendant-Brown were given the

              easier the racketeering operation could be performed.

       111.   Cause of Action legal-category "Tortious Interference with Economic Advantage"

              invokes the well-established common law tort, (abbreviated: CoA [I] "Iota").

              Noticeable that joumal indicated arguably bad news for a certain project Plaintiff

              had not yet gotten into contract but which City, principles, and players had been

              engaged with Plaintiff having begun the drafting process with legal

              representation-Plaintiff referenced the matter in mutual protective order

              discussions.

        106
          in spite of Plaintiffs text messages of 7 October 2014 to Ms. Obi clearly seeking to
       undermine Ms. Obi's exploitative intent in using malicious records to dramatize
       fraudulent descriptions of relations between Ms. Obi and Plaintiff seeking tort including
       unlawful enrichment in violation of§ 50 regarding publicity (see ,i 112, infra).
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       112.       Cause of Action legal-category "Hanassment Violations Privacy" (abbreviated:

                  CoA [Il]l8) Applies New York harassment statue as construed in suxh as Nader

                  and Gallela. Compensatory recovered under respondeat superior.

       113.       Cause of Action legal-category "Libel" invokes the well-established common t01t

                  applicable to published-Defamation (abbreviated: CoA[l'l] "Delta," [l'l]l3; the

                  other legal-category of Action addressing Defamation at common law is stated at

                  1   114). Most of the Defamation injury to Plaintiff has been by Defendants'

                  libelous publications: much of which was and is outright fraudulent. Plaintiff

                  raises the issue of addressing some of Defendants' most simply actionable and

                  essentially admitted libel to mitigate and reduce continuing damages or to lock in

                  mitigations Plaintiff is holding until such Stipulation or Adjudication. 107 Libel

                  Claims statements are collected in paragraphs with Slander Claims and, generally,

                  Unconstitutional Injuring of Liberty Interest in Reputation           (1   134) and of

                  Reputational Property   (1 139)--and to a lesser extant the pure substantive due
                  process regarding tyrannical disinformation and extortive coercion with

                  defamation and threat of defamation      (1 136). Compensatory recovered under
                  respondeat superior.

       114.       Cause of Action legal-category "Slander" invokes the well-established common

                  tort applicable to strictly to oral publication of Defamation CoA[l'l]: (abbreviated:

                  CoA[l'l] "Delta," [l'l]l4; the other legal-category of Action addressing Defamation

                  at common law is stated at   1 113).   As explained at   1 113,   supra, Defamation at

                  common law (and constitutional reputational injuring of Plaintiff by Defendants)



        107
              See injuies 1 []
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                 Claims are listed in the Claims paragraphs, generally as a group. Compensatory

                 recovered under respondeat superior.

       115.      Cause of Action legal-category "Fifth 108 Amendment Due Process and General

                 Fair Trial Violation" operates via 42 U.S.C § 1983 (abbreviated: CoA[<D] "Phi")

                 applies enforcement of the Fifth Amendment with regard to Defendants'

                 fraudulent partial use of coerced statement and more, generally, as the Fifth

                 Amendment is otherwise constitutionally construed as a bridge 109 between the

                 Fourth and Sixth Amendments. With regard to the "General Fair Trial Violation"

                 usage, Sixth Amendment principles or protection may dominate any involvement

                 of Fifth.

       116.      Cause of Action legal-category Deprivation of the Right to a Fair Trial operates

                 via Title 42 of the United States Code§ 1983: the most used application of fair

                 trial right legal-category is "Freedom from False and Fabricated Pseudo-

                 evidence," which the Second Circuit stare decisis most frequently describing as

                 being violation of "right to a fair trial" and While Plaintiff distinguishes this legal-

                 category of the Co A as being the encompassing "Sixth" Amendment tort action:

                 the Second Circuit describes it (at least in regard of Defendants' fabricated and

                 pseudo evidence violations as being a mix 110 of the Sixth with the Fourth and

                 Fifth. Various spoliation, fabrication, and fraud of Defendants against the King's

                 County proceding against Plaintiff were also commited to obstruct Plaintiffs




       108
             Fifth Amendment application is not entirely limited to ,i 115, e.g. ,i 116
       109
             Citation to scholar needs additional time to properly cite, et cetera
       11
            °Citation to scholar needs additional time to properly cite, et cetera
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                  ability to prosecute the instant vindication 111 of Plaintiffs constitutional and

                  tortious injuries and Plaintiff noticed to Defendants and Defendants' attorneys at

                  every chance of which Plaintiff was aware or given-which clearly raised further

                  retaliatory Fair Trial Right violations.      [Other Claims such as coercion of

                  attorneys, particular duress put on Plaintiff (7 May 2015), et cetera].

       117.       Cause of Action legal-category Deprivation of Privacy (abbreviated: CoA [IT]l 7)

                  operates via Title 42 of the United States Code § 1983 upon Due Process reflect

                  constitutional dimension privacy Claims. Previous statement was made in DE #

                  70 at 1 117, which needs restatement.

       118.       Cause of Action legal-category "Misappropriation of Privacy" is based from the

                 New York Civil Rights Law § 50 against misappropriated publication, which

                  includes misappropriated voice audio of the victim (abbreviated: CoA [IT]18).

                  Description drafted, but need reiteration

       119.       Cause of Action legal-category "Unconstitutional Force" violating the Fourth

                 Amendment is brought via 42 U.S.C. § 1983 (abbreviated: CoA[Z], "Zeta"

                  [Z] 19). Most of the injuring force Defendants' waged upon Plaintiff was under

                 Defendants' corruption and racketeering posse commitatus opening to the Obi-

                 Brown police sex bribery contracted bargain. The police sex bribery racketeering

                 and corruption to which Ms. Obi was recruited has been frequently used with the

                 corruption and racketeering posse commitatus opening for the ensuite closing by

                 State process delivered by the completion of the posse commitatus with the an-ival

                 of the police participant-such completion being the promise upon which the



        111
              Thus overlap with [Gamma]24
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              women's actions had faith and for which the police participant would recover sex

              benefit returned for the police participants' fraudulent action.

       120.   Cause of Action legal-category "Injurious and Unconstitutional Search" violating

              the Fourth Amendment is brought via 42 U.S.C. § 1983 (abbreviated: CoA[Z],

              "Zeta" [Z]20). Defendants' unconstitutional search tort involves planning Claims

              and execution upon various planning Claims.         Brought with planning Claims

              (identified in the Counts)

       121.   Cause of Action legal-category "Injurious Unconstitutional Seizure Not-As-If-By-

              Process" violating the Fourth Amendment is brought via 42 U.S.C. § 1983

              (abbreviated: CoA[Z], "Zeta," [Z]21). Cause of Action is distinct in that unlike

              the Tortious Confinement CoA[Z] at ,i 107, this Cause of Action is based on the

              Fourth Amendment to the U.S. Constitution rather than common law.

       122.   Cause of Action legal-category "Injurious Unconstitutional Seizure As-If-By-

              Process" violating the Fourth Amendment is brought via 42 U.S.C. § 1983

              (abbreviated: CoA[Z], "Zeta," [Z]22).

       123.   Cause of Action legal-category "Injurious Tortious Seizure As-If-By-Process"

              brought at common law (abbreviated: CoA[Z], "Zeta," [Z]23). Very similar to ,i

              122, supra, but worth distinguishing for clarification of the schedule for final

              recovery-and large utility on such. Compensat01y recovered under respondeat

              supenor.




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       I 24.   Cause of Action legal-category "Obstruction of Justice in the Vindicating of the

               Constitution"ll 2 under 42 U.S.C. §1985 (2) (abbreviated: CoA[f], "Gamma").

               and as Plaintiff has noted in recent Filings each is a crime against the United

               States: the conspiracy furthered stems from the Defendant corporations'

               employees maintaining racketeering acts in pursuit of benefits from non-

               employees and various acts furring the enterprises of the police sex bribery and

               general corruption racketeering enterprise benefit-seeking: the conspiracy

               addressed by the Action has involved a lengthy series of furtherance involving

               many Defendants and non-employees-of-the-Defendant-corporation: including

               the women-police-sex-bribery-racketeering-participants who recruited Ms. Obi,

               Mr. Peter Appel, Ms. Doreen Ierardo, Ms. Rita Obi, Mr. John Gutman, Mr. Gabe

               Harvitz, and other racketeering participants.

       125.    Cause of Action legal-category Vindicating the Substantive-Due-Process-

               Violating Municipal Tyranny and Corruption, Generally (abbreviated:CoA[Y]

               "Upsilon" [Y]25) which rises to constitutional magnitude which applies to many

               Counts and corrupt Defendant configurations and material to be covered. The

               category of Cause of Action being broad ensures the specifically the corruption

               element of the Defendant liable event may be examined with greater focus and

               independence than simple punitive damages by a tort instrument pinpointing the

               vindication of this top constitutional prerogative. The instant category of Cause

               of Action is brought under§ 1983 of Title 42 of the United States Code.




        112
          Alternatively stated (or more conventionally), in "Obstructive Conspiring of Civil
       Rights Proceeding"
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       126.   Cause of Action legal-category Vindicating the Substantive-Due-Process-

              Violating Municipal Racketeering (abbreviated:CoA[Y] "Upsilon" [Y]26). Civil

              R.I.C.O. is limited to a scope of relief which is vital to the recovery of Plaintiffs

              professional damages and Civil R.I.C.O. punishes Defendants for those and

              provides first recovery of certain accouterment with those: Civil R.I.C.O. leaves

              off the vindication of jury punishment of municipal racketeering: among

              particular concerns are the police sex bribery ring which recruited Ms. Obi and

              the vindicating of the serial violation is among the necessary prerogatives of this

              distinct means of vindicating Defendants' Substantive Due Process violations.

              The matters of 17CV4519 are full of the shocking State trading of benefits as part,

              surrounding, driven by, and consisting of racketeering. The instant category of

              Cause of Action is brought under§ 1983 of Title 42 of the United States Code.

       127.   Cause of Action legal-category Vindicating the Substantive-Due-Process-

              Violating Operational Facilitation Designed to Incorporate, Permit, and not

              Prohibit Corruption, Racketeering, and Fraud (abbreviated:CoA[Y] "Upsilon"

              [Y]27) Focuses of application of systemization of corruption including IT

              Systems and fake results broadcast by mini-Mollen under Title 42 of the United

              States Code § 1983.       Corrupt facility, i.e. organization of corruption and

              racketeering facilitation. The instant category of Cause of Action is brought under

              § 1983 of Title 42 of the United States Code. IT

       128.   Cause of Action legal-category Vindicating the Substantive-Due-Process-

              Violating (abbreviated:CoA[Y] "Upsilon" [Y]28) use of racketeering to exto1t

              Plaintiff with secretly recorded material, including from staged situations where



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              Plaintiff had full expectation of privacy (which is itself Fourth Amendment

              Seizure), as a product of local operating po lice sex bribery rings. brought under

              § 1983 of Title 42 of the United States Code.

       129.   Cause of Action legal-category Vindicating the Substantive Due Process

              Violation of Defendants' Horrific Tyrannical Disinformation (CoA[Y]) operating

              under Title 42 of the United States Code's § 1983.            Such is distinct from

              Defamation Cause of Action (Libel and Slander) m that the focus the

              substantively violative nature of more-than-malicious false. A particular focus of

              what the instant paragraph's category of Cause of Action addresses is Defendants'

              particular tyrannical and racketeering objective of using State power to fabricate,

              spoliate, defraud information, material, or evidentiary material to discredit victims

              which has paiticularly egregious character in constitutional examination that for

              Defendants' employment of such, ongoing, the Court may penalize Defendants by

              adjudicating of jury award of Substantive Due Process penalty as in with

              especially the other CoA[Y], "Upsilon" Substantive Due Process and categories

              brought in the 1 1104 Adjudication.

       130.   Cause of Action legal-category Tyrannical State-Power Mortal Hazarding

              (CoA[Y] "Upsilon" [Y]49)) Violating Substantive Due Process via Title 42 of the

              United States Code § 1983 is related to the tort of assault, however, the instant

              categmy of Cause of Action examines with particularity the indifference of

              municipal corruption to inflicting or risking life-ending racketeering, et cetera.

       131.   Cause of Action legal-category Denial of Vindication Hearing Procedure under

              Title 42 of the United States Code § 1983 Procedural Due Process (CoA [~],



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              "Sigma").    Plaintiff has sufficiently Plead actions of Defendants for such

              important aspects of Defendants' injurious deprivation of Plaintiff for such

              categories of Cause of Action are important for juries' considerations of the

              injuries, constitutional deprivation, and scope or tortious conduct at law.

       132.   Cause of Action Violation Due Process Rights in Takings under Title 42 of the

              United States Code § 1983 (CoA [E], "Sigma"). Plaintiff has sufficiently Plead

              actions of Defendants for such important aspects of Defendants' injurious

              deprivation of Plaintiff for such categories of Cause of Action are important for

              juries' considerations of the injuries, constitutional deprivation, and scope or

              tortious conduct at law. Substantive violation of taking and process of taking (i.e.

              including constitutional-violation based conversion-tort).

       133.   Duty to Administer Consitutional Systems, Technical Operations Model, Data

              Systems under Title 42 of the United States Code§ 1983 (CoA [E], "Sigma")

       134.   Cause of Action legal-categmy "Failure to Investigate" under Title 42 of the

              United States Code § 1983 (CoA [E], "Sigma") (from among rights as the to the

              police duty of investigation-

       135.   Cause of Action legal-category "Failure to Intervene" in under Title 42 of the

              United States Code§ 1983 (CoA [E], "Sigma").

       136.   Cause of Action legal-category Access to Courts Due Process Deprivation

              operates via Title 42 of the United States Code § 1983 (CoA [E], "Sigma").

              Considerable amount of Remedy is simply that the instant Action gets full hearing

              in spite of Defendants' obstructions and attempted obstructions.




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       137.   Cause of Action legal-category "Petition Retaliation Vindaction under the First

              Amendment" (abbreviated CoA[P] "Rho") via 42 U.S.C. § 1983 functions to

              bring Claims reaching full relief upon most Counts-as such the function would

              by itself reach most or all relief-though stare decisis would have such as Counts

              implicating Fourth Amendment be finally stated to be reached by the Fourth

              where both the First and Fourth reach the relief on the said Counts: the First

              Amendment does, operating on its own even more than Outrage (see ,i 106), bring

              most relief. Applicable from Plaintiffs active objection to Ms. Obi's State-action

              racketeering or on the basis of Plaintiffs approaches to Internal Affairs, King's

              County, et cetera.      Petition activity encompasses Plaintiffs Petitions against

              racketeering    generally   and   Plaintiffs   victimization   by    that     municipal

              racketeering.

       138.   Cause of Action legal-category Substantive Due Process Petition Retaliation

              (CoA[P] "Rho") under Title 42 of the United States Code§ 1983 is brought from

              Plaintiffs cooperation with Brooklyn College regarding Plaintiffs reporting of

              Ms. Obi's committing State-action racketeering, et cetera, crime against a student

              at Brooklyn. Claims are organized by Petition event tracking CoA[P] # 37, i.e.

              First Amendment petition, i.e. given the nature of retaliation actions, the

              subsequent tort furthering the retaliation is brought under the retaliation action as

              is describedat,i 137.

       139.   Cause of Action legal-category Deprivation of Reputational Property under Title

              42 of the United States Code§ 1983 (CoA[O], "Omicron"). Plaintiff has suffered

              damages in such as capital built up in digitally extant reputational property qua



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              branding built from SEO expenditures, et cetera, to be discussed under the mutual

              protective order.

       140.   Cause of Action legal-category Failure to Train Violating Due Process under Title

              42 of the United States Code § 1983 (CoA[0], "Theta"). Plaintiff needs

              considerable discovery of the training materials to precise address substantive

              deficiency and in concert with the other tort analysis of Defendants' racketeering,

              criminal, unconstitutional, et cetera dysfunction which has injured Plaintiff and

              injures and endangers persons in New York.

       141.   Cause of Action legal-category Failure to Supervise Violating Due Process under

              Title 42 of the United States Code § 1983 (CoA[0], "Theta"). Stewards of the

              City themselves needed to have demanded deeper supervision into police

              management .        The supervision where racketeering enterprise concerns are

              directly implicated establishes that supervision is conducted from police

              management down to exact specific tortious unconstitutionalism.

       142.   Cause of Action legal-category Failure to Discipline Violating Due Process under

              under Title 42 of the United States Code § 1983 (CoA[0], "Theta"). E.g. the

              fraud of IAB reports to the annual Mallen being scrubed for the purposes of

              defraud the oversight is inherently a systemic failure to discipline as the oversight

              has failed to ensure actual oversight-the process of disciplining corruption where

              it has been raised has been insufficient to impact the thriving of racketeering and

              corruption.

       143.   Cause of Action legal-category Failure to Hire and Well-position staff Violating

              Due Process under Title 42 of the United States Code § 1983 (CoA[0], "Theta").



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               Not hiring and positioning appropriate character, skills, and responsibility for

               constitutional operations, et cetera.

       144.    Cause of Action legal-category Negligence (CoA[N]) under common law tort

               applies perhaps strictly in the punitive capacity as Defendants' intentional cause

               of essentially or almost all of the Plaintiffs compensatory and professional and

               business   damages     1s   abundantly     established   and   while   compensatory

               Compensatory recovered under respondeat superior.

       145.    Cause of Action legal-category "Conspiracy" 113 operates via common law and 42

               U.S. C. § 1983 as like a helping verb-the instant Co A carries liability to

               apportion appropriately between the Defendants acting ensemble to further tort

               (abbreviated CoA[X] "Chi.") "Conspiracy" which derives from the Latin for

               "whispering together," meant much the same as when Cicero spoke of Cataline

               off whispering a conceited plot in the isolation of some alleyway that could not be

               spoken in public [and hence whispered], is an appropriate label for much of

               Defendants crime, wrongdoing, et cetera. Defendants' involvement in furthering

               the operating conspiracy carries principles of distributing liability. Conspiracy is

               brought in the singular as is typically preferred as opposed to separating that

               which is all in furtherance of the existing corruption relationships of municipal

               employees with non-municipal employees prior to Plaintiff contact with any

               Defendants, et cetera.      The non-municipal-employees furthering the cnmes,



        113 Conspiracy under Civil RlCO (18 U.S.C. § 1962 (d)) is included under CoA [Alpha]
        at 1101 (along with§ 1962 (b) and (c)); Conspiracy to Obstruct Civil Rights Vindicating
        Action (42 U.S.C. § 1985 (2) (CoA[Gamma])-is 1124; and§ 1985 (3) under the overt
        anti-miscegenation discrimination to Defendants' injurious conduct (CoA [Epsilon] 1s
        stated at 1110.
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              constitutional deprivations of Plaintiff causing injury to Plaintiff, et cetera are at

              least: Ms. Obi (specifically identified at   ~   21), Ms. Doreen Ierardo, Mr. Gabe

              Harvitz, Mr. Peter Appel, Mr. John Gutman, and the police-sex-bribery-

              racketeering women who recruited Ms. Obi. Apportionment of liability is to be

              calculated upon the best reasonable examination of each indvidual's role by

              which the municipal Defendant may further be influenced to exact actual

              contributions. Wherever CoA [X] is applied, equivalent common law, agency,

              joint-action, common-law conspiracy is concurrent.

       146.   Cause of Action legal-category Ninth Amendment Defendants committed

              deliberate fraud and obstruction as an attempt to deprive Plaintiff of Ninth-

              Amendment protecting Common Law-particularly where such is supported by

              New York statute.

       147.   Cause of Action legal-category Usurpation of Eighth Amendment-Implicating-

              State Action From Adjudicators by Defendants (CoA[0]). Tyrannical usurpation

              under pure sub, eighth, fifth, sixth, ninth (clearly violated pre-consitutional

              protection incorporate and not removed-i.e. protected by ninth), as well as

              procedural due process Harm by State action under usurped Judicial oversight

              (qua punishment displaced into state-empower-facilitated-and-supported harms

              sanctioned by the state under police-sex-bribery policy)

       148.   Cause of Action legal-category Abuse of Process may be more broadly applicable

              than is currently apparent ahead of most of pre-trial practice (CoA[H], "Eta").

              Defendants' direction of Defendant Corporation Counsel to engage in litigation

              abuse Abuse of Process [Corporate Counsel] It is possible that as matters shake



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              out the cause of action of abuse of process could contribute importantly to the

              cause of action. Civil and Criminal process including using abusive criminal to

              injure and violate Plaintiff in civil litigation acts. Where under common law:

              compensatory recovered under respondeat superior.

       149.   Cause of Action legal-category Abuse of Force Depriving Plaintiff of the Liberty

              Interest in Bodily Integrity rests primarily in Procedural Due Process and operates

              via Title 42 of the United States Code§ 1983 (CoA[A] "Lambda"). Functions to

              redress the State-actions of Ms. Obi as uniformed police abuse of force as the

              cause is rooted in Sgt. Brown's attitude toward abusing force--of which there are

              at least two recent or current suits redressing Sgt. Brown's misconduct and the

              failure of the City of have not fixed or prevented such a pattern of authoring

              abuse. Deprivation of bodily integrity may also occur as a Fourth Amendment

              deprivation.

       150.   Cause of Action legal-category Violation of Liberty to Employment & to Contract

              under Title 42 of the United States Code § 1983 (CoA[A] "Lambda"). Plaintiff

              has sufficiently Plead actions of Defendants for such important aspects of

              Defendants' injurious deprivation of Plaintiff for such categories of Cause of

              Action are important for juries' considerations of the injuries, constitutional

              deprivation, and scope or tortious conduct at law.

       151.   Cause of Action legal-category Deprivation of Freedom of Movement and Travel

              in Violation of Due Process under Title 42 of the United States Code § 1983

              (CoA[A] "Lambda"). injuries, constitutional deprivation, and scope or tortious

              conduct at law.



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       152.   Cause of Action legal-category Violation of Due Process Liberty Interest in

              Reputation under Title 42 of the United States Code§ 1983 (CoA[A] "Lambda").

              Plaintiff has sufficiently Plead actions of Defendants for such important aspects of

              Defendants' injurious deprivation of Plaintiff for such categories of Cause of

              Action are important for juries' considerations of the injuries, constitutional

              deprivation, and scope or tortious conduct at law.

       153.   Unconstitutional municipal custom, policy, or usage

       154.   Unconstitutional tort of municipal policymaker

       155.   Unconstitutional adoption oftortfeasance by the municipality




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       199.    In accordance with FRCiP # 10, the Complaint contains Counts, which Plaintiff

               often identifies as Defendant-liability acts or events 114 as upon the finding of each

               Count-paragraph: liabilities are reached as law via the Claims (appended to

               them 115 ) according to injury and equity. 116 Given the abundance of numbered

               things and that counts are not infrequently assigned Roman numerals in litigation,

               Plaintiff uses Roman numerals (even though there are a relative large amount of

               Counts), but as the Counts are numbered with correspondence to paragraph

               numbers (plus 200), e.g. Count I is stated at 1201. All ofthe/aci/ity-tortfeasance

                Counts are stated below Count C (100). The first Count, Count I: is the • General

               Default Count and • Count II is the Advanced-Municipal-Corruption Default

               Count-the latter not excluding the finding of municipal corruption from the

               General-but such naming indicates its focus. The Ultimate Count, naturally the

               last Count by sequence, is a comprehensive restating-device of all inferred,

               inherent, and admissible Defendant liability acts or events by which

               comprehensive Claims are stated for each category of Cause of Action.              In

               demarcating applicable CoA dashes are used only between like type of CoA

               located in consecutive paragraphs: multiple like types of CoA that are not

               consectutive are not demarcated with dashes, but are separated with comma.




        114
            each Count is a statement of Defendant tort, generally as specific as is feasible
        115
            At the end of each statement of Count is the demarcation of CoA
        116
            Court's mandate to injunct, variously, from particular and the aggregate of the found
        Counts and with respect to the substantiated or held injuries (latter, again, discussed at 1
        [], after the whole of the Counts paragraphs, infra); monetary and equitable are addressed
        generally or specifically in each Claim statement.
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       200.   Counts are formed in a variety of structures across the infra two hundred and fifty

              paragraphs as an attempt to notice with particularly the Defendant-liable acts

              raised thus far in the Action and by admissible evidence material in a consolidated

              space: such statement helps Parties and the Court ensure the bases of liability are

              examined well and the consolidation of events helps the process of review to

              ensure everything that needs to be addressed is prepared-where a liable event is

              missing-such is more likely to be able to be raised by the amendment of a Count

              or the Joinder of a Count prior to the plenary of timely adjudication that each and

              all Counts are reached (and the merely-inherent incorporated in writing as early as

              may notice sufficiently prior to timely or plenary adjudication); individual Counts

              may, in such as discovery, be found to have cause to be restated or altered. The

              Counts are largely sequenced with respect to chronology and within that by

              groups to some extent-such grouping might also be amended of altered. The

              ultimate Count is a means of basis of the statement of an aggregate Claim for

              essentially each of the categories of Cause of Action: it essentially functions, as is

              not uncommon in pleading today, as a broad restatement-one single such

              "Ultimate Count" rather than one for each category of Cause of Action is much

              tidier an no less functional. In some cases the adjudication of an aggregate (or an

              aggregate less Claims of a Cause of Action already reached) may be preferred

              adjudication. Where more than one Count reaches similar, equivalent, or the same

              remedy by the same category of Cause of Action: such are typically wolven into

              the same paragraph stating the Claims.        -either independently reaches the



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               Claim (aggregate Claims are reached by a Count, i.e. Defendant-liability-event,

               that reaches multiple Claims of a category of action (the Ultimate Count as an

               entire condensed restatement including all Counts); additionally, some Claim

               paragraphs are stated as the combination of multiple Claims. In some statements

               of Defendant liability acts the Count is stated to reach in its being reached another

               There is not an effott to establish all contingency of Counts upon other Counts-

               such structure is employed to simplify the statement of Claims as Claims are to be

               reaching by a root in a specific Count. Assignment of Claims to Counts and the

               exact structure, formation, and nature of Counts may be subject to change with

               the degree of change and ultimate distinction from the sum of inherent assertions

               a considerable consideration aside consideration of time; abundant notice, as

               practiced in the instant Instrument, when requiring change, should be read against

               notice having been patticularized.

       201.    COUNT I                         Defendant (General)1 17 Default Count.       Given the

               preponderance of: Defendants' counsel's litigation-abuse without substantive

               merit-touching argument; the Defendants' false, implausible, and non-substantive

               Pleading;   the   evidentiary   circumstances relevant and material; or the



        117
           "General,'' as the corp of Defendants' injuring of Plaintiff is easily reached as a matter
       of law or matter of default penalty, et cetera, by many configurations of adjudication;
       however, many of the means of finding such cluster of liability may not involve findings,
       or would not necessarily need to find some of the advance corruption operations,
       racketeering, et cetera, leaving the remainder of a general default being, potentially, the
       need to cany forward adjudication of the remainder (which generally may be found, quite
       likely by its own default (legally determinable) Count (Count II, infra)). Additionally,
       the lost profits based on transaction in processed or in process as of the quaiter from the
       accrual of real estate business terminating injury on 8-9 October 2014 is a separably
       found default consequence ( or separately by many means legally determinable (Count
       III)).
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              contumacious character of Defendants' conduct before this Court in this matter:

              Defendants have defaulted and continue increasing the ripening of Defendants'

              default circumstances as described at ,i 1103; Defendants have caused sufficient

              contempt by Defendant Party that Defendants have defaulted in the instant Action

              and are subject to ,i 1103, Remedy upon Defendants' default. Such a sufficient

              basis may be Plaintiffs having been maliciously seized and removed without

              reasonably arguable probable cause with the purpose of fraudulently and via

              coercive-preclusion-of    legitimate-institution   of   State-seizure-process-at-law

              instituting malicious continuing seizure still injuring Plaintiff as other matters of

              law sufficiently reach from such basis sufficient inclusion of Plaintiffs damages

              Pleading.   Certain subsequent Counts are specifically identified as upon their

              finding contingently the instant Count and thus reaching the Claims and thereby

              Relief, as in all finding of the instant Count: such include among: Count CCXII

              (Casciola no witnesses; C & C trying to step into ,i 27 shoes to fabricate account

              as specified threatened by Defendants until the removal of ,i 22 when Defendants

              intensified assualt and retaliation Count [CXXX]). Defendants' being found to

              have defaulted does not depend on the finding of any specified Counts per se as

              Defendants' litigation abuse is resoundingly indicative of disposition constantly

              and thoroughly demonstrative of the perversions, spoliation, tortious furtherance,

              obstruction, Rule violations, and contempt of a Party making brazenly illegitimate

              resistance violating this United States Court and duties binding of a litigant's

              continued participation in defending as opposed to compounding liability.




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       202.   COUNT II                      Advanced Municipal Corruption Liability Default

              Count. Given Defendants' pending Default as a matter of law to most of the

              Action, the instant Count describes Defendant Default    a la ~ 1105 regarding the
              compensatory for mental anguish inflicted upon Plaintiff by Defendants by

              Defendants' extreme municipal corruption.

       203.   COUNT III                     Quarterly-rate-real-estate-brokerage-lost-profits

              Default Count. New York law enforcement leadership and the municipality as

              otherwise     a-person-responsible-for-leadership-exercised-as-its-own-liable-acts

              refused to appropriately respond to observations by observers and observations

              such as Brooklyn Borough President Eric Adams' public comments upon

              publically available data as to how such data demonstrates IAB corruption or

              dysfunction-sufficient-to-function-corruptly:   such    refusal    by   City      law

              enforcement managers speaks to municipal liability for municipal, i.e. Defendant,

              choice in the face of being called out by President Adams for the subsequent

              corruption directly injuring Plaintiff, et alia. Count reaches additional Claims via

              the concurrence of Count IX: Count II reaches simultaneously Count IX as if

              Count IX were appended and within Count II. CoA[Y] # 19., 25., 27. CoA[0] ##

              41., 42., 43. CoA[N] # 44. CoA[O] # 6.

       204.   COUNT IV                      Defamation-Preliminaiy-Mitigation-Injunction

              Count. Injunction achieving substantial blame upon Defendants for fraudulent

              defaming of Plaintiff to achieve considerable mitigation of continuing defamation

              mJury.   It is tortious for Defendants to not concede this need for measure




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              vindicating against the continuing wounding of Plaintiff regarding Defendant

              Concession. [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       205.   COUNT V                             Defendant Spoliation Default Penalty. Seven figure

              spoliation penalty and costs with some measure from certain award of

              compensatory to Plaintiff. [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] []

       206.   COUNT VI                            Defamation-Repair           Damages        Default   Count.

              Reaching or surpassing the threshold of Defendant liability findings for award of

              the costs (see Remedy of'l( 1106, which various Claims reach upon the finding of

              COUNT VI) [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       207.   COUNT X                             General Facility (Necessary to Occasion Corruption

              or Racketeering) Count. Defendants and the Defendant Corporation proactively

              and affirmatively 118 as an act of deliberate preparedness (upon experienced

              operations from which an continued willingness to so operate is established from
                                                  119                             120
              aspects of communication)                 sufficiently to cause           such corruption and

              racketeering exercise, activity, operations, systems, mechanism, et cetera: such as

              (1) the police sex bribe1y ring which recruited; prepared; encouraged posse

              commitatus attack as an imminently used, viable, and effacious exercise of police

              sex bribe1y contract; et cetera (2) contract between Ms. Obi and Defendant

              Brown (3) 81 st Precint readiness to facilitate and further racketerring and the



        118
           for others to be sure to trust in (of which basis those others are able to choose to
       operate without fear of consequence, penalty, or full or mandatorily applicable
       constitutional law or order)
       119
            communication within the corruption and racketeering organization or system
       oRerated by Defendants
       1 0
           by such involved preparedness to act for corruption and racketeer (that victims of the
       enterprise are reliably turned down by the whole of the organization)
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              execute various furtherance injuring Plaintiff, (4) KCDA readiness to facilitate

              and further racketerring and the execute various furtherance injuring Plaintiff, ( 5)

              IAB readiness to facilitate and further racketerring and the execute various

              furtherance injuring Plaintiff, (6) CoD readiness to facilitate and further

              racketerring and the execute various furtherance injuring Plaintiff, (7) CoP

              readiness to facilitate and further racketerring and the execute various furtherance

              injuring Plaintiff, (8) Brooklyn North readiness to facilitate and further

              racketerring and the execute various furtherance injuring Plaintiff, (9) CCRB

              personnel readiness to facilitate and further racketerring and the execute various

              furtherance injuring Plaintiff, ( 10) Corporate Counsel readiness to facilitate and

              further racketerring and the execute various furtherance injuring Plaintiff, or ( 11)

              other racketeering or corruption capacity of which operability was a necessary

              and precondition and causal occasion to Defendant commission of tort injuring

              Plaintiff. [A]l(d) [Y]25-30 [0]40-43, 53-55 [I:]31-35 [N]44 [X]45 [0.]6

       208.   COUNT XI                      Facility (Necessary to Occasion Corruption or

              Racketeering) Administration or System Construction Count. Administrative or

              Criminal (§ 1961) Act to Manage or Strenghten the Operational Readiness

              Necessary for Corruption and Racketeering such as were availed in Defendants'

              Injuring of Plaintiff. [A]l(b)(c) [Y]25-30 [f]24 [0]40-43, 53-55 [I:]31-35 [N]44

              [X]45 [0.]6

       209.   COUNT XII                     General Municipal Proceedings-Obstruction Count.

              Defendants availed Defendants' furtherance array to commit obstructing of court

              proceedings (both a King's Count court and understood as ripe-to-file federal



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              proceeding (such as the instant)) to confine; outrage; obstruct the hearing of

              Plaintiff by any adjudicator and with evidentiary material due; retaliate against

              Plaintiffs petition against Defendants' government corruption; obstruct Plaintiffs

              vindication; economically, interpersonally, reputationally and otherwise injure

              Plaintiff [A]l(b)(c) [P]37-38 [Y]25-27 [f]24 [0]40-43, 53-55 [L]31, 35 [N]44

              [X]45 [Q]6 [K]5 [M]3 [I1]12 [Z]7, 21-23 [<D]l5 [H]36 [A]50-52 [0]38 [E]8-10

              [I] 11 [T]4

       210.   COUNT XIII                    General Municipal Federal Obstruction Count.

              Defendants availed Defendants' fi1rtherance array to commit obstructing of the

              instant Proceeding to confine; outrage; obstruct the hearing of Plaintiff by any

              adjudicator and with evidentiary material due; retaliate against Plaintiffs petition

              against Defendants' government corruption; obstruct Plaintiffs vindication;

              economically, interpersonally, reputationally and otherwise injure Plaintiff

              [A]l(b) or (c) [P]37-38 [Y] 25-27 [f]24 [0]40-43, 53-55 [L] 31, 35 [N]44 [X]45

              [Q]6 [K]5 [M]3 [I1]12 [Z]7, 21-23 [H]36 [A]S0-52 [0]38 [E]8-10 [1]11 [T]4

       211.   COUNT XIV                     General Proceedings Tyrannical Disinformation

              Count. Defendants availed Defendants' fiirtherance array, corruption blue wall,

              or caused process actors (or non-process actors) to make hostile practice with the

              municipality's State-power voice (or by participating in such process) to commit

              ( or pointedly aggravate) tyrannical fraudulent defamation knowning Plaintiff to

              know the injuring to be very deliberate fraud to prepatrate constitutional violation

              for Defendants corruption organization and racketet and concurrently to retaliate

              against Plaintiff to confine; outrage; obstruct the hearing of Plaintiff by any



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              adjudicator and with evidentiary material due; retaliate against Plaintiffs petition

              against Defendants' government corruption; obstruct Plaintiffs vindication;

              economically, interpersonally, reputationally and otherwise injure Plaintiff [P]37-

              38 [Y]25-29 [[)24 [0]40-43, 53-55 [L]31, 34-35 [N]44 [X]45 [!1]6 [M]3 [II] 12,

              17-18 [Z]7, 21-23 [<!>]15 [H]36, 48 [J\]50-52 [0]38 ['¥]16 [8]46 [E]8-10 [1]11

              [T]4 [K]5

       212.   COUNT XV                      General Federal Tyrannical Disinformation Count.

              Defendants availed Defendants' furtherance array, corruption blue wall, or

              caused process actors (or non-process actors) to make hostile practice with the

              municipality's State-power voice (or by participating in such process) to commit

              or aggravate tyrannical disinformation knowing Plaintiff to know the injmy is

              very deliberate fraud to prepatrate constitutional violation for Defendants

              corruption organization and racketet and to confine; outrage; obstruct the hearing

              of Plaintiff by any adjudicator and with evidentiary material due; retaliate against

              Plaintiffs petition against Defendants' government corruption; obstruct Plaintiffs

              vindication; economically, interpersonally, reputationally and otherwise injure

              Plaintiff [P]37-38 [Y] 25-29 [[]24 [0]40-43, 53-55 [L] 31, 34-35 [N]44 [X]45

              [!1]6 [M]3 [I1]12, 17-18 [Z]7, 21-23 [H]36, 48 [J\]50-52 [0]38 [8]46 [E]8-10

              [1]11 [T]4 [K]5

       213.   COUNT XVI                     General Tortious Targeting of Corruption and

              Racketeering Victims Count.      Municipality [Theshold and generic] [Y] 25-2

              [0]38 [E]8 [P]37-38

       214.   Invasion (Searches)



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       215.   Confining (Seizures)

       216.   Upsilon 25

       217.   Upsilon 26

       218.   COUNT                         General Municipal Futherance Array Denial or

              Obstruction of Vindication Hearing Count

       219.   Count IV               New    York    City   police   command        participates   m

              Racketeering Enterprise with officers and non-law-enforcement persons, this

              choice of corruption by the City resulted in the patterns and at-the-ready

              capability for Defendants to operate the particular police sex-bribery and

              corruption racketeering injuring, et cetera, Plaintiff, et alia, from September 2014

              et sequent, demonstrating the tyrannical abuse and misuse of power directly of the

              category the Constitution sought-with a frame of reference spanning two

              millennia-to prohibit, event, and combat: implicating Article Ill action against

              such shocking City violations of substantive due process. Count reaches

              additional Claims via the concurrence Count IX: Count Ill reaches simultaneously

              Count IX as if Count IX were appended and within Count III. CoA[Y] # 19., 25.,

              26., 27 CoA[8] ## 41., 42., 43. CoA[N] # 44. CoA[O] # 6.

       220.   Count V                The King's County (District) Attorney participates in

              racketeering enterprise with law enforcement and non-law-enforcement persons,

              this choice of corruption by the City resulted in the patterns and at-the-ready

              capability for Defendants to operate the particular malicious abuse of privileged

              State process in clear absence of jurisdiction and other corruption racketeering

              that injured, et cetera, Plaintiff, et alia, from October    8'1\   2014 et sequent,



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              demonstrating the tyrannical abuse and misuse of power directly of the category

              the Constitution sought-with a frame of reference spanning two millennia-to

              prohibit, event, and combat: implicating Article III action against such shocking

              City violations of substantive due process. Count reaches additional Claims via

              the concurrence of Count IX: Count IV reaches simultaneously Count IX as if

              Count IX were appended and within Count IV. CoA[Y] # CoA[0] ## 41., 42.,

              43. CoA[N] # 44. CoA[Q] # 6.

       221.   Count VI               New York City law enforcement command has not or has

              not yet sufficiently taken action to reform a culture disregarding abuse of force,

              and diminishing victimization by violence, (noticeable generally in litigation

              against the municipality) by State action which contributed to Defendants'

              injuring of Plaintiff; other Actions before the Eastern District of New York and

              recently decided pertaining to current and relevant periods of time greatly

              contribute to discussion and information on this Count, such also contributes

              cause of particularly Count II and the choice of the City management to operate

              corruption racket to increase fundamental police interest in absolute possession of

              force. Count reaches additional Claims via the concurrence of Count IX: Count V

              reaches simultaneously Count IX as if Count IX were appended and within Count

              V. CoA[B] # 2. CoA[M] # 3. CoA[H] # 18. CoA[Y] # CoA[0] ## 41., 42., 43.

              CoA[N] # 44. CoA[Q] # 6.

       222.   Count VII              New York City deliberately operates an anti-Constitutional

              parallel track of corruption operations vertically from ce1tain police on the beat to

              the Commissioner and management (including the Command Center and Internal



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             Affairs management), that when the choice to corruptly track a certain matter,

             such as occurred with Defendants' injuring of Plaintiff-as this corruption track's

             high performance was cause of such injuries: victim attempts to remedy via

             Constitution and under Constitutional principles, as Plaintiffs experience

             demonstrates-as all Evidence in the instant matter demonstrates, all attempts to

             exposure the corruption are met with great doses and duration of corruption by all

             mauner of potential recourse that could be available to the City's victim, making

             Plaintiffs escape to reach the point of surviving and bring the instant Action for

             United States' judgment against and reforming of New York City, fundamentally

             representative of the classes of City victims to the variety of injuries waged by

             Defendants against Plaintiff and others that part of the Defendant municipality's

             corruption tool kit or menu not particularly chosen, or not yet chosen, to be used

             in City's attacks upon Plaintiff, Plaintiffs interests, Plaintiffs protected interests,

             Plaintiffs liberty, Plaintiffs property, et cetera. Such customary methods of

             corruption to further corruption, unconstitutional pursuit of benefit, and

             racketeering activity operating when the City, in utter, et cetera, abrogation of the

             Constitutionality imposed by the Fourteenth Amendment to the United States

             Constitution on the municipality of New York City in the City of New York's

             operation of State power includes possession of corruption serving activity of the

             Civilian Complaint Review Board and the Grievance Committee [for the Second,

             Eleventh, and Thirteenth Judicial Districts] (serving as the locally available forum

             to report attorney abuse, misconduct, and crime for pursuit of remedies to such) as

             was clearly demonstrated in Plaintiffs abused pursuit of remedies from those



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              auxiliaries demonstrating the horizontal scope of operating municipal corruption.

              Count reaches additional Claims via the concurrence of Count IX: Count VI

              reaches simultaneously Count IX as if Count IX were 44.appended and within

              Count VI. CoA[Y] # CoA[@] ## 41., 42., 43. CoA[N] # 44. CoA[Q.] # 6.

       223.   Count VIII             Scant record keeping alone is sufficient to demonstrate

              disingenuous use of State power amounting to more than callous and reckless

              indifference. CoA[Y] # 26., 27. CoA[@] ## 41., 42., 43. CoA[N] # 44. CoA[Q.] #

              6.

       224.   Count IX               Defendants'    information     technology     systems    chief

              operating design principle is to facilitate racketeering purpose or capability

              demonstrated in as little as that a constitutional, ethical, good-policing, et cetera

              system design would be hardwired to prohibit the conupt actions of systemic,

              Commissioner-and-Command-Center-on-down             fraud,   which    the    cmTently

              operating system is designed for: such is judicially noticeable from Defendants'

              acts with any advising from any reference to the principles of information systems

              design. A contingent liable event is IT chief signing off and continuing to sign off

              on systems known to be vulnerable: infra are some particular examples of

              demonstrate of fraudulent functionality and 2018 fraud functionality and related

              Counts. Count reaches additional Claims via the concurrence of Count IX: Count

              VIII reaches simultaneously Count IX as if Count IX were appended and within

              Count VIII. CoA[Y] # CoA[@] ## 41., 42., 43. CoA[N] # 44.

       225.   CountX                 Contingent Count to Counts II & VII subsist in identifying

              systemic corruption as a sufficient root cause of the commission which cause



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              Defendants' injuring of Plaintiff.(although no act of such Defendants of Sgt.

              Brown is specifically name, Sgt. Brown's exercise of racketeering benefits for

              Sgt. Brown's racketeering participation is inherent to the extent that

              apportionment of liability is not unmade; given       ,r [Damages-that    Plaintiff

              advises the City to apportion higher than average final penalty to which individual

              (or particular individual Defendants are obligated to be paid -it is pub such

              comment is made in the context of the public information that police Defendants

              of the City of New york pay 0.0003% of damages.         Thus in addition to some

              particular Claims, the above series reach the instant broadly functioning in

              remedies Count from which Claims reached by the above series are reached

              through this instant paragraph)] CoA[A] ## 1.1, 1.2 CoA[B] # 2.01 CoA[M] #

              3.01 CoA[T] # 4.1 CoA[K] # 5.1 CoA[O] # 6.01 CoA[Z] ## 7.01, 20.1, 21.01,

              22.01, 23.01 CoA[E] ## 8.01, 9.01, 10.01 CoA[I] # 1.1 CoA[~] ## 12.01, 13.01,

              14.1 CoA[<D] # 15.1 CoA['l'] # 16.01 CoA[IT] # 17.01 CoA[H] ## 18.01, 48.01

              CoA[r] # 24.01 CoA[Y] ## 19.01, 25.01, 26.01, 27.01, 28.01, 36.01 CoA[0] ##

              29.01, 30.01, 31.01, 32.01, 33.01, 34.01, 35.01, 40.01, 41.01, 42.01, 43.01, 46.1,

              47.1 CoA[P] # #37.01, 38.0lCoA[O] # 39.01 CoA[N] ## 44.0tl CoA[X] ## 45.01

       226.   Count[]               Failing to implement significantly-more-fraud-resistent

              information technology systems

       227.   Count []              Failing to implement significantly-more-fraud-resistent

              information technology systems upon notice from auditing bodies.




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       228.       COUNT [XCI]                      R.I.C.O.     Comprehensive-enterprise          Count

                  under § 1962 (b). Defendants' administering and protecting 121 the operations of

                  Defendants' racketeering enterprise 122 injured Plaintiff's property, professional,

                  and business raising certain damages under § 1964 as stated at ,i [Injuries].

       229.       COUNT [XCII]                     R.I.C.O.     Comprehensive-enterprise          Count

                  under § 1962 (c). Defendants' racketeering enterprise's racketeering 123 injured

                  Plaintiff's property, professional, and business raising certain damages under

                  § 1964 as stated at ,i [Injuries].

       230.       COUNT [XCIII]                    R.I.C.O. ·   Comprehensive-enterprise          Count

                  under§ 1962 (d). Defendants' agreement supported the Defendants' enterprise's

                  racketeering. 124 The racketeering 125 of Defendants' enterprise injured Plaintiffs

                  property, professional, and business raising certain damages under § 1964 as

                  stated at ,i [Injuries].




        121
          [all acts which are administering and which protect the operability of the enterprise
       [need to add Defendant tort-such can be listed instantly: ignoring the recommedations
       of information systems professionals regarding the vulnerability of the information
       technology system [apply to leadership of police and intelligence Defendant]l][reference
       ilil[l]]
       122
           See ,i [or Footnotes from introductory at ,i 101 and certain Footnotes, there][use same
       superscript for the subsequent set at enterprise except where differentiation is important]
       123
           Racketeering predicates (of which the liability-finding-threshold is crossed with at
       least two committed (from the set of predicates injuring Plaintiff) and injury from at least
       one) are introduced at ,i [], and ,r,i [] state Defendants' racketeering predicates causing
       injuries to Plaintiff [as opposed to strictly (d) predicates and predicates committed by the
       enterprise injuring persons other than Plaintiff\.
       124
           Racketeering predicates of the enterprise (including those injuring Plaintiff and others
       conceived with the "agreement" or known to have been committed by the enterprise): of
       which the the liability-finding-threshold is crossed with at least two understood at the
       agreement.
       125
           Racketeering predicates injuring Plaintiff are comprenhensively discussed at ,i [Note
       such is the same as above where referenced by Footnote []]
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       231.    COUNT [XCIV]                    R.l.C.O.       Enterprise-within-the-comprehensive-

               enterprise Count under § 1962 (b). Defendants' administering and protecting 126
                                                                               127
               the operations of Defendants' racketeering enterprise                 injured Plaintiffs

               property, professional, and business raising certain damages under § 1964 as

               stated at 1 [Injuries].

       232.    COUNT[XCV]                      R.I.C.O.       Enterprise-within-the-comprehensive-

               enterprise Count under § 1962 (c). Defendants' racketeering enterprise's

               racketeering 128 injured Plaintiffs property, professional, and business raising

               certain damages under § 1964 as stated at 1 [Injuries].

       233.    COUNT [XCVI]                    R.I.C.O.        Enterprise-within-the-

               comprehensive-enterprise Count under § 1962 ( d).             Defendants' agreement

               supported the Defendants' enterprise's racketeering. 129 The racketeering 130 of

               Defendants' enterprise injured Plaintiffs property, professional, and business

               raising certain damages under § 1964 as stated at 1 [Injuries].

       234.    Count XI                  [PART TWO: VARIOUS KING'S COUNTY DISTRICT

               ATTORNEY]                 The racketeering enterprise of Defendants within the

               King's County District Attorney's office caused Police Defendants to sufficiently

               commit their and other crimes, et cetera, against Plaintiff, as racketeering-

               attorney-Defendants could hide their participation in some criminal-safety-net-



        126
           Enterprise-within-the-enterprise subset of administration and protection of operability
       (state at a designated 1 in the predicates introduction section)
       127
           Predicates injuring Plaintiff of the enterprise-within-the-enterprise
       128
           [same as above]
       129
           [ subset of full (largest) set of predicates above for the enterprise-within-the-enterprise]
       130
           [ same as several above "racketeering predicates injuring Plaintiff' for the enterprise-
       within-the-enterprise]
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              racketeering-crimes (i.e. patrol (and fake patrol) can commit racketeering crimes

              knowing the municipality's racketeering furtherance will available obstruction

              against the operation of legal consequence upon racketeering participating patrol,

              et cetera) such as outrage (CoA[O]) against Plaintiff, et cetera, and obstruction of

              justice alongside reinforcement of the Brady violating of the actual material (for

              evidence which entirely opposed the fabricated pseudo-evidence (see Count XI)

              presented under State-privileged-process. Thus while certain post-investigatory

              and aside from the jurisdictionally absent May          7'\   prosecutorially-employed

              Defendants may have immunity: they do not have inmmnity to encourage future

              crimes by police by guaranteeing racketeering exchange.            Defendants King's

              County (District) Attorney's pay for play racketeering with Harvitz further

              damaged Plaintiff outside of prosecutorial activity as it is not prosecutorial

              activity to conspire to have Mr. Harvitz trick and mislead Plaintiff into waiting for

              Mr. Harvitz per Mr. Harvitz contractual attorney-client functional promise to

              represent Plaintiff to then leave Plaintiff to be picked up by Mr. Stancati after

              Plaintiff escaped (see   ~   []) regarding how Plaintiff escaped the racketeering trap

              by the conscience of the penultimate overcoming the King's County Attorney's

              racketeering. Defendant Barosi is CoA[Z] # 23. CoA[Y] #27., 36.,

       235.   Count XII                KCDA racketeering facilitation is a Defendant liability

              event (as is the participation of other then racketeering facilitators at the King's

              County (District) Attorney. All of the King's County (District) Attorney liable

              events other than racketeering facility are instrumented, procured, and

              sufficiently-caused by police Defendants although Defendants Officeholder-of-



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              King's County (District) Attorney, Barosi, Scarcella, and Midey also bear

              sufficient cause on other Counts to which prosecutorial immunity is not a defense

              if such activity were allowed to be found to apply given the lack of judicial event

              upon which State-seizure-process-at-law could have existed and such process as if

              State-seizure-process-at-law were permitted were not found to be-as such

              seziures are police power seizures.    Demonstrated in the Defendant Office of

              the position of the King's County (District Attorney) and Defendant Barosi's

              selection of the three to commit racketeering acts, Brady violations, and

              Defendant-instructed-ordered-commisssioned-and-caused malicious abuse of

              State-seizure-process at law (CoA[Z] at ,r,r 122 & 123) CoA[Y] 19., 25., 26., 27.,

              28., 36.

       236.   Count XIII             As Defendants of the King's County (District) Attorney's

              office sufficiently caused Defendants' injuring, et cetera, of Plaintiff by such as

              their forceful acts to Brady exculpatory witnesses, their pre-October 2014

              agreement to perform corrupt, but immune acts, illegally assist investigative

              efforts, and commit injurious tort, et cetera, in total absence of jurisdiction in

              general as part of New York City law enforcement racketeering enterprise

              participation.   This group of Defendants of the King's County (District)

              Attorney's office face potential disbarment, criminal proceedings, and the tort of

              inducing the crimes, tort, et cetera injuring, et cetera, Plaintiff-a non-

              prosecutorial tortious act. CoA[Z] # 23. CoA[Y] # 19., 25., 26., 27., 28., 36.




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        237.   Count XIII             As Defendants of the King's County (District) Attorney's

               office sufficiently cause crimes et cetera of the racketeering enterprise of which

               the instant Action's Defendants participated. CoA[Y) # 19., 25., 26., 27., 28., 36.

        238.   Count XIV              Defendants of the King's County (District) Attorney's

               office sufficiently cause crimes et cetera of the racketeering enterprise which

               injured, et cetera, Plaintiff, by their non-immune facilitation of racketeering

               enterprise by Defendant City law enforcement: these King's County (District)

               Attorneys are not immune when they encourage racketeering activity by

               promising general disposition of, when called, providing un-Constitutional

               investigation, process, and acts-clearly-outside-of-all-jurisdiction, when needed,

               in order to serve municipal co1Tuption and racketeering. It is not prosecutorial

               activity to promise in the abstract to perform crimes, deprivations, Brady

               violations, et cetera, as needed whenever or in whatever cases: some of those

               corrupt fmtherance of racketeering or racketeering act in furtherance of

               racketeering acts may be immune in the ancient interest of managing as needed to

               preserve prosecutorial power: but the habitual contract itself under which such

               racketeering, et cetera, from the Office of the King County (District) Attorney is

               not immune even where some the individual acts performed against Plaintiff from

               this basis may be immune. CoA[YJ # 19., 25., 26., 27., 28., 36.

       239.    Count XV              KCDA Farming the local population of criminal defense

               lawyers to be people who play ball or do not raise issues at the heart of systemic

               corruption including extra-fiduciary communications with the pool of criminal




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              defense attorneys such as the now-dissolved former firm of Mr. Gabe Harvitz.

              CoA[Y] 25.,26.,27.,36., CoA[N] # 44

       240.   COUNT                        General Municipal Liability for Anthony Barosi's Work

              As The KCDA Corruption and Racketeering Enforcer or Operations Manager []

              [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       241.   Count              In addition to the racketeering activity summarized in Count III

              The King's Count (District) Attorney operates pay-for-play trading of monies for

              acts of privileged government process. CoA[Y] 26., 27.

       242.   Count              KCDA advised on the fabrications of police officers consisting of

              the "investigative" phase. CoA[Z] # 22. & 23. CoA[Y]

       243.   Count              KCDA prior to receipt of receipt of a prosecution order or that

              which would be sufficient for a prosecution to be formed in the mind upon

              information or knowledge regarding an event-received instructions to enforce

              certain Brady obstructions that would unravel the fabrication. CoA[]

       244.   Count              The Defendant King's County (Disttict) Attorney operates anti-

              Constitutional corruption in coordination 131 with the police corruption racket.

              Corruption 132 of the King's County (District) Attorney powered and powers

              Defendants' crimes and violations, including of Count 1, 133 et cetera. [notably

              other counts?] CoA[Y] [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       245.   Count              Mr. Anthony Barosi operates and has operated as a primary agent

              for anti-Constitutional and jurisprudential operations on behalf of the current and



       131
           see Count 4
       132
           see Count 5
       133
           see Count 6
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              suddenly-late former King's County (District) Attorney CoA[Y] CoA[0] ## a

              prosecution in preparation to ensure the malicious prosecutor order qua a menu

              41., 42., & 43. CoA[Z] # 23.

       246.   Count          as the particular operation of the sex-bribery racket depends on

              latent readiness of the King's County (District) Attorney's Office to such as was

              performed, collaborating in the pseudo-investigatory phase prior to considering as

              by the police racketeers. CoA[Y]

       247.   Count          If it were not for not for the King's County District Attorney's

              (Office Defendant) agreement to further criminal, unconstitutional, et cetera

              conduct in furtherance of wrongdoing qua conspiracy, et cetera, the police sex

              bribery racket which recruited Ms. Obi would not have had the force to cause its

              actions to produce the contract between Ms. Obi and Sgt. Brown which is the

              greatest manifestation of Defendants' tortious', et cetera, cause's trespasses, et

              cetera, into Plaintiffs affairs causing deprivations, injuries, et cetera. CoA[Y]

       248.   Count          The King's County (District) Attorney's racketeering participation,

              demonstrated by conduct described in the Counts of this Instrument stating the

              instant Action, et cetera, and otherwise in Plaintiffs Pleading, et cetera, of this

              Action which could not have occurred were it not habitual action: Defendants

              could not have collaborated to support criminal, outrageously unconstitutional

              conduct, et cetera, as identified in the instant and total Pleading of Plaintiff

              (regarding the context of Plaintiffs prior Pleading see ,i regarding the obstruction

              of Mr. Stancati on Defendants" behalf and ,i [] regarding Plaintiffs Pleading prior

              to the Filing of the instant Instrument) sua sponte in the fashions articulated by



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              Plaintiff as referenced in the supra portion of the instant Paragraph: such is

              impossible, unreasonable,    outside plausibility, and inarguable [modify those

              adjectives]: e.g. Mr. Barosi could not have been in charge of receiving Plaintiffs

              calls, Defendants could not have coordinated to Brady the 9-1-1-responding pair

              (ii 27), ADA Scarcella could not have so denied Sgt. Brown was present, May 7

              2015 could not have been executed as it was, prosecutors could not have

              collaborated to fabricate fraud against the King's County Court and Plaintiff

              throughout the King's County action against Plaintiff, there would have been

              investigation upon delivery of Plaintiffs motion to dismiss the King's County's

              fraudulent, malicious, et cetera action against Plaintiff and, in particular, of the

              King's County (District) Attorney Brady violations enforced at Defendants behest

              by several King's County Prosecutors, Mr. Barosi would not have committed

              tluee violative acts directly against Plaintiff in telephone conversations including

              the March 2018 threat to abuse Mr. Barosi's power over FBI actions to harm

              Plaintiff against Integrity or the Interests of Justice qua further retaliation (CoA

              [P] see Count [] and Claim []):       the nature of these acts in the acts' very

              performance as practiced, smooth, well hewn operation confident in the

              surrounding coordinated racketeering activity of the network and of the

              successive furtherance of other racketeers to further retaliation, et cetera, to

              ensure the ultimate racketeering victory ensure this Comt's judgment and verdicts

              of racketeering activity by the King's County District Attorney, let alone the

              admitted pay to play racketeering also simultaneously operating directly from the

              chair of the King's County District Attorney in the King's County (District)



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              Attorney's receipt of funds and trading action and process of the office and

              powers of the King's County (District) Attorney, which derives its power from

              the State of New York, cum quid pro quo exchange upon that receipt and other

              racketeering admitted and identified in the instant Action.           Without the

              streamlining of racketeering leadership across law enforcement, particularly in the

              given, instant Count of the police and the King's County (District) Attorney: the

              racketeering enterprise of the larger corruption racket or police sex bribery racket

              could not operate so as for the sex bribery contract of Ms. Obi and Sgt. Shaun

              Brown to be formed, nor executed, with the racketeering furthering that

              racketeering and the racketeering of the great enterprise, i.e. King's County

              (District) Attorney Defendants' participation in the racketeering of the enterprise

              and agreement, readiness, preparedness, consent to perform on call or exercise of

              racketeering chit or racketeering command from leadership et cetera, which has

              occurred and consists in the Counts to be accepted as Judgment and Verdict of the

              instant Action, including the instant which generally establishes such liability of

              Defendants, with particular identification to be further defined via Discovery, et

              cetera in the instant proceeding as to apportionment and contributions of liability

              within the King's County (District) Attorney's office in these matters of

              17CV4519 of the Easten District of New York United States District Court.

              CoA[Y] CoA[Z] # 22. & 23. [absent jurisdiction+] CoA[0] 29

       249.   Count          [PART THREE:          POLICE CORRUPTION GNEREAL &

              RACKETEERING]         The racketeering enterprise in which the Defendant

              municipality operates does serve fundamental police interests in controlling and



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              possessing force and the NYPD racketeering participant does obtain fundamental

              personnel morale interest in operating, protecting, and sustaining the

              unconstiutional racketeering furthering, in support of, and consisting in the cell,

              ring, or racket operating police sex bribe1y in Brooklyn which, via female non-

              law-enforcement and law enforcement including Sergeant Shaun Brown

              racketeering participants, recruited Ms. Rita A. Obi, non-Defendant Injunctee,

              into the or an operating police sex bribery racketeering enterprise amid the

              broader operating po lice corruption racketeering enterprise.        This po lice sex

              bribery racket created the sex bribery contract agreed between Ms. Obi and

              Sergeant Shaun Brown, which caused Ms. Obi to find a place to live near and

              within the 81 st Precinct-i.e. to choose to domicile at 677 Quincy Street,

              Brooklyn-for the purpose of Sergeant Brown ensuring Ms. Obi would, when a

              time arose for the need, execute the sex bribery contract she made with him rather

              than with another police sex bribery participant and in Ms. Obi's interest of

              having the sex bribery contract she had made with Sergeant Brown easily

              executable and more potent. The perceivable interest of sex as morale benefit to

              force personnel is noticeable in certain military context, et cetera, i.e. force

              racketeering enterprise pursuing its interest in force beyond lawful (per written

              law), Constitutional, et cetera, limits, et cetera, is further wrongfully served in sex

              bribery activity by police which is fmther observable in recent cases involving

              persons connected to the policeman recently deceased by his own gun without a

              suicide note, Michael Ameri, including Brooklyn police affiliated and suppmting

              brothel operations discounting police.      See background to the Count at        1 []


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              concerning Ms. Obi's expression as to the value of the contract over the plethora

              of similarly-priced abundant options to be closer than a one hour daily commute

              each direction. It is quintessential in the motive or purport of the constitution and

              thus for those entrusted to adjudicate on its basis that the interest of force bearers

              in possession of force, i.e. possession is never perfect-but the word expresses

              continuing action of fulfilling possession as possible, is applicable notably

              likewise the models of concern directly in the minds of the Founders seeking the

              improved reinvention of the Roman model donning the United States with its

              equal Senate, et cetera, and checks to tyranny, sic semper tyrannis: the instant

              action brings before the Court the very heart of matters tyrannical racketeering

              obstructions almost entirely, were it not for such as this mistake in failing to

              obstruct Plaintiff from enacting and succumbing to a bent representative serving

              Defendants' interests, et cetera.   The finding of the instant Count concurrently

              finds Count IX, which reaches Claims broadly throughout the categories of Cause

              of Action

       250.   Count          Defendants generally view all investigative records, e.g. an

              interview, with a if-we-wann-use-it-we'll-keep-if-it-is-not-inculpatory-destroy-it

              operating principle (e.g. Rosello and IAB records, et cetera)

       251.   Count          Municipal corruption operations and racketeering were availed in

              Defendants depriving, injuring, et cetera acts against Plaintiff and in criminal, et

              cetera, furtherance of those idem acts of Defendants against Plaintiff. Defendants'

              fabrication of pseudo-evidentiary material and documents consist of every

              document entered in the prior proceeding and the current Proceeding, 17CV4519,



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              including the "Sprint Report"-which is as of yet rather unintelligible to Plaintiff

              (see at~ )-even the 9-1-1 is not admissible as Defendants have and would

              purport given the deliberate obstruction of the original compromising its

              interpretability to the point that it is and all other documents, other than the sprint

              report" which is not yet found and shown to be fraudulent, are only admissible in

              l 7CV4519 as material evidencing the instant Count and individual Counts based

              in the individual acts and supported other general racketeering, corruption, and

              organized furtherance of crime, et cetera, counts. The finding of the instant Count

              concurrently finds Count IX, which reaches Claims broadly throughout the

              categories of Cause of Action.

       252.   Count                  New York City chooses to operate the second track of anti-

              Constitutional corruption activities, including racketeering activity, out of its

              interest in possession of force and the obtaining of unconstitutional benefits.

              Plaintiff witness experience to the corruption sufficiently observed practiced

              nature of corruption custom availed against Plaintiff by Defendants; similarly, it is

              wholly implausible to a sufficiently impossible extent that most (not that all were

              and are not the outcome of operation corruption custom) that corruption practices

              employed by Defendants against Plaintiff were improvised-particularly in some

              cases where the entropy, so to speak, to create a corruption technique far and

              away exceeds risked, et cetera, at risk of exposure, et cetera, to not employing a

              technique to address a particular point of material for evidence of Defendants'

              crimes, and otherwise: that is say only in operational custom would such a

              corruption by employed as procedures involved, were the field not ploughed,



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              would make consideration of the corruption employed absolutely unthinkable; the

              casual nature, and at other times, deeply practiced smooth operations

              demonstrating as an experienced salesman overcomes objections a third

              assessment of objective certainty of the ready menu of operational corruption acts

              employed by the NYPD with the past and present Commissioners' support. The

              corruption operations include a menu with considerable horizontal operational

              sphere control in that persons such as Court Reporters Clerk Doreen Ierardo are

              operational (see Counts ,i []): such obstruction activity equivalently functions to

              block remedy as identified in Count [].        The finding of the instant Count

              concurrently finds Count IX, which reaches Claims broadly throughout the

              categories of Cause of Action.

       253.   COUNT                         General    Municipal    Law     Enforcment     Court-

              Spoliation Unit. [Referenced by Thomasello, Rosello, Evening Sprint, et cetera

              (broadly?)

       254.   Count          [PART FOUR 81ST PRECINCT CORRUPT OPERATIONS]

              Defendant Chief Inspector Scott Henderson deliberately runs anti-Constitutional

              corruption as demonstrated in the instant Instrument, Plaintiffs Filings, et cetera.

              Simple enough statement is that Defendants' counsel could not plausibly

              articulate how all of such would be performed from the police sex bribery

              contract with all of the checks against the Precinct and directly to Defendant

              Henderson with the continued maintenance of racketeering approaches to make

              exposure go away rather than rescind racketeering operations, admit criminal

              operating method of the precinct, et cetera, were C. I. Henderson not personally to



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              have done such as order 124 not to expose Sgt. Brown for appearing as if on duty

              when not on duty and dressing in uniform for such purpose when not on duty as 1

              24 identified: Plaintiff has discussed the movements of            1 24   which led to the

              involvement of Sgt. Brazys. The finding of the instant Count concurrently finds

              Count IX, which reaches Claims broadly throughout the categories of Cause of

              Action. [) [) [] [) [) [) [) [] [] [) [] [] [] [] [] [] [] []

       255.   Count              [PART FIVE                   IAB CORRUPTION & RACKETEERING]

              Internal Affairs (in Plaintiffs use "IAB"-Plaintiff was introduced to the term

              "IAB" from IAB references to themselves) is in terms of public expectation, the

              police charged to police the police. Comparing police activities upon others to

              police activity on police provides evidence of substantive corruption. Internal

              Affairs.     IAB operates "an investigative" phase consisting of determining an

              answer to the question: would our efforts to block discovery (unless the alleged

              misconduct or accused is some particular individual IAB has targeted for negative

              action (i.e. for non-cooperation with IAB racketeering, et cetera) blow up in our

              face-unless the danger is judged to be significantly great enough-IAB will

              perform all manner of tampering with material for evidence for § 1983 action and

              other obstruction: this framework operates above some of moderately high rank

              within IAB who are unaware per the total concreteness of operations-those

              individuals are simply isolated from cases where their honest work is deemed

              dangerous to corrupt police interest, racketeering, and operating policy. CoA[Y]

              # CoA[8] # 41.,42.,43. CoA[N] # 44 CoA[O] # 6.




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       256.   Count          The Defendant Police Department Command including Deputy

              Commissioner Reznick and Commissioner Bratton, having authorized supposed-

              to-be-discrete criminal activity for comprehensive-corruption racket participants

              (i.e. earn a chit, spend a chit for various Constitutional violations including

              racketeering activity): powered all Defendant criminal, et cetera, activity and

              Commissioner O'Neill continues the top-down authorization of earn-your-chit-

              spend-your-chit corruption for racketeering participants.     The finding of the

              instant Count concurrently finds Count IX, which reaches Claims broadly

              throughout the categories of Cause of Action.

       257.   Count          IAB structure-The IAB info1mation system: documentation,

              storage, et cetera is designed for the benefit of the racketeering enterprise in

              which racketeering participants are engaged which is demonstrating violative

              substantive due process abrogation which sufficiently caused much of Plaintiff's

              injury and facilitated the environment in which sex bribery racketeering thrives.

              CoA[Y] # CoA[0] ## 41., 42., 43. CoA[N] # 44.

       258.   Count          [PART SIX      SYSTEMIC POLICE CORRUPTION]                  It    IS


              systemic policy of the City of New York regarding law enforcement matters to

              fabricate documents as reflected in the system of fraud employed prior to the

              enactment of the instant Action, 17CV4519 (E.D.N.Y.), much of which was itself

              designed to thwart the instant Action prior to the enactment of the instant Action.

              The finding of the instant Count concurrently finds Count IX with matters of law,

              which reaches Claims broadly throughout the categories of Cause of Action.




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       259.   Count          It is systemic policy of the City of New York regarding law

              enforcement matters to fabricate documents as reflected in the systemic fraud

              employed after to the enactment of the instant Action, 17CV4519 (E.D.N.Y.),

              much of which is intended and designed to thwait the instant Action and the

              accomplishment of the fulfillment of the Claims for which Defendants have

              known and know their liabilities generically for deploying the corrupt, criminal, et

              cetera practices generally and particularly in the matters of the instant Action:

              such conduct implicates ,r 1103 default by Defendants-the finding of the instant

              Count concurrently finds the Default Count, Count I, and additional punitive

              Claims under CoA[Y] # CoA[0] ## 41., 42., 43. CoA[N] # 44.

       260.   Count          Defendants' facilitation and operational maintaining of the

              capability to fabricate Sprint reports. CoA[Y] #25., 26., 27., 36. CoA[0] ## 41.,

              42., 43. CoA[N] # 44. CoA[Q] # 6.

       261.   N Count        The Police Commissioner knows and approves of IAB removing

              reports of police racketeering where such racketeering was furthered or facilitated

              by police administration from the independent oversight body set up by the

              Mollen Commission; the Police Commissioner knows that fraudulent records and

              the availability of means to defraud police records are inherent security

              vulnerabilities. Part of the police sex bribery ring operative as part of the instant

              case may involve police sex bribery in the vicinity of JFK Airport. CoA[Y] #25.,

              26., 27., 36. CoA[0] ## 41., 42., 43. CoA[N] # 44. CoA[Q] # 6.

       262.   Count           PART SEVEN                    CONTRIBUTION TO GENERAL

              CORRUPTION OF CORPORATE COUNSEL'S FACILITATION]                             Systemic



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              corruption furthering Defendants' crimes et cetera from Corporate Counsel

              caused Defendants activities sufficiently as racketeering participation for the final

              legal authority of the Corporation provides great backstop assurance to allow

              corrupt pursuit of corruption from City racketeers, et cetera. The finding of the

              instant Count concurrently finds Count IX, which reaches Claims broadly

              tlu·oughout the categories of Cause of Action.

       263.   Count          [PART EIGHT                    RACKETEERING TOOL KIT AND

              SPECIFIC FUNCTIONS, MOVES, AND OPERATIONS AGAINST VICTIMS]

                      Juicing defamation in place of arraignment process with fraudulent juiced

              defamation with caused by the racketeering practices regular employment and

              availability on the racketeering menu or corruption toolkit that Defendants would

              know it would be available and that Corporate Counsel would obstruct

              production. CoA[Y] # 36. CoA[0] ## 41., 42., 43. CoA[N] # 44

       264.   Count          Calculated systemic abuse of process such as restraining orders by

              fraud as a means to accomplish racketeering objectives. CoA[Y] # CoA[ 0] ##

              41., 42., 43. CoA[N] # 44

       265.   Count          Operational corruption collaboration as certifying systemic

              conuption by the very operational harmony. Conspiracy CoA[Y] # CoA[0] ##

              41., 42., 43. CoA[N] # 44

       266.   Count          Operational we can say anything about racketeering victims

              flagrantly inflicting defamation. CoA[Y] # CoA[0] ## 41., 42., 43. CoA[N] # 44

       267.   Count          Culture of disregard to the serious instruments of power

              implemented partly to serve racketeering purposes that the corrupt acts occur with



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              less of a difference between Constitutional or more Constitutional lines of

              operation CoA[Y] # CoA[0] ## 41., 42., 43. CoA[N] # 44.

       268.   Count          Racketeering practices have been systemically employed from

              habit in these matters resulting in strategic obstructions following a pattern which

              would unquestionably belie in any of random incident-some categories

              demonstrate statistically significant certainty statistically beyond question or

              doubt as a matter of law and all together the various species of obstruction make

              all the more overwhelming demonstration of bad faith conduct deserving default

              CoA[Y] # CoA[0] ## 41., 42., 43. CoA[N] # 44

       269.   Count          Operation we can tyrannically terrify racketeering victims

              flagrantly acting in absolute abrogation of jurisdiction. CoA[Y] # CoA[0] ## 41.,

              42., 43. CoA[N] # 44

       270.   Count          Racketeering corruption menu item of endangering by selective

              confinement CoA[Y] # CoA[0] ## 41., 42., 43. CoA[N] # 44

       271.   Count          [PARTNINE:             SYSTEMIC                   OPERATIONAL

              VULNERABILITIES IN NY LAW ENFORCEMENT, SOME]                        Lack         of

              common sense evidentiary rules created a void where Defendants might have

              though that not collecting obvious evidence might seem like oh-just-the-usual-

              careless-to-collect-available-evidence. CoA[Y] # 25., 27. CoA[0] # 42

       272.   Recruiting Ms. Obi via the other female police-sex-bribery-participants; recruiting

              is performed ultimately to serve the tyrannical racketeering operators of the State

              action racketeering. CoA[Y] # 25., 26. P (b)(c)(d)




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       273.   Count              Defendant Sergeant Shaun Brown contracting with Ms. Rita A.

              Obi a sex bribery exchange encouraging Ms. Obi to move into the 81 st Precinct in

              anticipation of execution of the contract. Ms. Obi excitedly and in spontaneously

              response to the immediately proceeding contact with The 9-1-1 caller          ('I! 26),
              bragged about the authorization and deputizing Ms. Obi had to use police force

              for criminal purpose of violent false arrest, specifically saying Ms. Obi would

              select a victim and batter Ms. Obi's victim prior to Ms. Obi's call to Defendant

              Sergeant Shaun Brown who had then follow through with fabricated allegations

              and false arrest: Ms. Obi said there was zero doubt Ms. Obi could incur any

              enforced liability as the idem female police sex bribery paiticipants who recruited

              Ms. Obi resoundingly assured Ms. Obi that the police sex bribery contracts they

              had executed over multiple occasions all completed without trouble or concern:

              that being a police sex bribery racketeering participant meant in sum and

              substance having get out of jail for (Ms. Obi indicated oral or anal intercourse) a

              trick card. CoA[Y] Claim#

       274.   Count              The police sex-bribery racketeering contract between Ms. Obi and

              Defendant Sergeant Shaun Brown caused Ms. Obi to relapse or surge into violent

              felonious conduct for which Ms. Obi had been previously arrested and given three

              years probation: battery of two women: Ms. Obi in a moment of feeling

              emotionally troubled told Plaintiff that last person Ms. Obi had lived with end

              with a bad, possibly criminal situation in which she had to immediately depait to

              a hotel (see 'I!   []); multiple witnesses observed Ms. Obi violently harassing women
              talking about the women's painful and near-future deaths-including of the



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              woman whom Ms. Obi's belligerence had prompted Ms. Obi to confidently pride

              of her intent to use the sex bribery contract to Plaintiff (see ,i []); Ms. Obi

              excitedly impressed having just committed a crime against a classmate of Ms. Obi

              at Brooklyn College who had refused to violate academic integrity by giving Ms.

              Obi's answers under duress from Ms. Obi (see ,i []). In sum, participating in

              police racket and possessing the racketeering contract acted like a license (not in

              the sense of anything resembling law of litigate licenses such as permits, but)

              functioning as shocking substantive due process infraction in the NYPD

              authorizing or delegating power to commit crimes to Ms. Obi with no fear of

              Constitutional operation in New York check abuse, misuses, and infractions of

              law committed via the joint action resolution and police pre-acceptance of owning

              the fulfillment of the crimes and ensuring perversion of justice. [Y] [0] [L]34

              ['I'] # spoliation

       275.   COUNT XC                      General Brown-Obi Police-Sex-Bribery Recruited

              Bargained Contract Count.       Specifically included was and proven utile by

              recruiting women the component and application of corruption and racketeering

              posse commitatus opened by the police sex bribery participated women and

              completed by the police sex bribery participating police. Defendant Brown and

              Ms. Obi bargained contract of police sex bribery, specifically contracting bargain

              for de facto posse commitatus attacking led by, or executed by Ms. Obi with

              Defendant Brown to coordinate police appearance by telephone to appear, support

              Ms. Obi's conclusion of physical victmy, and continue the injuring of the victim

              with fraudulent Fourth Amendment-violating, et cetera, process against the victim



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              chosen and attacked by Ms. Obi as a means of resolving Ms. Obi's obtaining

              anything needed from the victim or exercising Ms. Obi's displeasure. As had

              been previously promised and affirmed to Ms. Obi, the victim would be subject to

              various and all needed racketeeringfi1rtherance array in order to ensure the

       276.   COUNT XCI                              General Anti-Miscegenatory Tort-Aspect Count. []

              [] [] [] [] [] [] [] [] [] [] [][] [] [] [] [] []

       277.

       278.   COUNT XCIII                            General       Privacy      Injury      Count.          Municipal

              Corruption and Racketeering Posse Commitatus Police Sex Bribery drove and

              furthered the privacy injuries-which were well actionable as of the 7 OCTOBER

              2014, but which injuries increased as a result of municipal employe deliberate

              furtherances and injuring of Plaintiff. [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       300.   Count C                      General Defendants with Defendant Corporation Retaliated

              Against Plaintiffs Petition Against Defendants' Corrnption and Racketeering

              Count. Defendants targeted Plaintiff to be exercised upon as a police sex bribery

              retaliation victim after Plaintiff executed petition against Defendants' racketeering

              crime of education nature are prelude to posse commitatus police sex-bribery at a

              local academic institution.             [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       301.   Count              The police sex-bribery racketeering contract between Ms. Obi and

              Defendant Sergeant Shaun Brown caused Ms. Obi to pressure Plaintiff to support

              Ms. Obi's criminal behavior at least morally, Plaintiffs abstaining to do so led to

              the passive aggressive behavior of Ms. Obi infringing upon Plaintiffs rights: at

              first such consisted of Ms. Obi's filling the sink with Ms. Obi's food cover dishes



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              which is a bad idea in a newly renovated space still undergoing some finishing by

              the landlord: Plaintiff mostly cooks daily and thus was seriously inconvenienced

              by the trespass and responded accordingly with daily polite, but straightforward

              requests of Ms. Obi to take care of her mess impacting others use of the shared

              kitchen-a situation witnessed by Ms. Obi's francophone female friend Jamie

              from a windward Caribbean island, somewhat probably Saint Lucie, who

              perceived Plaintiff final request to be reasonable, but to which Ms. Obi shouted

              back at Plaintiff: Plaintiff responded by leaving the room. Ms. Obi's behavior

              transition to the shocking behavior of coming to Plaintiffs room at midnight and

              shouting at Plaintiff, which neighbors observed as Plaintiff has noted: Plaintiff

              responded from Plaintiffs bed where Plaintiff was tiying to sleep, why are you

              verbally harassing me and you must stop-you cannot harass me this way (in

              response to Ms. Obi); Ms. Obi kept repeating the same things which had little

              more sense then "You're not the boss" which she first utter as a response

              regarding Plaintiffs reminder to Ms. Obi to clean up Ms. Obi's unsanitary kitchen

              mess; Plaintiff was utterly baffled by the behavior and the way Ms. Obi would say

              something, pause for a little while, and then repeat herself: the same behavior

              continue just the same the next night after midnight, again for three hours, and

              then again the next night: again, with multiple witnesses.       When Ms. Obi

              threatened that Ms. Obi had been surreptitiously recording these fishing for

              reaction attempts from Plaintiff in repeatedly these phrases ceaselessly in the

              night for hours three nights in a row, Plaintiffs estimation of understanding the

              behavior relied less of possible psychosis and more that Ms. Obi had been futilely



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              been simply behavior thusly as a part of the attempt to extort Plaintiff, uses

              equipment and her connections at Sirius radio, where Ms. Obi worked part time as

              a sound editor. While Plaintiff exerted nothing but tact in his unknowingly

              recorded responses, Ms. Obi having up to scores of hours of Plaintiff in

              conversation could by shear quantity be used with perhaps bits and pieces added

              subsequently from some other staged context, to create a seriously injuring

              extortive device existing in data format; immediately after Ms. Obi's threat,

              Plaintiff responded via text attempting to inoculate any attempt Ms. Obi might

              subsequently make to juice up a stmy-Plaintiff aimed for texts which Plaintiff

              thought to cut away some potential Maury Show storyline. CoA[Z] # 21 CoA[K]

              # CoA[Q] # CoA[T] #

       302.   Count          The police sex-bribery racketeering contract between Ms. Obi and

              Defendant Sergeant Shaun Brown caused the situation of Plaintiff full rights, but

              limited obligations (Plaintiff had not even yet been presented with the lease to

              sign Plaintiffs authorized holding of partial tenancy of shared space and private

              space (the landlord's agent recognized Plaintiff as a professional with whom

              business concerning some of Plaintiffs clients looking for an investment property

              in the area of 677 Quincy (a transaction killed by Defendants' tort action, et

              cetera))) Plaintiff has detailed considerable material concerning this situation in

              Plaintiffs May 7th Filing and prior written documents by Plaintiff (see also ,i []):

              Ms. Obi's transgressions of Plaintiff constituted what Plaintiff reported to others

              including The 9-1-1 caller   (iJ 26) as a clear violation of Plaintiffs New York City
              law right to "Quiet enjoyment" of real estate interest: as such Plaintiff had



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              grounds to have the landlord agent remove Ms. Obi, which the landlord's agent

              was reluctant to do given Ms. Obi's parents had co-signed Ms. Obi's lease with

              their house as collateral on the loan, which the landlord greatly admired:

              furthermore, the landlord's agent was already anticipating Plaintiff could move

              without notice provided no loss was received by the landlord (again, Plaintiff had

              not even been presented with the lease for agreement of contract, but as a

              respected real estate professional was granted tenancy (Plaintiff was the first to

              occupy the space) ahead of such formality) (see ,r    []): Plaintiff expressed concern
              that Ms. Obi might be a problem for him and others tenants, including Plaintiff,

              on October 3rd and after a night of screaming from midnight to three in the

              morning (see paragraph [], supra) as a cruel fishing to serve a hypothetical Jeny

              Springer extortion scheme (which colors the Defamation on steroids Defendants

              still inflict against Plaintiff) Plaintiff sent the landlord's agent a text saying that

              Ms. Obi's behavior seemed psychotic and indicating that the landlord's agent

              would want to take prompt action (implying reference to Ms. Obi's tenancy not

              yet being thirty days-such New York City law allows immediate removal with

              costly and complicated eviction proceedings precisely for situations where, such

              as in the given occurrence, a tenant quickly demonstrates criminality, trespass,

              and violence): the landlord's agent said that he would implement the process of

              having Ms. Obi answer with everyone seated at a table and order Ms. Obi to move

              if given the opportunity to be heard, Plaintiff, The 9-1-1 caller    (i\ 26), and Ms.
              Diaby (the three other tenants sharing common space in the duplex with Ms. Obi

              still felt Ms. Obi had to be removed for safety-such seemed to Plaintiff to be a



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               risky business decision (the landlord's agents approach seemed to be to want to

               keep Ms. Obi's parents' collateral on the landlord's agent's securities table for the

               landlord's agent's portfolio-the landlord's agent was trying a Hail Mary play

               that the situation would somehow resolve itself if the landlord's agent stalled)

               given Ms. Obi had already transgressed more than could possibly be ignored (Ms.

               Obi had started committed other petty crimes such as interfering with Plaintiffs

               internet in violation of agreement and stealing Twenty-Five Dollars from Plaintiff

               as is detailed in the May 7th Filing and in other documents). Defendants' causing

               this interference and with Plaintiffs life and security via the authorization of Ms.

               Obi's criminal-conduct-at-will-guaranteed hampered Plaintiff severely for the

               period up to October 811\ 2014: when Sergeant Brown got the call from Ms. Obi to

               execute their contracted racketeering exchange interfering with Plaintiffs

               interstate and international business, as the corruption and police sex bribery

               enterprise does adversely impact local commerce. [] [] [] [] [] [][] [] [] [] [] [][] []

               [][][][]

        303.   Count           Ms. Obi, as a deputized and joint State actor, did steal $25 as

               discussed in the Background to the Count       1 [].   Levon (identified in Plaintiffs

               May   7'h Filing, et cetera, as a man Ms. Obi identified both as one of Ms. Obi's
               "Hoes [i.e. slang for whore]" and as being Ms. Obi's boyfriend acknowledged

               that Ms. Obi had told Levon that Ms. Obi had taken Plaintiffs $25 in front of Ms.

               and stated that Ms. Obi would either repay Plaintiff in cash or shared utilities.

               Ms. Obi then refused to pay on October       s"', 2014 and offered surety against the
               threatened extortion ejecting the phone. CoA[T] # 4. CoA[K] # 5.



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        304.   Count          Ms. Obi was not shy to violence and was specifically authorized to

               violence and crimes of setting up situations for false State process upon fabricated

               allegations as the women who recruited Ms. Obi and Sergeant Shaun Brown took

               further in order to inflict sufficient weight, as if being sat up by a gargantuan that

               the release for pressure would be to call for mercy exonerating the heavy sitter-

               part of this seizure is still ongoing as demonstrated in a considerable proportion of

               the remarks Mr. Rosenkilde has been instructed to use-the audience of the

               November hearing (in the Courtroom on other business demonstrably grew

               frightened of Plaintiff directly on the basis of the intent and deliberate defamatory

               effect of Mr. Rosenkilde's remarks; Mr. Rosenkilde had admitted that upon

               examination of the evidentiary material in possession of the police, Mr.

               Rosenkilde had dete1mined the presentable evidence indicate the seizing of

               Plaintiff under the color oflaw was wrong. This latent weapon-of-defamation can

               be used against Plaintiff in all things and is a component of what must receive

               certain relief (1[]) or such will necessitate additional damages as discussed at 1[].

               CoA[Y] Claim # CoA[!::,.] Claim #

        305.   Count           Defendants effectively deputized Ms. Obi to wage criminal

               violence at will as State action with State action ready to complete functions and

               the State ownership of actions performed by Ms. Obi outrageously-outside-the-

               law as necessary to receive sex benefit qua bribery after recruiting Ms. Obi for

               this purpose by multiple participants in the racket. This precipitated the very

               contact of Plaintiff with Ms. Obi and Defendants, none of whom Plaintiff would




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               otherwise have ever even come into contact or met and is the primary cause 134

                (see ,i,i []). CoA[Y] #

        306.    Count 9: Ms. Obi via the police sex bribery racketeering enterprise's authorizing

               violence against victims of Ms. Obi's selection as a racket action: did batter

                Plaintiff with her hands and a ceramic-like toothbrush holder.                  This Count

               petiains to all the battery Counts () that ce1iain elements common to all the battery

                Counts not need be restated. Battery counts have been written and related to

               Defendants several times. Ms. Obi's battery was pure battery without purpose,

                function, cause, excuse, et cetera, other than making violence. Ms. Obi's violence

               was responded with strict nonviolence and vigorous verbal command and

               persuasion to stop Ms. Obi's violence. All of such is established prior to the

                instant Pleading. [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

        307.    Count 11: Ms. Obi via the police sex bribery racketeering enterprise authorizing

               violence trespass against Plaintiff in forms other than assault and battery as

               summarized in Count 9 & 10 including Conversion (CoA [K]), infringing on

               private space, destruction of            .   Ms. Obi's first serious trespass was night

               screaming directed at Plaintiff; it was                         CoA[M] Claim(#[] at i( []).

        308.   Count             Ms. Obi State-Action-powered recording of Plaintiff for extortive

               purposes prior to the night-time attacks during which Plaintiff was in bed. CoA[T]

        309.   Count              General           Quiet enjoyment real estate trespass CoA[Z] Claim

               # CoA[T] Claim# 4. CoA[K] # 5. CoA[P] # 37., 38 CoA[O] # 6. CoA[Y] # 28




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           as Plaintiff identified in Plaintiff first opportunity qua pleading by asserting it was the
        correct primary "incident"
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        310.   Count          Night 1         October 3rd , 2014.     Quiet enjoyment real estate

               trespass CoA[Z) # 21. Claim# CoA[T] Claim# 4.[] CoA[P] # 37. CoA[O] # 6.

               CoA[K] # 5. CoA[Y] # 28

        311.   Count          Night 2         October 4th 2014 Quiet enjoyment real estate

               trespass       The police sex-bribery racketeering contract between Ms. Obi and

               Defendant Sergeant Shaun Brown caused          Second night screaming at Plaintiff

                       CoA[M] # 3.      CoA[P] # 37. CoA[Z) # 21. CoA[K] # CoA[T] # 4.

        312.   Count          Night 3         October 5th 2014 Quiet enjoyment real estate

               trespass                       police sex-bribe1y racketeering contract between

               Ms. Obi and Defendant Sergeant Shaun Brown caused                     Third     night

               screaming at Plaintiff CoA[M] #3.03       CoA[K] # 5. CoA[Z) # 21. CoA[T] # 4.

               CoA[P] ## 37., 38

        313.   Count          [Relocate? ]Ms. Obi, as a deputized and joint State actor, did steal

               as discussed in the supra Count ,i [). CoA[K] # 5. CoA[P] ## 37., 38.

        314.   Count 10:      Ms. Obi via the police sex bribe1y racketeering enterprise's

               authorizing violence against victims of Ms. Obi's selection as a racket action: did

               assault Plaintiff threatening bodily-harm causing extortion and defamation on

               October 7t\ 2014 and amid other violence and threat of violence did homicidally

               threaten Plaintiff with the explicit language to Plaintiff: "I [Ms. Obi] will kill you

               [Plaintiff]" as this assault upon Plaintiff by Ms. Obi as part of racket-sanctioned

               activity occurred amid Ms. Obi's homicidal batteries upon Plaintiff and after the

               police were called by the third party.      All of the instant paragraph has been

               asserted prior, and to Defendants. -Other crime, tort, violation, deprivation of



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               other Counts, et cetera, does consist of assault or an assault component: e.g. every

               reaffirmation of Ms. Obi's standing promise to kill Plaintiff. CoA[M] #

               CoA[P] # 37.

        315.   Count           The police sex-bribery racketeering contract between Ms. Obi and

               Defendant Sergeant Shaun Brown caused                Threatening    extortion   via

               recordings              CoA[M] # 3.    CoA[K] # 5. CoA[P] # 37. CoA[O] # 6.

               CoA[Z] # 21.

        316.   Count           The police sex-bribery racketeering contract between Ms. Obi and

               Defendant Sergeant Shaun Brown caused                        Ms. Obi October 8th

               extortion threat amid offering surety against Ms. Obi's misappropriation and

               threat of extortion debt:             indicating in sum and substance "here they

               are; these really would fuck with your life" as Ms. Obi ejected the phone,

               hereafter the "ejectum" before Plaintiff for Plaintiffs reception as the surety

               against the misappropriated threat: Ms. Obi subsequently admitted that all

               recording functionality had been removed prior along with all data-the surety

               was a fraudulent one for the pretext applied as admitted to the 9-1-1-responding

               pair-Municipal Defendant is a very direct propagator upon and of this Count

               (see Count) regarding the Defendants' continuing actions and defamation on these

               matters which have always had apparent discoverability which Defendants

               continue to avail State power against reducing CoA[Y] # CoA[A] # (equivalent

               contribution to damages of CoA[O]); CoA[O] Claim #

        317.   Count           First specific   (CoA [Bl) Ms. Obi via the police sex bribery

               racketeering enterprise authorizing violence make State action of violence did



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                make the first interpersonal contact hitting Plaintiff as Plaintiff sat on Plaintiffs

                bed. Initiation of battering. Count also encompassing the horrible, baseless, and

                known fabrications of this essentially always evidentially certain matter of which

                Defendants obscene fabrications were always sufficiently impossible. CoA[~]

                Claim# 12. CoA[A]

        318.    Count LX       The police sex-bribery racketeering contract between Ms. Obi and

                Defendant Sergeant Shaun Brown cause

        319.    Count          The police sex-bribery racketeering contract between Ms. Obi and

                Defendant Sergeant Shaun Brown caused

        320.    Count 8: Ms. Rita A. Obi qua a State actor with Defendant police and prosecutor

                joint actors did cause bodily harm and did intentionally inflict mental anguish in

                transgressions upon Plaintiff from late September of 2014 135 with a particular

                cluster including a homicidally violent cluster of transgression upon Plaintiff on

                October 81\ 2014. 136    CoA[M] # 3. CoA[B] Claim# CoA[Y] # 19., 25., 26.,

                CoA[H] # 18

        321.    Count          Trespass real estate entry upon specific instruction not without

                statement, discussion, or otherwise addressing any response to the repeated,

                witnessed verbal prohibition of entry. CoA[T] Claim# CoA[M] Claim#




        135
            and does defame Plaintiff as a State actor and as joint action with police and
        prosecutors
         36
            see ,r,r [] regarding an overview of October 81\ 2014 and Footnote 40 regarding the
        exclusive direction of transgressions of the State powering Ms. Obi upon Plaintiff and ,r,r
        [] laying out Plaintiffs self-risking entirely non-violent self-defense, retreat, et cetera, in
        the face of such horrible State outrage
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        322.   Count           On October 8'\ 2014 Ms. Obi, a deputized, empowered, more-

               than-joint-State-actor, did    Push, shove, and straddle    Second CoA[B] # 2.

               CoA[M] # 3. CoA[P] # 37. CoA[O] # 6. CoA[Y] # 19. CoA[H] # 18.

        323.   The police sex-bribery racketeering contract between Ms. Obi and Defendant

               Sergeant Shaun Brown caused                   Ms.   Obi to by     straddling and

               inflicting random hits of physical violence the threat of such as yanking or biting

               [] Plaintiffs genitalia CoA[M] # 3. CoA[P] # 37. CoA[O] # 6. CoA[IT] 17.

               CoA[H] # 18

        324.   Count           The police sex-bribery racketeering contract between Ms. Obi and

               Defendant Sergeant Shaun Brown caused Ms. to act disposed to threaten

               Plaintiffs life in multiple and comprehensive ways causing Plaintiffs acute

               observation that Plaintiffs life was in danger              CoA[M]     Claim #[]

               CoA[P] # CoA[O] #

        325.   Count            On approximately October , 2014 Ms. Obi, a deputized,

               empowered, more-than-joint-State-actor, did         Escalation of hits causing

               Plaintiff to need to flee             CoA[B] Claim # CoA[M] Claim# CoA[Y]

               # 19. CoA[H] # 18. CoA[O] # 6.

        326.   Count            On approximately October , 2014 Ms. Obi, a deputized,

               empowered, more-than-joint-State-actor, did

        327.   Count LXVI On October 8'\ 2014 Ms. Obi, a deputized, empowered, more-

               than-joint-State-actor, did      Battery through door         See Fourth CoA[B]

               Claim#[] CoA[M] Claim# CoA[P] # CoA[O] #




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        328.   Count           The police sex-bribery racketeering contract between Ms. Obi and

               Defendant Sergeant Shaun Brown caused Ms. to act disposed to threaten

               Plaintiffs life causing on October 811', 2014 Ms. Obi, a deputized, empowered,

               more-than-joint-State-actor, to directly homicidally promise to kill Plaintiff with

               those words etched from that moment on of Ms. Obi promising to Plaintiff,

               verbatim: "I [Ms. Obi] will kill you [Plaintiff]," which Ms. Obi denied saying and

               then immediately, unquestionably, indubitably, and to-four-witnesses admitted

               having herself, Ms. Obi, said, in those words quoted in this instant paragraph, to

               Plaintiff prior to the directly homicidal batteries Ms. Obi inflicted upon Plaintiff

               (see Counts[] at 'l['I[[] []) to the police witnesses responding to the 9-1-1 call who

               had to physically stop Ms. Obi from attacking Plaintiffs head after Ms. Obi

               refused to obey their commands for Ms. Obi to cease CoA[M] Claim # CoA[Y]

               Claim#

        329.   Count           The police sex-bribe1y racketeering contract between Ms. Obi and

               Defendant Sergeant Shaun Brown caused Ms. to act disposed to threaten

               Plaintiffs life causing on October 8th , 2014 Ms. Obi, a deputized, empowered,

               more-than-joint-State-actor, to press into a door behind which Plaintiff was

               protecting himself in such a vigorous manner as to demonstrate imminent

               physical harm to Plaintiff by Ms. Obi.      CoA[B] # 2. CoA[M] # 3. CoA[Y] #

               CoA[P] # 37.

        330.   Count           On October 8'\ 2014 Ms. Obi, a deputized, empowered, more-

               than-joint-State-actor, did slander Plaintiff by screaming to defraud listeners and




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                harass Plaintiff, which the witnesses eventually came to observe directly and

                expound upon verbally within the scene. CoA[~] ## 12., 14.

        331.    Count LXX       On October 81\ 2014 Ms. Obi, a deputized, empowered, more-

                than-joint-State-actor, did           Homicidal choke (external: Ms. Obi's right

                hand gripping front of Plaintiffs neck). CoA[B] # 2    CoA[M] # 3. CoA[P] # 37.

                CoA[Q] # 6.

        3 32.   Count []        On October 811\ 2014 Ms. Obi, a deputized, empowered, more-

                than-joint-State-actor, did     grip Plaintiffs tongue threatening to tear out

                Plaintiffs tongue with Ms. Obi's hand                                        See

                CoA[B] # 2. CoA[M] # 3. CoA[P] # 37. CoA[Q] # 6. CoA[Y] # 19.

        333.    Count[]         On October 81\ 2014 Ms. Obi, a deputized, empowered, more-

                than-joint-State-actor, did act to            homicidally    suffocate       Plaintiff

                (internal: Ms. Obi's hand inside Plaintiff mouth with Ms. Obi applying Ms. Obi

                finger's to Plaintiff esophageal opening)     CoA[B] Claim# 2.      CoA[M]

                Claim# 3.     CoA[P] # 37. CoA[Q] # 6. CoA[Y] # 19.

        334.    Count[]         On approximately October , 2014 Ms. Obi, a deputized,

                empowered, more-than-joint-State-actor, did

        335.    Count[]         On October 81\ 2014 Ms. Obi, a deputized, empowered, more-

                than-joint-State-actor, did           claw and tear Plaintiffs right check

                       See Eighth CoA[B] Claim (#2.08 at 1 []) & see CoA[M] Claim (#[] at 1

                []). CoA[P] # CoA[Q] # CoA[H] # 18. CoA[Y] # 19.

        336.    Count[]         On October 811', 2014 Ms. Obi, a deputized, empowered, more-

                than-joint-State-actor, did           chase Plaintiff up the stairs-in order to run



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               up the stairs, Paintiff needed speed and in order to have that speed Plaintiff had to

               risk Ms. Obi reaching a foot which could have resulted in Plaintiffs death by

               head impacting the wooden stairs: thus Plaintiff was made morbidly aware of the

               imminent mortal danger from the acting-State-psychotic-Ms. Obi. [separate

               chasing upstairs into separate? Combined ok]          See CoA[M] Claim (#[] at ,i

               []). CoA[P] # CoA[O] # CoA[H] # 18.

        337.   Count[]         On October 8111, 2014 Ms. Obi, a deputized, empowered, more-

               than-joint-State-actor, did    hit Plaintiff through upstairs bathroom door and

               attempted homicidal entry      See Ninth CoA[B] Claim#. CoA[M] # 3. CoA[P]

               # 37. CoA[O] # 6.

        338.   Count[]         On October 81\ 2014 Ms. Obi, a deputized, empowered, more-

               than-joint-State-actor, did hit Plaintiff with potentially deadly object of ceramic-

               like toothbrnsh holder CoA[B] # 2 CoA[M] # 3. CoA[P] # 37.

        339.   Count []        On October 81\ 2014 Ms. Obi, a deputized, empowered, more-

               than-joint-State-actor, did action of ejecting data storage device for Plaintiffs

               reception was done out of intent to entrap [check if tort?] lure Plaintiff with return

               of security against misappropriation when misappropriated material was not on

               device (Background-Ms. Obi saying it was another device all together). CoA[]

               #27.

        340.   Count []        On October, 2014 Ms. Obi, a deputized, empowered, more-than-

               joint-State-actor, did hitting post-police-arrival CoA[B] # 2 CoA[M] # 3

        341.   Count           CoA[H] Abuse of Civil Process in Malicious-Fabricating False

               Cause for Inquiry, i.e. Fair Trial Equivalent in Forcing Plaintiff to Overcome



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               Fifteen False Allegation by Ms. Obi which Ms. Obi withdrew. Ms. Obi admitted

               to saying to Plaintiff prior to committing three distinct homicidal assault qua

               psychotic attack from which Plaintiff sought refuge in the bathrooms-Ms. Obi

               penetrated into one as Plaintiff opened the door as Ms. Obi requested slight

               open-all as reported by the 9-1-1 caller (126); 127 attempted to close Ms. Obi

               under instructions of government administration to be adjucdicated for homicidal

               assaults which Ms. Obi asserted after being arrested for felony assaults upon

               Plaintiff at 2:18 p.. m. on October 811\ 2014. After ten iterations which Plaintiff

               had to absolutely defend due to Homicidal-State-Action-Racketeering-State-

               Action-Substantive-Violation: this experience of being forced to Defendant

               against horriblyly false allegations-that Ms. Obi had not gone downstairs (this

               paiiicular information is relevant given Ms. Obi's homicidal activities downstairs,

               straddling on Plaintiffs bed-(given ho1Tible Defamation+ CoA [L'l][A][I:])

        350.   COUNT CL                       General   Defendants'     Planned    of   the   Life-

               Destroying Injuring of Plaintiff Count. Defendant Brown responded to Ms. Obi's

               phone call indicating that the posse commitatus pursuant the the police sex

               bribery contract bargained between Ms. Obi and Defendant Brown had been

               commenced and that Ms. Obi needed Defendant Brown to finish the sex bribe1y-

               based co1Tuption abuse and racketeering pursuant to the bargain contracted.

               Defendai1t Brown eagerly supported the plan and probed for details 137 to assist

               with planning constitutiona!-dimenstion (as well as common-law-actionable)

               injuring of Plaintiff based on details of racketeering fmiherance array beyond

        137
           Which included information upon which Defendai1t Brown surmised basis for anti-
        miscegenistic prejudice to be inflicted upon Plaintiff as part of the victimization. See []
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               what had been to Ms. Obi to whatever degree and according to Defendant

               Brown's off-duty situation, with regard to the operationally compliant police

               officers who would follow racketeering instructions. See further details of the

               instant Admitted telephonic conversation between Defendant Brown and Ms. Obi

               planning the completion of the posse commitatus of the police sex bribery bargain

               contract between Defendant Brown and Ms. Obi with a sure plan to

        351.   COUNT CLI                         Defendants'      Planned      of   the     Life-Destroying

               Injuring of Plaintiff Trigger Call Count. Needing to be concealed from Plaintiff

               follow-up phone call to from Ms. Obi to Defendant Brown to notify Defendant

               Brown, as Defendant Brown had earlier instructed in the telephone call notifying

               Defendant Brown of the tortious posse commitatus opening against Plaintiff that

               needed to be completed for by Defendant Brown's tortious removing seizure of

               Plaintiff to commence the completing of the posse commitatus to be continued

               under the Defendant racketeering furtherance array upon Plaintiff including as

               involved the planned usurpation of an adjudication until Plaintiff was subdued

               into signing waiver of liability or eliminated. [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] []

               [][]

        352.   COUNT                             Defendant Brown's Planning for Planning

        353.   COUNT CLII                        Defendants'      Planned      of   the     Life-Destroying

               Injuring of Plaintiff: Appearance as Fourth Amendment Violating Search Count

        354.   COUNT CLIII                       Defendants'      Planned      of   the     Life-Destroying

               Injuring of Plaintiff Terry Seizure of Plaintiff with completing defacto posse

               commitatus police sex bribery participant, responded to t



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        355.   COUNT CLIV                        Defendants'      Planned     of the         Life-Destroying

               Injuring of Plaintiff: Obstruct~ 27 in Planning the Gathering of a Replacement as

               Search

        356.   COUNT CLV                Defendants' Planned of the Life-Destroying Injuring of

               Plaintiff: Avoid to Obstruct        ~   26 in Planning the Gathering a Fraudulent

               Information Assemblage as Search (if~ 26 Were Inconveniently Present Upon

               Appearance to Seize Plaintiff).

        357.   COUNT CLVI                       Defendants'      Planned      of the         Life-Destroying

               Injuring of Plaintiff: Command Plaintiff to be Silent to Obstruct Plaintiff

        358.   COUNT CLIV                        Defendants'     Planned      of the         Life-Destroying

               Injuring of Plaintiff: Observe Mashed Tenible Tape Ms. Obi has Created as

               Gathered Towards Pretext[] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

        359.   COUNT CLIV                       Defendants'      Planned      of the         Life-Destroying

               Injuring of Plaintiff: Fabricate a New 9-1-1 Sprint Report from the Only 9-1-1

               Call (in the morning, i.e. ~ 26 to which~ 27 responded).

        360.   COUNT CLIV                       Defendants'      Planned      of the         Life-Destroying

               Injuring of Plaintiff: As Ms. Obi's Mashed Audio is A Fabrication, Plain to Cite it

               as if it were evidentiary, but do never collect it.

        361.   COUNT CLIV                       Defendants'      Planned      of the         Life-Destroying

               Injuring of Plaintiff: Instruction Plaintiff to Leave Phone for Ms. Obi to Access

        362.   COUNT CLIV                       Defendants'      Planned      of the         Life-Destroying

               Injuring of Plaintiff: Removing seizure and hold while Defendants perform any




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               needed record adjustments at the time and to allow Ms. Obi to send pretext text

               messages from Plaintiffs Phone.

        363.   COUNT CLIV                              Defendants'         Planned   of   the     Life-Destroying

               Injuring of Plaintiff: Calling in Chits for Necessary Furtherance Array from

               KCDA to protect obstructions, get hard, et cetera.

        364.   COUNT CLIV                              Defendants'         Planned   of   the     Life-Destroying

               Injuring of Plaintiff: Find Ms. Obi Class A Misdeamoner Citation, kill it and bury

               it. [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] []

        365.   COUNT CLIV                              Defendants'         Planned   of   the     Life-Destroying

               Injuring of Plaintiff: Get Corruption Blue Wall Crew at 81 st Precinct                   (i! 29) to be
               ready to circle Plaintiff when Plaintiff arrives and to assist with fabrication of

               reports, et cetera, as necessary.

        366.   COUNT CLIV                              Defendants'         Planned   of   the     Life-Destroying

               Injuring of Plaintiff:                  Fraudulent source of appearance which readily was

               necessary per Fouth Amendment required to checked, i.e. choice to defraud active

               police position by sublimated on admitted personal-relationship basis what stood

               as police evidential record stripping Plaintiff of hearing rights evidential rights

               require . The finding of instant Count concurrently finds the Default Count,

               Count I. CoA investigate, CoA[Z] 20 21                      CoA[K] #.

        367.   Count               Defendants, in planning fraudulent appearance                (ii   28), knew the

               municipal racketeering methods would provide choices for the fabrication of

               process incumbent with the planned tyrannical removing seizure of Plaintiff.

               Defendants ultimately chose to fabricate a Sprint Report which Defendants knew



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               was so wildly indefensible that Defendants did not produce it to Plaintiff with

               other materials in June of 2015 (after Defendants' counsel disclosures represent

               that Defendants' had produced idem to the CCRB at the end of May 2015) as

               Defendants' knew how wildly fraudulent it was and how easily such truth could

               be exposed.   The finding of the instant Count concurrently finds the Default

               Count, Count I.

        368.   COUNT                         Planning: Ninth-Amendement Self Defense Rights

               Construed With New York Law: Citation for Menacing Meant Mortal Danger-

               Defendant Fictionalized § violation even though theory was beyond hypothetical

               possibility-and precisely described such without concern to qualify the

               impossible. Otherwise obstruction and independent chain for Fourth violation as

               Defendants knew . Defendants knew that Ms. Obi saying that Ms. Obi was going

               to kill Plaintiff and homicidally attacking Plaintiff was fully supported at common

               law and constitutionally as cause for not allowing Ms. Obi to enter the bathrooms

               ( I & 2 (Plaintiff had to flee the first when Plaintiff was endangered from

               Plaintiffs opening the door to bathroom one at Ms. Obi's request) that Plaintiff

               was occupying: to overcome this, Defendants attempted to use the New York-

               robbery-self-defense-preclusion: Plaintiff was chased into bathrooms without

               windows or other exists, twice.    Facts plainly did not conform to a robbery:

               Defendants tried to mash assertions of improper possession of ejectum Ms. Obi

               ejected for Plaintiffs reception (which is supported by the nine relevant

               considerations of law as being a proper or permissible, defensible, or privileged

               possession of ejectum ejected for Plaintiffs reception (which is the fact Ms. Obi



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              did admit occurred-after first denying otherwise)) with the supposed Plaintiffs

              refusal to open a door Ms. Obi attempted to force from closing and force open

              (twice (bathroom one (all persons present on CCRB report the time of the only 9-

              1-1 call)) and not allowing (bathrooms one and two) the doors to be opened with

              Ms. Obi homicidally attacking Plaintiff and overtly stating that "[Ms. Obi] will

              kill [Plaintiff\:" as Ms. Obi admitted to the only 9-1-1-responding police and in

              regard of such and other criminal activity of Ms. Obi   ('I! 27 issued Ms. Obi a Class
              A Misdeamoner Menacing Citation, which Defendants Admit, but refuse to

              produce given the time being prior to Defendants' assertion of the time ,i 27

              arrived (which Defendants did to obstruct production of the Class A Misdeamnor

              Menacing Citation-as such Evidence obliterates,               essentially by itself,

              Defendants' Pleading not to be thrown out of by law on all contingent Counts).

              Class A Misdeamoner Menacing, Ms. Obi literally admitted homicidally attacking

              Plaintiff and saying that "[Ms. Obi] will kill [Plaintiff\:" (as ,i 26 witnessed and as

              'I! 26 put into a notarized Testimony document from 'I! 26 and delivered to
              supposedly investigative personnel of the 81 st Precinct): literally rules out robbery

              as the only force Defendants assert is Plaintiffs self defense of not allowing the

              entry of a sworn and homicidally-attacking homicidal attacker: another sufficient

              weakness is Defendants' assertion of motive, in many respects-particularly with

              regard to two separate bathrooms.          There is no plausible loss of chattel

              conceivable (Defendants furthermore assert the ejectum value on 7 October to

              have never, for a moment, varied through 10 October): none asserted either;

              futthermore, the evidence of Defendants' crimes against Plaintiff that Ms. Obi



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               stated (as is otherwise witnessed-also recorded, reported, Docketed, et cetera)

               were contained on the ejectum that Ms. Obi ejected to Plaintiff for Plaintiffs

               reception to examine, et cetera: however, Ms. Obi came to admit that this was not

               true, but that Ms. Obi wanted Plaintiff to properly possess the phone as potential

               support for pretext for the corruption and racketeering posse commitatus to be

               used against Plaintiff.

        369.   COUNT CLXX                           General Defendant's Carrying out Defendants'

               Posse Comrnitatus Completion Plan Against Police Sex Bribery Victim. Plan

               specifically targeted Plaintiff for Plaintiffs petition against Defendants'

               corruption. The exceution of the plan particularized with the bargaining of police

               sex bribery contract bewteen Ms. Obi and Defendant Brown and further

               particularized in the Admitted telephone calls between Ms. Obi and Defendant

               Brown-setting up the completion of the defacto fraudulent use of posse

               commitatus (et cetera) action and then notifying strike time immediately upon

               Plaintiffs return. [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] [] []

        370.   COUNT CLXI                          Defendant's Carrying out Plan to: Appearance as

               Fourth Amendment Violating Search Count

        371.   COUNT CL                   Defendant's Carrying out Plan to: Terry Seizure of Plaintiff

               with defacto posse comrnitatus police sex bribery participant, responded tot

        372.   Count                       Ms. Obi did privately contact Sergeant Shaun Brown by

               personal telephone to personal telephone to execute their sex bribery contract

               produced under the police sex bribery and corruption racket determining criminal,

               et cetera, further injuries to PlaintiffCoA[P] ## 37., 38., CoA[O] # 6.



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        373.      Count[]: Sergeant Shaun Brown did procure from the police corruption racket for

                  his exercise of the racket subpart enterprising in police sex bribery, the dangerous

                  illegal confinement, 138 malicious abuse by fraudulent prosecutorial process, 139 and
                                                                                 140
                  defamation with false and fabricated pseudo-evidence                 :   completing and

                  furthering the initiated bodily-harm upon Plaintiff in passing most the further

                  harm performance to the broader law enforcement-corruption-racket team for

                  their individual specializations. [add subcounts]    CoA[P] ## 37., 38., CoA[O.] #

                  6. CoA[Y] # 25., 26., 27., 36 .. CoA[H] # 18.

        342.      Count []       Sgt. Brown four    (1 28) not simply leaving as staying upon clear
                  circumstance of non-exigency to would-be-terry-plus seize Plaintiff upon

                  procedurally and legally violative presence sufficiently violationed Plaintiffs

                  Foutih Amendment rights. See        1   65.   Staying after appearing and finding

                  transparent non-exigency of circumstances upon confrontation of Plaintiffs

                  asserting that the precinct clearly had record that the appearance of the Sgt.

                  Brown four   (1 28) to rehash, review, et alia, definitively settled, closed, et cetera
                  matters (which Ms. Obi and Defendants knew were closed vehemently against

                  probable cause finding against Plaintiff as Defendants and Ms. Obi exercised

                  racketeering operations to violate law and procedure to appear; the first two of the

                  Sgt. Brown four knew Plaintiff was correct in asserting the appearance was errant

                  as either Officer Caraciolo and Cascio la, Plaintiff has not been provided with the

                  necessary photograph to tell the difference, et cetera, (the two acted ensemble and



        138
              see Count [next]; and the next Count[]
        139
              Count 8.4
        14
             °Count 8.[]
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               entirely in concert, performing their actions as a pair clearly demonstrating

               regular duty partnership between the two (i.e. "partners" in parlance) (their

               subsequent removing seizure acts were likewise performed ensemble and

               indistinguishably-their CCRB reports differ considerably where both were

               fabricating but demonstrate a shared mind of the event and what they were

               supposed to fabricate).     # CoA[] # CoA[] # CoA[]            CoA[P] ## 37., 38.,

               CoA[O] # 6. CoA[Y] # 25., 26 CoA[Z] # 7., 20., 21., 22., 23.

        343.   COUNT CLIV                     [Merge three iterations]Defendants' Seizure of

               Plaintiffs Phone Commanding Plaintiff to set it in Plaintiffs private room. On

               October 8, 2014, Defendants Caracciolo and Casciola by the order of Sgt. Shaun

               Brown ordered Plaintiff to take Plaintiffs phone off of Plaintiffs person that Ms.

               Obi could access Plaintiffs phone to create a pretext of fabricated probable cause

               as Plaintiff laid out in Plaintiffs May 71\ 2018 Pleading. The finding of the

               instant Count concurrently finds the Default Count, Count I. CoA[Z] ## 7., 20.,

               21., 22., 23. CoA[P] ## 37., 38. CoA['P] # 16. Intent to fraud CoA[Y] # 28. C &

               C, per instructions of Sergeant Brown, did order Plaintiff to leave his phone at

               677 Quincy Street and then held Plaintiff, at in the station for no purpose other

               than to elapse time without record that the phone might be found and tampered

               (e.g. used to send harassing messages) with to fabricate messages that could have

               better fabricated cause.   Claim# of CoA []    CoA[P] # 37. CoA[O] # 6. CoA[Z]

               7., 20., 21., 22., 23. Count          C & C, per instructions of Sergeant Brown,

               did order Plaintiff to leave his phone at 677 Quincy Street and then held Plaintiff,

               at in the station for no purpose other than to elapse time without record that the



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               phone might be found and tampered (e.g. used to send harassing messages) with

               to fabricate messages that could have better fabricated cause. Claim # of CoA []

               CoA[P] # 37. CoA[O] # 6. CoA[Z] 7., 20., 21., 22., 23.

        374.   COUNT CLIV                      Defendants' Search of Plaintiffs Belongings While

               Plaintiff was Life-Smashingly Removingly Seized of Plaintiff: [] [] [] [] [] [][] []

               [] [] [] [][] [] [] [] [] []

        375.   COUNT CLIV                      Defendants' Seizure of Plaintiff's Belongings While

               Plaintiff was Life-Smashingly Removingly Seized of Plaintiff:

        390.   COUNT CLIV                      Defendant's Carrying out Plan to: Obstruct   ii 27   in

               Planning the Gathering of a Replacement as Search Count []          Defendants

               violated Plaintiffs Fourth Amendment rights in peremptorily-and-thoroughly-

               Brady-obstrncting the witness of the 9-1-1-responding pair (ii 27) from action pre-

               removing of Plaintiff. CoA [0] Claim# 16.[] CoA ['¥]) also ZETA? i.e. process

               of seizure

        391.   COUNT CLV                       Defendant's Canying out Plan to Avoid to Obstruct

               ii 26 in Planning the Gathering a Fraudulent Information Assemblage as Search (if
               ii   26 Were Inconveniently Present Upon Appearance to Seize Plaintiff as

               anticipated). Count[] Defendants violated Plaintiffs Fourth Amendment rights in

               peremptorily-and-thoroughly-Brady-obstructing the witness of the 9-1-1 caller        (ii
               26) from action pre-removing of Plaintiff-see detail at ii[]. (Claim# 29.[] CoA

               [0] Claim# 16.[] CoA ['¥])

        376.   Count                          Ms. Obi and Sergeant Shaun Brown did meet

               privately, during which Ms. Obi admits disrobing, to finalize terms of closing on



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               their contract and to determining criminal, et cetera, furtherance of injuries to

               Plaintiff. CoA[P] ## 37., 38., CoA[O] # 6. CoA[Y] # 26.

        392.   COUNT CLVI                           Defendant's Carrying out Plan to Command

               Plaintiff to be Silent to Obstruct Plaintiff. Defendants violated Plaintiffs Fourth

               Amendment rights in ordering Plaintiff, the police-identified victim, not to speak

               as Defendants sought to edit out Plaintiffs victimhood, [ etc add ] from action

               preceding removal of Plaintiff (Claim# 29.[] CoA [@]Claim# 16.[] CoA ['Pl)

        377.   COUNT CLIV                           Defendant's Carrying out Plan to Observe Mashed

               Terrible Tape Ms. Obi has Created as Gathered Towards Pretext

        378.   COUNT CLIV                           Defendant's Carrying out Plan to Fabricate a New

               9-1-1 Sprint Report to replace the plan-destorying records from earlier also

               indicative of the Class A Misdemeanor Menacing citation issued to Ms. Obi. the

               Only 9-1-1 Call (in the morning, i.e. ,r 26 to which if 27 responded).

        379.   COUNT CLIV                           Defendant's Carrying out Plan to As Ms. Obi's

               Mashed Audio Being Fabrication, Plain to Cite it as if it were evidentiary, but do

               never collect it.

        380.   COUNT CLIV                           Defendant's Carrying out Plan to Instruction

               Plaintiff to Leave Phone for Ms. Obi to Access

        381.   COUNT CLIV                           Defendant's Carrying out Plan to, During the

               Removed Seizure: hold while Defendants perform any needed record adjustments

               at the time and to allow Ms. Obi to send pretext text messages from Plaintiff's

               Phone. [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []




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        382.   COUNT CLXX                         Defendant's Carrying out Plan to Call in Chits for

               Necessary Furtherance Array from KCDA to protect obstructions, get hard, et

               cetera.

        383.   COUNT CLXX                         Defendant's Carrying out Plan to Get Corruption

               Blue Wall Crew at 81 st Precinct           (ii   29) to be ready to circle Plaintiff when

               Plaintiff arrives and to assist with fabrication of reports, et cetera, as necessary.

        393.   COUNT CXC                          Defendants'       Life-Smashing-Injuring          Removing

               Seizure of Plaintiff:

       400.    COUNT CC                           General Fabrication of Fraudulent Information

               Assemblage Count. Defendants' preparation of the fraudulent and life-destroying

               Information-Assemblage. Defendants concocted what Defendants believed was a

               sufficient story (for corruption and racketeering purposes with corruption and

               racketeering backing) for the removing seizure of Plaintiff which had already

               occurred and as Plaintiff was there confined and various obstructions were being

               conduct (e.g. ,i 29) to suit the story. [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       401.    COUNT CC+                          Incomplete Spoliation of ,i 27 records (everyone

               supports far more time between Sprint Time and appearance of ,i 27. Everyone

               reports 9-1-1 was at beginning, not 1:15 hour and minutes after conflict. Other

               evidentiary material substantiating multiple acts of spolitation.

       402.    Count            Officer Cascio la states (Officer Cascio la was the first of the three

               of ,i 28 with substantive accounts to offer-see [] regarding Officer Hellberg) that

               Officer Caracciolo and Casciola were assigned by radio an assignment to see Ms.

               Obi at 18h52 but were busy for over three hours (Defendants claimed there was--



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              but now admit there was not a 9-1-1 call and such was a Second-Circuit-

              definition-of-malicious calumny). 128 arrived minutes after Ms. Obi's 18h50 go

              time notice to Sgt. Brown upon which Sgt. Brown sent notice through the radio

              that Officers Caracciolo and Casciola were to appear.

       403.   Count            Concealment of Sgt. Brown's mere presence or involvement at 677

              Quincy on October 8'\ 2014. Sgt. Brown stated on the CCRB interview that Sgt.

              Brown's shift went later into the night than Officers C&C and that Sgt. Brown

              only left the precinct the one time, yet C & C had a different Sergeant sign the

              reports presented.

       404.   Count           First document presented from Defendant-presented, supposed

              03h25-03h28 fax of October t 911\ 2014 from Precinct to Central Brooklyn:

              malicious fabrication. Sufficient example of Defendants fraud: fabricated event

              synopsis. Malicious fraud consisting at least of tampered with, or fabricated in

              reference to   1 27 paperwork (as the second document demonstrates).    CoA['l'] #

              16. CoA[P] # 37. CoA[O.] # 6. CoA[A] #. CoA[Y]

       405.   Count            Second document presented from Defendant-presented, supposed

              03h25-03h28 fax of Oc October t 9'\ 2014 from Precinct to Central Brooklyn:

              CoA['l'] # 16. CoA[P] # 37. CoA[O.] # 6. CoA[A] # . Malicious obstructive

              fraud includes the statement of "O" "Total Witnesses."            Document was

              purportedly written by Defendant Casciola; 1 28 state and confirm in their CCRB

              interviews that the 9-1-1 caller (1 26) was present, material, and attempting to be

              forthcoming of information when and while 128 appeared at 677 Quincy.




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       406.   Count          Defendants' stating zero witnesses was a Fourth Amendment and

              Brady obstruction as a matter of law given the Affidavit Defendants received at

              the 81 st Precinct from 1 26 and the interview conducted by the CCRB of 1 26 , et

              cetera, which contradict the whole of the action against Plaintiff: obviously a 9-1-

              1 calling witness is a witness-given the sworn statements of the 9-1-1 caller in

              Affidavit produced to the 81 st Precinct and CCRB interview.         CoA['P] # 16.

              CoA[D] # 6. CoA[A.] #. CoA[P] ## 37. & 38. CoA[Y]

       407.   Count          Fourth document presented from Defendant-presented, supposed

              03h25-03h28 fax of October 9t\ 2014 from Precinct to Central Brooklyn: again

              states no witnesses.   CoA['P] # 16. CoA[P] # 37. & 38 CoA[D] # 6. CoA[A.] #

       408.   Count          Fifth document presented from Defendant-presented, supposed

              03h25-03h28 fax of October 9t\ 2014 from Precinct to Central Brooklyn: states

              that Defendant Caracciolo "Aided" Ms. Obi listing "Time of 0cc. [occurrence]

              14:00."   Defendants have asserted and retracted and asserted and retracted

              whether or not they swear before King's County and this Court whether it was C

              & C that responded to the only 9-1-1 call made at approximately 13h55 (i.e. just

              before the 14:00 time; which Plaintiff estimates is the time   1 27 were dispatched
              as 1 27 arrived at 14hl 5 and physically arrested Ms. Obi for homicidally attacking

              (and refusing to stop when    1 27 ordered that Ms.   Obi stop bashing at Plaintiffs

              head) Plaintiff who was barricaded behind a door (et cetera as Plaintiff has

              described in writing and always maintained)).         Defendants would rather have

              Defendants'    racketeering    fabricators   commit     perjury   then   allow   the

              constitutionally operating police be allowed to be involved (which is why the



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              King's County Attorney executed Defendants' orders to block         ,r   27 from the

              proceeding asserting C & C were the only two police to appear ever at 677

              Quincy).    The very legal corporate head of Defendants swore to this Court in

              Defendants' first Pleading that    ,r   27 were did not appear; Defendants then

              retracted this position admitting ,r 27 in Defendants' second Pleading. Defendants

              also write on this fifth document (as well as the sixth and seventh, infra) of the

              October 9 3h25-3h28 fax that Sgt. Fishman was the supervisor: (while IAB stated

              that Sgt. Brown (who admits appearing, gathering all information, and making all

              decisions in the CCRB interview of Sgt. Brown) was without doubt not on duty

              on October 811\ 2014: Sgt. Brown says in the CCRB interview (after stumbling

              over Sgt. Brown's statement of times (i.e. Sgt. Brown changing his own

              statement)) that Sgt. Brown shift ended after C & C. Defendants, until at least

              June of 2015 denied that Sgt. Brown was ever involve, present, or aware of events

              at 677 Quincy on October 811\ 2014-including the King's County (District)

              Attorney representatives under instruction from Defendants to obstruct justice on

              behalf of Defendants: thus the reason for the ranking sergeant present (who says

              in the CCRB interview of Sgt. Brown that the rest of the night he, Sgt. Brown,

              was at the precinct) for a different sergeant to be the signatory of documents is

              that Defendants original racketeering plan was to hide Sgt. Brown's ever having

              been present thus getting Sgt. Fishman to sign even though Sgt. Brown had

              actually (according to Sgt. Brown in the CCRB interview) done everything from

              gather the information to making decisions (Sgt. Brown describes C & C as

              simply holding the scene, i.e. holding Plaintiff, (which is how Plaintiff maintained



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              the event occurred on record prior to the turnover of documents to Plaintiff or any

              involvement of the CCRB.     CoA['l'] # 16. CoA[P] ## 37. & 38. CoA[O.] # 6.

              CoA[A] #.

       409.   Count          Sixth document presented from Defendant-presented, supposed

              03h25-03h28 fax of October 911\ 2014 from Precinct to Central Brooklyn: makes

              fraudulent attribution of statement which Defendants have proven they knew was

              fraudulent apart from knowing they were committing malicious unconstitutional

              fraud; it also contains fraud of the time (as much time as   1 28 could give before
              the end of their shifts) in order to give Ms. Obi time to look for Plaintiffs phone

              to generate a pretext, i.e. Sgt. Brown and Ms. Obi decided as Ms. Obi was naked

              with Sgt. Brown in Ms. Obi's room (or possibly in their admitted earlier

              conversation planning the crimes, et cetera, against Plaintiff as execution of the

              racketeering contract between Ms. Obi and Sgt. Brown which Ms. Obi had

              passionately described to Plaintiff as something Ms. Obi might use against a

              woman that Ms. Obi expected to physically fight which Ms. Obi described as

              being pait of the racketeering guaranted by Sgt. Brown and the women who

              recruited Ms. Obi for the police sex bribery racketeering enterprise); Ms. Obi

              admits in the CCRB interview of Ms. Obi to undressing for Sgt. Brown while Ms.

              Obi and Sgt. Brown were together in Ms. Obi's room at this time: while

              Defendants were unconstitutionally and tortious holding Plaintiff without and

              contrary to explanation (as Plaintiff elsewhere describes); Defendants had secured

              that Plaintiffs phone would be in Plaintiffs room that Ms. Obi would be able to

              search and find Plaintiffs phone and send text messages which would serve as a



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             pretext for a seizure of Plaintiff that had already occurred. CoA[Z] 7., 20., 21.,

             22., & 23.   CoA['I'] # 16. CoA[P] # 37. CoA[Q] # 6. CoA[A] #. CoA[<D]

      410.   Count          Seventh document from Defendant-presented, supposed 03h25-

             03h28 fax of October 9th , 2014 from Precinct to Central Brooklyn: does that same

             the prior paragraph regarding a fraudulent attribution of statement from Plaintiff

             and other fraud stated above. CoA[<D] CoA['I'] # 16. CoA[P] # 37. CoA[Q] #

             6. CoA[A] #.

      411.   Count          Document produced to Plaintiff in June 2015 titled "CJA Report"

             is fraudulent as evidenced in the fraudulent time, the reduction of the only annual

             income which Plaintiff reported by one hundred thousand dollars, and the

             assertion that Plaintiff did not have a cell phone in order fraudulently assert (as

             the worksheet is configured) Plaintiff was a risk of flight to horribly seek

             Plaintiffs continuing mortally-hazardous confinement. Plaintiff had renewed a

             major carrier phone contract in September of2014 (it would be unthinkable to not

             see as malicious transgression any suggestion by Defendants that Ms. Obi and

             others would not have been able to provide Plaintiffs phone number, which

             Plaintiff repeatedly provided subsequently (all with the phone numbers of three

             others at 677 Quincy including that of Ms. Obi upon such repeated requests by

             police) but prior to production of the instantly discussed fraudulent and malicious

             document by Defendants).      The instant CJA is otherwise three ways errant.

             CoA[f] # 24. CoA['I'] # 16. CoA[A] CoA[Q] # 6.

      412.   Count          Fabricated Scarcella document. If printout Plaintiff received on

             October 20 1'\ 2014 (titled "Crims Appearance Menu; Appearance History")



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              indicating nine, not ten, (no 240) assertions against Plaintiff in the malicious

              action against Plaintiff or the malicious re-institution of a tenth as an improper use

              of process to attempt to avoid Defendant liability. CoA['l']

       413.   Count          D[Identify document] efendants conspicuously state on [[]] that

              Ms. Obi called 9-1-1 but leave the time of the call blank (Defendants have

              admitted all assertions of Ms. Obi having called 9-1-1 was a based or consisted

              entirely of Defendant fraudulent. CoA['l'] 16. CoA[f] 24. CoA[0]

       414.   Count          The King's County (District) Attorney at some time produced a

              "Notice Pursuant to CPL 710.30(l)(a)" which is fraudulent-the fabricated

              quotation is almost entirely specious. See Background to Counts       'I! 7[][] [search
              "fake quotation"]     CoA[<D] # 15. CoA[P] ##             37. & 38. CoA[Y]tobe

              hearduponreopeningofFOurth amendscenario Co A[ A] # 15. CoA['l']

       415.   Count          The King's County (District) Attorney at some time produced a

              "Notice Pursuant to CPL 710.30(l)(b)" which is fraudulent-the fabricated

              document knowingly suggests Plaintiff was at 677 Quincy over an hour and a half

              after Plaintiffs having be removed by ,i 28 seizing of Plaintiff--. See Background

              to Counts   'I! 7[][] [search "fake quotation"] CoA[P] ## 37. & 38. CoA[Y]tobe
              hearduponreopeningofFOurth amendscenario CoA[A] # 15.CoA['l'].

       416.   Count          Defendants fabricated the "Sprint Report" that Defendants

              provided to Plaintiff in June 2015, including such as the general content and the

              time of the 9-1-1 responding pair's   ('II 27) arrival. Defendants asse1t on the supra
              #h25 Oct 9 fax of several documents at the "T/P/0 [time place occurrence]"

              sta1ted at 14h00, which is the time ,i 27 were dispatched in response to the 13h55



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              9-1-1 call of'l! 26. Defendants sought to obstruct all records of'I! 27 and to falsify

              that ,r 27 was instead C & C. Even though Mr. Rosenkilde had spoken with ,r 27

              in October of 2017 and admitted to Plaintiff that ,r 27 asse1ied Defendants' action

              against Plaintiff was wrong (confirming the November 9th 2015 admission of a

              representative of the King's County (District) Attorney that Defendants brought

              the action against Plaintiff by "Brady violation" of obstructing the witness of'I\ 27

              and excluding them for the action which      ,r    27 actually responded to at 14h00.

              After Ms. Obi was arrested at 14hl 5,             ,r   27 issued charges of Class A

              Misdemeanor tortious assault against Ms. Obi (not at Plaintiffs request) at 14h25

              upon the confession of Ms. Obi that Ms. Obi had repeatedly homicidally attacked

              Plaintiff and said, "I [Ms. Obi] will kill you [Plaintiff]," amid many other

              confessions of Ms. Obi as Plaintiff has consistently asserted otherwise, et cetera.

              Defendants obstructing such: fabricated the Sprint report, which is the subject of

              the instant Count-presented to Plaintiff in June 2015: trying to rip the

              Proceeding hour and half from history: Defendants Rosello and Parese are among

              those who, on recorded interview, admitted that the Class A Misdemeanor

              criminal citation had been issued to Ms. Obi; Mr. Rosenkilde said in email that

              such existed and that Defendants were producing it-a year later and Defendants

              still will not produce it as it demonstrates the Brady crime of a fabricated Sprint

              report: the maintained capability of fabricating Sprint Reports is a vital part of

              Defendant racketeering and its exposure is worth Defendant non-production

              sufficient to trigger default: the Class A Misdemeanor issued against Ms. Obi

              upon Ms. Obi's admission of having homicidally attacked Plaintiff, which Ms.



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              Obi admitted as the 9-1-1 caller had witnessed all and was present at             1 27. And
              Ms. Obi having repeated made false assertions and then retractions of the false

              assertions (which Ms. Obi continued the entire time 127 were present (as Plaintiff

              has set down elsewhere and previously) thinking that confession would inspire

              mercy from    1 27 and keep Ms.      Obi from being removed under arrest before Sgt.

              Brown could arrive to execute the standing, ready police sex bribery contract.

              CoA['P] # 16. CoA[f] # 24. CoA[P] 37. & 38. CoA[Y] CoA[A] # 13.

       417.   Count            Defendants fabricated afternoon Sprint sufficiently due to damning

              nature of material against Ms. Obi including radio report that Ms. Obi was guilty

              as sin and confessed to several crimes and should be arrested for any further

              material as Ms. Obi was given a break as Plaintiff was cooperative to the less-

              involved simpler resolution of removal: motive to conceal such material and

              replace with fake that would be conducive, but that would not raise a large

              amount of unnecessary suspicion. [] [] [] [] [] [][] [] [] [] [] [][] [] [] [] [] []

       418.   Count            Defendants' removal in reproducing the fabricated Sprint report:

              Plaintiffs identification of being under attack and responding with non-violent

              retreat, 1 27 identifying Plaintiff as the victim of a homicidal attack for which Ms.

              Obi was warned of further arrest with the record noting the police finding of the

              duty to protect Plaintiff and come to Plaintiffs aid should Ms. Obi attack, again,

              as conclusory radio communications on the call.

       419.   Count            Defendants clipped off at least the front end of the 9-1-1 tape

              which had nothing to do with any privacy interests and was only purposed as an

              obstruction as Plaintiffs identification of being in retreat upon the maniacal



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               attack of Ms. Obi to the 9-1-1 record. The 9-1-1 operator clearly asked for the

               callers' identification in the latter half of the 9-1-1 call. CoA['I'] # 16. CoA[Y] #

               CoA[P] ## 37. & 38.

       420.    Count                Defendants also clipped off producing the time of the 9-1-1 call to

               obstruct discovery of Defendant crime, et cetera, and to obstruct as Defendants

               wanted to represent a change of time by over an hour for the sake of obstruction

               of§ 1983 and spoliation purpose. CoA['I'] # 16. CoA[Y] # CoA[P] ## 36., 37., &

               38. CoA[f] # 24. CoA[Z] ## 22. & 23. CoA[0] #

        344.   Count                Defendants list one EMT as Defendants changed the time and the

               actual EMT who appeared or another or the other EMT was likely on some other

               record at such time leaving Defendants with the fabrication of there being one

               EMT. CoA['I'] CoA[f] CoA[0] Count

        345.   Count[]          Defendants violated Plaintiffs Fourth Amendment rights in

               peremptoril   ('I!    raising up nonsense arguments that are incredulous in basic

               consideration of the physics (Claim# 29.[l CoA [0] Claim# 16.[] CoA ['¥])

        346.   Count []         Defendants unquestionably-maliciously, without-non-corrupt-and-

               unconstiutional-cause, and for racketeering benefit physically seized Plaintiff and

               held Plaintiff for 27 consecutive hours (from seven hours past noon until after the

               defrauded pseudo-arraignment with-Plaintiff-under-mortal-coercion (see            'I! [])
               racketeering and corrupt pmpose with particular intent to further endanger

               Plaintiffs life and cause other deprivations of liberty, property, et cetera.    Claim

               # ofCoA [Z] # 7. & 21. CoA[P] # 37. CoA[O] # 6. CoA[Y] # 27.




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        347.   Count          Defendants     demonstrated     such    casual    criminality   of     so

               misidentifying Plaintiff in police document that such demonstrates the flippant

               fabrication of the entire action of Plaintiff and the corrupt, racketeering customs

               produced.     (See     the    Background       concerning       Defendants     flippant

               misidentification ... of Plaintiff in police reports" at 11 []-[]) Claim# of CoA []

        348.   Count          1 28   fraudulently ignoring [insert summa1y of Plaintiffs witness

               characterizing such per police victim identification having been standing upon

               arrival] CoA [Z] 20., 21.

        349.   Count          [PART ELEVEN: DURING FIRST EXTENDED ABSOLUTE

               CONFINEMENT] On October 8th, 2014 Ms. Obi, a deputized, empowered,

               more-than-joint-State-actor, did as part of the execution of the sex bribery

               contract between Ms. Obi and Sgt. Brown as Sgt. Brown's representation of the

               racketeering enterprise to contract its functionality: did destroy Plaintiffs laptop

               by submerging it into water. CoA[P] ## 37., 38., CoA[Q] # 6. CoA [T] # 4

        350.   Count           On approximately October , 2014 Ms. Obi, a deputized,

               empowered, more-than-joint-State-actor, did as part of the execution of the sex

               bribery contract between Ms. Obi and Sgt. Brown as Sgt. Brown's representation

               of the racketeering enterprise to contract its functionality: did steal all-cashmere

               sweaters which were hiding the laptop, supra. CoA[K] # 5. CoA[P] ## 37., 38.,

               CoA[Q] # 6. CoA[Y] ## 25. 26. 27.

        351.   Count           On approximately October , 2014 Ms. Obi, a deputized,

               empowered, more-than-joint-State-actor, did as part of the execution of the sex

               bribe1y contract between Ms. Obi and Sgt. Brown as Sgt. Brown's representation



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               of the racketeering enterprise to contract its functionality: did steal some Thirty

               Dollars worth of candy which Plaintiff had purchased and stored with Plaintiff's

               belongings in a closed shelfspace-such functioned as a signature crime-as Ms.

               Obi had particularly and privately rudely and domineeringly ordered Plaintiff to

               give her any more of the said candy (the first eight-dollar bag Plaintiff had shared

               with Ms. Obi, et alia)-taking this Candy when Ms. Obi had privately made such

               a particular point of it being her favorite candy and Ms. Obi's speaking

               domineeringly (see Ms. Obi's talk of, in sum and substance, "how she made her

               'hoes' by her candy, dinners, et cetera) as if such talk forced domineering

               possession of such candy. CoA[K] # 5. CoA[T] # 4.

        352.   Count           On approximately October , 2014 Ms. Obi, a deputized,

               empowered, more-than-joint-State-actor, did as part of the execution of the sex

               bribery contract between Ms. Obi and Sgt. Brown as Sgt. Brown's representation

               of the racketeering enterprise to contract its functionality, did the following three

               supra Counts, each demonstrating Ms. Obi's having gone through all of Plaintiff's

               items-i.e. to have found the laptop, Ms. Obi had to, using her exercise of State-

               power racketeering in having Plaintiff unconstitutionally and horribly seized, in

               commission of police instructions to find Plaintiff's phone and send Ms. Obi,

               herself, text messages as a retroactive pretext (i.e. Defendants      'I! 28 fraudulently
               reported the seizing of Plaintiff as having taken place hours later than it had that

               Ms. Obi might use such time of Plaintiff's having been tyrannically seized by

               racketeering police to find Plaintiff's phone, send pretextual text messages which

               Defendants   'I! 28 and 'I! 29 could say justified the events 'I! 28 and 'I! 29 said took


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               place at the very end of the shifts of C & C-i.e. C & C falsified the time to the

               hilt (until the could no longer) in order to maximize time for Ms. Obi to find

               Plaintiffs phone and fabricate messages). CoA[T] #4. CoA[Z] 7., 20., 21., 22.,

               23. CoA[0] CoA[Y] CoA['P] # 16. CoA[P] # 37

        353.   Count          Defendants specifically endangered Plaintiff by holding in the

               most violent category, New Court, where Plaintiff life was threatened by multiple

               individuals based on Plaintiffs category of physical appearance.    CoA [Z] # 7.

               & 21. CoA[P] # 37. CoA[O] # 6. CoA[O] # .39

        354.   Count          Battery aggravated by Defendants inflicting subsequent assaults by

               deliberate choice of new court holding [M]3 [B]2 [P]37-38 [0]6

        355.   Count          Battery impact in context of May 71\ 2015-throw you down the

               isolation hole plus assault. CoA[B] Claim # , CoA[M] Claim #          CoA[P] # 37.

               CoA[O] # 6.

        356.   Count          Jacqueline Scarcella, Anthony Barosi, et alia of the King's County

               (District) Attorney's Office, collaborated in the pseudo-investigatory phase of

               operations against Plaintiff with the 81 st Precinct to knowingly engage in

               fraudulent fabrication of evidence to injure Plaintiff.CoA [Z] # 7. & 21. CoA[P]

               # 37. CoA[O] # 6. CoA[0] # 43.

        357.   Count          Defendant Casciola and other Defendants Brady-obstructed qua

               writing no witnesses as Defendants knew not Brady-obstructing the 9-1-1 calling

               witness (of which Defendant Cascio la and Defendants Brown and Caraciolo

               stated in CCRB interviews of themselves that the three Defendants were aware of

               the 9-1-1 callers' willingness, relevance, materiality, and availability through the



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               three Defendants' appearance qua 1 28) entirely by-itself exposed Defendants'

               fraud and defamation against Plaintiff) . The instant Count, which is a matter of

               law given the documentation of no witnesses authored by Casciola which

               Defendants turned over to Plaintiff in June of 2015 and Plaintiff provided to

               Defendants' counsel (see Count [] regarding the document), reaches the Default

               Count, Count I, and thereby reaches Claims broadly and Plaintiffs Relief 11103.

        358.   Count         Ordering of by 81 st and investigatory activity of King's County

               (District) Attorney led to denial of Sergeant Brown involvement [present count

               more precisely, claims on t.m. and a.b. as well as 81 st ; iima] CoA [Z] # 23.

               CoA[P] # 37. CoA[O] # 6.

        359.   Count         Ordering of by 81 st and investigatory activity of King's County

               (District) Attorney leading to boxing out of the 9-1-1-responding pair (1 27),

               declaring that the two would be blocked [multiple claims, relates to November

               2015 claims; iima] issue of boxing out and refusing brown involvement

               demonstrates compromised activity, prosecutor merely puppeteer-ed-while the

               puppet may not liable in threat action, the act was clearly caused by liable

               Defendants. If it were normal cause of prosecutorial operations w(which would

               not incur liability, perhaps =, the response would not have been the egregiously

               outside obligations and violating if Plaintiff -the egregious wrongdoing

               demonstrates that the liable Defendants were the only possible cause. CoA [Z] #

               23. CoA[P] # 37. CoA[O] # 6.




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        360.   Cotmt           Ms. Obi State powered, police sex bribery racketeering pa1ticipant

               theft of pure cashmere sweaters of Plaintiff CoA [Kl# 5. CoA[Pl # 37. CoA[Ol

               #6.

        361.   Count           Ms. Obi State powered, police sex bribery racketeering participant

               theft of $30 worth of candy which Ms. Obi had specifically identified to Plaintiff

               as items that Ms. Obi asserted Claim to without basis (i.e. in some and substance

               give me all of your x-kind of candy (Plaintiff has at multiples times put forward

               the details in writing-the concreteness of Ms. Obi's identification of the items

               and then their left is particular and distinct enough to have immediately acted as

               signature to the thefts.       CoA [Kl# 5. CoA[Pl # 37. CoA[Ol # 6.

        362.   Count           Ms. Obi State powered, police sex bribery racketeering participant

               theft of Plaintiffs Ipad charger. As identified in Plaintiffs May 7 th Pleading-the

               Ipad itself was secreted. Ms. Obi had discussed recently engaging in small

               transactions of such as $5-an Ipad charger easily fetches $5 and would be one of

               the easiest converted items to turn over for cash, et cetera. Co A   [Kl    #    5.

               CoA[Pl # 37. CoA[Ol # 6.

        363.   Count           racketeering the interview at Brooklyn Central to say Plaintiff did

               not have a cell phone to escalate the seizure against Plaintiffs by fraud (plaintiff

               wuld not have tried to hide info Ms. Obi had).       Investigatory activity clearly

               absent jurisdiction. CoA [Zl # 22. & 23. CoA[Pl # 37. CoA[Ol # 6.

        364.   Count           Defendants faked the time to give Ms. Obi as much time as

               possible to find Plaintiffs phone which ,i 28 ordered Plaintiff to leave as C & C




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               said that Plaintiff and C&C were just stepping out for a bit (violating New York

               Law). CoA [Z] # 7. & 21. CoA[Y] & & CoA[P] # 37. CoA[Q] # 6.

        365.   Count          Defendants had Sgt. Fishman sign documents even though Sgt.

               Brown was on scene and claims to have been at the precinct through the time C &

               C clocked out as Defendants sought to leave false record minimizing the trace of

               Sgt. Brown's appearing in uniform with an "operator" officer doing the same (i.e.

               Officer Hellberg) while off-duty. Fishman signature to conceit Defendants crime,

               et cetera. CoA['I'] # 16. CoA[Z] # 7. CoA[P] # 37. CoA[Q] # 6.

        366.   Count          [PART TWEVLE: OCTOBER 8 & 9 DEMONSTRATING

               SYSTEMIC STATE CORRUPTION]                   The broader police corruption racket

               available responded to Sergeant Brown's exercising a chit to gather

               approximately nine police to receive Plaintiff at the 81 st that, depending on how

               the fabrications against Plaintiff were to ensue, these police would have seen

               Plaintiff sufficient to identify Plaintiff, that they might be able to say the

               performed the illegal seizure as Sergeant Brown's being-not-on duty complicated

               the paper trail. CoA[Y]

        279.   Count          [Count for every fraudulent representation of time (once per

               document is acceptable; each CCRB interview, et cetera](for either 127 time or 1

               28 time)

        280.   Count          Defendants practiced coercion upon 1 22 and Plaintiff--threatening

               Plaintiff's life if Plaintiff should speak against the fraudulent statements of the

               representative of the King's County (District) Attorney to ensure Plaintiff not

               object to Defendants' apparent and certain fraud before The Honorable J. Hecht



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                  thus ensuring legitimate seizure process at law was never established against

                  Plaintiff even though Defendants continue Defendants' seizure of Plaintiff.

                  CoA[Z] # 23 CoA[L]

       281.       Count          [October 9 Initial AM] Defendants' treatment of Plaintiff in

                  implementing corporal restrain reflected that Defendants' perception of Plaintiff

                  as a non-violent person which sustances the liability of Defendants' mortal

                  hazarding of Plaintiff in New Court as part of the particular Anti-Miscegenistic

                  tort. CoA[Z] # 7. CoA[H] # 18, CoA [E] # 8, CoA [0] # CoA[Y] #

       282.       Count          Defendants fraudulently claimed The 9-1-1 caller      (1 26) was a
                  favorable witness for them needing to be protected from Plaintiff as deliberate

                  smokescreen to cover up that they actually simply wanted to avoid not having

                  obtained hostile testimony from The 9-1-1 caller       (1 26), who was never not a
                  witness favorable to the truth, Constitutionally-operating law enforcement in New

                  York, and Plaintiff. Fraudulent use of witness protection in absolute lack of

                  jurisdiction. CoA['l'] # 16. CoA[P] # 37. CoA[Q] # 6. CoA[0] # 29. CoA[L]

       283.       Count          Immediately upon being allowed to leave absolute City-

                  confinement, Plaintiff was approached, directly to Plaintiff, as Plaintiff exited a

                  subway with an offer of crack narcotic, free of charge. 141 CoA[Y] # CoA[P] #

                  37. & # 38. [retaliation for petition qua release] Co A[] #

       284.       Count          Plaintiff deliberately and absolutely maliciously was deprived of

                  Plaintiffs hold on shared and private space at 677 Quincy ([further degree of loss




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              as described in Autumn 2018 Filing.
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              endured since criminality jeopardizing security of property] CoA[T] Claim (#[] at

              ii[]). CoA[Z] ## 7. & 21.

       285.   Count          Defendants making any assertion that Officer Caracciolo made

              decisions regarding Plaintiff-originally such fabrication was purposed as part of

              denying Sgt. Brown's presence (Plaintiff mentioned that the building had a entry

              security camera in following contact with police prior to Defendants' admission

              that Sgt. Brown was present). Officer Caracciolo said at 677 Quincy that Officers

              Caracciolo did not know what was going on and that Officer Caracciolo would do

              whatever the boss decided and instructed. [Part of plan concocted at Precinct after

              confinement there of Plaintiff]

       286.   COUNT [CCXL)                   General      ,i 27-Replacement-Obstruction   Count.

              Defendants attempted, supported, Filed to the instant Federal Court as First

              Answer Pleading, et cetera: have asserted that Defendants C&C (Caracciolo and

              Casciola) were ,i 27 (and that ,i 27 were not ,i 27). Defendants' were forced by

              the constitutional-operator to admit that Defendants had "Brady violation" -

              obstructed the relevant, material and contradictory-of-Defendants' witness of ,i

              27-in spite of this, Defendants instructed Corporation Counsel to reaffirm the

              Brady violation obstruction ofi! 27 in Defendants' first Answer Pleading denying

              ,i 27 were ,i 27: in Defendants' second Answer Pleading, Defendants' recanted

              given facts such as the CCRB recordings of C & C stating that C & C were not ,i

              27, stating and indicating that C & C never talked to or discussed matters with ,i

              27 (as of that time, May and June of2015), et cetera (the later point itself legally

              determines Defendant liability). [] [] []



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       287.       Count          Caracciolo and Casciola tried to represent that the two of them

                  were the 'I! 27 and 'I! 27 was not 'I! 27 as indicated from the 03h25 faxed paperwork.

                  The finding of the instant Count concurrently finds the Default Count, Count I,

                  and beyond Defendants' default       ('I!   1103): particular Claims regarding ,i 1104:

                  CoA[Y] # CoA[0] ## 43. CoA[N]               Contingently finds Count CCXL

       288.       Count          Busy Precinct:   'I! 29 went out and banged on doors to fill up a load
                  for the cover of a "busy precinct" CoA[P] # 37., 38. CoA[Q] # 6. CoA['l'] # 16.

                  CoA[Z] ## 7. & 21., 22., 23.

        450.      COUNT CCL                       General Usurpation of Adjudication Count[] [] []

        451.      Horrible fraudulent defamation before The Honorable J. Hecht with coercion

                  applied upon ,i 22 and mortal threat gaging of Plaintiff. Some detail discussed at

                  'I! 122 and elsewhere, as has also been previously asserted to the docket. CoA[Y] #
                  19. CoA[Z] # 22., 23. CoA['l'] # 16. CoA[O] # 39

        452.      Count          Plaintiff was threatened that unless Plaintiff was silent and bit-

                  Plaintiff's-tongue during the outrageous defrauded pseudo-arraignment, that

                  Plaintiff would be sent to some harshest quarter of Rikers to be held indefinitely

                  under changeable, fraudulent force preventing release where Plaintiff would be at

                  extreme of further, immediate, and severe bodily-harm or death by the King's

                  County (District) Attorney staff conveyed tluough ,i 22. 142 CoA [Z] #               23.

                  CoA[P] # 37. CoA[Q] # 6. CoA[Y] # 19., 25., 26., 27.

        453.      COUNT[]                         General Coercion of'I! 22 Count[] [] [] [] [] [][] [] []

        454.      [Counts stating different configurations of the usurpation Count]



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              under coercion systemically and patiicularly
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        455.   Count          Defrauded process document issued at the idem identified

               immediately supra

        456.   Denial of promised Novemeber opportunity to speak to Court regarding Ms. Obi

               regarding Ms. Obi's citation of menacing.

        457.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of~ 27

               Conurrently finds COUNT

        458.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of~ 26

               Conurrently finds COUNT

        459.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of Fifth

               Amendment injuring Conurrently finds COUNT

        460.   COUNT []                       General Count [] [] [] [] []       Continuing failures

               intervene, investigate, review case files with holes, errors, et cetera.

        461.   COUNT                          General Obstruction Denial of Vindication Hearing

        462.   Blocking Interviews

        463.

        464.   Barosi belligerence Currently finds COUNT

        465.   KCDA Injunction Causes including baked Ms. Obi interview (demonstrated in

               Butler interview)

       289.    Count          [PART          THIRTEEN:           GENERAL            OPERATIONAL

               RACKETEERING FROM INITIATION TO WITHDRAWAL OF THE

               PSEUDO PROCESS]             Withholding of Ms. Obi's obvious-fraud recordings

               consisting of a Brady violation as attempted obviously concocted and ridiculous

               pseudo-evidence is functionally Brady material. CoA[0]



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       290.   Count             Piling on: Once racketeering-participant-New York-police draw

              blood or transact some Constitutional violation, such is communicated and other

              participants seek to pile on violations as if once the situation becomes a risk, all

              participants are free to take shots to the hearts content, this situation may manifest

              in where police directly beat victims: continuing victimization is seen as having

              the benefit of increasing the impact of intimidation and dissuasion from

              petitionary action against any particular grievance and also is encouraged for the

              blue wall effect of increasing the number of racketeering-participant-police

              standing together with a personal stake, jobs on the line, against the victim.

              Detective Tomasello wanted to be such a pugnaciously un-Constituitional violator

              that Plaintiff complaints would ring for IAB and police generally to hear of his

              pervertedly-good works, that the foulness of Detective Tomasello's anti-

              Constitutionality would reek broadly for Detective Tomasello to hear back about

              what a foulness Detective Tomasello had laid.

       291.   Count             Officer Caracciolo perjured Officer Caracciolo's statement in

              numerous ways. CoA[P] # 37., 38. CoA['P] # 16.

       292.   Count             Officer Caracciolo's pe1jury of Officer Caracciolo's statement

              demonstrates Officer Caracciolo's proactive positioning regarding COUNT

              CCXL that Officer Caracciolo had appeared earlier in response to The 9-1-1

              caller's   ('I! 26)' 9-1-1 call in order to "Brady" the Officers who actually did appear
              whose witness Officer Caracciolo et alia knew would obliterate the fabrications of

              Officer Caracciolo, et alia. Barosi and ADA Scarcella & Midey refused to allow

              the Officers who had appeared in response to The 9-1-1 caller's       ('I! 26)' 9-1-1 and


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              saved Plaintiff from Ms. Obi's continued homicidal attacks, which Ms. Obi'

              confessed to repeatedly making, et cetera (see all of Plaintiffs previous accounts

              including in Filings), insisting that those Officers, were, in sum and substance

              "boxed out" with Barosi and ADA Scarcella & Midey ensuring that Plaintiff

              party would not be permitted to call those Officers into evidentiary contribution in

              any way by some procedural abuse. (cf. Background to Counts ,i[ ]).

       293.   Count          Spoliation of Evidence Broadly Encompassing CoA[r] # 24.

              CoA['l'] # 16. CoA[P] # 37., 38. CoA[Q] # 6. CoA[] #.

       294.   Count          Defendant Barosi responded to Plaintiff effort to terminate

              Defendant-accrual-of-liability and accomplish of the institution of significant

              constitutionality in the ongoing events by providing the Defendant King's Count

              (District) Attorney's Office with information (Plaintiff had errantly presumed the

              Defendants of the King's County (District) Attorney's office were defrauded as

              opposed to intentionally inflicting constitutional and tortious injury upon Plaintiff

              as racketeering, retaliation, et cetera: i.e. that Plaintiffs report that the King's

              County (District) Attorney could in ten minutes determine with certainty that its

              action against Plaitniff was fraudulent would be investigated (Defendants, of

              course, continually demonstrate, including with direct crimes against the instant

              Proceeding for which the United States must be vindicated by this Court, et

              cetera, that ignorance of Defendants tort and crime, et cetera, was not had by

              Defendants) or lead to questioning which upon further action by Plaintiffs then

              party would have brought resolution instead of retaliation instructed, in

              furtherance of, and instituted by such as Defendant police: Defendant Barosi



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              responded repeatedly to Plaintiff, five minutes could prevent the King's County

              (District) Attorney from abetting crime and worse, et cetera: which Defendant

              Barosi repeatedly responded in effect: we-and-I-will-squish-you-into-jelly.

              Defendant Barosi effectively repeated the same upon Defendant Barosi's

              interception of Plaintiffs subsequent similar attempt with also noticed the accrual

              of into-seven-figures defamation damages in February of 2015 ( Count []) and

              when Plaintiff inquired as to whether the King's County (District) Attorney was

              patt of the legal person of the City of New York or of another entity to which

              Defendant Barosi also tlueatened retaliation of the racketeering participating

              persons at the FBI with whom Defendant Barosi asserted powers to instigate such

              racketeering furtherance of Defendants' racketeering (see Count[]). CoA[Y]

       295.   Count          Continuation of COUNT CCXL: The persistent boxing out of the

              Officers who made a non-racketeering-duty appearance to 677 Quincy on October

              81'\ 2014 by ADA Scarcella and Miday were injurying-to-Plaintiff racketeering

              furtherance of Defendants crimes, deprivations, et cetera, against Plaintiff ordered

              by   the   prior-to-Obi-and-Brown-formation-of-racketeering-contract-established

              racketeering relationship between KCDA management including Defendants

              Barosi and Gutierrez and racketeering police, including IAB Defendants.

              CoA['f'] # 16. CoA[Z] # 7., 22., 23. CoA[P] ## 37., 38., CoA[Q] # 6. CoA[Y] #

              CoA[0] # 43. CoA[N] # 44.

       296.   Count          As a consequence of actions against Plaintiff being known and

              deliberate racketeering fraud, et cetera, against Plaintiff: procedures of operations

              were not followed in ways further demonstrating the flippant criminal intent and



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              confidence that racketeering mechanisms operational would finish off the threat

              of Defendants' simple ignoring of basic procedures due to their knowledge of the

              bogus, malicious, substantively outrageous racketeering operations active in the

              activity by the City under its racketeering and cormption operations track against

              Plaintiff. The finding of the instant Count concurrently finds Count IX, which

              reaches Claims broadly throughout the categories of Cause of Action.

       297.   Count            Ms. Obi refused to leave the premises of under State power further

              depriving Plaintiff of access to Plaintiffs space at 677 Quincy.       CoA[T] #4.

       298.   Count            Plaintiff was not allowed to see the judge appointed to consider

              the punishments of Ms. Obi for the menacing citation she received on 8 October

              2014 due to the criminal intervention of Defendants against such proceeding,

              which was entirely obstmcted. CoA[P] ## 37., 38., CoA[Y] # CoA[8] # 31., 43.

              CoA[N] # 44.

       299.   Count            Defendants' causing Plaintiffs being maliciously seized by State-

              process-at-law (without anything close to a non-defrauded or non-coerced basic or

              superficial adjudicatory hearing) on November [17 th ], 2014 CoA[Z] # 7., 21., 22.,

              23. CoA[P] ## 37., 38., CoA[O] # 6. CoA[Y] # CoA[8] # 43. CoA[N] # 44 ..

              CoA['l'] # 16.

       466.   Count            December 17, 2014 Defendants confined Plaintiff to 110

              Schermerhorn Defendants' causing Plaintiffs being maliciously seized as by

              State-process-at-law (without anything close to a non-defrauded or non-coerced

              basic or superficial adjudicatory hearing)     CoA[Z] # 7., 22., 23.




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       300.   Count          "Thomas Fellows" move         (see Background to Counts ~ [])

              CoA[P]37,38 [0] 35,40,41,42., 43 [Y] [0.]6 [N]44.

       301.   Count                 Defendants' coercion of perjury [Discovery]

       302.   Count                 Internal Affairs and Defendants modified the 9-1-1 call of~

              26 to cutting the front end of the call off of the recording-Mr. Rosenkilde said

              that this simply to protect the phone number of ~ 26-which is itself horrible

              falsehood, but the clear issue is that ~ 26 does not provide the phone number of~

              26 until the end of the call; Mr. Rosenkilde is rather caught in a flagrant

              furtherance of criminal obstruction.      Furthermore, how would a piece of

              evidentiary material be rightly produced without information such as the time of

              call.          against Ms. Obi that Plaintiffs identifications of being under

              attack by Ms. Obi could not be as identifiable in spite of Plaintiff stating upon

              receipt, in June of 2015, the original must be produced and having noted to

              Internal Affairs the important evidentiary value. Defendants continue to refuse to

              produce [later Count].      Police resistance to production of radio and 9-1-1

              recordings is violative of procedure causing injuries to Plaintiff and policy itself

              (as Mr. Rosenkilde presents it against the facts is substantively violative of New

              York right or the Constitution of The United States.        Furthermore ensuring

              difficult burden of production in spite of Plaintiffs repeated requests of the

              original starting upon Plaintiffs June 2015 discovery of the spoiling edits

              CoA[Y] #. CoA['I'] # 16. CoA[O.] #. CoA[N] #.

       303.   Count          Internal Affairs, Chief Inspector Scott Henderson, and Defendants

              fabricated documents before Plaintiff was given discovery in June of 2015.



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       304.   Documents were fabricated by Defendants to injure Plaintiff, which were replaced

              (at least once (by the first half of 2015 when other fabrications were presented).

              Sgt Brown was denied-thus name impossibly on records.

       305.   Count          Defendants' causing Plaintiffs being maliciously seized as by

              State-process-at-law (without anything close to a non-defrauded or non-coerced

              basic or superficial adjudicatory hearing) on January 25 1\ 2015 CoA[Z] # 7., 22.,

              23.

       306.   Count          Defendants' causing Plaintiffs being maliciously seized by State-

              process-at-law (without anything close to a non-defrauded or non-coerced basic or

              superficial adjudicatory hearing) on Janumy 26'1\ 2015 CoA[Z] # 7., 22., 23.

       307.   Count          Defendants' causing Plaintiffs being maliciously seized by State-

              process-at-law (without anything close to a non-defrauded or non-coerced basic or

              superficial adjudicatory hearing) on January 28 1\ 2015    CoA[Z] # 7., 22., 23.

       500.   COUNT CCC                     Genneral Tortfeasance Continuation After IAB

              Identified Defendant Brown Was Not On Duty On 8 October 2014. Furthermore

              specified that all precinct records were triple checked and then re-checked before

              making such determination and that Defendant Brown not have been in uniform

              on that date by written operational rules.      Such matters were gone over and

              discussed during the 2015 31 5 Hudson Street IAB in-person interrogation-

              which is among reasons         Defendant's have committed there-is-one to

              contumacious obstruct the instant Proceeding.

       501.   Harvitz




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       502.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of, 27

              Currently finds COUNT

       503.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of, 26

              Currently finds COUNT

       504.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of Fifth

              Amendment injuring Currently finds COUNT

       505.   Continuing failures intervene, investigate, review case files with holes, errors, et

              cetera. Currently finds COUNT

       506.   COUNT []                          General 81 st Precinct Memo Injuring Count.

       507.   8l st Detectives

      308.    Count              Glenn Tomasello belligerence CoA[P] ## 37. & 38. CoA[0] ##

              42.-43.

      309.    Barosi Belligerence

      310.    Waters

      311.    February Appearance

      312.    Count              March 30 th Stipulations without consultation-----coercions of , 22

              with the end of, 22 qua retaliation for Plaintiff petition to Barosi in late February

              early March [precise dates available via discovery as elsewhere] CoA[P]

       550.   COUNT CCCL                       General March 2015 Escalations of Retaliation

              Against Plaintiff Count

       551.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of, 27

              Currently finds COUNT




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       552.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of       ,r   26

              Currently finds COUNT

       553.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of Fifth

              Amendment injuring Currently finds COUNT

       554.   Continuing failures intervene, investigate, review case files with holes, errors, et

              cetera. Currently finds COUNT

       555.   Blocking Discovery

       556.   Overrided Coercion of,r 22 Count       []

      313.    Count          Defendants' causing Plaintiffs being maliciously seized by State-

              process-at-law (without anything close to a non-defrauded or non-coerced basic or

              superficial adjudicatory hearing) on February 2015CoA[Z] # 7., 22., 23.

      314.    Count          Defendants' causing Plaintiffs being maliciously seized by State-

              process-at-law (without anything close to a non-defrauded or non-coerced basic or

              superficial adjudicatory hearing) on March 30 th or 31st 2015         CoA[Z] # 7.,

              22., 23.

      315.    Count          Defendants' causing Plaintiffs being maliciously seized by State-

              process-at-law (without anything close to a non-defrauded or non-coerced basic or

              superficial adjudicatory hearing) on May 7th 2015 CoA[Z] # 7., 22., 23.

      316.    Count          Defendants' causing Plaintiffs being maliciously seized by State-

              process-at-law (without anything close to a non-defrauded or non-coerced basic or

              superficial adjudicatory hearing) twice on June 23 rd , 2015   CoA[Z] # 7., 22., 23.

      317.    Count          Chief Inspector Scott Henderson and Defendants forcing a certain

              of the pair of ,r 27 to fake a memo book entry to support the matter of law fake



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            Sprint Report-literal timing of the fabricated entry is an impossibility;

            furthermore, the nature of the would-be-error would be entirely implausible to

            have been made immediately afterward.

     318.   Count         Chief Inspector Scott Henderson and Defendants forcing a certain

            of the pair of ,r 27 to scratch a new citation [check for serial numbers showing

            match] entry as to fraudulently replace one issued as   ,r 27   were leaving in an

            effort not to have to remove Ms. Obi under arrest (which would have created a

            more arduous solution than that which Plaintiff identified to    ,r 27   as being the

            simplest all around: Ms. Obi was being pre-evicted (ordered to leave prior to the

            30 day nascency for eviction under local real estate law) the next day on a

            schedule that had been determined prior to 8 October 2014).

     319.   Count          [PART FOURTEEN:              COUNTS RELATING TO THE

            PILE OF DOCUMENTS TURNED OVER TO PLAINTIFF IN JUNE OF 2015)

                    Defendants' wildest fraudulent assertions against Plaintiff which were

            issued to The Honorable J. Hecht on October 9th 2014 were wholly shown to be

            fraudulent by Ms. Obi's CCRB interview and the subsequent interviews of ,r 28,

            who accordingly modified their statements with increasing withdrawal from

            Defendants wildest fraud: the documents produced to Plaintiff in June of 2015 did

            not include any statement of what was issued to The Honorable J. Hecht-the

            continued non-production of this is listed as its own obstruction Count infra. The

            instant Count addressed with particularity the defensive fabricating of Defendants
                                                                                th
            retracting some of the their wildest and most hoerrible October 9 2014 slander




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             upon blatant exposure on then-created CCRB record. CoA[f] # 24. CoA['P] #

             16.

      320.   Count         Not producing the fraudulent pseudo-arraingment statement as it

             could be very easily used to prosecute Defendants for Defendants' constitutional-

             deprivations of Plaintiff. CoA[Z] ## 7., 22., 23. CoA[f] # 24. CoA[Y] ## 25.,

             26., 36. CoA[@] # CoA[P] ## 37., 38. CoA[O] # 6.

      321.   Count          Witholding the fabricated-out-of-thin-air    ,r   28 Sprint Report

             produced to the CCRB prior to the production of these documents to avoid

             exposure of the wildly flagrant fraud of the documents.

      322.   Count         Fraud of seeming to produce responsive to Plaintiffs FOIA

             request for copy of the Class A Menacing Citation of Ms. Obi

      323.   Count         [PART FIFTEEN:         AUTUMN 2015]           Defendants' causing

             Plaintiffs being maliciously seized by State-process-at-law (without anything

             close to a non-defrauded or non-coerced basic or superficial adjudicatory hearing)

             on September 10th 2015       CoA[Z] # 7., 22., 23.

      324.   Count         Defendants' causing Plaintiffs being maliciously seized by State-

             process-at-law (without anything close to a non-defrauded or non-coerced basic or

             superficial adjudicatory hearing) on October 6th 2015      CoA[Z] # 7., 22., 23.

      325.   Count         Defendants' causing Plaintiffs being maliciously seized by State-

             process-at-law (without anything close to a non-defrauded or non-coerced basic or

             superficial adjudicatory hearing) on November 9th 2015     CoA[Z] # 7., 22., 23.




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      326.   Count         Defendants' causing Plaintiffs being maliciously seized by State-

             process-at-law (without anything close to a non-defrauded or non-coerced basic or

             superficial adjudicatory hearing) on December 8 2015       CoA[Z] # 7., 22., 23.

      327.   Count         Defendants' causing Plaintiffs being maliciously seized by State-

             process-at-law (without anything close to a non-defrauded or non-coerced basic or

             superficial adjudicatory hearing) on November 2017         CoA[Z] # 7., 22., 23.

      328.   Count         Defendants' causing Plaintiffs being maliciously seized by State-

             process-at-law (without anything close to a non-defrauded or non-coerced basic or

             superficial adjudicatory hearing) on February 8th 2018     CoA[Z] # 7., 22., 23.

      329.   Count         Defendants' causing Plaintiffs being maliciously seized by State-

             process-at-law (without anything close to a non-defrauded or non-coerced basic or

             superficial adjudicatory hearing) on July 20th 2018 CoA[Z] # 7., 22., 23.

      330.   Count         [PART SIXTEEN: CIVILIAN COMPLAINT REVIEW BOARD

             CORRUPTION]           That Inspector Butler when questioning Ms. Obi and failing

             to induce false statements repeatedly as it is without question such leading

             behavior multiple times over demonstrates a targeted objective of reaffirming the

             particular set of fabrications concerning contact in the evening on October 8'\

             2014-demonstrates that he obtained such information-as it is likewise

             unquestionable that Plaintiff hammered in to Inspector Butler that this element

             was a fabrication-and not even presented to Defendants in all that was witnessed

             by Plaintiff nor had Plaintiff heard of it until the night of October 911\ 2014-

             Inspector Butler's dropping it with seeking to reconcile as reconciliation of the

             fabrication could very likely lead to direct assertion by Ms. Obi that Defendants



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             deliberately fabricated the elements (possibly added that Ms. Obi perhaps

             objected or drew a line hammering in material substance for Evidence to convict

             Defendants. Inspector Butler's actions in this series of deliberate, planned, and

             calculated interrogation questions and moves demonstrate Inspector Butler's

             intent to further the crimes, et cetera, of Defendants. CoA[Y] CoA[P] ## 37. &

             38. CoA[0] ## 41. & 43.

      331.   Count          That Inspector Butler [similar to prior with diverge Count at result]

             when questioning Ms. Obi and failing to induce false statements repeatedly as it is

             without question such leading behavior multiple times over demonstrates a

             targeted objective of reaffirming the particular set of fabrications concerning

             contact in the evening on October 81\ 2014-demonstrates that he obtained such

             information-as it is likewise unquestionable that Plaintiff hammered in to

             Inspector Butler that this element was a fabrication-and not even presented to

             Defendants in all that was witnessed by Plaintiff nor had Plaintiff heard of it until

             the night of October 911\ 2014-Inspector Butler's dropping it with seeking to

             reconcile as reconciliation of the fabrication could very likely lead to direct

             assertion by Ms. Obi that Defendants deliberately fabricated the elements

             (possibly added that Ms. Obi perhaps objected or drew a line hammering in

             material substance for Evidence to convict Defendants. Inspector Butler's actions

             in this series of deliberate, planned, and calculated interrogation questions and

             moves demonstrates Inspector Butler's intent to further the crimes, et cetera, of

             Defendants and thus that Inspector Butler believed in the fabrication and that




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             Defendants were at fault for fabrication of pseudo-evidence. CoA[Y] CoA[P] ##

             37. & 38. CoA[El] ## 41. & 43.

      332.   Count           counts during ccrb interviews [each interview; separate each

             violating act or categorize per the event?] CoA['l'] 16. [Spoliation by Butler]

             CoA[P] ## 37. & 38. CoA [0] ## 29., 35. [assistant present] 40.,41.,42.,

      333.   Count           Inspector   Butler   failure   to   intervene   post-interviews   by

             interviewing 'I) 27 or referring CoD to exculpatory nature of interview content.

             CoA[El] # 43.

      334.   Count           Inspector Butler attacking Inspector Butler's duties by seeking to

             misrepresent precisely the issue of the "offensive language" item of investigation

             in a manner to diminish the investigation and its materiality. CoA[El] # 43

      335.   Count           [PART SEVENTEEN:               KING'S      COUNTY        DISTRICT

             ATTORNEY-INFLICTED COUNTS CAUSED BY POLICE DEFENDANTS &

             IDEM CLEARLY ABSENT JURISDICTION]                         Defendant planned and

             attempted to defraud a grand jury, but such plot was foiled by 'I) 22. CoA[Z] ##

             22. & 23.

      336.   Count           Defendant Scarcella and Barosi fabrication of pseudo-charging of

             document which was fraudulently re-authorized and signed by Scarcella. CoA['l']

             # 16. CoA[Z] ## 22. & 23. CoA[El] # 43.

      337.   Count           Scarcella and Barosi fabrication of pseudo-charging of document

             which was fraudulently re-authorized and signed by Scarcella. CoA[El] # 43.

      338.   Count           Scarcella and Barosi denying the appearance of Sgt. Shaun Brown

             with 'I) 28 CoA[Q] # 6. CoA[El] # CoA[Z] # 23. CoA[El] # 43.



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      339.   Count CXV      Tyear Middleton following racketeering and corruption order to

             execute the boxing out of The 9-1-1-responding pair (i! 27) in response to Plaintiff

             demand to give up that with all Brady violations of Defendants.

      340.   Count          Scarcella following racketeering and corruption order to execute

             the boxing out of The 9-1-1-responding pair       (ii 27) in response to Plaintiff
             demand to give up that with all Brady violations of Defendants. CoA[0] # 43.

      341.   Count          Corruption racketeering and conuption participation of the King's

             County (District) Attorney caused Defendants' injuring of Plaintiff by facilitating

             enterprise racketeering acts and criminal corruption, et cetera, sufficiently

             demonstrated in Defendants instructing Mr. Rudnick to without notice,

             characterization, warning, explanation, or anything but avoiding recognition or

             description of the act of removing himself from being an intermediary between

             Plaintiff and the King's County court, et cetera, other than rising when Plaintiffs

             name was called and unremarkably stating Mr. Gutman, who rose simultaneous

             according to plan caused only by Defendants, such was unquestionably, given the

             nature and circumstances, as Plaintiff essentially submitted to this Court in

             Plaintiffs May 7th Pleading, performed with May 7th 's crimes, et cetera, against

             Plaintiff in mind. The King's County (District) Attorney and Defendants acting

             through Defendant Barosi's implementation of this clearly-without-jurisdiction

             Kafka-esque tyranny substantively violating the Constitution demonstrates.

      342.   Count         (Similar to supra, but extended over greater duration) King's

             County (District) Attorney's Office denied that Sgt. Brown had been present at

             677 Quincy on October 8th 2014 or had the slightest involvement with the action



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             against Plaintiff until the June 2014 release of entirely (all substantive) fraudulent

             bundle of documents to Plaintiff pro se in which one document which purports to

             be originally authored by Defendant Casciola which indicate that Sgt. Brown was

             the bore rank at the scene. CoA[f] # 24. CoA[Z] ## 22. & 23. CoA[O] #6

      343.   Count           The King's County (District) Attorney [move to background,

             denied Sergeant Brown was present and forbade the calling of V&B] Internal

             Affairs and the Chief Inspector Scott Henderson and Chief Inspector Scott

             Henderson's command obstructed and perverted evidence concerning Sergeant

             Shaun Brown's not having been on duty or on record concerning.

      344.   Count          Ms. Middleton conducts an interview of Defendant Officer

             Caracciolo by the time of a March 30 th report with flagrant errors of investigation.

             Officer Caracciolo makes flagrantly fraudulent false assertions of Plaintiff

             statements, saying: that "Plaintiff has been trying to get out of the lease." Not

             only is that not something anyone would say upon being read Miranda-Plaintiff

             had not yet even been presented with the lease for signature or discussed details of

             terms which might have well been made shortly irrelevant-Plaintiff had been

             invited by the landlord's agent to move ahead of seeing the lease for whatever

             period Plaintiff preferred. The matter of the lease was not discussed.

       COUNT CD             General Piqued Kafka-esqueness Count. 7 May 2015

      345.   Count          The King's County (District) Attorney in the clear absence of all

             jurisdiction coerced 1 22 to step aside in silence to move in Mr. John Gutman to:

             1) tell Plaintiff that Mr. Gutman would motion the court for dismissal of the

             wrongdoing against Plaintiff in the clear interests of justice and, then, 2) instead,



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           just before appearing in court, Mr. Gutman conveyed his task ultimatum from

            Defendants, acts part of the set cause by Sergeant Brown and the police sex-

            bribery and corruption racket systemically (Defendants having ordered all

            necessary criminality to injury Plaintiff beyond remedy) stating to Plaintiff "If

            you [Plaintiff] do not drop all allegations against the police, you [Plaintiff] will be

            prosecuted without your [Plaintiffs own] testimony, your [all of Plaintiffs]

            witnesses' testimony, or [the mere presence of] a jury." This ambush performed

            by Mr. Gutman continued with Mr. Gutman saying that the King's County

            (District) Attorney would take "any plea" which would block a prosecution or

            civil action of law enforcement. Rigging evidence by prosecutors is by decisions

            which stand an immune infraction fro prosecutors , however threatening to

            remove all adjudication and have only false evidence they help fabricate with no

            examination or word from the side and no witnesses present that Plaintiff might

            have a mere cry for help possibly passed on to family a juror writing down

            Plaintiff family contact phone number or some such as Plaintiff would be hauled

            off to a location were incidental death of Plaintiff could occur as was so

            demonstrated in New court confinement on October 9, 2014., such is a clear

            obscene of jurisdiction.    Shut up or you're going in a hole and never come out:

            the literal imposition of the kafka-esque and the entire obscene of any judicial

            presence remotely resembling the operation of anything the Constitution was

            supposed to govern, implement, and ensure, in these lands which are supposed to

            be sovereign of the Untied States. Only take such a risk upon the predicate of




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             admitting knowing and being put up to crime by [dirty] cops to utilize such in the

             face of resitance to determination.

      346.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of    ii    27

             Currently finds COUNT

      347.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of     ii   26

             Currently finds COUNT

      348.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of Fifth

             Amendment injuring Currently finds COUNT

      349.   Continuing failures intervene, investigate, review case files with holes, errors, et

             cetera. Currently finds COUNT

      350.   Count          That there is no State authority for review of an attorney

             criminally, et cetera, threatening a fidu*      1.e. Maxfield Kearse stating no

             investigation. That the State should provide some resource to report attorney

             criminal conduct unless Ms. Maxfield Kearse was wrong. CoA[Y]. Considering

             Mr. Gutman clearly did not represent any issues dispostive in the King's County

             Action against Plaintiff and there was little-to-no argument for supposing a

             motive for such a report to Plaintiff and given Plaintiffs direct quotation

             presentation along with having made credible references from the day-should

             Ms. Maxfield's Kearse's expression be found to conform with policy the policy

             would be found unconstitutional. [Move latter to Claims] [Out of hand dismissal

             without so much as a demand to Mr. Gutman]

      351.

       COUNTCDL                     General Returned In Lieu of Italian Asylum Count



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      352.   Count          Defendants did instruct the King's County (District) Attorney to

             lie to Judge Yavinksy in the September 2015 court appearance to move the court

             to wrongfully sanction Plaintiff, but was rather exposed. Given May 71\ 2015

             attack of Plaintiff, this continuation of State malicious action, even though rather

             exposed as a lie before Judge Yavinsky in the circumstances as recounted in

             Plaintiffs preceding affidavit, intentionally inflicted severe mental anguish.

             CoA[Z] ## 22. & 23.

      353.   Count          Defendants did plan to fraudulently try Plaintiff was foiled by the

             penultimate representative of King's County's independent action of contacting

             Officers The 9-1-1-responding pair (, 27) and then relating that the case was built

             on fraud.

      354.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of, 27.

             Currently finds COUNT

      355.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of, 26

             []Currently finds COUNT

      356.   Sustained Defendant (and 81 st Precinct protocol operators) obstruction of Fifth

             Amendment injuring Currently finds COUNT

      357.   Continuing failures intervene, investigate, review case files with holes, errors, et

             cetera. Currently finds COUNT []

      358.   Count          Escalation of Seizure with Trial Court Appearances and Malicious

             Application of State Power Seizure qua CoA[Z] ## 7 ., 22., & 23.

      359.   Count          [PART EIGHTEEN: MISCELLANEOUS[NESS] AT END OF

             PSEUDO-PROCESS]Plaintiff called Harvitz as Harvitz had instructed upon



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             Plaintiffs reaching at least one staffer at the King's County (District) Attorney to

             operate constitutionally with regard to at least one of the latent materially-

             determinant-Brady violations (after Mr. Harvitz had promised immediate § 1983

             action accepting Plaintiff as a client on January 281\ 2015 at 13h25 and then

             proceeded to cancel the February meeting after a significant bit saying to call

             subsequently): when Plaintiff called and said it happened, Mr. Harvitz was

             frnstrated, hostile, threatening trespasses of the fiduciary relations, and indicated

             discussions Mr. Harvitz had had regarding a specific politician intimidating

             Plaintiff implicating Plaintiffs professional interests and the noxious threat of

             exploiting Defendants' defamation; Mr. Harvitz was not shy about having broadly

             traded with Plaintiffs information to the benefit of Defendants and resoundingly

             found disappoint and worry that Plaintiff had exposed one of the materially-

             determinant dimensions of Defendants' Brady-obstructions. CoA[I] # 11 CoA[O]

      360.   Count          [PARTNINETEEN: IAB COUNTS FROM INITIATION TO

             WITHDRAWAL OF PSEUDO-PROCESS]                         Internal Affairs obstructed

             and perve1ted evidence concerning Defendants' illegal confinement of Plaintiff in

             downtown Brooklyn in an effo1t to instrument a Second Circuit Fair Trial Right

             Violation. CoA['l'] # 16. CoA[Y] # 25., 27 CoA[P] ## 36, 37., & 38 CoA[l] #

             24. CoA[O] # 6.

      361.   Count          IAB failure to provide materials which should have been

             provided-i.e. collected and preserved given Plaintiffs having made such

             complaint to IAB. Including such as radio, 9-1-1, car movements, et cetera. CoA[]

             CoA[0] # 29



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      362.   Count            IAB corrupt even doing what investigation they did do as opposed

             to investigation they now claim to have done to avoid discussing corruption

             commissions and omissions. CoA[Y] #

      363.   Count            In light of off duty finding of January 2811\ 2018: IAB not

             collecting the radio transmissions, et cetera, as opposed to fabricating there was

             another 9-1-1 call. CoA[0] # 29. CoA[] # 24

      364.   COUNT D                            General      Accrual   of IAB   Command     Center

             Corruption and Racketeering Count

      365.   COUNT[]                            Failure to Train, Supervise, Discipline and Hire in

             the wake of Brady-violation obstruction-as Admitted and to the extent

      366.   Count            [PARTTWENTY:                  POST-WITHDRAWAL      IAB     COUNTS

             PRE-ENACTMENT] IAB scrubbing records to prior to generating list of matters

             IAB fraudulently reports as complete to the Annual Mallen demonstrates

             constant, comprehensive, and cyclical corruption removing non-racketeering, et

             cetera, oversight. CoA[Y]

      367.   COUNT[]                   General IAB 2017 Tort Count. [Written for the several to

             refer to the general] [] [] [] [] [] [][] []

      368.   Count             Rosello: Technique employed by NYPD and IAB of fabricating

             that a person is casting wide aspersions in order to mischaracterize a complainant

             as casting wide aspersions in order to fabricate pseud-cause to undermine what

             the NYPD or IAB agent knows is legitimate complaint. CoA[0] # 43. [] [] []




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       369.   Count          Rosello; That Sergeant Rosello fabricated that a Judge had done

              something wrong. CoA[f] 24. CoA[Y] CoA[P] 36., 37., 38., CoA(El] # 30., 31.,

              34., 43.

       370.   Count          Rosello's call was based specifically as racketeering exercise,

              abusing interrogation principles, misusing recorded telephone interrogation

              investigative tools at IAB disposal, et cetera for the purpose of giving Plaintiff

              disinformation in attempt dissuade Plaintiff from taking action, e.g. telling

              Plaintiff that the recordings of Ms. Obi's multiple calls on police lines-

              multiplicity was point Sgt. Rosello stressed-were the cause of police making a

              mistaken action against Plaintiff (given the deliberate malice which Defendants

              sought to further this and the fact that Plaintiff presented IAB with sufficient

              information to correct any mistake, et cetera, if the 81 st had been defrauded by

              Sgt. Shaun Brown et alia): thus Sgt. Rosello's attempts to convince Plaintiff by

              this admitted-by-Defendants-qua-fraudulent-disinformation that Ms. Obi was to

              blame for onmia was immediately redressed by Plaintiff as to corrupt furtherance

              which had no involvement of Ms. Obi that the matters of corruption were far and

              away removed from Ms. Obi. CoA[f] # 24. CoA[0] 43

       371.   Count          Rosello [continuation of the immediately supra] Sgt. Rosello's call

              sought the objective of dissuasion by disinformation and sought using aggressive

              interrogation on recorded line to obtain any material that might suffice as a basis

              to present such recording to a jmy to possibly support Defendants bad faith case

              for reasonable doubt in the imminent Proceeding against Defendants which the

              matter driving Sgt. Rosello's racketeering operations actions where Sgt. Rosello



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             was supposed to be investigating IAB. Effectively, Sgt. Rosello was acting as a

             litigant in abusively attempting to obtain ammunition for litigation through

             chicanery in interrogation mechanics of surprising, interrupting, and changing

             subjects in calculated manner to attempt to procure elicited partial statements

             from Plaintiff and prevent Plaintiff from finishing with the whole though

             precisely as conceived in Sgt. Rosello's premeditated design: Plaintiff stated after

             such attempt that it was clear to Plaintiff that that was what the maneuver being

             performed by Sgt. Rosello was, which Sgt. Rosello did not deny and to which Sgt.

             Rosello simply responded belligerently regarding the pending proceeding.

             [already stated Count pertaining to Rosello prese1vation] CoA[f] # 24. CoA[0)

             43

      372.   Count          Rosello attempted to fraudulently obtain false cause to fraudulently

             assert that Plaintiff was making assertions against Parties Plaintiff explicitly stated

             Plaintiff was not making assertions of misconduct, criminality, et cetera, for the

             purposes of, as Plaintiff asserted in the call with Sgt. Rosello as Sgt. Rosello's

             motive was thusly so apparent-to which Sgt. Rosello did not make denial, was to

             attempt the obstruction of Plaintiffs action by going to persons of whom Plaintiff

             was not asserting misconduct that Sgt. Rosello might be able to collect objections

             or cooperation, et cetera, from such persons as Sgt. Rosello would have elicited

             self-righteous responses as such persons Sgt. Rosello would be telling they were

             under accusation when they were not.              CoA[P] # 37 38 CoA[[]            24.

             CoA[Y]Facility CoA[0] 43




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       373.   Count         Rosello fraudulently attempted to fabricate material designed to

              confuse, weaken, or sabotage Fourth Amendment analysis: 9-1-1 lies directly

              seeking to defraud Fourth Amendment analysis. CoA[f] 24

       374.   COUNT[]              General    2018    Defendant     Contumacious      Pleading

              Responseas As This Court Were Not Empowered to Vigrously Punish Defendants

              Responding to Plaintiffs 7 May 2015 Start on Amended Pleading (rushed without

              much preparation beyond collecting some timely facts) with the Fabrication of

              Documents Conceived as as if such were a means to be defend in Federal Court

              without being thrown out in default.     [Written for the several to refer to the

              general]

       375.   Count[N]      Fabrication of "Event Chronology-Dl4100820643."           Entirely

              fabricated document. Defendants' counsel admitted there were no such 9-1-1

              calls of communications by Ms. Obi to police-i.e. there was only private cell

              phone to private cell phone communication between Sgt. Brown and Ms. Obi.

              Count is established as Matter of Law and the finding of the instant Count

              concurrently finds the Defendants' Default Count, Count I. Same fabrications

              were uttered by Sgt. Rosello pre-enactment, but documents were only produced to

              Plaintiff post-enaction of the instant Action under D00126-D00129. Documents

              appear to have been produced to the CCRB in the Spring of 2015 CoA['P] # 16.

              CoA[Y] # 25., 26., CoA[f] # 24. CoA[Z] ## 7., 21., 22., 23. CoA[E] #

      376.    Count[N]      Fabrication of "Event Information-Dl4100820643."          Entirely

              fabricated document. Defendants' counsel admitted there were no such 9-1-1

              calls of communications by Ms. Obi to police-Le. there was only private cell



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              phone to private cell phone communication between Sgt. Brown and Ms. Obi.

              Count is established as Matter of Law and the finding of the instant Count

              concurrently finds the Defendants' Default Count, Count I. Same fabrications

              were uttered by Sgt. Rosello pre-enactment, but documents were only produced to

              Plaintiff post-enaction of the instant Action under D00125.      CoA['P]    # 16.

              CoA[Y] # 25., 26., CoA[f] # 24. CoA[Z] ## 7., 21., 22., 23. CoA[E] #

       377.   Count[N]       Fabrication of "Event Unit Information." Fabricated document to

              fraudulent represent at least the timing of 1 27. The finding of the instant Count

              concurrently finds the Defendants' Default Count, Count I. Documents were only

              produced to Plaintiff post-enaction of the instant Action under D00126-D00129.

              CoA['P] # 16. CoA[Y] # 25., 26., CoA[f] # 24. CoA[Z) ## 7., 21., 22., 23.

              CoA[E]

      378.    Count[N]       Fabrication of "Event Information-D 14100814627" with another

              fabricated copy of what-was-to-defraud the 127 appearance.     Entirely fabricated

              document.    Defendants' counsel admitted there were no such 9-1-1 calls of

              communications by Ms. Obi to police-Le. there was only private cell phone to

              private cell phone communication between Sgt. Brown and Ms. Obi. Count is

              established as Matter of Law and the finding of the instant Count concurrently

              finds the Defendants' Default Count, Count I. "Event Info1mation" document

              was only produced to Plaintiff post-enaction of the instant Action D00 120, but it

              contains an additional publication of the fabricated as-if-the-early-afternoon-

              Sprint Report-D00121-D00123. CoA['P] # 16. CoA[Y] # 25., 26., CoA[f] # 24.

              CoA[Z) ## 7., 21., 22., 23. CoA[E]



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      379.   Count          [POST-ENACTION COUNTS]               [Extending     from     supra]

             Defendants have caused Corporate counsel to occupy position qua litigant in a

             manner wholly unfitting the Forum of this Article III Court and Proceeding,

             pointedly in the Defendants' position described throughout the instant Filing as

             "unus est" or "there-is-one" pertaining to the flagrant attempt to defraud this

             Court in Defendants' repeated attempts to assert there is one recording, i.e. Mr.

             Rosenkilde indicated during the July 20th Hearing that the (fraudulently)

             represented as single recording was the autumn interview by IAB of Plaintiff at

             IAB Headquarters: such wholly fraudulent representation about Plaintiffs

             arguably most important claims concerning police corruption and racketeer, i.e.

             that IAB operates from the management level primarily with the interest towards

             racketeering-participant-police, or all police other than those deemed resistant or

             problematic to smooth racketeering operations, (corrupt operations which is itself

             proven by Defendants' flagrantly fraudulent instant fmtherance regarding the IAB

             record)

      380.   Count[N]              Fabrication of Defendants' production (twice) of D00023

             which Inspector Butler clearly identifies did not exist at the time of the CCRB

             investigation and which Sgt. Brown says did not exist in Sgt. Brown's CCRB

             interview. CoA[f] # 24.

      381.   Count[N]              Fabrication of material produced in "D00019 D00021"

             which Inspector Butler clearly identifies did not exist at the time of the CCRB

             investigation and which Sgt. Brown says did not exist in Sgt. Brown's CCRB

             interview. CoA[f] # 24.



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       382.   Count[N]              Defendants represent in Filing to this Court that the Sprint

              Report containing an "Event Information," "Event Chronology," and an "Event

              Unit Information" as Documents "D00125-D00130" were produced to the CCRB

              in May of 2015;      these document were not produced to Plaintiff with the

              documentation produced to Plaintiff in June of 2015 and were fabricated to

              obstruct the instant action.    As idem documents are 100% fabrications as

              Admitted by Defendants' counsel-they were not produced not simply to avoid

              critical examination as would have served as an obstruction of that fraudulent

              proceeding by Defendants to anti-constitutionally injure Plaintiff: but rather as a

              furtherance qua obstruction of the instant Proceeding. CoA[f] # 24. CoA['P] #

              16.

       383.   Count          Defendant Zachary Carter, however Mr. Carter and former

              Corporate Counsel employee Mr. Stancati communicated, told Mr. Stancati not to

              include investigatory and jurisdiction-absent Counts by the King's County

              Attorney's Office, and to reduce Plaintiff's statement of wrongdoing and stall

              once inacted that Plaintiff might be unnerved to accept a settlement covering zero

              damages but possibly most costs-Defendants offer was to be negotiated from but

              Plaintiffs return (which was a reiteration of Plaintiffs number for that juncture)

              was not even effected to Defendants' counsel by Mr. Stancati; three months later

              Mr. Stancati had done essentially nothing-and made no claim otherwise and did

              not contest this assessment when Mr. Stancati was fired.        Mr. Stancati has

              subsequently refused to turn over some substantive evidence in violation of the

              settlement . Corporate Counsel grooms employees and sho1t term employees to



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             understand how Corporate Counsel likes to receive suits from the other side.

             CoA[H] # 49.

      384.   Count            Defendants' maliciously tampered and edited with materials

             provided in the instant Action under FRCiP # 26A originating from the central

             Brooklyn police facility at the 120-120 Schermerhorn complex CoA[f] CoA[H]

      385.   Count            Mr. Rosenkilde's February 8'\ 2018 we're the City of New York

             and we calumny to the United States Courts about matters we just asserted

             otherwise in the hall outside the hearing room-when you sue the City the City

             cheats in some and substance assertion of Mr. Rosenkilde as Retalition for

             Petition and Abuse of Federal Appearance by Mr. Rosenkilde. CoA [Pl 37. & 38.

      386.   Count            Supplemental counts including transcripts offense of stating only

             one interview indicates necessity of wrongdoing.           Withhold the obi tape.

             Withholding the the 9-1-1 caller     (ii 26) tape. Refusing to interview the 9-1-1
             caller   (ii 26). Deliberately gouing non credible patently not credible obi in mikay
             and scarcella.

      387.   Count            Withholding CCRB interviews of Defendants Sergeant Brown and

             Officers Hellberg, Caracciolo, and Casciola

      388.   Count            Withholding The 9-1-1 caller's    (ii 26) CCRB interview in mala
             fides instructed by Defendants as fraud & obstruction. With matters of law the

             finding of the instant Count concurrently finds the Default Count, Count I.

             CoA[f]




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      389.   Count          Mr. Rosenkilde's statement that the 9-1-1 call was redacted to

             protect Ms. Azmudeh's phone number, when such was on the other end of the 9-

             1-1 call from the major redaction CoA[H] 49. CoA[f] # 24.

      390.   Count          The fraud partially perpetrated by Mr. Rosenkilde m Mr.

             Rosenkilde's reference to the CCRB on the docket. CoA[f] 24.

      391.   Count          Defendants letter regarding 9-1-1 erasures where the letter serves

             to obstruct clear cause of Defendants' criminal, et cetera, activity.

      392.   Count          False representation of the EMT.           In fabricating the times,

             Defendants needed to fabricate the EMT record and so did. CoA[f] CoA[]

      393.   Count          Withholding the Ms. Obi CCRB interview as caused by

             Defendants. With matters of law the finding of the instant Count concurrently

             finds the Default Count, Count I. CoA[f] # 24

      394.   Count          Defendants' having not produced the Defendant-defrauded pseudo-

             arraignment statement to Plaintiff in June of2015 with other documents and then

             refusing disclosure and production in the instant Proceeding as it implicates in

             horrible detail (Defendants must eventually produce confidentially to Plaintiff to

             mitigate aggravation of damages) is a matter of law and the finding of the instant

             Count finds with matters of law: Count 1, the Default Count.

      395.   Count          Continuing obstruction of original 9-1-1            tape production.

             Attempted destrnction is $100,000. No one could have listened to the tape and

             not said, recognized, known, et cetera that Plaintiffs statements were highly

             determinative of understanding the basics of what was going on-Plaintiffs

             statements prompted statements from Ms. Obi which are preserved; no training,



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             instruction, or manual could be created that would not instruct preservation of

             such material for evidence; no artificial intelligence could be created or deployed

             (even a robot would know) that would not recognize that Plaintiffs statements

             that Defendant's continue to obstruct were valuable to any information, et cetera,

             purposes in knowing, preserving, recording, documenting, understanding what

             was and what occurred at that time--particularly important is Ms. Obi's reaction

             to Plaintiffs statements.

      396.   Count            Flagrantly not producing written material originating within the

             81 st Precinct directly pertaining to matters of 17CV4519 for obstructive intent.

             [memo books such as Bravo's; incident report] CoA[f] Claim# [].[]. CoA[P]

             Claim# [].[]. CoA[El] Claim#[].[]

      397.   Count            Attempted obstruction of the 9-1-1-respondent's citation of Ms.

             Obi. The Count of the instant Count finds the Default Count: Count I. CoA[f] #

             24 CoA[H] # 48

      398.   Count []                  Defendants' not producing IAB materials as the recordings

             demonstrate, most paiticularly with Lt. Parese, that IAB pursued Plaintiffs

             information as credible, reliable, and high quality infotmation for the purposes of

             falsely asserting IAB personell interacting with Plaintiff did not demonstrate out

             of the holding of such invesigtative procedure such assessment of Plaintiffs

             information. [] [] [] [] [] [] []

      399.   Count            Defendants' then-counsel Mr. Rosenkilde's argument in November

             of 2017 and February of 2018 and in Mr. Rosenkilde's Filings that as to actions

             implicating the Fourth Amendment taken by Defendants such color, negatively,



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             how this Court should consider Plaintiffs arguments and words: such

             demonstrates the detriment and reputational damage carried by the gravity of

             Fourth-Amendment implicating State action. [] [] [] [] [] [] [] [] []

      400.   Count           Plaintiff, managing his legal servant Mr. Stancati, sought to

             emphasize the value and opportunity for quick resolution, Mr. Stancati conveyed

             such via his back channels to Mr. Carter. Tortiously impacting standing and

             accruing injuries, et cetera: full scope unknown. [] [][] [] [] [] [] []

      401.   Count           Ms. Doreen Ierardo stated on March 281\ 2018 that what Plaintiff

             had identified was the most important transcript for Plaintiff to collect for

             Plaintiffs present business before the Court which concerned wrongful actions

             against Plaintiff in New York court was the November 2015 record pertaining to

             confessions of Brady violations against Plaintiff by the representative of King's

             County. The assistant of Ms. Ierardo promised production, though stated that if

             the first copy were not accessible a couple month process of retrieving the report,

             as Plaintiff has described in prior Filings, et cetera, would take place: after much

             longer than the initial period had passed and only one of six of those things which

             were to occur had, Plaintiff followed up--the assistant to Ms. Ierardo would not

             have told Plaintiff six or probably all of six would happen within a few weeks if

             such were not certainly likely-this activity of pulling court transcripts for people

             is regular, daily, or hourly business for the assistant of Ms. Ierardo: there is no

             plausible way the assistant of Ms. Ierardo is unfamiliar with expectations and that

             when the assistant offers readiness by time certain that a couple weeks later the

             performance being one-out-of-six rings sufficiently that process is likely



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            obstructed-such was just the start. Ms. Ierardo stated Plaintiff would never

            receive the November transcript and when Plaintiff said such seemed impossible

            given the existence of the backups-furthermore, that as Plaintiff had spoken to

            the assistant the day before and it was a couple process to get the back-up, that

            even if the assistant had said the backup process could start, which actually the

            assistant had clearly stated the opposite-that the assistant was decided starting

            the backup process would be premature as the assistant believed the first rung

            solution would soon avail the result; Plaintiff received no explanation for why

            only the one no longer associated with Brooklyn had responded in almost double

            the promised time by that day, March 27'11 : Ms. Ierardo responded to Plaintiffs

            saying but the back up had not even started and was not about to when Plaintiff

            had get spoken with the assistant the day before: Ms. Ierardo said Ms. Ierardo was

            the assistant's boss and the only thing Plaintiff could do in the matter and Ms.

            Ierardo never wanted to hear another word was to content Plaintiffs self with

            never getting the record as it would never happen and could not happen-as a

            force outside of recovering records prohibited record production. Plaintiff said

            none of that was possible given the time frame and that Ms. Ierardo' s repeating

            the Plaintiff would never get it just made it sound like the record or records were

            deliberately destroyed-to which Ms. Ierardo replied like she was enjoying being

            malicious that Plaintiff would get a never letter from Ms. Ierardo: which Ms.

            Ierardo sent and vety much indicates that Plaintiff would be a fool to think the

            transcript would be produced.       Ms. Ierardo specifically refused to address

            Plaintiffs statement that it was totally impossible that if that assistant would tell



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             me yesterday that the back-up process had not yet started and would not yet be

             starting and that Ms. Ierardo would call the next day and refuse to address the

             back-up's availability but to simply insist menacingly that the transcript would

             never be produced was not a deliberate expression of foul play and Ms. Ierardo

             responded as if Ms. lerardo was glad to hear Plaintiff was getting the message:

             Ms. Ierardo's letter states "As a result of the loss of notes containing the required

             proceedings and its unavailability [which are two contradictory things], it will be

             impossible to furnish a transcript of the minutes required." There is no plausible

             Pleading by Defendants that these actions by Ms. Ierardo were not the result of

             Defendants' corruption and racketeering to obstruct justice qua Title 42 of the

             United States Code §1985 (2) and any denial of foul play in this occurrence shall

             be dismissed under the Rules, et cetera. Any desire to see a comt staffer avoid

             being called into direct judgment for municipal racketeering pe1f01med at the

             request and behest of Defendants is more than answered with prima facie, per Ms.

             Ierardo letter a written falsehood which as a matter oflaw is prima facie malicious

             per the Second Circuit definition: Plaintiff documented the racketeering Count

             prior to Ms. Ierardo's mailing of the false written statement; subsequent Counts

             involving the pa1tial spoliation of the Reporters Notes of Mr. Appel and Ms.

             Ierardo's dubious assertion that there is no delivery of the mail by staff at the

             King's County Courthouse from the general receipt to particular offices (further

             that Ms. Ierardo goes a week without obtaining business letters) further raise the

             ripeness of the early separated adjudication. [] [] [] [][] [] [] [] [] []




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      402.   Count          After the obvious act of the obstructing justice by Defendants

             through Ms. Ierardo, an obvious choice for inclusion in Defendants' corruption

             racket given such ability as Ms. Ierardo demonstrated to shut down the work of

             her clerk and lie as discussed immediately supra at 3[][], Plaintiff contacted Judge

             Tiscione's chambers which led to the demonstration of hostile judicial staff,

             which may be as damaging to speak of as to not speak of as it is categorically

             different and perhaps only in the end not determining-Plaintiff need not say

             more in the instant Filing with so many other issues and if there were any

             lingering issues they would have the ability to from Plaintiffs view fix

             themselves without Plaintiff action. Plaintiff nonetheless was diverted by what

             there arose for a time and sought confidential assistance of, the recommended by

             another clerk, Chief Administrative Judge at Beaver Street-that Clerk of another

             County's Court said a disappear transcript was only an occurrence the that Clerk

             had heard of happening once in her long career-but, to someone else-never

             directly in her experience. Discovery is very relevant to the jmy's consideration

             of the impossible odds of the Defendant-run-and-caused-through-Ierardo-

             fabricated-obstruction: such as easy matter, et cetera, prompts Plaintiffs call for

             the Trial of the Claims bundle to be separated under Rule [] as ,r indicates and as

             is addressed in the separate document of the instant Filing " [ ]." Beaver Street

             betrayed Plaintiffs trust after some confusion about where the first fax Plaintiff

             sent ended up as the receptionist or administrator could not figure out who took it

             out of the fax machine and contacted Ms. Ierardo who suddenly was able to

             produce something regarding the transcript-though it is a tampered version



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            meant to be close enough that Plaintiff would not know--consistent with those

            items Plaintiff described to Mr. Stancati and not in ways not described to Mr.

            Stancati; inconsistencies include facts not described in Plaintiff's May 7th

            Pleading which addressed the §1985 (2) Obstruction of Justice and called for the

            immediate separated Trial of the Claim(s)-some of the fabrications were

            directed squarely at particular details of Plaintiffs May 7th Pleading in ways

            notably inconsistent with other facts not discussed in Plaintiffs May 7th Pleading

            or with Mr. Stancati, which rather colors Mr. Stancati's total lack of inquiry about

            Plaintiffs written documents-not one question in the two years, et cetera.

            Plaintiff gave Mr. Stancati the presumption of the expertise beyond Plaintiff's

            laity until Mr. Stancati's total refusal to engage in discove1y, to convey Plaintiff's

            explicit and strict settlement instructions, supposed conversations about

            compensatory damages in absolute fiduciary violation and against all instruction

            and assumption that no discussion between Parties would occur about Trial or

            Claim total damages until Mr. Stancati and Plaintiff had even begun a

            conversation or discussed Plaintiffs business or such matters (see Plaintiffs

            Declarato1y Judgment Motion at        1 []).   It should be sufficiently specific at this

            time to refer to Plaintiffs prior Affidavit and Information to this Court regarding

            the matter of the fraud beyond what Plaintiff has asserted in the instant Paragraph:

            depositions of such Defendants as Defendant Barosi should likely take place prior

            to further discussion of the issues-another topic discussed in the Motion for

            Declaratory Judgment of Plaintiff's instant Filing, mentioned supra in the instant

            Paragraph at 1 []) of that adjoining instrument.[] [] [] [] [] [][] [] [] [] [] []



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      403.   Count            Defendants' counsel reproducing the fraudulent Sprint Report on

             July 13 1\ 2018. Disclosure signed by Mr. Rosenkilde. "Bates" numbers 00245-

             00247. CoA[f] # 24.

      404.   Count            Glenn Tomasello fabrication of date of fake report-this

             fabrication of produced by Defendants was created in 2018 for the purposes of

             responding to Plaintiffs Pleading with fabrication per unconstitutional municipal

             racketeering, obstructing-justice policy. Tomasello reported to Plaintiff that Det.

             Tomasello was still investigating until 2015-o bviously the record created is

             fraudulent in response calculated to Plaintiffs Pleading of May      7'\ 2018.   It is

             impossible and dismissable as fraud before the Court.            Records states Det.

             Tomasello claims he was contacted by Plaintiff on October 151'\ "I," it says. The

             fraudulent document states a phone call occurred on Oct 15 th by phone.

             Pertaining to Defendants; "Bates" numbers 00251-00252. CoA [f] # 24 CoA[Y]

             # 2 7 [][][][][][][]

      405.   Count            IT supervisor of 81 st-allowance of fraudulent Culkin report

             CoA[Y]      CoA[0] # 35., 43., [Generally object to system to suit corruption;

             different Count that other IT Counts-pertaining to the post-May 7 2018

             fabrication] CoA[Y] # 27 [] [] [] [] [] [] [][] [] [] [] [] []

      406.   Count            Glenn Tomasello inverted fabrication of evidence regarding

             interaction with Plaintiff-Tomasello fabrication of Plaintiffs comments directly

             contradict 100% of the interaction with Plaintiff and the intake form. CoA[f] 24

             [][][][][][][][]




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      407.   Count            Glenn Tomasello inverted fabrication of "manner of closing" case

             "2014-1870." "Investigative leads exhausted" was fabricated . Michael Culkin

             CoA[f] # 24 CoA[O] # 6 CoA[T] # 4

      408.   COUNT            Fraudulent Memo books entries presented implicate the signatories

             in relation to the signatories' function.

      409.   Count []         Spoliation of material for Evidence: both evidencing Defendants'

             fraud and as obstruction of what would be or is [timing of destruction            if

             destroyed, is unclear; otherwise still simply obstructed-fact that Defendants'

             admitted they still had copy of Plaintiff citation from Bravo (loss of one without

             loosing the other)] [] [] []

      410.   Count            Inherent Power Sanction: Topic mentioned in July 2ot1, Hearing

             before Judge Tiscione.          Plaintiff said regarding the Protective Order that

             Defendants' position was entirely unacceptable as the contents were hardly

             confidently and the very procedures employed were matters of fact to be

             adjudicated upon and likely almost entirely, perhaps a phrase or two per forty-five

             minutes had some legitimate interest in confidential method to protect.    Plaintiff

             stated that it was likely that Defendants had not even prepared all the materials,

             Mr. Rosenkilde stated that only one had been prepared: it is beyond doubt that

             that Defendants' assertion to tell Mr. Rosenkilde there is one is a fabrication

             before the United States. [] [] [] [] [] [] [] []

      411.   Count            Spoliation of parts of the November 2015 transcript of King's

             County court CoA[] CoA[A] # CoA[f] # CoA[Y] # CoA[0] # CoA[P] #




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      412.   Count          The idem spoliation identified immediately supra concerned

             inverted the discussion at an altered time the order originally issued by The

             Honorable J. Hecht and once renewed without hearing but against Plaintiff refusal

             on March 31 st 2017 (the injury of the one renewal is including in the original

             Count) CoA[rJ # 24. CoA[O] # 6. CoA[H]# 49.

      413.   Count          Corporate counsel has violated many Rules of conduct including

             contempt, Rule 11 violations, crime-fraud, et cetera. Such fu1therance of

             Defendants' racketeering is caused by Defendants racketeering with further

             reference to Count [] (which addresses that the promise and functional contract of

             Mr. Carter, Corporate Counsel, has to offer Mr. Carter's departments obstruction,

             outrage, et cetera in support of suppressing accessing to fulfillment of

             proceedings, et cetera)-thus harm, injury, et cetera resulting from Defendants'

             acts and orders for maltreat, harm, contempt, et cetera against Plaintiff in the

             instant Proceeding, 17CV4519, are necessarily recovered in idem Action,

             l 7CV 4519: it is particularly noteworthy that damages which Plaintiff is trying to

             mitigate are among those most vulnerable and particularly impacted by this

             consequence of Defendants'        racketeering acts against Plaintiff-specific

             references must be addressed and discussed under pending aspects of mutual

             protective order. CoA[Y] # CoA[H] # 49

      414.   Count CL       Comprehensive impact of Batteries by Defendants upon Plaintiff

             per aggravation and contribution to damages-i.e. Defendants' batteries upon

             Plaintiff color the comprehensive injuries and particularly color assaults and

             maliciousness of Defendants' crimes, wrongful acts, tort, et cetera adding severity



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             to harm, et cetera, inflicted upon Plaintiff by Defendants-i.e. injuries from other

             torts, et cetera, would not have been as severe had Plaintiff not been close to

             murdered multiple times et cetera, i.e. outside impact of trauma and aggravation

             of trauma. See Fourteenth CoA[B] Claim(#[] at 1 []).      [] [] [] [] [] [] []
      415.   Count             Defendants have so sought to defensively fabricate as little as

             possible to minimize the need to set down assertions which they know to

             contradict facts that Defendants cannot arrive at a presentation at Trial where all

             of the various fabrications are found to be reasonably the result of a non-violative-

             of-Plaintiff honest effort, on top of all other corruption: the very slight fabricated

             plotline that Defendants would argue was set out could not be free of the

             particular type of indications of fabrication which are that there would have been

             no reason not to include Trial fabrications in early form to the extent where the

             non-inclusion of material is sufficiently impossible for persons whose profession

             is document findings for legal proceedings and otherwise to be an or the primary

             instrument o f order by following procedure. CoA[Y] [] [] [][] [] [] [] [] []

      416.   Count            Defendants comprehensively and pervasively have demonstrated

             throughout the matters of the instant Action (l 7CV4519 of the Eastern District of

             New York) failures of train, supervise, discipline, and staff. CoA [0] ## 40., 41.,

             42., 43. CoA[Y]

      417.   Count            Defendant Carter having caused Mr. Stancati to engage in

             improper conduct of Mr. Stancati including Mr. Stancati's refusals to turn over all

             requested materials upon Mr. Stancati 's being dismissed by Plaintiff as Mr.

             Stancati is obligated. [] [] [] [] [] [] [] []



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      418.   Count           Defendants' instrumented outrageous abuses of process and

             fraudulent contempts against the United States perpetrated through legal

             employees of the City of New York. [] [] [] [] [] [] [] [] []

      419.   Count           Aggravations of batteries, conversions, trespassing, assaults,

             confinements, slander,       [configure in another way] upon and subsequent to

             Plaintiffs seizure [reference most of in damages-right, assert Claims with these

             tort of aggravation ex post facto by Defendants tort upon and subsequent to          ~   28.

      420.   Count           Other uses of material police obtained in the seizure and

             processmg of Plaintiff as per standard practices of such database material

             including all third party exposures and publications. [] [] [] [] [] [][] [] [] [] [] []

      421.   COUNT[]                  Barosi 2018 . Concurrent finds the General Barosi KCDA

             Corruption and Racketeering Manager Count.                  Plaintiff and Barosi each

             recognized the other's voice and the prior contacts between Plaintiff and Barosi.

             Almost about to ask confirmation of recognition of Plaintiff, Defendant Barosi

             made reference a fact that Defendant Barosi thought would intimidate Plaintiff

             and then threatened to use friends at the FBI to pull some high tech tricks.

      422.   Count           Ultimate (Cumulative, Aggregator) Count: Defendants                 caused

             several liable: offensive, harmful and injurious batteries of Plaintiff, supra and as

             Plaintiff has asserted in Filings; injurious assaults upon Plaintiff, inherently,

             contingently, and in causing Plaintiffs life to be explicitly threatened by multiple

             persons, supra and as Plaintiff has asserted in Filings; injurious trespasses and

             invasions of Plaintiffs personalty and real estate; injurious conversions injuring

             Plaintiff; shocking injurious and damaging intentional inflictions of mental



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            anguish upon Plaintiff; tortious confinements injuring Plaintiff; constitutionally-

            unequal    treatments    by   three    class-configurations    injuring    Plaintiff as

            enforcements, State-seizure-process-at-law, and otherwise; harmful intimidation

            against Plaintiffs professional interests; injurious fraudulent writings and verbal

            assertions and their instrumentation; injurious and violating representations of

            contact with Plaintiff qua State-seizure-process implicating the Fifth Amendment;

            injurious creation and use of false and fabricated pseudo-evidence and injurious

            deprivations of trial rights; injuries violating Plaintiff's liberty interest in privacy;

            injurious dispositions and uses of force violating Plaintiff's interests in bodily

            integrity; injurious mortally hazarding acts against Plaintiff; injurious Fourth-

            Amendment and tortious seizures of Plaintiff's person, including conversions

            implicating the Foutih Amendment, and at law by the State;          contumacious, and

            threatening obstructions of justice under § 1985 (2) attacking Plaintiff; injurious

            violations of substantive due process concerning State corruption generally,

            concerning racketeering (i.e. not the pursuit of damages under CoA[A]-but the

            injuring substantive due process violation of government patiicipation in

            racketeering enterprise inuring Plaintiff, concerning the systemization, synergy,

            and synchronicity of obstruction mechanism employed injuring Plaintiff, and

            concerning the State-action extortion of Plaintiff with misappropriation injuring

            and tlu·eatening Plaintiff; injurious violations of procedural due process

            concerning failures and refusals to investigate, concerning deprivations of

            Plaintiff's liberty interest to employment and contract, concerning denials of

            vindication hearing procedure, concerning takings process, concerning Plaintiff's



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             freedom of movement and to travel, and concerning Plaintiffs liberty interest in

             reputation, and concerning failures to intervene; injurious retaliation for Plaintiffs

             petitioning against government tyranny and for redress of grievances implicating

             the First Amendment and violating Plaintiffs substantive due process right to

             petition; injurious violations of Plaintiffs reputational property and thereby

             expressed reputation as property; injurious failures of government administration

             including failures to train, supervise, discipline, and manage personnel; injurious

             negligence; and injurious (racketeering) participation of persons not employed by

             the City to effect tort injury upon Plaintiff qua conspiracy; injurious deprivations

             of Plaintiffs access to courts; injurious usurpation of the adjudicatory power to

             punish; and tortious interference with economic advantage. The instant Count

             aggregates the supra, Filed, and admissible acts of Defendants' injuring Plaintiff

             per each category of Cause of Action for the statement of an aggregate Claim of

             each Cause of Action; Civil R.I.C.O. relief supersedes for its applicable category

             of injury established generally from the base racketeering cause and its separated

             into two Claims merely as one is immediate and the other a product of additional

             adjudication. The structure of having an Ultimate Count is based sufficiently at a

             minimum, generally, in Procedural principle of inherent-to-Party-asseveration

             admissibility, of which it is refers [] [] [] [] [] [][] [] [] [] [] []

      423.   Count            Erasures as spoliation to undermine contributions of evidentiary

             material to Plaintiffs integrity. [] [] [] [] [] [] []

      424.   Count            Third party-possessed records spoliation [] [] [] [] [] [] [] [] [] [] []




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      425.   Count              Litigation abuse February false assertions to the Court[] [] [][] [] []

             [] [] [][] [] [] [] [] []

      426.   Count              Litigation abuse [] [] [] [] [] [][] [] [][] [] [] [] [] []

      427.   Count              Lower standards intergrity and constitutionality for places such as

             the 81 st out of lower respect for the people in the 81 st, demographically, et cetera.

             [] [] [] [] [] [][] [] [] [] []

      428.   Count              Attempted erasure of material relating to Plaintiffs petition as

             obstruction of Fair Trial and obstruction of Civil Rights vindication. [] [] [] [] []

      429.   Count              Attempt to procure gag power for price of fake material.[][][][]

      430.   COUNT DL                     Spoliation Penalty Count.




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      525.   Injuries to Plaintiff by Defendants are described in the foregoing paragraphs.

             Claims paragraph reference the foregoing injury paragraphs to simplify

             statements of Claims 143 and improve the statement of the Complaint as a whole,

             by more specifically describing Defendants' injuring of Plaintiff. The foregoing

             paragraphs are stated under labels consisting of English alphabet letters, including

             some double, treble, and quadruple assignments. 144 Assignments of damages to

             such predicates better facilitates the Action's description of several sufficient

             recoveries of the one, whole recovery. It assists the Adjudication for Plaintiff to

             describe injuries with some particularity to the injuries impacts' Plaintiff, rather

             than simply using categories such as interntially inflicted mental anguish, 145

             bodily harm, apprenhension of bodily harm, lost profits based on quarter of

             transactions in process from time of accrual of sufficient causing of such injuries,

             et cetera-it describes nature with respect to Plaintiff and impacts to Plaintiff-

             and paiiicular Defendant intent to injure. Regarding a considerable amount of

             Defendant tortfeasance, injury could be described 146 under more than one



       143
          Not all Claims state all applicable "injuries" (some Claims statements simply
      reference broadly sounding in injuries); as many Claims best have the emphasis of
      referencing paiticular injury predicates-rather than seeking to include such descriptions
      in the Claims statements the letter is simply referenced.
      144
          multi-letter designations are related to the single-letter; in some descriptions the
      double, treble, and quadruple represent increasing form of the injure, respectively--other
      times there is merely notable distinction worth drawing with separate signification. "v"
      and "i" are not used as alternative Claims statements use such as roman numeral
      designation
      145
          Many of the distinctly described and identified injuries, appropriately described with
      respect to Defendants' particular injuring of Plaintiff, can certainly have foundation when
      construed as different categorizations of such as intentionally inflicted mental anguish.
      146
          Claims are not stated with every relevant assignment of injury (by letter demarcations
      in Claim statements)-the letter designations highlight Claims' particular inclusions of
      Defendant-caused injuries to Plaintiff pertaining to the respective stated Claim or relevant
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             described category of injury of the foregoing paragraphs; the group of types of

             injuries assigned letters represent a number of descriptions and identifications of

             injuries that are appropriately emphasized which such designation.             Some

             categories or types of injuries include notable particular items with the category,

             such are described with an integer beside the identification of injury. Some of the

             categories rather than being injuries are important factors regarding injuries, such

             as Defendants' aggravations of Defendants' injuring of Plaintiff and such as

             mitigations (i.e. where the statement of a Claim is pa1ticularly best understood

             with regard to the particular Defendants' tortfeasance as being an aggravation of

             another injuring or within the context of a mitigation.

      526.   Overview of letter assignments of injuries (stated in the foregoing 30 paragraphs):

             a lost profits, b lost resume credential, c lost economic advantages , d lesser

             damage resulting from necessary mitigation forced by Defendants, dd good faith

             mitigation attempt, ddd contingent loss caused by Defendants, e light on private

             matters that would not be so lit, ee persecution, eee alienation, f inte1personal

             relations, ff marriage, j]f, anti-miscegenation, jJjJ apprehension caused by

             Defendants' duress upon Plaintiff, g shock of po lice corrnption, gg advanced

             municipal corruption, h , h    h hhh j humiliation, jj humiliation in having to

             conceal petition and mandatory activities to mitigate damages, ;jj religious

             relation, jjjj exposure of private matters and life, k continuing until non-

             obstruction of vindication, kk permanent, I loss of liberty, II loss of liberty

             regarding effects, Ill life destruction of Plaintiff by Defendants, Ill/ occupation of


      aspects of injuries worth so drawing attention (whether to observe paiticular potential for
      mitigation by proposed early Declaratory judments, et alia).
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             time, m notable confidential aspect( s), n injuries that will increase without

             equitable remedy, nn injuries from which damages are currently suspended (or

             believed to be suspended) from increase or accrual by Plaintiffs mitigation

             efforts that need equitable follow-through to mitigate damages, nnn injury

             increasing until relief cures injury, o horror-ourtrage-shock, oo kafka-esque

             tyranny, ooo mortal hazarding, p political, pp political services, ppp 2016 MN

             CD2, q financial fiduciary, r reputation, rr liberty in reputation, rrr false light

             aspect of defamation accruals of injury [consider], s familial duties, ss familial

             strain, sss missed rapport, t apprehension of bodily harm, tt corporal integrity

             violation, u aggravations of prior Defendants' injuring of Plaintiff , uu

             aggravation of acuity to roll ahead injury, uuu litigation abuse aggravations, w

             extortion threat ( duress, coercion), ww defamation threat, www tyrannical

             defamation, wwww fear of supplemental recording, x social network injuries, xx

             burned relationships; y intergrity shading (attempting to portend doubt),              yy

             googleability, z petition retaliation (hole, solitatry, gaging)

      527.   a lost profits, #1 Damages immediately actionable under Civil R.l.C.O. as stated

             at ,i 1102 i.e. for lost profits calculated by Plaintiffs transactions 147 in processed

             or processed for the quarter before injury as basis for calualating lost profits from

             Defendants' destruction of the continuation of that business (see ,i [], infa): "al"

      528.   b lost resume credential,




       147
          Includes the considerably discussed-to-the-Docket client's 1031 exchange for
      Brooklyn Brownstone proposed to Plaintiff as outcome of real estate transactions at the
      time. Two other transactions in process at the time which were halved due to dislocation
      and disqualification resulting from Defendants' injuring of Plaintiff.
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      529.    c lost economic advantages # 1 UES & [] ($ 10 MN USD development

              performance-equity profit), # 2 City-aware project ($ 25 MN USD development

              performance-equity profit), # 3 Mediterranean properites ($ 1 MN USD

              commission profit), # 4 coastal French property ($ 250,000 USD commission

              profit), # 5 Italian properites ($ 500,000 USD development equity and

              commission profit) # 6 CA business ($ 25 MN USD, start-up profit), # 7 CA

              property ($ 12,000 USD commission refferal profit), # 8 (sisters) New York

              property ($80,000 USD commission profit), # 9 (M.M. ($52,000 USD

              commission profit) New York property,# 10 (N.) New York property ($85,000

              USD commission profit), # 11 (B.) New York property ($ 70,000 USD

              commissions), # 12 Negotiation underway with real estate corporation ($ 1 MN

              USD to $ 10 MN USD income), # 13 Western U.S. real estate business (new

              entity)($ 2-10 MN USD profit),#

      530.    (D) Mitigation: d damages incurred as the mitigating choice of a lesser damage

              resulting from a necessary mitigation 148 as an alternative to that forced by

              Defendants: Damages mitigated by privacy et cetera Declaratory Remedy

              Mitigation (mitigations, mitigation costs, mitigation costs qua lesser and more

              remediable damages, ongoing mitigations, mitigation of Declaratory Relief,

              Action is mitigation, dd good faith mitigation attempt, ddd contingent loss caused


       148
           Cost of reducing spread of Defendants' toxic defamation is much less costly than
       cleaning up vastly permeating if Plaintiff were not to expend the effort to contain (trail
       follows Plaintiff in everything-keeping a light footprint and minimizing movement
       mitigates Defendants' toxic sludge dumped on Plaintiff: were Plaintiff to ignore the
       spread of Defendants' contamination, in the end Plaintiff would in all likelihood spread
       toxic sludge multiplying Defendants' liability with Plaintiff operating under the injury
       and bad will of Defendants' toxic defamation cutting gains and increasing permanency of
       Damages.
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             by Defendants. Mitigation of growth to damages (locking in prevention of cetain

             otherwise permanent damages by such as) 11103 Damages. Plaintiffs efforts to

             mitigation damages have been tremendous and come at considerable price to bear

             net benefit of reducing damages. Pseudonymization of Plaintiff with the name "L.

             Davies" named for a civil rights hero Plaintiff knew somewhat, and admired, in

             Plaintiffs youth: would have considerable mitigation benefit.

      531.   e component factor of light on private matters that would not be so lit, ee

             persecution, eee alienation.      Dark moments particularly reflected in two

             exemplary expressions of 2015.

      532.   f interpersonal relations, ff marriage, fJf, anti-miscegenation, fjjf apprehension

             caused by Defendants' duress upon Plaintiff, g shock of police corruption, gg

             advanced municipal corruption,

      533.   (HJ Aggravations of Injuries Overview (with identifications of phase steps). The
             aggravations of injuries compounded them and as Defendants' more-than-

             malicious grew with increasingly malicious furthering assaults, outrage, et cetera.

             h    [change to "h"]aggravations of prior Defendants' injuring of Plaintiff, hh

             aggravation of acuity to roll ahead injury, hhh litigation abuse aggravations

      534.   (J) humiliation with reference of public service background and election to

             Officiate Ethics: j humiliation, Ji humiliation in having to conceal petition and

             mandatory activities to mitigate damages, iii religious relation, jjjj exposure of

             private matters and life. Humiliation of facial injury from 8 October 2014 (lasted

             for several days or a week) finger nail scratching after the tearing of the check

             with fingers inside Plaintiffs mouth.



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      535.   (K) process of litigating takes a toll-though almost insignificant compared to

             necessary relief of the process-factor of defendants' continuing injuring.              k

             continuing until non-obstruction of vindication, kk permanent,

      536.   / loss of liberty, ll loss of liberty regarding effects, lll life destruction of Plaintiff

             by Defendants, llll occupation of time,

      537.   m notable confidential aspect(s), mm cannot be under

      538.   (N) Damages massively greater without injunctive relief as most professional

             activities and alternative professional activities; life plans, et cetera of Plaintiff are

             vastly impacted as may be discussed under the mutual protective order, et cetera.

             General operating presumption of Relief bringing profit to many of Plaintiffs

             ongoing mitigation effects. n injuries that will increase without equitable remedy,

             nn injuries from which damages are currently suspended (or believed to be

             suspended) from increase or accrual by Plaintiffs mitigation efforts that need

             equitable follow-through to mitigate damages, nnn injury increasing until relief

             cures mJury,

      539.   (0) Quite a number of sleepless nights at, after, or before certain Defendant

             deliberately inflicted vexations. o horror-ourtrage-shock, oo kafka-esque tyranny,

             ooo mortal hazarding,

      540.   p political: political professionals like never arrested, charged, or mirandized-

             Plaintiff has never been any of those-as Defendants should concede and is the

             position Plaintiff needs to maintain to mitigate damages (hence it is important to

             minimize aggrevation ((h[l) the stigmatizing injury in the course of the

             Proceeding until , pp political services, ppp 2016 MN CD2. Plaintiff has been



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              discussed in publication and outside of publication as a candidate for a certain

              office of which Plaintiff has certain rapport concerning as is private. 149 Such

              injury must be repaired, Plaintiff may well be in Congress now were it not for

              Defendants' injuring of Plaintiff depriving him of Constitutionally protected

              rights, liberties, and interests []. Plaintiff had seven figures in pledged backing in

              a well-suited district, but had to withdraw given Defendants' injuring of Plaintiff

              and the latent, concrete-range of ramifications from Defendants' injuring of

              Plaintiff, which would have been significantly beyond remedy, i.e. public

              exposure's magnification of Defendants'           defamation-injuries to Plaintiff

              prohibited receipt of donations and campaign activities as ongoing seizure,

              obligations to mitigate costs and other consequences of Defendants' injury and

              tort against Platintiff

      541.    q financial fiduciary, qq lost credential development

      542.    r reputation, rr liberty in reputation, rrr false light aspect of defamation accruals

              of injury [consider]. Defamation is a claim which obtains more than those

              damages which are most precisely claimed by tort action in New York in both

              libel and slander: defamation tort particularly considers cost to repair reputational

              injury upon establishing stigma-plus. Plaintiff will have situations, particularly in

              political, organizational leadership, and public relations activities of Plaintiff set

              to increase, where Defendants defamation will be regurgitated and have to be

              redressed, this will cause pain and at times impact activities adversely and

              otherwise create need for expenditures to inoculate and counte1mand the



       149 Details of such are to be discussed under measure of FRCiP #26(c)

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             defamation with corrective information, which is immensely expensive to be

             effective.   Need and impact of immediate relief and         1   1101 Concession and

             Commendation       [privacy,   protective   order,      adjudication   schedule   qua

             relief]Damages mitigated by mutual protective order. reputation repair damages

             with anticipation the inevitable regurgitations of Defendants' defamations against

      543.   (S) Familial with full injunctive or consented relief or without: s familial duties,

             familial strain, missed rapport,

      544.   t apprehension of bodily harm, tt corporal integrity violation,

      545.   u, uu, uuu,

      546.   w exto1tion threat (duress, coercion), ww defamation threat, www tyrannical

             defamation, wwww fear of supplemental recording,

      547.   x social network injuries, xx burned relationships;

      548.   y intergrity shading (attempting to portend doubt), yy googleability,

      549.   z petition retaliation (hole, solitatry, gaging)      Plaintiff attempted to seek out

             assistance to obtain representation, Plaintiff already had an attorney at the time

             resolving some negotiations (which were trashed by Defendants' injuring of

             Plaintiff and Plaintiff had to leave town to survive, was professionally

             immobilized (sufficiently, simply on the basis of Plaintiffs need to mitigate

             damages). That the Defendants were a corrupt municipality gaming the system

             and that the facts could not be construed other than involving massive and

             horrible corruption intimidated all attorney's until Harvitz agreed to represent

             upon the IAB identification that Defendant Brown violated




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      600.   Claims are stated in the foregoing series of paragraphs. Plaintiff recently added to

             the CoA the distinguishing      15
                                                  ° CoA   at   'If 153-155 regarding diversity of
             municipality liability basis for constitutional-based relief pertaining to the

             compensatory portion: such is thought to allow more specific citation of liability

             bases: policy, policymaker, or adoption as policy, respectively. Most statements

             of municipal liability occur across the following paragraphs where the tort is

             generally stated. The structure 151 of the foregoing paragraphs generally seeks to

             consolidate statement of Claims while allowing identification or descriptions

             regarding the meeting of CoA and Counts; furthermore, discussion of the

             litigation can use the system for descriptive pinpoint reference amid the many

             Counts of the highly multifarious Action.             Injuries are, in the course of

             statements, pointed out, to some degree, with the italicized English letters as

             introduced and detailed at the Injuries paragraphs, supra.        No tmt for which

             Plaintiff asserts Defendant liabilities of various types Goint, facility, furtherance,

             et cetera passim) has or had any immunity, privilege, defensibility, protectability,

             et cetera.

      601.   Claims are being stated in like-so1t Claims paragraphs as opposed to the

             paragraph per Claim approach of DE # 70 (there is still some transition), which

      150 Like CoA[X]: CoA[0]53-55 can be compared to the grammatical notion of a
      "helping" verb compared to the primary verb of a sentence.·
      151 CoA are always identified with# (based on 'If minus 100: i.e. 'If 103= CoA # 3) so the
      Attic (Hellenic) letters can be ignored if a reader were to find such designations not
      useful-nonetheless the CoA # always abuts a bracketed Attic letter, i.e [~] 13 = libel
      (libel is the fewest-letter CoA name-generally the combination of Attic with # gives
      considerable specificity (exact reference to statement of CoA) and brevity-while
      generally describing aspect of the CoA (i.e. [~] are the defamation pair). Dashes between
      CoA # ( as in the tags at the end of Count statements) are only .used to include all
      consecutive of the like type.
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             allows for maximized consolidation in a manner which should transition well into

             planning for adjudication-although many Claims are fully recoverable via

             determination of law. The varieties of legal-category of the Cause of Action

             (CoA-abbreviation use defined at       ~   2, supra) are distinguished precisely by the

             Co A # to the immediate right of each (square bracketed Attic letter-which

             represent larger categories of CoA (e.g. Fourth Amendment CoA are all "[Z]"-

             see   ~   99, supra). Claim groupings are focused to consolidate similar Claims into

             the same and adjacent paragraphs; this does not mean that groups of consecutive

             or related Counts raise Claims that are found stated together: the sorting of claim-

             groups moreso brings similar legal-categories of Cause of Action together--0r

             certain set of liability configurations with a legal category.         All Claims are

             identified within the pinpoint accuracy of the number corresponding to the Count

             and legal-category of Cause of Action, upon the finding of the Count-the legal-

             category to which it applies recovers a Claim: precision of the Claim is

             established in Many of supra-identified categories of Cause of Action ably

             recover on the same Counts leading to a great multiplicity of overlap in the means

             of recovery of which it is appropriate to assert in the instant Instrument: the

             statement of Claims infra aims to simply identify overlap minizing the length of

             the section and the number of paragraphs it contains.

      602.   The foregoing series of Claims paragraphs are organized generally into clusters

             which tend to go through certain groups of Counts identifying or discussing all or

             most of the Claims found by such Counts: (~ 603 (nature of Outrage within the




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              Claims, demonstrated); ,i 604 (Acute Outrages Stated Multifariously 152); ,i 605

              (General overview of Municipality Liability Claims

      603.    The phrases "causing outrage" and "intentional infliction of mental anguish" very

              well describe much of Defendants' injuring of Plaintiff. Indeed, Outrage ([0]6) is

              vehicle for the large part of damages recovery, by itself. 153        Defendants'

              corruption and racketeering operations, injuring of Plaintiff, obstructions of the

              instant Proceeding, et cetera, are all shocking-of-the-conscience to meet standards

              for punitive damages against municipal employes and for Outrage recovery.

      604.    Plaintiffs enduring the many tortious actions of Ms. Obi with Defendants caused

              by Defendants' corruption and racketeering-were and are inexplicably

              astonighingly (without understanding that Ms. Obi's actions were performed out

              of and contingent upon Ms. Obi's building towards use of the corruption and

              racketeering posse commitatus-adopted and furthered by the same, particularly

              or with awareness and intent to inflict the same vein of further and furthering

              injury) outrageous-and specifically designed to inflict mental anguish (0): e.g

              choking, tongue yanking, head bashing, cheek tearing and scratching, and

              strangulation 154 as well as dangerously chasing and saying Plaintiff will be




       152
           Curved brackets identify all simultaneously applicable Co A (the end of the paragraph
       contains elaborations, as for certain of the CoA)
       153
           however, the Second Circuit affirms the widely-recognized principle that Outrage
       recovery come second to another Co A: hence, on the schedule of recovery (,i 1111 )-
       Outrage is widely applicable, but often the last prioritized for each recovery to which it
       applies
       154
           {Outrageous 8 October 2014 Joint Acute Batteries [P]37-38 [B]2 [A]49 [E]8-9 [Z]19
       [0]40-43,53-55 [M]3 [N]44 [I1]12 [~]33 [Y]25-27 [X]45 : respectively,,,
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             killed. 155 The Three Midnight Bed Attacks of Plaintiff specifically sought to

             attempt to rouse Plaintiff into an uproar, fume, or rage to get such on audio-data-

             the demonstrated result was Plaintiffs non-violent, but concerted and determined

             response that Ms. Obi must stop 156 ; such major disruption of Plaintiffs life was

             intended for such misappropriation to be backed by posse commitatus destruction

             of Plaintiffs life and threatened for Ms. Obi's unlawful enrichment using the

             misappropriated material and extortion and harassment of Plaintiff). Defendants

             and joint participants have no, defenses, privileges, or immunities for causing

             such and furthering (Defendants variously and continue to further Defendant

             caused (and performed with) acute joint outrages) and aggravating (Defendants

             deliberate have and continue to aggravate Plaintiffs injuries from these acute

             Outrages) injuries from such early-after-accruing-involvement Acute Joint

             Outrages,   Petition Retaliations    ([P]37-38),   Tort   Caused   by   Municipal

             Unconstitutionality ([0] 40-43,53-55), Failings of Constitutional Duties to

             Maintain Integral and Non-Consitutionally-Violative and Prone to Violation Data

             Resulting in the Racketeering ([L]33), and as is otherwise clear or inherent from

             the Footnoted applications of the CoA to the Counts as bracketed. Outrage is well

             established as a continuing tort, Defendants' infractions continue   (KJ under the
             causes, in the same veins, and for the same injuring of Plaintiff-and Plaintiff

             continues to accrue injury from the committed tort awaiting vindication suffering




      155
          {Outrageous 1-8 October 2014 Joint Acute Menacings without Batteries [P]37-38
      [n]6 [A]49-52 [M]3 [0]40-43,53-55 [X]45 [Y]25-28,30 [IT] 12,17-18 [N]44 [L]33: }
      156
          {Outrageous Trio of Midnight Bed Attacks [P]37-38 [n]6 [M]3 [0]40-43,53-55 [X]45
      [Y]25-30 [11]12,17-18 [N]44 [L]33 [T]4:}
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             humiliation, et cetera (J). [Ultimate Count, briefing regarding kafka-esque-ness,

             and frivolous]

     605.    Municipal liabilities arise from most of Defendants' tort, 157 common law CoA

             recover the compensatory under respondeat superior: such is generally scheduled

             for the recoveries ('111111). Plaintiffs recollection of Monroe v. Pape is that even

             that Decision did anticipate potential municipal involvement that even its

             standards would approve municipal damages-such that Plaintiff may, in addition

             to the Monell suite, bring valuable discussion of law that, in terms of case

             architecture, is beside Monell to a degree worth observing in addition to rests on

             the Monell suite.    This general introductory paragraph regarding Claims of

             Municipal liability discusses various general and quitessential aspects of the

             Action's municipal liability Claims. Within the instant iteration of the Complaint,

             or Fourth Amended Complaint.             Injunctive Remedies for the Reform of

             Defendants (listed at   ,r,r 1150   et sequent, infra) considerably inform equitable

             Claims against the municipality regarding the Counts in sum.

     606.    Municipally-chargeable damages arising from KCDA tort (facilitation, non-

             prosecutorial furtherance, and unconstitutional policies regarding Defendants'

             injuring of Plaintiff) The facilitation Claims described in the prologue     (,r,r ) are
             inherently municipal as is otherwise established passim-the KCDA as municipal

             person or body cannot stand ready to further, protect, and effectively adopt such



      157
         i.e. most of the Counts specify patticular Defendant tort from which Claims against
      the Defendant Corporation are reached given the municipal liability inherent (from the
      principles or elaborated municipal con-uption context discussed in the prologue (,r,r 3-80)
      or as applies from the nature municipal liability tagged, specified, or detailed) m
      Plaintiff's description.
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             corruption as police sex bribery so that police sex bribery can confidently operate

             and continue operating. 158 In addition to the municipality rightly having the

             compensatory portion under the proximate quarter of liability. The furtherance

             (i.e. ji1rtherance array) non-prosecutorial or clearly without jurisdiction

             applicable to KCDA Defendants (e.g. Barosi) likewise is municipal under the

             described nature of the corruption orgainzation and racketeering by which such

             furtherance was conducted. KCDA policies regarding weakness of organization,

             systems, failures to supervise, failure to train, failures to hire, failures to

             discipline: regarding tort upon the Admission of Brady violation obstruction of,

             27; the tort of aiding police in obstructing , 26; the tort of aiding police in

             threatening and attempting to gag Plaintiff; the tort of aiding police in the

             obstructing of Plaintiffs constitutionally-protected participation; failures to

             intervene, investigate, ; non-participation (in and protection of persons from) fair

             trial violations and false and fabricated pseudo-evidence;

      607.   Municipal liabilities arising from IAB and po lice Administration tort

      608.   Municipal liabilities arising from 81 st Precinct tort

      609.   Municipal liabilities arising from CCRB tort

      610.   The foregoing three paragraphs discuss mu from the [deliberate unconstitutional

             furtherance, particularly coordinated support for 7 May 2015]], dysfuncion,

             failures to traun, supervise,] [municipality as racketeering person] [0] [Y]




      158
          with various chits traded between racketeers and collected from outside such as
      attorneys wanting Admitted pay for play quid-pro-quo
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      611.   Retaliation claim-group states most of the Action as Claims of both First

             Amendment and Substantive Due Process types (), [Cause does not need Counts

             stated as retaliation, it is sufficient to show the retaliation and then furtherance of

             such for the purpose to Defendants of Defendants thinking Defendants' corruption

             wins and day and dominated the corruption and racketeering opponent]

             [Reference ,r [2] re: Petition]

                     [Configure Lozman applicability with reference to notice obvious re: qua!.

             imm. [fact that we have a transparently known retaliation (retaliation for reporting

             the crimes of a racketeering participant to police ahead of report to a judge upon

             the report of the police to the judge concerning the   ,r 27 witness of the crimes of
             the racketeering participant)] [quality of transparent distinction between

             constitutionally operating police and racketeering police appearing off-duty (but

             prentending normal duty) (pretending to not be acquintated with the racketeering

             participant) (fabricating cause to have appeared after the fact) (obstructing the

             evidence of police witnesses in order to make a physically impossible, otherwise

             nonesenical and beyond belief story Defendants knew to be opposite of the truth

             even if due to the physical impossibilities and other nonsense the ) (swore to the

             existence of evidence Defendants knew would demonstrate its own fraudulent

             nature if presented and therefore Defendants maintained the assetion and never

             took the slightest action to prepare the material to a court's access)]]

                     [Paragraph aggregate on Claims for Pre-Oct 8] [Morning and afternoon

             idem][Early evening [Irony to Defendants' pilling on furtherance and then




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              arguing Counts have so greatly amounted as to suggest [they purport] relief] [P]

              [0] [Y]

      612.    R.l.C.O. 18 U.S.C. § 1964 raise three general types of Claims under the

              proscription of§ 1962 (b), (c), & (d), respectively, upon two Counts each: (b)-

              Counts XCI & XCIV (Claim## 1.91 & 1.94); (c)-Counts XCII & XCV (Claim

              ## 1.92 & 1.95); (d)-Counts XCIII & XCVI (Claim## 1.93 & 1.96): all Claims

              reach the Civil R.l.C.O. damages. The distinction between the former and latter

              of each of the three pairs of Claims is that the operating racketeering-enterprise-

              element159 of the Claims is, in the former of each pair, the full (or any significant

              part of the full) enterprise and, in the latter each of the pairs of Claims, the

              enterprise-element is the more-focused police-sex-bribery 160 ; the distinction

              directly accords from the differences of the Counts reaching the respective

              Claims. Furtherance, which is, generally, not just carrying out an item of the

              furtherance array to injure Plaintiff, but for the sake of maintinaing the operability

              of the racketeering and corruption operations system is coincides with statement

              of CoA[A](b) 161 under § 1962 (b); Defendants' commissions of the furtherance

              array item to injure Plaintiff that injure Plaintiff correspond CoA[A]          under

      159 (see Footnote [] or ,r [])
      160
          "enterprise-within-the-enterprise (see ,r or Footnote [])" the trail of overt furtherances
      all the way up to the Comissioners' and municipal management furtherances and
      diversity of bureaus sufficient for the establishment of the entrenchment of that known in
      law as intracorporate conspiracy quite easily establishes the full (at least sufficiently)
      with considerable evaluation after the more, bite-size identification of enterprise as
      Plaintiff-involving Defendants' -racketeering-enterprise participant, Ms. Obi declared (see
      Footnote 6).
      161
          All statements of§ 1962 (b) commissions are simultaneously CoA[Y]27 (actionable in
      the latter for additional punitive damages with particular respect the offense beyond the
      statutory provision for harm for racketeering-e.g. punishment under different grounds
      such as
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             § 1962 (c) 162;CoA[A](c) CoA[A](d) § 1962 (d) somewhat resembles the facility

             Claims. Claim## 1.91 & 1.94 is applied to Defendants and for which liability is

             plural and to be apportioned sometime after discovery by final adjudication of

             such liability. CoA[A](d)§ 1962 (d) requirement that individual Defendants are

             subject to liability under Civil R.I.C.O. when the commission of two predicate

             acts are identified as being within the mens rea of the decided participator (each

             individual Defendant implicated under the Civil RI.C.O. legal-category of Cause

             of Action)].

      613.   Invasions & Trespasses (), [Privacy[Harassment], Theft, Property Destruction,

             [Grouping in reference to corrdination with particular damages] [Paragraph on

             chattel destructions and invasions of chattel [Defendant Brown] [Def. Brown and

             Doe Defendants running the instant Brooklyn police sex bribery racket within the

             larger racket] [furtherances by ][facility by ][]] [Paragraph on the Action overall

             as invasion and trespass of privacy via Gallela (Harvitz could be under Gallela)]

             [paragraph on conversion from withholding discovery production to thieving

             chattels] [[here, or relocate ti ea Claim:] tortious interference [Iota! 1] with

             economic advantage [Def Brown was aware of Plaintiffs having real estate

             damages for Def Brown's actions prior to Def Brown's early evening and

             subsequent injuries]] [Harassment [Pi 17]under Galella as a single, comprehensive

             Claim] [reference to certain invasions asserted with search Claims, infra]

                                    [furtherance of theft, harassment qua privacy, destruction

             of chattels Claims implicating municipal liability in the racketeering municipal


      162
         CoA[f] and CoA[E] 1O] are furtherance array commissions are (with the general
      establishment of Civil R.I.C.O.) CoA[A](c) (i.e.§ 1962 (c)) Claims.
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            custom (and distributing significant portion of individual liability apart from

            general appropriation of individual Defendants under conspiracy law):

            [obstructing November Hearing and prosecution of Ms. Obi] [obstructing

            Plaintiffs ability to collect evidence ofi[ 27] [false assertions of audio evidence]]

            [aggravations of theft, harassment qua privacy, destruction of chattels liability

            Claims [New Court endangering] [destruction oflease and stay-away] [tyrannical

            procedural malice described as life-threatening by attorney friend as descriptive of

            real threat aggravating bodily harm injury including mental anguish from bodily

            harm] [T] [K]

            • Claim # 4.01 CoA[T] Trespass upon Count [] . To1tious intrusion into the

            private communication of Plaintiff by accessing Plaintiffs phone and then the

            subsequent to1t of commenting about it fmther asserting the violation of Plaintiff

            prope1ty in that gloating about a crime indicates greater transgression and greater

            asse1tion of threat of transgression.          Claim# 4.02 CoA[T] Trespass upon

            Count [] . Defendants' causing, enabling, deputizing Ms. Obi's tortious and

            threatening entry of Plaintiffs private space against Plaintiffs explicit and

            immediately prior              Claim# 4.03 CoA[T] Trespass upon Count[] . Ms.

            Obi's racketeering-State-authorized submerging of Plaintiffs laptop in water to

            destroy it, which hobbled Plaintiffs professional capabilities amid Defendants'

            destruction of Plaintiffs life and business.       [From ,i 104:] Personalty and

            personal-occupation-of-real estate trespassed include chattles, real estate lease,




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                                                                                         163
             and surety and contracts [DE           invasions pertaining to     leased         land,

             violation of surety, destruction of chattels, interference of chattels, invasion of

             chattels, invasions of physical real estate interest, interfence with contract [move

             contract to economic advantage] [Common law version of Fourth Amendment

             "Search" Claims (based in what specifics can be found and by analogy to seizure

             Claims under common law of New York tracking Fourth Amendment)].

                        (also including violation of surety): covering a variety of invasions of

             personalty and real estate other than conversion-[NY has broader than

             Restatement definition of trespasses of which "conversion" is inclusive?]: most

             other invasions of personalty and real estate other than conversion are, as in the

             case of conversion tort reached by the immediately infra, conversion-may be

             preferred at law to be reached by another tort cause of action: "trespasses" have a

             broad meaning in tort and much meaning comes from invasions of land-such

             discussions are relevant to the entire sorting of the tort synopsis, should such be

             necessary: such pertains to some central issues should certain fact finding not be

             avoided by Defendant concession, et cetera. Trespassing also includes

             Defendants' attempting to spoliate materials of which Plaintiff has right of

             receipt.



       163
         Plaintiff was award presumptive lease entitlement as bargain with landlord's agent
      ahead of review-of-lease-before-signing-of-lease and lease-signing: both of which having
      not yet occurred (Plaintiff was invited to occupy the space under an effectively temporary
      arrangement for that amount of time as Plaintiff should have need offered upon
      landlord's agent's assertion of context of Plaintiffs being a respectable real estate
      professional certain to honor agreement and return favor equitably (see ,r [BtoC]; cf. ,r
      [BtoC] regarding Plaintiffs discussions with the landlord's agent of cooperations
      regarding transactions of Brooklyn Brownstone Townhouses (see also thereupon
      Quaterly transactions-based lost profits damages ,r [])).
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            •       Ms. Obi's State-powered-and-caused invasion into Plaintiffs phone

            without Plaintiffs permission, assent, consent, et cetera violating Plaintiffs

            Claim# 5.02 CoA[K] Conversion upon Count [] .' stealing of $25 caused harm

            far greater than $25 as such brazen demonstration of crime by Ms. Obi caused

            immediate and broad insecurity and mental anguish. Ms. Obi's State-sanctioned-

            caused-and-followed-through brazen theft was a vicious crime in its circumstance

            making the far greater effect the demonstration by Ms. Obi that with police

            racketeering powers Ms. Obi would simply delight in crime against Plaintiff

            rather than fearing consequences with imminent implications of Plaintiffs injury

            to the integrity of Plaintiff and Plaintiffs property.

            Claim # 5.03 CoA[K] Conversion qua misappropriation upon Count [] .

            Misappropriations of Plaintiffs voice when Plaintiff had expectations of property

            prior to Ms. Obi's three consecutive nights of vicious midnight bed invasions

            which maliciously attempted aggravated circumstances to stage material more

            useful to Ms. Obi's extortion and police sex bribery.

            Claim # 5 .04 CoA[K] Conversion qua misappropriation upon Count [] . Night 1

            October 3rd , 2014. Similar to Fourth Amendment CoA[Z] 21 #

            Claim# 5.05 CoA[K] Conversion qua misappropriation upon Count[] . Night 2

            October 4th, 2014

            Claim # 5.06 CoA[K] Conversion qua misappropriation upon Count [] .Night 3

            October 5th ,• 2014

            Claims## 5.07- CoA[K] Conversion upon Counts [] . Withholding that which

            Plaintiff has the right to have produced with and without Defendant attempts to



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            falsify concerning non-production. Defendants' injurious upon Plaintiff sound

            broadly in Remedies. [figure whether to use an accumulating Count or specify

            each non-production as an aggregation of Claims in the instant paragraph]

             [Clipped from ,i 105 :] There are at least five kinds of Defendant conversions

            against Plaintiff: misappropriation of audio and the tortious staging to procure

            such audio (this kind overlaps with Fourth Amendment seizure CoA[Z] stated at ,i

             121): there were three nights of such and one Count for all of the preceding of

            such. A second type of conversion is Ms. Obi's thefts of Plaintiff's chattels

            (Claims ## 5.-5.). A third type of conversion is the taking of Plaintiff lease

            arraignment and with two months lost (the dislocation expenses of storage and

            travel are address at the Due Process violation implication the Liberty Right of

            Movement and Travel at ,i 133); Plaintiff furthermore on top of being harassed by

            81 st Precinct police in moving out items was not able to entirely remove items

            causing loss akin to the subsequent moving loss of November 2017 out of the

            storage unit to which items were moved from 677 Quincy. A fourth kind of

            conversion is Ms. Obi and Defendant continued tenure of .as part of the same

            racketeering contract execution   Claims ## 5.10 et sequent CoA[K] Conversion

            upon Counts [] . Defendants' injurious batteries upon Plaintiff sound broadly in

            Remedies.             Ms. Obi qua state actor did perform two distinct forms of

            conversion. (I) Simple conversion of items during Plaintiff's removal/abduction

            (II) Misappropriation via duress and conceit for libelous extortion.        [Fourth

            Amendment misappropriation of recording where privacy is certainly expected].

            Recordings possess considerable latent damages and are also recoverable under



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             the Fourth Amendment seizure (see Claim# ). Defendants' attempts to substitute

             evidentiaiy material that must be produced to Plaintiff for spoliated substitutes of

             diminished value is a conversion by Defendants.              of non-conversionary

             trespass of chattel qua Ms. Obi's invasion of Plaintiffs phone about a week prior

             to October 8'1\ 2014 as a conversion-though per the restatement tort law

             generally may regard such not as conversion, but as another trespass of chattel-

             therefore while Plaintiff does not duplicate such Claim Plaintiff notes

             understanding of the potential cause to move such Claim from Cause of Action

             stated at ,i 104 to the instant.

      614.   Defamation claim group states Claims most directly implicating damages for

             injury to Plaintiffs reputation: the one compensatory relief for these injuries

             described at ,i [] should be based on the cost of the curative publicity for injury

             already impacted and the spread from the present impact including regurgitations

             of Defendants' libelous defamation sufficient to at least neutralize damages

             (Plaintiff needs to have power to deal with problems generated by Defendants for

             the rest of Plaintiffs life-though most injuring can be repaired. Defamation

             claims raise declaratory relief to mitigate the continued spread and entrenchment

             of Defendants' libelous injuring of Plaintiff and to relieve the prospective of

             garguantuan     pe1manent      damages;   some   of Plaintiffs    equitable   relief

             accomplishes and empowers repair work compensatory damages (see ,i []). The

             finding of most Counts for which defamation group Claims are reached reaches a

             set of Claims from five legal-categories of the Cause of Action: Libel ([A] 13),

             Slander ([A]14), Liberty Interest in Reputation ([A.]34), and Injury to Reputational



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            Property ([0]39); and Malicious State-Power Hotsile Disinformation ([Y]36)

             [Consider locating denial of vindication hearing procedure ([E]3 l )]. Claims range

             from forms of joint-state-action (independent of racketeering); forms of joint-

             state-racketeering; furthering, adopting, and endorsement the same joint-state-

             action (racketeering or not); malicious fabrications spoken and written designed to

             inflict mental anguish by being self-evidently maliciously fabricated to Plaintiff

            where Defendants deliberately inflated the malice of their defamation (essentially

             growing the maliciousness for the purpose of demonstrating to Plaintiff

            Defendants ability to wield such corrupt and racketeering-totally removed from

             constitutional procedure caused and designed by corrupt and racketeering

            Defendant police.                                    [Claims concerning Ms. Obi

            making joint-action-statements] [Claims concerning Lambda and Sigma to

            Hecht][Claims concerning Defendants' first charging instruments [date]] [Claims

            concerning Defendants' second charging instruments [date]l[Claims concerning

            implications of the conduct to which Defendants have instructed their attorneys]

             [Cost of counter publication greater than injury; punitive] [Racketeering

            organization [consider the substantive claim along these lines stated here-that

             [Upsilon] 36 Malicious State-Power Hostile Information can be put into a single

            or few Claims as opposed to the Defamation group stated per act in four or five

            species of recovery]                          [Some Counts reach the Lambda,

            Sigma, and Omicron without an act under common law defamation as the Claim

            is reached by the nature of the injury and not a defamatory act by Defendants;

            consider stating a group of, or most of, these Claims in a paragraph, here, to



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            remove the multiplicity from these, typically major Counts likely to reach a

            considerable variety of Claims.]

                       [Supplemental: suggesting the arrest of Ms. Obi was necessary assistance

            with horrid implications against Plaintiff for the purpose of obstructing-injurious

            fraud]                  [see Claims # 12 infra for material removed from     1 112
            generally discussing preliminary matters to Defamation-group Claim statements]

             [0] [Y]

            Causing and State action falsified recordings to landlord's agent [professional

            implications regarding townhouses]

            Causing and State action calumnies to V & B powered with otherwise bizarre

            force of racketeering [mental anguish]

            Causing and State action recursive effect of conceit in Sgt. Brown's reliance on

            falsehoods Sgt. Brown generated in making the most relevant of the police sex

            bribery contracts [impact against Sgt. Brown possible affirmation of being

            deceived]

            Causing and State action fabricated police records by 1 28

            Causing and State action slander and receipt of slander upon appearance and

            Terry-seizing of Plaintiff by C & C

            Causing and State action fabricated recording for extortion played upon idem

            Causing and State action slander before whole      1 28   and its reception [mental

            anguish]

            Causing and State action communication of fabrications to KCDA

            Causing and State action KCDA communications to NYS and public



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            Causing and State action Scarcela libela [not implying certain Scarcela liability on

            instant Claim]

             Causing and State action harassment [Barosi]

            Causing and State action impact on protected business negotiation [Filosa]

            Causing and State action Sgt. Brown as if not present obstruction [mental

            anguish]

            Causing and State action V & B obstruction falsehood [mental anguish]

             Causing and State action Dec appearance slander

            Causing and State action Midey libel [not implying certain Midey liability on

            instant Claim]

            Causing and State action January appearance

            Causing and State action Brazys derogation

            Causing and State action February appearance

            Causing and State action Barosi February

            Causing and State action Manhattan precinct with female Sergeant [received and

            projected against Plaintiff]

            Causing and State action KCDA to ,i 22

            Causing and State action 9-1-1 tampering

            Causing and State action June receipt of false document [mental anguish of

            receipt]

            Causing and State action Comissioner Bratton libel

            Causing and State action international business ventures 2015

            Causing and State action friends [losing communication, et cetera]



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             Causing and State action family

             Causing and State action Septemeber appearance

             Causing and State action October appearance

             Causing and State action tampering received by ,r 30

             Causing and State action Rosello [mental anguish; fraud]

             Causing and State action slander on CCRB tapes [4]

             Causing and State action Butler falsehoods in reports

             Causing and State action Butler falsehoods on tape

             Causing and State action flagrant Tomsaello report

             Causing and State action assertion of affray where Plaintiff was attacked

             Causing and State action KHR

             Causing and State action EPF

      615.   that Plaintiff would steal, let alone rob) upon Count []sounds broadly to the need

             for injunctive relief and seven figures of Defamation repair damages given the

             toxic nature of Defendants recurring Defamation.

             that Plaintiff would wrongfully or forcefully take ) upon Count [] sounds broadly

             to the need for injunctive relief and seven figures of Defamation repair damages

             given the toxic nature of Defendants recurring Defamation .

             . that Plaintiff would wrongfully or forcefully take) upon Count. sounds broadly

             to the need for injunctive relief and seven figures of Defamation repair damages

             given the toxic nature of Defendants recun-ing Defamation.

             repair damages given the toxic nature of Defendants recurring Defamation.

             Defendants



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             Malicious saying the falsehood that Plaintiff sought refugee in the bathrooms as a

             means of robbery when such is inherently contradictory of the statutes sounds

             broadly to the need for injunctive relief and seven figures of Defamation repair

             damages given the toxic nature of Defendants recurring Defamation. Defendants

      616.   Physical liberty claim group states a large concentration of the Claims that

             involve violations of bodily intergrity    ([B]2 & [H]18), violating-threats of

             violations of bodily integrity ([A]3), confinements violating freedom of

             movement and liberty of person ([Z]7& [0]33) implicating conunon law and

             constitutional rights to be free of and from these violations and deprivations.

             Liability is applied from the upon the finding of the claim-reaching Counts to

             individual Defendants in their personal and official capacities, individual

             Defendants on the basis of furtherance, individual Defendants on the basis of

             conspiracy law, the municipal Defendant based on acts, omissions, adoption, and

             furtherance of supervisors, and the municipal Defendant based on its

             unconstitutional policy, custom, and usage causing Plaintiff to subject to the

             deprivations, violations, harm, and injury.   The foregoing Claims sound upon

             many Counts under the legal-categories of the Casue of Action of Battery,

             Assault, Tortious Confinement, Unconstituional Confinement, Abuse of Force as

             Deprivation of Constitutional Procedure (including cuffing), [Abuse of Force in

             Seizing strictly to the Zeta Group including planning], Deprivation of Freedom of

             Movement without Constituional Procedure,       Violation of the right to bodily

             integrity without Constituional Procedure [Confinements, and Assault, Battery,

             Abuse of Force ][Planning Claim: Zeta abuse of force]



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                    [Addresses lack of immunity, privilege, justification, defense, et cetera]

                                                            [Confinements confinement on bed

             [genitals], confining into downstairs bathroom threatening homicidal violation

            then and at opportunity, confining into upstairs bathroom threatening homicidal

            violation then and at opportunity,                             ] [Assaualts (Abuse of

            Force (certain one?)midnight bed attacks qua assault, initiation of contact on bed,

            straddle, confinement on bed [genitals], escalating hitting confined on bed, battery

            through door, mortal menace expressed at moment and ongoing, homicidal choke,

            tongue rip, suffocation in mouth, tear cheek, chase up stairs, battery through door

            upstairs, skull battery with weapon, continued battery after police arrival [scary

            super-derangement], battery wrists, crowding confinement at 81 st, new court

                            l                        [Batteries (also Abuse of Force) initiation of

            contact on bed(## 2.1[][] & 18.1[][]), straddle, confinement on bed, escalating

            hitting confined on bed, battery through door, homicidal choke, tongue rip,

            suffocation in mouth, tear cheek, battery through door upstairs, skull battety with

            weapon, continued battery after police arrival, battery wrists, ] [punitive for

            attempted: intended harmful bodily contacts (contacts itself and contacts likely

            resultant (on street, et cetera) crack offer]

                                    initiation of contact on bed, straddle, confinement on bed

            [genitals], escalating hitting confined on bed, battery tluough door, mortal

            menace, homicidal choke, tongue rip, suffocation in mouth, tear cheek, chase up

            stairs, batte1y through door upstairs, skull battery with weapon, continued battery

            after police arrival [scary super-derangement]; battery wrists [refraction of the



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            search qua appearance under plan formula creating several plan-search-qua

            appearance Claims-the carrying out of such as attempt to trap phone for

            manipulation and fabrication of messages are Claims under## 6, 7, 16, 17, 20/21,

            22, 23, 24, 25, 37, 38 [partially released without phone qua [intended harmful

            bodily contact] crack offer-such is wishing a poisoning] [PHYSICAL LIBERTY

            & CONFINEMENT 17 dates of staked confinement [Claim for global damages

            from Fourth Amendment force (even though to be actioned under NYS before IV

            Amendment the nature of injury described is the damages of Fourth Amendment

            force )-Claim derives from the Ultimate Count unless less one more specific is

            added--Claim][]] [battery-[tight wrist restraints not privileged under even mere

            "violation"]

                   [furtherance of batteries and assaults Claims implicating municipal

            liability in the racketeering municipal custom (and distributing significant portion

            of individual liability apart from general appropriation of individual Defendants

            under conspiracy law): [hiding Plaintiffs facial bruise] [obstructing prosecution

            of Ms. Obi] [partially released without phone qua (intended harmful bodily

            contact)] crack offer (duress of circumstances)] [obstructing Plaintiffs ability to

            collect evidence of127] [false assertions of audio evidence]]

                           [aggravations of batteries and assaults liability Claims [New Court

            endangering] [destruction of lease and stay-away] [tyrannical procedural malice

            described as life-threatening by attorney friend as descriptive of real threat

            aggravating bodily harm injury including mental anguish from bodily harm] [all

            Gamma as obstructing the instant proceeding prolongs the accrual of damages



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            until recovery raising compounding and aggravations]

                         [furtherance confinement Claims implicating municipal liability in the

            racketeering m\Jf\icipal custom (and distributing significant portion of individual

            liability apart from general appropriation of individual Defendants under

            conspiracy law): [hiding Plaintiffs facial bruise] [obstructing prosecution of Ms.

            Obi] [partially released without phone qua (intended harmful bodily contact)]

            crack offer (duress of circumstances)] [obstructing Plaintiffs ability to collect

            evidence of127] [false assertions of audio evidence]]

                         [aggravations of confinement liability Claims [New Court endangering]

            [destruction of lease and stay-away] [tyrannical procedural malice described as

            life-threatening by attorney friend as descriptive of real threat aggravating bodily

            harm injury including mental anguish from bodily harm] [all Gamma as

            obstructing the instant proceeding prolongs the accrual of damages until recovery

            raising compounding and aggravations]                         [Excessive      Force

            under PDP? (mirror Terebesi Claims)]                  []      [8] [Y]

            • Claim# 2.01 CoA[B] Battery upon any of the sufficient corrupt-facility-of-the-

            municipality-existing-before-September-2014-causing-Plaintiff-injuries Counts II

            through [] and [] or the before-October 811' 2014 Counts of liable acts which

            brought the police sex bribery Counts which are sufficiently-qua-liability causes

            of Plaintiff's having been battered and the aggravations of the batteries inflicted

            upon Plaintiff continuing: thus total relief from batteries and .       Defendants'

            injurious batteries upon Plaintiff sound broadly in Remedies.               Claims

            at   11 []   address Defendants' furtherances of Defendants' causing harmful bodily



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              contacts upon Plaintiff and Defendants' aggravation of those injuries.

                                     The sex-bribery racket, broader corruption racket, and Sgt.

              Brown are all State action causes of the batteries commited against Plaintiff by

              the person of Ms. Obi as a State actor and of C & C using metal confinement

              implements. Ms. Obi's violence upon others which Plaintiff objected to causing

              Plaintiff to become a target of Ms. Obi's State-action tort, 164 which led to

              Plaintiffs necessary actions in defense of Plaintiffs rights, property, and safety-

              which Ms. Obi (powered by police sex bribery racketeering and Ms. Obi's

              contract with Sgt. Brown which encouraged, authorized, deputized, etcetera, Ms.

              Obi to criminality and violence that as any resultant trouble from Ms. Obi's

              exercise of such municipal racketeering benefits resulting in trouble would merely

              opportune contract execution (i.e. calling Sgt. Brown to defraud the situation and

              persecute Ms. Obi victim: contract terms Ms. Obi's precisely described as giving

              Ms. Obi municipal racketeering power to violence and crime, which Ms. Obi did

              exercise calling Sgt. Brown (as admitted by Defendants)-see Declaratory

              Judgment "B."    Ms. Obi described contract execution as being such as oral or

              anal sex [move to agency paragraph?]), i.e. communicating Ms. Obi's criminality

              to the landlord's agent which led to the scheduling of Ms. Obi's pending removal

              on October 9th 2014. On October 8th 2014, Ms. Obi physically attacked Plaintiff

              for the first time including squeezing Ms. Obi's right hand around the front of

              Plaintiffs neck-grabbing Plaintiffs tongue, tearing inside and outside Plaintiffs




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         as is discussed more particularly in the quintessence of such discussion at the First
       Amendment Retaliation statement of category of Cause of Action 1 13 7
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             right cheek, 165 bashing Plaintiffs head with Ms. Obi's fist and with a ceramic-like

             functionally-deadly-weapon, attempting to block Plaintiffs airway by Ms. Obi's

             inserting Ms. Obi's right hand down Plaintiffs mouth-these are among

             individual battery Claims against Defendants; Ms. Obi was performing an attack

             specifically unconstitutionally granted qua Ms. Obi's own words describing Ms.

             Obi's police sex bribery contract-Defendants follow through and furtherance

             specifically demonstrates the completion of the racketeering contract.      Counts

             containing findings reaching the battery Claims are organized chronologically and

             Claims follow the order of Counts by which each Claim is reached. The injury of

             the Defendant-liable, Defendant-caused, State-action batteries, which does largely

             coincide with Abuse of Force (CoA[H]), continues as Defendants continue to

             aggravate Defendants' injuring of Plaintiff even with Defendants orders and

             racketeering organization for Corporate Counsel to abuse via litigation Plaintiff in

             a manner aggravating Plaintiff having been homicidally attacked for around thirty

             minutes from the time Ms. Obi committed the batteries of pushing Plaintiff onto

             Plaintiffs back on Plaintiffs bed with the immediately following battery of

             mounting and straddling Plaintiff while Plaintiff was thus pushed onto Plaintiffs

             back with various batteries following (events described [) in various affidavit et

             cetera as well as in more detail at the individual Counts and in the Background to

             Counts) until Ms. Obi was physically arrested for refusing police orders to cease

             beating at Plaintiffs skull: i.e. approximately from 13h45 to 14:17 on October 811\



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         Ms. Obi's fingernail did scratch across the outside of Plaintiffs cheek after Ms. Obi's
      hand ripped out of Plaintiffs mouth leaving a mark for days which several police noted
      observing.
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             2014: subsequent assaults, i.e. the tort, along with battery and other Defendants'

             injuring of Plaintiff aggravate the injury of the batteries-including the pain and

            humilitating restraints imposed by C&C as '\128 and the success mortal hazard and

             death threats Defendants have caused, effected, and acted against Plaintiff (

             Claim # 2.02 CoA[B] Battery upon Count [] . Ms. Obi striking Plaintiff when

             Plaintiff was on his bed (October 811\ 2014; the initial contact between persons)

            Ms. Obi pushing Plaintiff onto his back and proceeding to straddle Plaintiff

             Ms. Obi grabbing and hitting Plaintiff as she straddled him;

             Ms. Obi hitting Plaintiff through doorway downstairs

            Ms. Obi choking Plaintiff by squeezing her own hand around the outside of

            Plaintiffs neck;

             Ms. Obi sticking Ms. Obi's fingers in Plaintiffs mouth and tearing Plaintiffs

            right cheek away from Plaintiffs fact with fingers inside Plaintiffs mouth and

            then scratching Mr. Obi's own finger nail into Plaintiffs lip and skin on the

            outside of the same cheek leaving a bright red mark and bruise for day;

            Ms. Obi sticking her hand inside Plaintiffs mouth to block Plaintiffs airway with

            Ms. Obi's own fingers;

            Ms. Obi hitting Plaintiff through doorway upstairs with potentially deadly weapon

            Ms. Obi continuing to hit Plaintiff after police arrival and intervention;

            tight cuffing by C & C

            represents the aggregate bodily harm          Battery Cause of Action requires a

            particular aggregate cause of action inclusive of several of the most severe acts




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            which are measure under the aggregate for their durable expression of the impact

            of such as the homicidal physical acts of instrumented bodily harm

            Claim # 2.12 CoA[B] Battery upon Count [] . Defendants' injurious batteries

            upon Plaintiff sound broadly in Remedies. the continuing bodily harm and mental

            anguish from the same aggregate bodily harm encompassing a significant portion

            of the mental anguish harm to be accounted

            •       Assault Claims (Could a separate category or subcategory: liberty of

            sovereignty of bodily integrity and freedom from inflicted apprehension of bodily

            injury. Municipal Defendant's deputizing via municipal racketeering operations

            such menacing threats of bodily harm as (Count [] ripping Plaintiff cheek off

            Plaintiffs face, et cetera-causing bruise at Plaintiff lips and cheek from Ms.

            Obi's deliberate cheek tearing trespass upon Plaintiff, injuring Plaintiff, bruise on

            Plaintiffs cheek and lip with abrasion lasted a considerable amount of time as an

            outward expression immediately isolating Plaintiff, isolation and alienation are

            well-noted legal considerations which are officially, by these words, invoked.

            Thus, the Tort of Assault is fmther established, although many assaults by

            multiple individual Defendants in that direct and indirect imposition upon

            Plaintiff of fear of bodily harm. In Defendants' fabrication Defendants choice of

            New Court, knowing dynamics (e.g. appearance factors as Plaintiff was as

            criminally, et alia, as racketeer activity to earn tradable credit within a police sex

            bribery ring involving many of Ms. Obi's close acquaintances et alia, seized likely

            to occur to the injury of Plaintiff, which by statistical surety , as is noted in

            litigation outside of l 7CV45 l 9 before the Courts of The Eastern District of New



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             York, was an Assault. Batteries color the assault damages as in case of Ms. Obi's

             finger digging at Plaintiffs cheek the prospect of the tearing off of Plaintiff check

             is physically imposed in the bodily harm. Assault Counts share relief by Outrage

             as Assaults of the instant action very much are recoverable by Outrage (i.e.

            Intentional Infliction of Mental Anguish) though assault-act-caused damages are

            preferred relief to outrage (see 1106).

             Claim # 3.03 CoA[M] Assault upon Count [] . Defendants' injurious assault

            upon Plaintiff sounds broadly in Remedies.

            Defendants' October 8, 2014 causing and State-action trespass into Plaintiffs

            private room against Plaintiffs instructions without word of cause, condition,

            right, privilege, et cetera causing injurious assault upon Plaintiff sounding in

            Remedies.

            Defendants' October 8, 2014        causing and State action batteries of Plaintiff

            raising the prospect of worse batteries qua injurious assault upon Plaintiff sounds

            broadly in Remedies.

            Defendants' October 8, 2014 causing and State action shoving Plaintiff onto

            Plaintiffs back all the more raising the prospect of Defendant caused serious

            bodily harm (particularly given the off-defensive position) qua injurious assault

            upon Plaintiff sounding broadly in Remedies.

            Defendants' October 8, 2014 causing and State action mounting of Plaintiff

            raising all the more the injurious assault upon Plaintiff sounding broadly m

            Remedies.




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             Defendants' October 8, 2014 causing and State action attacking Plaintiff through

            the bathroom doorway carrying injurious assault upon Plaintiff sounding broadly

             in Remedies.

             Defendants' October 8, 2014 causmg and State action continuing to attack

            Plaintiff through the doorway as if psychotically raising the injurious assault

            upon Plaintiff sounds broadly in Remedies.

            Defendants' October 8, 2014 causing and State action tearing at Plaintiffs right

             cheek digging finger nail into Plaintiffs right cheek carrying injurious assault

            upon Plaintiff sounding broadly in Remedies

            Defendants' October 8, 2014 causing and State action grabbing Plaintiffs right

            cheek from the inside of Plaintiffs mouth by inserting fingers into Plaintiffs

            mouth as if to tear open Plaintiffs cheek raising injurious assault upon Plaintiff

             sounding broadly in Remedies

            Defendants' October 8, 2014 causing and State action grabbing Plaintiffs tongue

            as if to tear it out by hand placed into Plaintiffs mouth carrying injurious assault

            upon Plaintiff sounding broadly in Remedies.

            Defendants' October 8, 2014 causing and State action imposition of suffocation

            upon Plaintiff by hand inserted into Plaintiffs mouth with the hand applied to

            block Plaintiffs airway carrying injurious assault upon Plaintiff sounding broadly

            in Remedies

            Defendants' October 8, 2014 causmg and State action homicidal choking of

            Plaintiff by hand-squeeze upon the front of Plaintiffs neck escalating the

            injurious assault infliction upon Plaintiff sounding broadly in Remedies.



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            Defendants' October 8, 2014 causing and State action chasing Plaintiff up the

            stairs where were Plaintiff extension of leg movement as Plaintiffs climbed the

            wooden stairs within reach Plaintiff could have died from violent yanking bring

            Plaintiffs head to impact with the wooden stairs raising Plaintiffs adrenaline

            response, again, and inflicting injurious assault upon Plaintiff sounding broadly in

            Remedies

            Defendants' October 8, 2014 causing and State action attacking Plaintiff while

            Plaintiff, again, sought protection behind a door injurious assaults upon Plaintiff

            sound broadly in Remedies

            Defendants' October 8, 2014 causing and State action hitting Plaintiff on the head

            with a potentially deadly object inflicting risk of serious head or brain or mortal

            injury upon Plaintiff sounding broadly in Remedies

            Defendants' October 8, 2014 causing and State action hitting Plaintiff on the head

            with a fist injurious assaults upon Plaintiff sound broadly in Remedies

            Defendants' October 8, 2014 causing and State action injurious assaults upon

            Plaintiff sound broadly in Remedies

            Defendants' October 8, 2014 dangerous confinement risking and apparently

            raising the risk of serious bodily harm at the 81 st Precinct sounding broadly in

            Remedies

            Defendants' October 9, 2014 confining Plaintiff in the most dangerous "New

            Court" in downtown Brooklyn where Plaintiff was mortally threatened as Plaintiff

            has reported in confidential (privileged) material sounding broadly in Remedies.

            Defendants calculated likelihood of worse occurring to Plaintiff in respect of



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             Plaintiffs appearance including dress and Defendants' knowledge of the

             conditions in downtown Brooklyn considerably addressed in litigation.

             Defendants' causing and Plaintiff to be injurious assaults upon Plaintiff sound

             broadly in Remedies

             Defendants' causing and Plaintiff to be injurious assaults upon Plaintiff sound

             broadly in Remedies

             Defendants' May 7th 2015 causing Plaintiff to be made to fear the "New Court"

             infliction, again, with the Kafka-esque retaliation injurious assaulting Plaintiff

             sounding broadly in Remedies

             Defendants' June 2015 causing and Plaintiff to be        injurious assaults upon

             Plaintiff sound broadly in Remedies

      617.   Fifth Amendment (),     [paragraph of the coloring of May 71\ 2015 to Fifth

             Amendment Claims and the Fifth Amendment violations' coloring of the tort

             generally] [Overall scope of fraudulent incrimination and violation of rigths of

             communication including represenations of communication] [Global injury under

             Fifth Amendment] [To suggest Plaintiff would be free to drop issues is to suggest

             Plaintiff could have excepted a false plea deal-Defendants are little less

             obstructing the vindicating process than Defendants were then-the constitutional

             operator at KCDA forcing the Brady confession and withdrawal-being the

             marked difference only making partial difference to the seizing and process

             violations withdrawing.] [NYC is not litigating to the constitution, but trying to

             get away with it, trying to evade and obstruction the music: Government should

             not tolerate such contrary-to-the-Constitution (criminal) approach from from this



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             municipal government being prima facie conducted in this Proceeding.] [0] [Y]

             [cl>] []

      618.   Fourth Amendment Search-planning (Zeta[4/]20), Seizure-planning (Zeta7/21),

             Search (Zeta[4/]20), and Seizure Claims (Zeta7/21) [seizure       as   if   process

             (Zeta22/23), supra at ,i []].

                        [Planning of Appearance-qua-Search Claims [Claims for] [Planning qua

             racketeering contract and planning qua preparations of execution of contract in

             conversation on October 8th]] [Planning of Seizure Claims [Planning qua

             racketeering contract and planning qua preparations of execution of contract in

             conversation on October 8th     ]   [Planning qua fraudulent referral [for malicious

             seizure at law]]] [Excessive force antecedent to seizure and referral to pseudo

             process executed up to October 9] [Claims pertaining to the over twenty-six hour

             removed seizure from October 8th to 9th ]                     [Move following to

             quasi-process Claims section (there asserting Zeta21             Claims on court

             appearances: [Ten Malicious Assertions Claims] [Seven Malicious Assertions

             Claims] [Claims of appearance-search] [Three Seizure in Appearance Claims

             (Terry, Removing, Phone)] [Seizure under false evidentiary material still injuring

             and pret] [Excessive force to prime (as in a pump) or condition seizure]

      619.   Fair Trial Right Violation claims-group.       Acts committed as racketeering and

             outright-systemic-co1Tuption-protocol pursuant to the municipal racketeering and

             outright-systemic-corruption policy, usage, facility, practice, et cetera to cause

             deprivations of constitutional rights injuring Plaintiff are chargeable almost

             entirely to the municipality (not that the City does not extremely indemnify, even,



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            criminal police) given the municipality's racketeering and pervasive cause

            (varying by the particular Count in extent municipal-policy-caused and

            racketeering-and-corrupt-supervisor-therefore-municipally-caused),             though

            contribution, like apportionment is analysis to be profited from much more upon

            sufficiently extensive investigatory discovery.       [Perhaps even contemporary

            (supplemental) Counts directed toward the vindication hear regarding King's

            County court proceeding would be Counts against that hearing and therefor

            currently obstructions amounting to fair trial as well as under Gamma] [Global

            injury under Sixth] [including conversion of discovery              [Fifth and Sixth

            dimensions to May 7th-clear absence of jurisdiction as a result of administrative

            racketeering protocol to use stock facts vehemently contrary to the facts.]

            [Distinction of prosecutorial Claims, et cetera to form all that should be

            established for proper approaches-reference to subsequently stated Monell

            Claims] [very threat of nuking Constitutional trial rights colored directly by

            Defendants]                    [Coercion of attorney] [Denying Plaintiff a phone

            call from the 81 st] [Fabricating Paintiff being without cell service contract in order

            to increase considerably likely violently injurious Riker's Island holdover]

            [Fabricating a later-afternoon-time Sprint Report (evening one only fabricated to

            CCRB (such was not turned over to Plaintiff by ADA Middleton(would it not

            have been policy to collect evening 9-1-1 if there was any indication of its

            existence-would have been required production not overlooked (Defendants

            thought Plaintiff would hire an attorney with whom they expected might likely be

            able to strike a deal under Defendants' bluffing][ADA bluffing-unethical



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             practice, particularly over long period of time(distinguish from the concurrent

             fraud upon which false assertion which cannot be legitimately or entirely

             produced is like a bluff?]     [Maliciously editing against all evidentiary purpose

             the only-ever 9-1-1 tape to erase Plaintiffs assertions of being under attacked

             retreated into a bathroom] [                                         [locate

             evidence tampering under simply procedural due process (unless the Claim would

             be strictly under Fair Trial in CA2) adjacent and within the paragraph of pseudo-

             evidence and fair-trial-right-violation Claims] [Wholesale tyrannical abrogation

             of constitutional operations on parallel corruption track of procedure]        [0]

             [Y] ['I'] [<D l

      620.   Fourth Amendment as if legal process clear absence of jurisdiction substitution of

             witness] [paragraph on up to May 7th non-implicating-prosecutor-if-process-at-

             law] [paragraph on clear absence of jurisdiction of May 7th, 2015] [paragraph

             from May 7th non-implicating-prosecutor-if-process-at-law through December]

             [Continuing Seizures] [Process instruments have not been subject to due hearing

             for vindication from the instruments' vective] [process or quasi-process as under

             usurpation the process would have been presumed] [tyrannical defamation]

             [Facilitation Claims would only lie where cooperation of the administration of the

             Municipal Prosecutorial Authority (District or County Attorney) as patt of the a

             pre-existing or systemic racketeering enterprise is pleaded and Attorneys

             demonstrate such misconduct as amounts to implausibily-not (unless under

             coercion-which Midey's conduct demonstrated free agency and conscious

             personal choice to share in culpability) sufficient to demonstrate execution of



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             facility-where the proven facility to be chosen for such execution [Claims

             against Zachary Carter]       [injunctive Claims against attorney Defendants

             (irreparable harm)]                                   aggravations of injuries by

             each recommission of process seizure [mostly listing of quite a variety of Claims

             (beta, mu, et cetrera) by Counts of the re-commission of the as-if-process seizure,

             additionally, upon receipt of federal enactment of Complaint] [Z] [0] [Y] []

      621.   Eighth recovers compensatory element of the flagrancy of government-being-

             abused-to-abuse tort.     Alternatively recovered under Zeta 21-23, et cetera.

             Violation of penealogical interests provides basis for Claim.    Threshold for such

             claim being not a chance of actual adjudication given all-angles fraud and mortal

             coercion gives not a chance of the constitutionally required facility (scope and

             scale of fabrications wildly detached from prior iteration or CCRB naratives).

             Claim is built that the usurping scope of fraud and coercion of what was to be the

             judiciary's hearing by Defendants is so great that prosecutorial staff were

             wielding process without an adjudication to iniating it, with the Claim as

             supplementing the injury of October 91\ 2014 with all subsequently incurring in

             relation to process, the as-if-process actions (which by the nature of this important

             component     of   the   actions'   tyrannical-in-cause-relation-and-intended-harm

             unconstitutionality) is measured to assert the Claim. and Claim distinguishes the

             element of each affirm.     Liability is to strongly wrighted against Defendant

             Barosi, Defendant Bratton, The King's County District Attorney (no individual),

             Chief Inspector Henderson, . Under such an Eighth Amendment Claim there is

             no distinction of awaiting a conviction, as the prosecution depends on the plan for



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             gaging of the defendant and full perjury, and pseudo-evidence fabricated with

             intent to usurp the adjudication and prohibit access to the actual matters.

             [Alternate Fourth Amendment and Fourteenth Amendment (Procedural Due

             Process (or a combination of Due Process-perhaps simply state an alternate

             version as a combination also including Fifth and Sixth)) based versions] [based

             in New York Constitution's division of powers, separation of executive from

             judiciary ofNY] [8] [Y] [A] [cI>]

      622.   42 U.S.C. § 1985 (2) (), ,i 124 [should have broadly laid out basis-focus on state

             of the particular intended harm to the Proceeding and Defendatns' preemptive

             anticipation or current intentions] [reference the organization of obstrnctions

             under R.I.C.O. and perhaps include remainder not as well conforming as Title 18

             infractions] [similarly (as in Pena v Deprisco 432 F.3d 98 (2005) Tampering with

             evidentiary materially to interrupt a civil Claim is cognizable) under Theta Access

             to Courts-thus a set of Gamma Claims are also Access to Courts Claims and

             should be proximately stated][Def production indicates (as does plaintiff

             predating the sprint disc by a year,et cetera ) that Def only produced the faxe

             evening report to the ccrb (as found in the crrb production)]] [f]24 [8] [Y]

      623.   [Denial of Vindication Hearing Claims] [Obstructive intent is obvious from their

             being no appropriate gathered evidentiary material] [Move to defamation claim-

             group?] [Making hearing for vindication very difficult (requiring the Instant

             Action and immense [We can work the judge put Fudim in to scream futility

             obliquely abuse of pretrial practice obstruction] [Knowingly fraudulent from basis

             of desired objections rather than any possible mistake asse1tion of improper



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             conduct of Plaintiff to Ms. Obi (including much but not text message issue which

             was different error   (1 BtoC)) to leverage a fraudulent need to protect (stark issue
             of innocence defense (established by retreat and lack of facial retaliation)] [0] [Y]



      624.   Equal Protection (), [Claims need to be stated with reference to others] [Three

             types-consider 8, 9, 10 as tripartite class configuration-although it does

             simplify the statement of Claims to only have one of the three-though the Claim

             statement probably should be stated with a unique Claim # for each viable class

             type-i.e. three separate Claims as opposed to triple class-basis Claims. [tripartite

             nature of equal protection clause Claims from§ 1985 (3) to class of one to class

             of police racketeering victims] [selective enforcement Claims] [selective

             prosecution Claims] [provide a list-provide the basic transformative gloss and

             then reference the Claim statements and provide the Eq.Pr. Claims ##] [Municipal

             liability Claim of exercised policy of antimiscegenation with reference to other

             litigation addressing municipal anti-miscegation such as the Manhattan case]

             [Duty of racketeering to protect and not racketeer raises Claims] [0] [Y] [E]

      625.   Procedural Due Process: Liberate refusals and obstructions of due procedural

             process [I:], [Focus on investigation, intervening, vindication obstruction]

             [process violations not absorbed] [paragraph of failure to investigate Claims]

             [paragraph of failure to intervene Claims] [paragraph of unconstitutional

             obstruction of vindication Claims (close relationship to 42 U.S.C. § 1985 (2))] []

             [[(alternative-even if Defendants were to effect such a fraud on the court as to

             take away mere-confining seizure Claim for the early evening of128) procedures



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             employed and selected by       ~   28 beyond mere absolutely confining seizure

             "photographable offense" procedure] [central booking process] [new court

             process]]] [locate evidence tampering under simply procedural due process

             (unless the Claim would be strictly under Fair Trial in CA2) adjacent and within

             the paragraph of pseudo-evidence and fair-trial-right-violation Claims]

                     [Waters, failure to intervene: Waters was provided with sufficient duty to

             intervene, Waters may have been tortiously instructed to be a face available to

             contact forced to never raise issues--or may have been denied intevenetion

             expression (specifically or on-prior-occasion-or-occassions-with-universal-and-

             permanet-effect) in which case the Claim is against KCDA with more

             particularity than general operational circumstance to prohibit racketeering

             victims' finding means to reach constitutional operators, et cetera]

                     [Procedural Due Process version alongside the Fourth Amendment version

             of the Eighth Amendment usurpation injury Claim] [0] [Y]

      626.   Negligence (), [Most negligence stated elsewhere alongside? (i.e. this groups of

             Claims statements are quintessential or only formulated as ] [Emphasis on utility

             of punitive] [paragraph on Barosi administrative] [categories of negligence]

             [many Claims [look for models beyond statements based from Counts] [CCRB

             Board] [Inspector Butler and Inspector Butler's supervisor] [IAB Command

             Center staff or senior staff] [0] [Y]   [NJ
      627.   Substative Due Process(), [paragraphs for each of the six types of pure (consider

             whether there are other types of pure-though such are likely located in proximity

             with the related Claim)]      [noticed choice to operate vulnerable information



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             system] [Municipal liability for corruption operations design based on Sprint

             Reports; based on ] [Municipal liability for tyrannical corruption] [Municipal

             policy of turning the screws upon people subject to criminal process: who were

             previously known to be municipal victims who refuse to submit after initial

             intimidations,   who come to be known to be victims, who are potentially

             witnesses to municipal racketeering or corruption, who would have an actionable

             claim under such as § 1983 if they were not forced into signing a waiver for

             release, : demonstrated by Defendants' inability to demonstrate in the case record

             that Defendants did come forward with exculpatory material or evidentiary

             material demonstrating the substance against the victims to be fraudulent or

             wholly malicious: particularly IAB, and particularly from KCDA were the

             Clayton Motion screeners were not involved or by the instigation of the KCDA

             Defendants, and particularly from the 81 st Precinct-where such could not have

             happened so at the 81 st Precinct where such not the very deliberate choice of the

             81 st Precinct Administrators including Scott Henderson and certain Lieutenants

             and others commanding the 81 st Precinct] [0] [Y]

      628.   [Traditional] Monell (), [State with some encompassing-generality as case law

             allows for development upon discovery of organizational materials allowing for

             refinement of specificity pre-trial.     CCRB.      KCDA.      Separate deliberate

             indifference in training and supervising regarding fabrication of pseudo-

             evidentiary material. Maintaining low standrads in records generally to increase

             threshold for judicial ntocie of plausibility of technical error as reasonable doubt

             against obstruction. [Operational corruption down to precinct at such extent



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                 operationally and by such facility] [Sytemic attempts to minimize a victim's

                 ability to register witness [likewise avoidance of witness testimony as systemic

                 practice, though evidenced in avoidance of collections of evidentiary material,

                 including from the eye-witness]] [administrative retaliation against police seen as

                 cracks, weak spots, or vulnerabilities in blue-wall enforcement] [0] [Y] [~] [A]

      629.       [Second Monnell Paragraph regarding the identification of each Claim against the

                 municipality by individuals' particular tort or tort-group--for actions in official

                 capacity. [KCDA Bellamy Claims; facility] [CCRB deliberately indifferent to

                 policy to adequately monitor against supervisor and inspector operations in

                 corrupt interest and unconstitionally to1tious exercise of bias for police [Inspector

                 Butler quite obviously projected checking dots of believed line-towing [Inspector

                 Butler was guaranteed by CoD or Police Contacts that Interviews of Obi would

                 not be produced]] [Barosi as master of dark arts for KCDA and effective

                 operations manager for KCDA racketeering [carefully establish alternatives to

                 Barosi being trigger puller re Harvitz, Ierardo, Gutman, et cetera racketeering,

                 corruption, and obstruction committed]]                        [facilitation: on such

                 as proving capability and utility of Ierardo, et cetera et alia (Defendants'

                 racketeering organization of others (to be identified beyond those identified)

                 providing critical or integral racketeering capacity for the sufficiency of facility).]

                 [Design to limit CCRB to "the areas of force, [below a certain threshold of] abuse

                 of authority, discourtesy, and offensive language" 166 as if non-police are not

                 qualified to such interview or gather information regarding more senous



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             www l .nyc. gov/site/nypd/bureaus/investigati ve/internal-affairs. page
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             misconduct when it is the intent of police to control information regarding

             potential vulnerabilities to continued or beneficial racketeering and corruption

             operations] [0] [Y]

      630.   Organization Claims: KCDA information recoverability could particularly raise

             need of development of protections for vigorous prosecutions a la Imbler Gust as

             always on body cameras require special analytics regarding the closer level of

             observation of police conduct-including consideration of time for instruction to

             adapt and that Officers have a degree of deference where a situation could have

             been reasonably and intergrally explained, but from a video a police member's

             conduct could be argued to cross lines (examinations of such vein both allow

             better training, supervision, hiring, et cetera; but can simultaneously create unfair

             ptifalls during the extended period of adapation)] [Argument to be examined that

             Police administration standards are permissibly not much better than (or markedly

             resembling (patiicularly in terms of corruption blue wall 167) as drainatized in the

             film Serpico as was to illustrate the conuption addressed by the Knapp Comission

             or may otherwise be generally used to describe police corruption at that time for

             places such as the 81 s1 Precinct out of potential discriminatory disposition as a

             municipal policy with regard to demographic factors (such as (as one Democratic

             politician suggested: much of Brooklyn in half non-legal-resident-or-citizen): i.e.

             police or municipal policy being argued that law and order has a defacto

             suspension of rights (a la suspension of habeus corpus in war) where the police

             administration characterizes the people as being from places of lesser law and


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          Considerable recent litigation has addressed the conuption blue wall as being endemic
      at, particulary, the 81 s1 Precinct.
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             order (or otherwise being viewed as appropriately addressed with a not-actually-

             by-the-book-approach loose with protections to persons in such localities 168)] [0]

             [Y]
      631.   Ninth Amendment [deprivation of common law right (usurpation)]



             Following is further Outrage Claims:

             Defendants' causing and State action breaching Plaintiffs order of non-entry to

             approach and start hitting Plaintiff without verbal communication (clearly

             demonstrating desire for violence apart from the issue of Plaintiffs legitimate

             response to defend against extortion)

             Defendants' causing and State action violent physical attack for the purpose of

             such.

             Defendants' causing and State action shoving Plaintiff onto Plaintiffs back and

             then mounting Plaintiff straddled over the center of Plaintiffs body and

             proceeding to hit Plaintiff without privilege, defense, necessity, or function other

             than the violent and imposed-erotic against Plaintiff

             Defendants' causing and State action repeated and multiply threatening Plaintiffs

             life abjectly without privilege, defense, or necessity

             Defendants' causing and State action barraging Plaintiffs with batteries so that

             Plaintiff necessarily had to attempt to flee to the bathroom for protection




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        Policies of personnel assignment to certain precincts with respect to intergrity related
      measures or rating.
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            Defendants' causing and State action violent battery through door against Plaintiff

            without privilege, defense, or necessity as clearly established from Plaintiffs

            words

            Defendants' causing and State action stating to Plaintiff that Plaintiff would be

            murdered amid multifarious homicidal attacks against Plaintiff without privilege,

            defense, or necessity

            Defendants' causing and State action horrific screaming at Plaintiff for the sake of

            deceiving listeners to attempt to injure Plaintiffs reputation

            Defendants' causing and State action homicidal attempted choking of Plaintiff

            without privilege, defense, or necessity

            Defendants' causing and State action attempting tearing of Plaintiffs tongue out

            of Plaintiffs mouth

            Defendants' causing and State action homicidal attempted suffocation of Plaintiff

            without privilege, defense, or necessity

            Defendants' causing and State action clawing Plaintinffs cheek leaving bright red

            mark lasting for days

            Defendants' causing and State action deadly chase up the wooden staircase

            Defendants' causing and State action attacking Plaintiff as Plaintiff attempted to

            retreat to the protection of a bathroom door

            Defendants' causing and State action attempting to bash in Plaintiffs skull

            without privilege, defense, or necessity




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            Defendants' causing and State action faking return of security against owed return

            of misappropriated material in order to pretextual police sex bribery racketeering

            homicidal assault of Plaintiff

            Defendants' causing and State action continuing to bash Plaintiffs head after

            constitutionally operating police arrived and after the constitutionally operating

            police ordered the cessation of the attack against Plaintiff

            Defendants' fabricating horrible, shocking, and outrageous calumny against

            Plaintiff entirely fraudulent with respect to the record obtained in the

            constitutional police operations involved, adjacent, or proximate to 127

            Defendants' fraudulent, racketeering, unconstitutional appearance in which

            Defendants rest their own casual identification for essentially all subsequent

            Defendant tort, et cetera, and its furtherance injuring Plaintiff sounding broadly

            for the need of the Remedies and the entirety of outrageous infliction of mental

            anguish damages as compensation from and punition against Defendants-as this

            Claim is both the direct municipal furtherance of the preceding police sex bribery

            racketeering outrages and the subsequent outrages upon it and furthering it

            including post-enactment-of-the-instant-Action Claims.

            Defendants' attempting to establish pretext for removing seizure of Plaintiff by

            contriving to facilitate access to Plaintiffs phone in order to send text messages

            which would serve as pretext for the removing seizure of Plaintiff already

            commenced

            Defendants' removing Plaintiff in restraints and falsely stating the nature of such

            action



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            Defendants' evading constitutional police operations to making racketeering

            arrangements on private cell phones sounding broadly for the need of the Remedy

            of remuneration for outrageous infliction of mental anguish damages as

            compensation from and punition against Defendants.

            Defendants' stepping aside from Plaintiff during the would-be-Terry-seizure of

            Plaintiff by   1 28 for   Sgt. Brown and Ms. Obi to begin or complete execution of

            the municipal police sex bribery racketeering contract recruited by the ring and

            then formed as specific felony attack of racketeering victim followed by false

            arrest and prosecution of idem racketeering victim selected at Ms. Obi's will

            under Sgt. Brown promise executed, et cetera, where Defendants plotted

            furtherance and attempted pretext involving making Plaintiffs phone available

            for sabotage

            [Clipped from 1106:] Malicious abuse of the power of a State in a manner which

            the victim is certain to be aware that the abuse is known to be inflict as malicious

            abuse--e.g fabrication of events well-known to the victim is well suited for legal

            relief under tort action for Outrage; thus many Counts reach Outrage Claims-it

            is the broadest means of recovery in terms of the number of Counts by which its

            Claims reach part of Plaintiffs relief. Though most Defendants-liable-acts, i.e.

            Counts, reach an Outrage Claim-only damages qua mental anguish are its focus

            thus making it incomplete-it is preferred at law where another tort, et cetera,

            relief function (i.e. another category of Cause of Action) completely reaches the

            relief that particular Claims' surmizable-qua-mental-anguish damages that the

            other effect the relief, i.e. it is preferred widely at law for recovery eligible and



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            another function of recovery to be recovered with the other--e. g. where battery

            and outrage reach the same relief in final analysis-judgment should reflect the

            relief by battery as opposed to outrage: this subtle preference of law is of

            technical note and relates to the categorization of damages, relief, et cetera: the

            preference of law for relief that may supersede Outrage Claims does not reduce,

            negate, deflect, et cetera, relief by Outrage where recovery is not fulfilled by

            another category of Cause of Action; it is simply notable that while Outrage is the

            most prolific Cause of Action by number of Counts upon which it reaches Claims,

            in the final statement of how relief is reached-it may also be the most latent-yet-

            redundant given the preferences of law as such as the American Law Institute's

            Restatement series propounds. Analysis for the outrageousness of Defendants'

            liable acts and Defendants intent to inflict mental anguish is vital even where the

            tort is at final judgment upon the Count recovered by another Claim, paiily or

            wholly. All of Defendants' acts reaching Outrage Claims are concretely defined

            under the Second Circuits' continuing tort making the entire mass of Outrage

            Claims as fresh as the most recent-though were Mr. Stancati' s complaint

            statements as Plaintiff found not to inherently call (though the Cause of Action of

            Outrage certainly does relate to Mr. Stancati's Complaint and even more so to

            Plaintiffs filings in King's County Court and other attempts, to bring the instant

            action (which did effectively function as a § 1983 Complaint save for identifying

            § 1983))) for the relief of intentional infliction of mental anguish-such was

            specifically joined par admitted Amendment by Plaintiff Prope Persona on

            Columbus Day 2018 with number supplemental Counts of Outrage having been



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            committed in 2018 including the Tomasello-Culkin and Ierardo Counts Plaintiff

            brings for Separated Trial at the nearest in-person appearance. If Outrage were

            preferred to supersede instead of to be supersede where multiple Cause of Action

            overlap in their reach of relief: Outrage would recover most of the pecuniary

            damages and likely all of the equitable relief-idem point illustrated by an

            impossible rhetorical voiding of the United States Constitution as Outrage is non-

            codicil, i.e. common law incorporated into New York law par decisions including

            Circuit Court.                 CoA [O.]     This specifically applicable given the

            deliberate Kafkaesque-ness of Defendants' horrible techniques of intimidation

            and demonstrably-habitually defined methods of targeting maximum infliction of

            mental anguish or otherwise emotional distress. To Plaintiff, Defendants'

            Constitutional tort is best expressed with aspect of Eighth Amendment violation.

            The component of absence of jurisdiction and real authority in Defendants

            wielding of state power under Commissioner-and-IAB municipal police

            corruption custom and policy does involve . attempted tampering with 9-1-1 call

            (attempted as original is to be recovered; policy to superficially delete while an

            action is ongoing is unconstitutional). CoA [O.] . Outrage conforms to Ms. Obi-

            State-action battery counts although Battery, par the historical and present nature

            of tort, reaches the capacity of mental anguish damages for idem Counts as a part

            of the continuum, i.e. continuing tort par Second Circuit stare decisis, of Outrage-

            Claim-reaching Counts-which include recent commissions including litigation

            abuse, CoA[Il obstruction and fraud seeking to inflict mental anguish upon

            Plaintiff and threaten Plaintiffs relief necessary to mitigate such damages



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             including bodily-harm. Claim # 6.0[] CoA[Q] Outrageous infliction of Mental

             Anguish upon Count [VC]. Defendants' sounding broadly for the need of the

             Remedy of remuneration for outrageous infliction of mental anguish damages as

             compensation from and punition against Defendants.

      632.   Claim # 6U Sum of outrage-implicating Defendant liability acts and events

             reaches a mimimum of 9 MN USD in compensatory damages (excluding

             R.I.C.O.) including a 2 MN USD municipal corruption aggravation damages

             minimum adjudicated after the adjudication of the General Default.

             OLD COMPLAINT NUMBERING:

      633.   Claim # 1.1 CoA[A] (Civil R.I.C.O.) effectuates the immediate professional

             damages based on Plaintiff's quarter of transaction in process less ten percent as

             costs with one percent reasonable-quarterly increase , 110 I

      634.   Claim# 1.2 CoA[A] Civil R.l.C.O. brings statutory relief consisting of,, 77, 79-

             82. , [] along with,, 77 & 79 do not need jury fact-finding-although continued

             activity could result in final supplements to ,, 77 & 79.            The nature of

             Defendants' racketeering sounds broadly across other Remedy.

      635.   Claim # 2.13 CoA[B] Batte1y upon Count [] . Defendants' injurious batteries

             upon Plaintiff sound broadly in Remedies.

      636.   Claims ## 3.26-3.35 CoA[M] Assault upon Count [] . Defendants' October 8,

             2014 causing and State action injurious assaults upon Plaintiff sound broadly in

             Remedies

      637.   Claims ## 3.36 et sequent      CoA[M] Assault upon Count [] .          Defendants'

             injurious assaults upon Plaintiff sound broadly in Remedies



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      638.   Claim # 3U CoA[M] Assault brought upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies: sounds broadly in Remedies.

      639.   Claim # 4.12 CoA[T] Trespass upon Count [] . Defendants' injurious trespass

             against Plaintiff sound broadly in Remedies.

      640.   Claims ## 4.13 et sequent CoA[T] Trespass          upon Count [] .     Defendants'

             injurious trespasses and invasions upon and against Plaintiff sound broadly m

             Remedies.

      641.   Claim # 4U CoA[T] Trespass brought upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies: sotmds broadly in Remedies.

      642.   Claim# 7.01 CoA[Z] Tortious Confinement upon Count[] . [merge: seizure as-

             if; given usurpation of process hearing--punished as a chain of retaliatory arrests]

             As Defendants' usurped the Hearing to be adjudicated by The Honorable John

             Hect of October 9 th , 2015, pe11aining to Plaintiffs having been removingly-

             seized: for the Counts of Plaintiffs being confined as-if-under-process-of-law

             (which are reviewed under the delieberate legal-knowledge-of-attorney standard

             of probable cause regardless of the quasi (i.e. as-if) status regarding the process

             seizures of Plaintiff): Plaintiff asset1s these Claims under [Zeta]7 as well as 169

             [Zeta]23.                             Tortious Confinement Claims are brought

             upon Plaintiffs having to appear in King County court given the magnitude of the

             deliberate deficit of adjudication upon which process would have required and


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         On such Counts are, naturally, also Zeta21 & Zeta22 which are the strictly-
      constitutionally-operating (Fourth Amendment) pair applicable only to the quasi-process.
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             Defendants' intent to usurp the adjudicatory power and act of The Honorable John

             Hecht. While the minimum confinement might seem to be defined as New York

             Appellate decisions not allowing New York desk-appearance-tickets to be

             actionable as tortious confinements, this is not due to the facts that a person is

             restricted to appear and Terry at a given place, such exclusion is a built-in

             qualified immunity, i.e. that such a threshold of police activity should not be

             actionable: in the instant case-greater thresholds being far exceeded allows for

             inclusion of what might not otherwise be actionable without such context.

      643.   Claim # 7.14 CoA[Z] Tortious Confinement upon Count [] .              Defendants'

             continuing injurious to1tious confinement in Defendants' continuing to hold

             Plaintiff in refusing to acknowledge the false process against Plaintiff or in

             Defendants' obstruction of such means that Plaintiff is released from the necessity

             of mitigating the permanent damages Defendnatns' intend. Plaintiffs being held

             mitigating continuing dmages and making otherwise permanent damages more

             easily and efficiently rememdiable by Defendants' continuing confinement

             reaches Plaintiffs Remedies.

      644.   Claim# 7.15-7.30 CoA[Z] Tortious Confinement upon Count[]. Defendants ts

             upon broadly in Remedies                             Aggregate of confinements

             qua mandatory appearances as legal process was not validly established against

             Plaintiff such confinements fall short of being seizures at law, but merely have

             such appearance.




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      645.   Claim# 7.31-7.48 CoA[Z] Tortious Confinement upon Count[] . Aggregate of

             Defendants tortious confinements of Plaintiff in between absolute confinements to

             Court

      646.   Claim # 7.56 CoA[Z] Tortious Confinement          upon Count [] . Defendants'

             injurious tortious confinement reach Plaintiffs Remedies.

      647.   Claim# 7.57 CoA[Z] Tortious Confinement upon Count [] . Defendants pon

             Plaintiff soud broadly in Remedies.

      648.   Claim# 7.58 CoA[Z] Tortious Confinement upon Count[]. Defendants'

      649.   Claims## 7.59 et sequent CoA[Z] Tortious Confinements upon Counts

      650.   Claim# 7U CoA[Z] Tortious Confinement brought upon the aggregating Ultimate

             Count of compromising all inherent, Pleaded, Filed, or admissible Defendant-

             liable acts to which the category of Cause of Action applies: sounds broadly in

             Remedies.

      651.   [all or most counts listed in sequence from Claims ## 8.01 et sequent CoA[E]

             Anti-miscegenation Claims track the Claims otherwise stated which track to Sgt.

             Brown's actions starting on October 81\ 2014 when Sgt. Brown stated Sgt.

             Brown's ridicule of Plaintiff as being in Sgt. Brown's opinion a miscegenator.

             Claims reference other Pleading and Filing of Plaintiff. Anti-misecegenatistic

             motive drove Sgt. Brown to greater endangerment of Plaintiff life on October 9th

             as a particular exemplum.

      652.   Claims ## 8 or 9 Midnight in-bed attacks

      653.   Claims## 8 or 9 Assaults, batteries, and outrages of afternoon attack

      654.   Claims ## 8 or 9 Appearance, seizure, removing seizure, means of confinement



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      655.   Claims## 9 Tomasello

      656.   Claims## 9 IAB & CoD up to May 7th , 2015

      657.   Claims ## 10 Coerced pseudo-arraingment

      658.   Claims## 10 Brady obstructions

      659.   Claims## 10 May 7 th et sequent

      660.   C;aims ## 9 IAB & CoD post May       7'\ 2015
      661.   Claims## 8 Post-March 30 Obstructions [mixed with supra?]

      662.   Claims ## 8 Post-Enactment

      663.   Claims## 9.01 et sequent CoA[E] Selective enforcement rather well tracks other

             Claims and the application of its function of Action rather easily applies to

             various liable action thus it is hereby enforced to fulfill Remedies.

      664.   Claims ## 10.01 et sequent CoA[E] Selective misuse and abuse of State-

             privileged process (akin to selective prosecution claims-process was not validly

             invoked against Plaintiff and the use of the word prosecution for invalid actions

             rather has injuriously defamatory, et cetera, effect) rather well tracks other Claims

             and the application of its function of Action rather easily applies to various liable

             action thus it is hereby enforced to fulfill Remedies.

      665.   Claims under the CoA[I] Intimidation (## 11.01 et sequent) include the

             racketeering threat that the networks of a certain as-of-2015 politician would be

             used to wield Defamation against Plaintiff to harm Plaintiffs business   ('I! 80) as is
             asserted various in Plaintiffs prior and instant Pleading and Filing.

      666.   Causing and State action




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      667.   Claim # 12.01 CoA[t.] Defamation upon Count I references Claims ## 13.1,

             14.1, 34.1, 39.1: such sum of Claims sound broadly to the need for injunctive

             relief and seven figures of Defamation repair damages given the toxic nature of

             Defendants' continuing and recurring Defamation.

      668.   [clipped from ,i 112:] Defamation was a preauthorized (premeditated latently for

             any victim prior to Plaintiffs making any acquaintance of Ms. Obi or Sgt.

             Brown-the police sex bribery racket specifically included defamation of the

             victim in the general exercise of the contract; Ms. Obi was specifically assured

             fraudulent charges would be made against Ms. Obi's victim and such is quite

             obviously integrally necessary for the execution of such benefit exchanged to the

             racketeering-participating-women( i.e. false charges instensely applied against a

             victim delivers immunizing plea-release deals. Thus Defamation was a pre-baked

             component of that which Defendants inflicted upon Plaintiff upon Ms. Obi's-

             joint-and-deputized-State-Action power to target Plaintiff for the victimization-

             racketeering-benefit: and defamation is a racketeering injury Plaintiff continues to

             suffer by Defendants.                  Defamation is important given the stigma-

             more-than-plus nature of certain damages from the injurious false statements and

             that the power of Defamation Cause of action defamation-what if state

             defamation cause the whole process injury as opposed to coinciding with it qua

             stare decisis. Stigma plus campaign, real estate manifold, particular 1031 clients

             that requested 2014-exchange property, cannot discuss such matter outside the

             protective order-but negotiations were deteriorating as plus, loss of business

             relationships, et cetera. Defamations of Corporate Counsel may not be actionable,



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            but are still demonstration of continuation of the tort. Defamation continuing in

            that publication in databases is continuing, defamatory materials that must be

            purged are still being accessed and such is sustained and are continuing to be

            reported by Defendants-thus also by consideration of such, the Defamation is

            continuing. [establish stigma plus]       CoA [Ll.]     The City of New York on 9

            November 2015 declared for the record that the actual police evidence indicated

            that Ms. Obi was not a credible witness.      The defamatory and fraudulent, et

            cetera, State court process against Plaintiff was withdrawn as no claims against

            Plaintiff had evidentimy support after Brady evidence was acknowledged. In

            response to the instant action, 17CV4519, the City management has re-Brady-ied

            the same actual police evidence it support as functional spoken-only municipal

            policy.   A pointed example of this deeply re-aggravating and compounding

            defamato1y injmy is with regard to Ms. Obi who homicidally attacked Plaintiff

            with the power, facilitation, authorization, and completion of the City on October

            811\ 2014-to which Plaintiff responded with retreat and utter and entire non-

            violence instructing Ms. Obi to snap out of the psychotic-seeming homicidal

            behavior. The City, following a criminal play book of police operations, avoided

            more than an affirmation of a paragraph of fraudulent pseudo-evidence from Ms.

            Obi; thankfully, the CCRB captured at least something on record concerning at

            least something related to October 811\ 2014.         Ms. Obi has reported myriad

            contradictory statements based in pure fabrication and fiction concerning October

            8th , 2014 and admitted Plaintiff has not lied about October 811\ 2014 and admitted

            several statements of hers were lies and then subsequently the City represented



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             them as fact to grievous defamatory injury to Plaintiff. The City assisted her

             fabrication of defamatory fraud against Plaintiff and cmTently asserts in via

             Corporation Counsel even though the City is aware such is defamatory injury

             against Plaintiff. The City is not immune from this tortious and injuries policy of

             injuring its victims and its carrying on an illegal war of words designed to destroy

             Plaintiff that Plaintiff would be weakened from achieving justice compounds

             damages and escalates damages.         Continuing    Claim    #     12.03    CoA[L'..]

             Defamation (simultaneously CoA[] # . ) upon Count [] sounds broadly in the

             need for injunctive relief and seven figures in Defamation repair damages

             (Plaintiff asserted the accumulation of such having occurred to Defendant Barosi

             in February 2015 upon which the injury has grown) given the toxic nature of

             Defendants Defamation against Plaintiff and the implications to Plaintiff fiduciary

             and public image involving professions, et cetera.

                    [Clipped from   1 113: ] Municipal   Liability Claims are brought under the

             New York Law as is generally done in these Cause of Action where State Stare

             Decisis of Tort Law exists in needed capacity where Federal Law does not.

             Continuing

      669.   Claim # 13U CoA[] Libel is brought upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies: sounds broadly in Remedies.

             Individual Libel Claims are listed in the supra Defamation series which lists both

             combined Defamation Claim number and Libel Claim number




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      670.   Claim # 14U CoA[~] Slander brought upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies: sounds broadly in Remedies.

             Individual Slander Claims are listed in the supra Defamation series which lists

             both combined Defamation Claim number and Slander Claim number.

      671.   Claim# 15.1 CoA[<I>] Fair Trial Right injurious violation by Defendants

      672.   Claim # 15 .2 Co A[ <I>] based on the whole Defendant tortious disengagement of

             Plaintiff. Saying seizure was not arrest and momentary (New York law requires

             notice of cause); not mirandizing; the more-Fourth-Amendment prohibition of

             Plaintiff witness as Plaintiff was per police finding an highly credible victim

             witness-i.e. being ordered a non-participant in ,i 28 activity on penalty of

             obstruction of government administration

      673.   Claim # 15.5 CoA[<I>] Malicious & false attribution of Plaintiff statement with

             considerable prima facie fabrications

      674.   Claim # 15U CoA[<I>] Malicious & false attribution of Plaintiff statement is

             brought upon the aggregating Ultimate Count of compromising all inherent,

             Pleaded, Filed, or admissible Defendant-liable acts to which the categ01y of

             Cause of Action applies: sounds broadly in Remedies ..

      675.   Claim # 16U CoA['l'] Pseudo-evidence upon Count [] . Defendants' injurious

             false and fabricated pseudo-evidence against Plaintiff ultimately sound broadly in

             Remedies.

      676.   Claim# 17.04-17.07 CoA[TI] Privacy violations of the seizure of audio midnight

             bed te1rnrs Ms. Obi acted to malicious attempt to obtain material for extortion.



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      677.   Claim# l 7U CoA[II] Privacy upon Count [] broadly sounds in Remedies

      678.   Claim # 19 [ Substantive CoA[Y] see the pure Substantive Due Process lists

             sta1ting at the paragraphs for Claim # 25 at , [] [][]

      679.   Claim# 20 CoA[Z] Fourth Amendment Search (Sans Process-at-Law).

      680.   Claim # 20.2 Ms. Obi's Defendant-emboldening-Ms. Obi-to-crime search of

             Plaintiffs phone with consent, assent, or awareness until Ms. Obi made

             discussions of findings of the invasion.

      681.   Claim# 20.3 Defendants malicious, fraud-based appearance(, 28) at 677 Quincy

             without constitutionally reasonable cause violating the Fourth Amendment

             causually sufficient for the Remedy of Defendants' default a la, 1103.

      682.   Claim # 20.4 Defendants' instructing, causing, and State-action search of

             Plaintiffs chattels at 677 Quincy in pursuit of Plaintiffs phone to malicious send

             unauthorized text messages to facilitate a pretext for the removing seizure of

             Plaintiff which had already then occurred.

      683.   Claim# 20U CoA[Z] upon the aggregating Ultimate

      684.   Claims ## 21. [4] Fourth Amendment seizure of recordings of midnight bed

             attacks

      685.   Claim# 21. Confinement on bed

      686.   Claim# 21. Confinement in downstairs bathroom

      687.   Claim # 21. Confinement in upstairs bathroom

      688.   Claim# 21. Confinement regarding allowing potential opportunities for Plaintiffs

             voice to be recorded that might be used in tandem. [also movement and travel or #

             7]



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      689.    Claim# 21 CoA[Z] Fourth Amendment Terry-Seizure (Sans Process-at-Law) (see

              M.L.K. Jr-Friday Complaint Paragraph Four) in violation of the Fourth

             Amendment

      690.    Claims ## 2l.[][]-21. restatements of infra should the lack of non-coerced and

              defrauded process be deamed of sufficient magnitude to establish no legal process

             was employed to consider the ongoing seizure

      691.    Claim# 21.[][] Reasonably the ongoing seizure is police power as police actions

              in maintaining and perpetuating falsehood is the primary encumbrance f

      692.    [Injury from prosecutorial sustaining, increase, aggression]

      693.    Claim # 22.01 CoA[Z] Malicious State seizure-as-if-by-process-of-law Process

             upon Count [] . Defendants' injurious confinements of Plaintiff sound broadly in

              Remedies.         with respect to the relevant counts of unconstitutional seizure,

              confinement, and restriction pervertedly under the color of law with their

              respective counts may be found infra at: see ,r,r   [] regarding the October 81
                                                                                             \   201411,

              seizure, which began by 7:10 p.m., with utter confinement ending more than 24

              hours later on October 91\ 2014 170 ;

      694.    Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

              upon Count [113] . Defendants' injurious coercion of Plaintiff to             injurious

              confinements of Plaintiff as if by process at law sound broadly in Remedies.




      170
         Plaintiff was instructed that unless Plaintiff remain silent Plaintiff would not be
      released [See ,r []], thus only a phase of the still-persisting-seizure [See ,r []]most
      pointedly in Defendants' retaliations [see 'if [ , ]] and I 00% denials [see 'if []] including
      contradictions ['i['if [ , ]of City of New York admissions [see ,r,r [ , ]] and all of the
      evidence [see ,r []] supporting Plaintiffs Complaint [see ,r [] on the outlook of motion for
      preliminary judgments via FRCiP #[] & #56.
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      695.   Claims ## 22.0[] & 23.0[]     CoA[Z] Malicious State seizure-as-if-by-process-of-

             law upon Count []. Defendants' coercion of 1 22, systemic and particular that

             Plaintiff was forced to be instructed to silence or Rikers.

      696.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count[]. Defendants' injurious confinements of Plaintiff as ifby process at

             law sound broadly in Remedies. Appearance at waived November Hearing.

      697.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements of Plaintiff as if by process at

             law sound broadly in Remedies. Defendants' denial of Sgt. Brown's presence.

      698.   Claims## 22.0[l & 23.[l CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements of Plaintiff as if by process at

             law sound broadly in Remedies.         11     regarding that persisting through the

             December [] appearance;

      699.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements of Plaintiff as if by process at

             law sound broadly in Remedies.       1 []   where prosecutors asserted they would

             prohibit The 9-1-1-responding pair (127) from being brought in as witnesses;

      700.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements of Plaintiff as if by process at

             law sound broadly in Remedies.           11    regarding that December aggression

             persisting through the winter 2015 reduction of[];

      701.   Claims## 22.0[] & 23.[l CoA[Z] Malicious State- seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements of Plaintiff as if by process at



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             law sound broadly in Remedies. ,i [] where February took further aggressive

             action;

      702.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State- seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements of Plaintiff as if by process at

             law sound broadly in Remedies. ,i,i [] regarding that persisting through May 7t\

             2015;

      703.   Claims ## 22.0[] s& 23.[] CoA[Z] Malicious State- seizure-as-if-by-process-of-

             law upon Count [] . Defendants' injurious confinements of Plaintiff as if by

             process at law sound broadly in Remedies. ,i [] May 7th count [May 7th events are

             involve multiple claims as damages were multifarious as is input and output of

             single act;

      704.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State- seizure-as-if-by-process-of-law

             upon Count[]. Defendants' injurious confinements of Plaintiff as ifby process at

             law sound broadly in Remedies.

      705.   ,i [] pertaining to malicious allegations of calling police which clearly the

             penultimate attorney knew was likely unsubstantiated by his retreat;

      706.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious batteries upon Plaintiff sound broadly in

             Remedies. ,i,i [] regarding that from the seizure imminent at moments notice in

             isolation until potential death through November confessory admissions of

             penultimate prosecutor;

      707.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements Plaintiff as if by process at



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             law sound broadly in Remedies.        'll'll [] regarding that persisting from November []
             to December official withdrawal [];

      708.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements Plaintiff as if by process at

             law sound broadly in Remedies.         'll'll []   regarding that persisting from withdrawal

             to Corporation Counsel's escalations and through to receipt of the tampered court

             reporters' notes on August [];

      709.   Claims## 22.0[l & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements Plaintiff as if by process at

             law sound broadly in Remedies.        'll'll [] regarding that persisting from the tampered
             transcript until injunction or judgments provide partial and eventually permanent

             relief from the illegal seizure and its lasting unconstitutional holding of Plaintiff.

      710.   Claims## 22.0[] & 23.[] malicious abuse of seizure-process-at-law prosecut01y

             process has respective counts identified infra at              'I! []   regarding the abuse of

             [prosecutorial] process: from contact where invalid vetting took place with the

             81 st indicating a favor was needed so as to not vet allegations;

      711.   Claims## 22.0[] & 23.[]      'I![]   were they retracted a few particular horrible libel

             from arraignment and tried to hide what was simple juicing to achieve illegal

             seize component of removal from property and obstruction of access to unstable

             witness they knew was full of myriad vulnerabilities currently being withheld

             [supplemental component] indicating King's County all-the-more knows it was

             wrong [condense and leave detail to count];




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      712.   Claims## 22.0[] & 23.[] 1 [] not completing the Brady disclosure by not handing

             over account from the 9-1-1-responding pair (127); 1 [ ]. Penultimate prosecutor

             was manipulated into fraudulent making claims against Plaintiff, which are being

             covered for as Plaintiff identified them in May 7th filing, as a direct outcome of

             fraudulent causes by police Defendants acting in bad faith. Co A [] Fourteenth

             Amendment Generic is Theta [0].

      713.   Claims## 22.0[] & 23.[] CoA[Z] Malicious State seizure-as-if-by-process-of-law

             upon Count [] . Defendants' injurious confinements of Plaintiff as if by process at

             law sound broadly in Remedies.

      714.   Claim # 22U CoA[Z] Malicious State-Privileged Process           brought upon the

             aggregating Ultimate Count compromising all inherent, Pleaded, Filed, or

             admissible Defendant-liable acts to which the category of Cause of Action

             applies: broadly sounds in Remedies

      715.   Claim# 23U

      716.   Claim# 24.11 CoA[f] § 1985 (2) upon Count [] . Defendants prepared the

             package of defrauded obstructive material turned over to Plaintiff in June of2015

      717.   Claim # 24.12 CoA[f] § 1985 (2) upon Count [] . Defendants prepared the

             defrauded Sprint Rep01i turned over to Plaintiff in June of 2015 to obstruct upon

             Plaintiffs direct notice of§ 1983 action. Defendants not so cautious to remove

             the 14h00 activity from the initial faxed documentation, however the sprint report

             is to suggest that the earlier material was not present

      718.   Claim# 24.13 CoA[f] § 1985 (2) upon Count [] . Defendants prepared the

             defrauded 9-1-1 turned over to Plaintiff in June of 2015 to obstruct upon



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             Plaintiffs direct notice of§ 1983 action Claim# 24.14 CoA[f] § 1985 (2) upon

             Count [] . Defendants' injurious, contumacious, criminal, et cetera obstructions

             of justice sound broadly in Remedies.

      719.   Claims ## 24.21-24.25 § 1985 (2) Obstruction of Justice upon Count [] .

             Defendants' injurious, contumacious, criminal, et cetera obstructions of justice

             sound broadly in Remedies.

      720.   Claim # 24U: CoA[f] § 1985 (2) Obstruction of Justice brought upon the

             aggregating Ultimate Count compromising all inherent, Pleaded, Filed, or

             admissible Defendant-liable acts to which the category of Cause of Action

             applies: broadly sounds in Remedies.

      721.   Claim# 25. Substantive CoA[Y] [Group all pure substantive from this point##

             18-36---or cluster at numbers-latter preferable, although # 25 should probably

             have several groupings]

      722.   Claim # 25U Substantive CoA[Y] upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies sounds broadly in Remedies.

      723.   Claim# 26.02-26.05 Substantive CoA[Y]

      724.   Claims## 26.06 et sequent Substantive CoA[Y]

      725.   Claim # 26U Substantive CoA[Y] upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies sounds broadly in Remedies.




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      726.   Claim # 27U Substantive CoA[Y] upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies sounds broadly in Remedies.

      727.   Claim # 28U Substantive CoA[Y] upon the aggregating Ultimate Count of

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies broadly sounds in Remedies.

      728.   Claim # 29.01 CoA[0] Failure to Investigate [may need to add Counts-along

             the lines all Jane and John Does found to have had the duty to investigate [phase]

             failed to investigate [thus groups of claims upon each of such Count; consider

             against obstruction Counts]] sounds broadly in Remedies

      729.   Claim# 29U CoA[0] Failure to Investigate upon the aggregating Ultimate Count

             of compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts

             to which the categmy of Cause of Action applies sounds broadly in Remedies.

      730.   Claim# 30U CoA[0] Deprivation of Liberty to Employment and Contract upon

             the aggregating Ultimate Count of compromising all inherent, Pleaded, Filed, or

             admissible Defendant-liable acts to which the category of Cause of Action applies

             sounds broadly in Remedies.

      731.   Claim # 31.01 CoA[0] Denial of Vindication [Structure in Counts that Claims

             may be stated with particularly regarding declaratory judgment]           Hearing

             Procedure sounds broadly in Remedies

      732.   Claim # 31 U CoA[0] Denial of Vindication Hearing Procedure upon the

             aggregating Ultimate Count of compromising all inherent, Pleaded, Filed, or




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             admissible Defendant-liable acts to which the category of Cause of Action applies

             sounds broadly in Remedies ..

      733.   Claim # 32U CoA[0] Denial of Constitutional Takings Process upon the

             aggregating Ultimate Count of compromising all inherent, Pleaded, Filed, or

             admissible Defendant-liable acts to which the category of Cause of Action applies

             sounds broadly in Remedies.

      734.   Claim# 33U CoA[0] Deprivation of Freedom of Movement and Travel upon the

             aggregating Ultimate Count of compromising all inherent, Pleaded, Filed, or

             admissible Defendant-liable acts to which the category of Cause of Action applies

             sounds broadly in Remedies ..

      735.   Claim # 34U CoA[0] Deprivations of Liberty Interest in Reputation upon the

             aggregating Ultimate Count of compromising all inherent, Pleaded, Filed, or

             admissible Defendant-liable acts to which the category of Cause of Action applies

             sounds broadly in Remedies ..

      736.   Claim# 35A CoA[0] Failure to Intervene (Duty to Intervene) Officer Hellberg,

             however, clearly feels regret for having not avoided a situation where Officer

             Hellberg would have a stooge's role in Sgt. Brown four racketeering-just the

             driver, but the driver nonetheless, dressing to perform racketeering in

             outrageously shocking violation of duty

      737.   Claim# 35U CoA[0] Failure to Intervene brought upon the aggregating Ultimate

             Count of compromising all inherent, Pleaded, Filed, or admissible Defendant-

             liable acts to which the category of Cause of Action applies: sounds broadly in

             Remedies.



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      738.   Claim# 36. CoA[Y] upon Count I.

      739.   Claims## 36. CoA[Y] upon Counts

      740.   Retaliation Claims commence from the September 2014 Counts and onward. All

             Defendant tort harming Plaintiff thence can be recovered under the Fist

             Amendment Peititon Relations CoA[] although certain recoveries depend on

             jurisdiction grounding of categories of Cause of Action: i.e. State seizing is

             always based in Fourth Amendment jurisdiction even if the final recovery for all

             upon all September-2014-and-thence Counts were via the First Amendment

             category of Cause of Action stated at    1 13 7.   Due Proces Petition   (113 8)   so

             matchs the First Amendment that they might as well be stated ensemble, although

             either operates independently and distinctly.

      741.   Claim # 37 .12 CoA[P] 1st Amendment Retaliation upon Count [] . Defendants'

             injurious First Amendment-violating retaliation upon Plaintiff for Plaintiffs

             efforts and actions against State tyranny, corruption, abuse, oppression, et cetera

             sound broadly in Remedies.

      742.   Claim# 37.13 CoA[P] 1st Amendment Retaliation upon Count[]. Defendants'

             injurious First Amendment-violating retaliation upon Plaintiff for Plaintiffs

             efforts and actions against State tyranny, con-uption, abuse, oppression, et cetera

             sound broadly in Remedies.

      743.   Claim# 37.14 CoA[P] ! st Amendment Retaliation upon Count[]. Defendants'

             injurious First Amendment-violating retaliation upon Plaintiff for Plaintiff's

             efforts and actions against State tyranny, corruption, abuse, oppression, et cetera

             sound broadly in Remedies.



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      744.   Claim# 37.23 CoA[P] 1st Amendment Retaliation upon Count[] . Defendants'

             injurious First Amendment-violating retaliation upon Plaintiff for Plaintiffs

             efforts and actions against State tyranny, corruption, abuse, oppression, et cetera

             sound broadly in Remedies.

      745.   Claims ## 37.96-37.199 CoA[P] 1st Amendment Retaliation upon Count [] .

             Defendants' injurious First Amendment-violating retaliation upon Plaintiff for

             Plaintiffs efforts and actions against State tyranny, corruption, abuse, oppression,

             et cetera sound broadly in Remedies ..

      746.   Claim # 37U CoA[P] 1st Amendment Retaliation upon the aggregating Ultimate

             Count compromising all inherent, Pleaded, Filed, or admissible Defendant-liable

             acts to which the catego1y of Cause of Action applies: broadly sounds in

             Remedies.

      747.   [structure by aggregations upon petition events] Claim # 38. 01 CoA[P]

             Retaliation Due Process Petition         upon Count []      Defendants' injurious

             retaliation upon Plaintiff sounds broadly in Remedies.

      748.   Claim # 38.02 CoA[P] Retaliation Due Process Petition            upon Count [] .

             Defendants' injurious retaliation upon Plaintiff sounds broadly in Remedies.

             [Group Claims by petition action]

      749.   Claim # 38.03 CoA[P] Retaliation Due Process Petition            upon Count [] .

             Defendants' injurious retaliation upon Plaintiff sounds broadly in Remedies.

      750.   Claim # 38.21 CoA[P] Retaliation Due Process Petition            upon Count [] .

             Defendants' injurious retaliation upon Plaintiff sounds broadly in Remedies.

      751.   Claim# 38.22 CoA[P] Retaliation Due Process Petition upon Count[] .



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      752.   Claim # 38U: CoA[P] Retaliation Due Process Petition brought upon the

             aggregating Ultimate Count compromising all inherent, Pleaded, Filed, or

             admissible Defendant-liable acts to which the category of Cause of Action

             applies: broadly sounds in Remedies.

      753.   Claims## 39.01-39.05 CoA [O] [move to# 12 consolidation-perhaps some pure

             Claim upon ultimate Count] reach Remedies for damages to Plaintiffs

             reputational property and thereby reputation as and as reflected in property with

             an example of manifestation of digitally-existent branding.

      754.   Claims ## 39.06-39.10 CoA [O] reach Remedies for damages to Plaintiffs

             reputational property and thereby reputation as and as reflected in property with

             an example of manifestation of digitally-existent branding.

      755.   Claims ## 39.11-39.20 CoA [O] reach Remedies for damages to Plaintiffs

             reputational property and thereby reputation as and as reflected in property with

             an example of manifestation of digitally-existent branding.

      756.   Claim # 39U: 1 CoA[O] Injurious Violation of Reputational Property brought

             upon the aggregating Ultimate Count compromising all inherent, Pleaded, Filed,

             or admissible Defendant-liable acts to which the category of Cause of Action

             applies: broadly sounds in Remedies. The Ultimate Claim of Defendants' injury

             to Plaintiffs reputational property amounts to the damages-not the cost of

             repair: i.e. what Defendants soiled-property value of such-which amounts to a

             minimum of 1.2 MN USD.            Like the real estate property affixing Plaintiffs

             reputation as property, Plaintiff [political]




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      757.   Claims of## 40.01 et sequent: CoA[0] Failure to Train Claims will take better

             shape upon Plaintiff being provided the relevant Training documents, etc. Counts

             may be widely implicated and may relate to non-yet-produced specifics of

             training policies that, e.g., foster cooperation, submission, et cetera, with

             racketeering.    Municipal training for racketeering is a failure to train and

             intersects with substantive due process violation [].

      758.   Claims of## 41.01 et sequent CoA[0]: Failure to Supervise Claims will take

             better shape upon Defendants' counsel's identification of supervisors and upon

             depositions and discovery.      Municipal liability is gross upon management's

             failures.   Particularized Claims are better formulated per the Complaint upon

             identification of individual Defendant involvement.

      759.   Claims of## 42.01 et sequent: CoA[0] Failure to Discipline Claims will be

             broadly applied, but discovery of disciplinary policies themselves will better

             inform construction of the particular Claims-one standout Claim rather

             particularly conspicuous is that which Plaintiff notified to the CCRB that Sgt.

             Brown pe1jured himself incontrovertibly and importantly in Sgt. Brown's CCRB

             interview stating that Sgt. Brown had no prior knowledge of Ms. Obi-Corporate

             Counsel has admitted Sgt. Brown reports in some and substance having a "prior

             relationship" with Ms. Obi as is substantiated by their phone calls, etc. Such is

             perhaps among the most concretely proven failures to discipline in terms of

             latency of proof thus far in Defendants' meager progress of disclosure-the

             CCRB was notified of such shortly after production of the CCRB interviews to

             Plaintiff and it is likely the CCRB has taken no action even with Plaintiffs



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             prompting; numerous other frauds including the admittedly fraudulent sworn

             statements of police produced to Plaintiff provide example of other substance

             indicated the tip of an iceberg of police failure to disciple. Municipal liability is

             gross upon management's failures. Particularized Claims are better formulated

             per the Complaint upon identification of individual Defendant involvement.

      760.   Claim ## 43.02 et sequent: CoA[0] Failure to Hire Claims will be better

             formulated upon discovery of hiring practices of such persons as police

             management as well as CCRB investigators who should be selected not to

             participate in police racketeering, but to vigorously execute CCRB statutes

      761.   Claim # 43.01 CoA[0] Failure to Hire and Well-Staff-Inspector Butler's

             racketeering activity for racketeering law enforcement indicates fundamental flaw

             in CCRB selection process which may involve or have involved hiring former law

             enforcement with insufficient screening.

      762.   Claims# 44.01-44.10 ofCoA[N] [Negligence Claims may result from the finding

             of any of the Counts-although Defendant intent requires Negligence sound

             broadly in Remedies

      763.   Claims # 44.11 et sequent of CoA[N] Negligence sound broadly in Remedies

      764.   Claim# 44U CoA[N] Negligence brought upon the aggregating Ultimate Count

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the categ01y of Cause of Action applies: broadly sounds in Remedies.

      765.   Claim # 45.1 CoA[X]        Conspiracy [Racketeering police sex bribety women

             recruiting Ms. Obi]




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      766.   Claim# 45.2 CoA[X] Conspiracy [Ms. Obi police sex bribery contract formation

             with Sgt. Brown] sounds broadly in Remedies.

      767.   Claim# 45.3 CoA[X] Conspiracy [Harvitz] sounds broadly in Remedies

      768.   Claim# 45.4 CoA[X] Conspiracy [Gutman engaged for tort against Plaintiff!

      769.   Claim # 45.5 CoA[X] Conspiracy [Gutman May 7th 2015] broadly sounds in

             Remedies

      770.   Claim# 45.6 CoA[X] Conspiracy other

      771.   Claim # 4 5. 7 CoA[X] Conspiracy Ierardo sounds broadly in Remedies

      772.   Claim# 45.7 CoA[X] Conspiracy Ierardo [Part Two] sounds broadly m

             Remedies; additionally non-municipal-employee collaborators in obstruction of

             justice and racketeering furthered by many obstructions of justice, et cetera: the

             police-sex-bribery-recruiting women that recruited Ms. Obi and Mr. Peter Appel

             (later includes 2018 injury)

      773.   Claim# 45U CoA[X] Conspiracy brought upon the aggregating Ultimate Count

             compromising all inherent, Pleaded, Filed, or admissible Defendant-liable acts to

             which the category of Cause of Action applies: broadly sounds in Remedies.

      774.   Claim # 46.1 CoA[0] Access to Courts deprivation of coercion of ,i 22 and

             directly upon Plaintiff before and at the October 9th pseudo-arraignment sounding

             broadly in Remedies or finds cause for thorough continued Hearing of the Action

      775.   Claim # 46.2 CoA[0] Access to Courts deprivation of obstructing Plaintiff's

             access to speak to the Judge regarding the menacing charge against Ms. Obi and

             Plaintiff's protection from Ms. Obi via a restraining order and order against




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             continued existence of unconstitutionally-seized recordings sounds broadly in

             Remedies or finds cause for thorough continued Hearing of the Action

      776.   Claim# 46U CoA[El] Access to Courts brought upon the aggregating Ultimate

             Count compromising all inherent, Pleaded, Filed, or admissible Defendant-liable

             acts to which the category of Cause of Action applies: broadly sounds in

             Remedies.

      777.   Claim # 47. CoA[El] Violation of Fourteenth Amendment basis of State

             application of the Bill of Rights in Defendants Usurpation of the Adjudication

             Necessary to Punish in Defendants Constitutional Tort qua Punishment-both in

             punishing acts and in utter, systemic, and entire usurpation of adjudicatory

             process exemplified in Defendants' coercion and defrauding of The Honorable J.

             Hecht on October 9'\ 2014.

      778.   Claims ## 48.[][]-48.[][] CoA[H] Abuse of Process: Claim # 48.[][l       Claim #

             48.[][] June through July violation of Rule 37; Claim # 48.[l[] Claim # 48.[][]

             Claim# 48.[][] Claim# 48.[][]

      779.   Claim # 49. CoA Tortious Interference (see mutual protective order discuss-

             news reported in February 2019 marked significant ripening of a specific Claim

             discussed between Parties a la the mutual protective order in August of 2018)

             CoA (see ,i)

      780.   Claims' application to individual Defendants, or the division of Claims to

             particular groups or individuals, allowing the distinguishment of individuals not

             bearing shared apportioned-from-Defendant-group liability on particular Claims




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             or sets of Claims-along with distinguishment of individual Defendant Claims

            where such is required for§ 1964 under§ 1962 (b), (c), (d).




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      781.   Assingments of Liabilities[ this section will need more detailed statement with

             finished Count # and Claim #, et cetera. Police administration executives added

             to the Complaint are not alleged to have furthered, have injunctive Claims,

             negligence,    and    failed   duties    regading    responsibilities    of   systems

             administration-discovery would pertain to facility or furtherance damages

             liability. CCRB board is injunctive liability and negligence.

      782.   General matters regarding individual liabilities of damages: conspiracy law and

             common law joint-action principles distribute 171 damages to most, but not quite

             all Defendants (faciitiy (CoA[X] applies Defendants' tortfeasance.            Such is

             applied, generally, 172 under three divisions facility, furthered, and furtherance.

             likewise, furthered and furtherance Furthered and furtherance amount to a

             distinction of likely no difference to the one, final recovery 173 : the distinction is

             retained and needed in the proper multifarious 174 statement with regard to how the

             law regarding the plurality of liability for conspiring works-furtherance

             incorporates liability for the tortfeasance furthered. 175 Each furtherance of the

             Action, known by the particular Defendant actor of the tort to be furthered, as is

             inherently established from such overt acts when the act is considered against the

             risks of the act-i.e. slight motive of the individual is primarily to futher



       171
          Severally between between all Defendants to have committed facilitation tort or
      furtherance tort (which with respect to individual Defendants is either, chronologically,
      furthered or furtherance of Defendants' tortious and unconstitutional injuring of Plaintiff.
      Conspiracy law is most directly addressed at ,i 145
      172
          Certain applications could raise narrower statements which could be amended
      173
          as Defendants' futtherance tortfeasance continues all furtherances are furthered
      174
          see ,i 100 regarding Plaintiff discussion of the multifarious CoA stated for the Action
      175
          there is no exclusion, as a matter of law, of any particular component of the
      tortfeasance furthered: Defendants' furthering tortfeasance
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             (furthermore, risk is diminished by each Defendant actor's knowledge of and

             confidence in the capacity of Defendants' furtherance array. 176

      783.   Distribution severally (i.e. plurally) under the pertaining laws of conspiracy

             between the Defendant team persons according to sufficiently assignable weights

             relative to the involvement (individual authority 177 and role with regard to

             Plaintiffs injuries or the importance of the tortfeasanceas furtherance) 178 all

             configure into Plaintiffs standing F.A.C. estimations (to be revised with each

             iteration of the Complaint until the final schedule of the one, full recovery is

             exercised for Plaintiffs damages amid the stage of planning final remedy. 179

      784.   Claims assigned to individual Defendant persons, which do not implicate

             conspiracy law, 180 share only between

      785.   Sir William Bratton, Commissioner.       Defendant Bratton's liability is includes

             considerable facilitation of the corruption and racketeering systems. There was

             direct instructions to apply the fi1rtherance array against Plaintiff according to

             racketeering and corruption operations protocol and by the racketeering and

             corruption operations protocol systems.     Defendant Parese tort was based on

             direct instructions by Defendant Bratton on Defendant Bratton's last day of

             Defendant Bratton's incumbency as Commissioner: Defendant Bratton was

      176
          Consider for prologue terms. Furtherance array.
      177
          Which correlates with such factors as power of discretion exercised
      178
               additionally, factors of mens rea (including the Defendants' knowledge of the
      gravity of the furtherance with respect to Plaintiff sinjuries and to the importance of the
      tort to Defendants' furtherance system and the success and continued operability of such
      system) figure into punitive components
      179
          injunctive measures could continue as active litigation beyond Plaintiffs full receipt
      of pecuniary compensation.
      180
          e,g. where Defendant tort found was not inherently or otherwise found with the mens
      rea required for such as CoA[X]
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             rev1ewmg loose ends on Defendants' Bratton last day and wanted to hear

             Defendant Parese's report and determine next actions of Defendants' furtherance

             array, with respect to Defendant Parese interrogation interested far more in

             identifying (1) whether Plaintiff was going to sue 181 and (2) the Plaintiffs final

             communication with the 81 st Precinct 182 -rather than making any potential

             inquiry into identifying the other members of the police sex bribery ring, of which

             Ms. Obi and Defendant Brown were participants.

      786.   Deputy Commissioner, Counsel to Police Commissioner Ashley Waters and

             Deputy Commissioner, Legal Matters Ernest F. Hart and staff,. 183 Minimum

             failure to advise of vulnerability to corruption; Injunction on position to advise of

             vulnerability; Discovery may show facilitation; Negligence to inquiries regarding

             integrity of which there is evident importance (demonstrated by failures to advise

             in writing the need for integrity tests, proof of system integrity (of which the

             opposite is apparent), failures to respond to notice from data integrity that ; lack

             of concern that Internal Affairs investigations can be erased (of which knowledge

             would arise with any cursory performance of counsel duties in short order as law

             pertaining to police liabilities depends on such factors as knowledge of



       181
           Planitiff was on Defendant Stancati's timetable, which was determined for
      Defendants' and Corporate Counsel's benefit.
      182
          police member who reported the 81 st Precinct memo policy of standard operating
      furtherance against Plaintiff
      183
          Discovery to show Defendant Hart (in addition to the following paragraph) had related
      additional duties with regard to legal matters to police generally, as opposed to being
      counsel to the Commissioner, such involves considerable review of police liabilities
      (essentially paralleling the course of IAB investigations-inherently raising statistically
      certainty (of a far greater level than would require actual calculation): job duties would
      require far more interactions with IAB corruption, et cetera than could be dismissed
      without certain knowledge of cooking the books).
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             fundamental probity issues of data (internal affairs investigations being obviously

             prime matter of counsel duties)-it is inherent that occasions have arisen were

              allegations of investigation that subsequently disappeared would raise duty

             prompting responsibility to inquire and investigate (or to pose issue in writing to

              Commissioner-which has          not been done-Police           Commissioner hired

             (municipal attorneys have duties to the public; not insisting corruption and

             racketeering systems be changed (even in the face of hypothetical Machiavellian

             argument in response to Commissioner-attorney could not cooperate with

              systems not being made constitutional and not violative of laws or knowingly be

             liable))). 18 U.S.C. § 1965 (b)(c)(d)



      Minimum failure to advise of vulnerability to corruption; Injunction on position to advise

      of vulnerability; Discovery may show facilitation; Negligence to inquiries regarding

      integrity of which there is evident importance (demonstrated by failures to advise in

      writing the need for integrity tests, proof of system integrity (of which the opposite is

      apparent), failures to respond to notice from data integrity that ; lack of concern that

      Internal Affairs investigations can be erased (of which knowledge would arise with any

      cursory performance of counsel duties in short order as law pertaining to police liabilities

      depends on such factors as knowledge of fundamental probity issues of data (internal

      affairs investigations being obviously prime matter of counsel duties)-it is inherent that

      occasions have arisen were allegations of investigation that subsequently disappeared

      would raise duty prompting responsibility to inquire and investigate (or to pose issue in

      writing to Commissioner-which has not been done-Police Commissioner hired



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      (municipal attorneys have duties to the public; not insisting corruption and racketeering

      systems be changed (even in the face of hypothetical Machiavellian argument in response

      to Commissioner-attorney could not cooperate with systems not being made

      constitutional and not violative of laws or knowingly be liable)))

             Commissioner James O'Neill, Commissioner (Office) Chief of Staff (for

      Commissioner Bratton) Chief of Staff (for Commissioner O'Neill), Police Administration

      Staff, Police Operations Staff and Senior Systems Administrators ,



      Deputy Commissioner Reznick,

      Deputy Commissioner IAB (Office), IAB Command Center (all personnel, Does),

      Internal Affairs Senior Management (Yoes)



      Deputy Commissioner, Information (Technology Jessica Tisch)          Deliberate

      indifference to implausible administration design to maintain integrity vulnerability in

      data. Injunctive (position vigilance requirements),



      Deputy Commissioner, Risk Management

             Jeffrey Schlanger

      Deputy Commissioner of Intelligence

             John Miller

      Deputy Commissioner, Trials

             Rosemarie Maldonado

      Retired Chief of Department Carlos Gomez



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      Chief of Department Terence Monahan

      Chief of Department (Office)

      Chief of Department Senior Management

             (John or Jane Does [])

      Chief of Patrol Terence Monahan

      Chief of Patrol (Office)

      Chief of Detectives Dermot F. Shea

      Chief oflntelligence Thomas Galati

      Chief of Personnel William Morris

      IAB teams preparing annual reports to the

             annual post-Mo lien

      Chief and supervisors of the IAB team

             preparing annual reports to the

             annual post-Mollen

      Management at Chief of Department

             (John or Jane Does 21-35)

      Management at Chief of Patrol

             (John or Jane Does 36-45)

      Other Police-Administrator Racketeers

      IAB Complaint Managers (and persons of

             pe1iaining or related duties




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              (John or Jane Does 184 46-58)

      Supervisor(s)of Chieflnsp. S. Henderson

              (John or Jane Does 59-61)

      Supervisors ofLts. Gluf and Parese

              (John or Jane Does 62-67)

      Chief Inspector Scott Henderson

      Police waiting at 81 st Precinct at 8:15 p.m.

              Oct. 81'\ 2014 upon Plaintiff arrival

              ('I[ 29: John Does 68-77)

      Other 81 st Precinct police 185 involved after

              8:15 p.m.; John Does 78-85

      Lieutenant "Gluf' (Brooklyn IAB)

      Lieutenant J. Parese [spelling unknown]

      Lieutenant Richard Matellino

      Lieutenant "Picoulli" (IAB)

      Managers 186 & Supervisors of Sergeant

              Rosello in summer of2017

              (John Doe 86-91)

      "Brooklyn North" Command of2015-2016


      184
          Including the IAB superior(s) whom the tall, slight-haired IAB Detective at Manhattan
      IAB HQ: referred 2015 !AB-complaint concerning Lt. Blake certainty that Sergeant
      Brown was not on duty on the evening of October 81'\ 2014 having triple checked all
      p1erwork of that day (J Doe 52-55)
       8
          Processor and police member stating there was no record identifying who had
      performed the removing-seizure of Plaintiff to the 81 st •
      186
          regarding orders given to Sgt. Rosello regarding Sgt. Rosella's recorded call to
      Plaintiff
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             (J. Does 92-99):

      Police assigned IAB investigation at

             Brooklyn North (J. Does I 00-107)

      Sergeant Shaun Brown

      Sergeant Rosello

      Sergeant Brazys

      Sergeant Fishman, Louis (92234 7)

      Sergeants signing as if supervising signing

             of"D00007 #1 (J. Doe 108) and

             #2 (J. Doe 109)

      Memo book supervisors         []

      NYPD Liaison with CCRB Inspector Butler

             (J. Doe(s) [])

      Supervisors and Trainers ofNYPD Liaison

             with CCRB Inspector Butler

             (J. Does)

      Michael Culkin (897277)

      Supervisors and Trainers of

             M. Culkin (J. Does)

      Detective Glenn Tomasello (926214)

      Supervisors and Trainers of G. Tomasello

             (J. Does)

      NYPD "Liaison" to Corporate Counsel



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      Supervisors and Trainers ofNYPD

             "Liaison" to Corporate Counsel

             (J. Does)

      Officer Carraciolo, Michael (950158)

      Supervisors and Trainers of M. Carracciolo

             (J. Does)

      Officer Casciola, Gerald (950168)

      Supervisors and Trainers of G. Casciola

             (J. Does)

      Officer Hellberg

      Supervisors and Trainers of Hellberg

             (J. Does)

      Police overseeing or approving vulnerable

             police records and data at all recent

             times of review

      Police database operators and administrators

             (J. Does)

      Additional John or Jane Does (X);



      King's County (District) Attorney's Office:

      King's County (District) Attorney

      Supervisor(s) and Trainers of Defendant

             Anthony Barosi



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             (J. Roe 1-4)

      Supervisor(s) and Trainers of Defendant

             J. Scarcella (J. Roe 5-8)

      Supervisor(s) and Trainers of Defendant

             M. Midey (J. Roe 9-12)

      Supervisor(s) and Trainers of Defendant

             T. Middleton (J. Roe 13-16)

      Supervisor(s) and Trainers of Defendant

             Parugia (J. Roe 17-20)

      Supervisor(s) and Trainers of other involved

             or of pertaining duties Defendant

             KCDA attorneys (J. Roe 20-30)

      Manager or liaison ofprimaty Autumn of

             2015 KCDA attorney representing

             the State, i.e. the "penultimate" 187



      187
          Corporate counsel continues to refuse to identify this Defendant among persons
      specifically requested for identification (Plaintiff has long (without the proper name)
      referred to this male KCDA attorney (whom Plaintiff would certainly recognize and who
      was potentially not of ADA rank in 2015) as "the penultimate" for the pivotal
      significance of this KCDA attorney's court record admission of "Brady violation"
      obstructions among those KCDA had overtly reinforced for over a year against Plaintiff
      at the request and directive of police Defendants, et cetera (an act the penultimate was
      forced to do by another (see ,i 30)); penultimancy being particularly impmiant as the
      penultimate essentially declared Plaintiff to be a victim and invoked protocol that an
      additional appearance would be appropriate upon some inquiry KCDA would be
      obligated to perform regarding malicious prosecution (the penultimate did not reappear
      at the withdrawal-(see Count [])-the final KCDA representative was consistent with
      the penultimate, but seemed to lack having being the most knowledgeable person and
      rather merely a message carrier (as a defensive tactic by KCDA-there was no promised
      follow-up to the Court concerning the penultimate's (ashamed and reluctant) describing
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              (J. Roe 32-34)

      Communicator(s) with John Gutman

             (J. Roe 35-36)

      Anthony Barosi

      Persons of duties witnessing Barosi (and

             otherwise witnessing and

             participating in KCDA racketeering

             operations and corruption tort

             (J. Roe 37-50)

      ADA Jacqueline Scarcella

      ADA Matthew Midey

      ADA Tyear Middleton

      ADAParugia

      "The penultimate" 188 (supra; KCDA attorney

             (John Roe 37)

      Other KCDA attorneys involved or of

             pertaining duties (J. Roes 38-52

      Mr. Waters

      Other John and Jane Roes (Y);



      CCRB Defendants:


      the penultimate's of duty to investigate defrauding of the King's County court) in saying,
      in sum and substance, the evidence required full withdrawal by the State on all City
      assertions against Plaintiff).
      188
          See Footnote 6, supra
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      • The Civilian Complaint Review Board           [0]40-43 Traditional Monnel Failures;

      Injunctive perogatives in relation to law enforcement reform.

      Trainers of J. Butler

             (J. Soe 1-2)

      Christopher DeNitto

      Inspector J. Butler

      Additional John or Jane Soes (Z);




      Corporation Counsel (municipal entity)          Zachary Carter



      (X, Y ,Z ( supra; additional Does, Roes, and

             Soes are of unknown number to be

      established in discovety)




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      787.

      788.    Defendant Brown189




      189
         It is worth noting that Plaintiff was informed by Internal Affairs on January 28''\ 2015
      that there is another Sgt. Brown (or was as of the turn to 2015) relevant to the operational
      sphere of police matters, i.e. there are two Sgt. Browns: in all cases matters, et cetera,
      discussed: Sgt. Shaun Brown of the 81 st as has been identified by identification numbers
      and as was interviewed by the CCRB in the eventually produced interview 189 is the Sgt.
      Brown refen-ed to-additionally relating to idem Sgt. Brown see 128.
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      789.   Apportionment of Damages: approporiately apportioned severally between

             Defendants, throughout the instant Action, it is very much the nature that

             Defendants acted with the color oflaw (all tortfeasance is exercised with, by, or in

             conjunction with the color oflaw (common law recovery as well as statutory))-

             and the same color of law-with that municipality the greatest person Defendant

             with the largest single share of liability. It is precisely the nature of the Action

             that Defendants acted as team, individuals whose tortfeasance could not be

             commited (and commited as has been the constant and continuing brazen and

             unconcerned confidence in the team's unified ability to silence, put away, end

             such as Plaintiffs petition). The facility Claims are very much based in this trust

             of loyalty to individual roles of tortfeasance to be called upon at the appropriate

             moments to strike (called by such as IAB, police command, and Defendant Barosi

             with the KCDA and Corporation Counsel), without which Defendants would have

             to suppose a successive chain of telepathic vigilanties whose tortfeasance is

             impossibly aimed at the right persons, at the right time, in the right places (of

             course, with random acts, there would no (essential) assurance of a kill (in nature

             one can safari or travel to see pack carnivores that take down a beast together that

             individually would be an impossible task-Plaintiff has precisely endured this

             chain which is obviously not all Defendants' operations (with and without non-

             municipal joint-tortfeasors)): at the same time, when Defendants know they are all

             in as a group against Plaintiff, it is few holds barred: spoliate just about

             everything--everyone take a swing when they have the chance (which is

             precisely the chain of facts to view in the instant Action--exemplified well by



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            such as the later in the game there-is-one and Defendant Tomasello bogus

            Document (blatantly created after and in contumacious response to Plaintiffs 7

            May Pleading totally detached from a plausible falsehood); Defendants'

            nonchalance in making errors in spoliation (e.g. Defendant Casciola writing zero

            witneses on the new Documents, but on the older Documents, Defendant Casciola

            forgot to fabricate the "time of event starting from 2:00 p.m. (which was quite

            shortly after the only 9-1-1 call of 5-9 October 2014 (see   ,r 26)) to the   spoliated

            3:15 p.m.    (which Defendants' fabricated in order to conceal the Class A

            Menacing Citation issued to Ms. Obi (factor that largely (certainly with just some

            of the other admitted facts) legally rules out reasonable argument for probable

            cause given the concreteness of Defendants' information-assemblage)). Thus,

            given the clear, tight nit team operations (corruption blue wall, et cetera)

            demonstrated in the Action. A fair amount of each part of the recovery in the

            schedule for Plaintiffs one, whole recove1y may be distributed by CoA [Chi], et

            cetera, to the team members, with special assignments weighted relative to the

            functions of particular lead agents of particular tort or the municipality's custom,

            policy, usage et cetera for the importance of such role (New York City Law

            enforcement operates defacto indemnification anyway covering 99. 9997% of

            employee law enforcement liabilities (including cases where the municipal

            employees were found criminally guilty, et cetera)). Thus for each particular

            recovery of the damages liability to be apportioned (as opposed to the injunctive),

            an amount such as a quarter can be distributed among facilitators (perhaps, with

            certain propotiionality levels to weight rank or other factors of involvement) and a



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            half spread similarly across the levels of furtherance committed (with respect to

            the particular recovery's injuries and involvement in those injuries)). In final

            review with regard the one, whole recovery apportioned severally ( adjustments

            with regard to moving compensatory to the municipality as the individuals are the

            direct bearers everywhere the municipality (even in this Case) cannot bear the

            significant punitive damages).    Propotiionality with regard to over individual

            liabilities would be an appropriate further step to ensure fair distribution

            throughout the tortious team.     Discovery will considerably inform the rough

            forecast that can be from this point very roughly cast.   After               the

            municipality's allocation, percentage estimated with most of discovery not yet

            received Coercion a factor at a place like the 81 st, which has a clearly alleged

            reputation in litigation (and recent litigation) as a, in sum and substance, you

            break the corruption blue wall-you go down hard.




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     1100.   Remedies are instrumented in the foregoing paragraphs, beginning with four

             components that begin with the letter "C," as Plaintiff has observed: Defendants'

             Concession, Commendation, Compensation, and Commission. 190 At ,i 1110,

             Plaintiff gives an overview of relief measures (adjudication needs; enjoining

             Defendants in public and government interest and for Plaintiffs repair and
                          191
             protection         for   Plaintiff;   enjoing   of non-Party-actors-with-Defendants;

             compensatory, punitive, and statutory 192 monetary damages; fees and costs).

             Details of the program of Remedies in the foregoing paragraphs are to be

             developed in discovery, et cetera. 193

     1101.   Remedy of Relief via Concession of Defendants' falsehood and Commendation of

             Plaintiff for redressing corruption of State-power tyranny. Such reduces life-long



      190
          See ,i 1101, infa
      191
          Plaintiff has made great efforts and some certain and considerable sacrifices to
      mitigate damages from such as the contagion of Defendants' defaming: a major
      accomplish of the injunctive Remedy is to lock the mitigations tenuously maintained as
      Plaintiff has been able, as well as (and to a larger extent) accomplish tremendous
      mitigations against life-destroying perament damages. Compensation and punitive
      damages of the Action are calculated with the presumption the Defendants' crippling of
      Plaintiffs life will be overturned and that damages should be caluculated with those
      cures from reasonable injunctive measures (of which the first two and last of the four "C"
      words indicate the substantive direction of such injunction (to be as stipulated as
      possible) available as a matter oflaw upon the litigation).
      192
          18 U.S.C. § 1964 are more compensatory than punitive, but are a separate statutory
      category; given municipal involvement-which is overtly not refused by the Second
      Circuit-as distinct from the Third Circuit's stand-alone position of municipality
      immunity; see the end of ,i 101: CoA [A]. As an alternative, the first calculation from
      which the treble is made should be municipally charged (it is notable, however, that
      Plaintiff has previously cited, New York City maintains a 99.9997% indemnification rate
      for law enforcement (including where criminal findings are made)-to the reasonable
      calculations of available data as published by J. C. S. in a [2014] NYU Law Review).
      Any particular predicate act found to have or contribute to the cause for the award of the
      Remedy of ,i 1102 is not a whole relief for any particular Defendant tort thought the lost
      profit award contributes to the one, whole recovery (regarding the latter: see ,i 1111 ).
      193
          for updates and more detailed statements with any needed reiterations of Pleading.
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             and generational damages by the certified inoculating-against-the-contagion-of-

             defamation-documents: among the Relieving Instruments should be at least one

             separate Concession and one separate Commendation as such may need to be

             used separately. Commmendation with some civilian honor will also mitigate

             injuries and stand and inoculate against continuing or aggravating tort.

     1102.   Remedy particularly ripe for potential early award (or Default to COUNT III) to

             Plaintiff upon legal determinations include payment of injury component (a) # 1

             (lost profits based on the quarterly rate of real estate brokerage transations (see

             detail at~ 11 [][] , infra) from the time Defendants' arrested that business in early

             October 2014 (Defendants presently continue to aggravate Defendants' injuring

             of Plaintiff). 194 Claims referencing the instant paragraph invoke this lost profits

             damages award based on the quarterly rate until Remedy is complete. The award

             under   ~   1102 should also include fees and costs accrued to the date of award,

             particularly if the award is made under Civil RICO.    ~   11 [][] addresses additional

             Civil RI CO and professional, business, and property recoveries with regard the to

             the (a)# 1 ripest-for-award lost profits damages~ 11 [][]).

     1103.   Remedy of General Default-according the General 195 Default Count, COUNT I,

             ~   201. Default based in the concurrent or prior implementation of~ 1101-1102



      194
         see injuries component (h)
      195
         As explained at ~ 201, there is thicket of Counts determinative of much of
      Defendants' liabilities below a somewhat variable line from where the corruption and
      racketeering escalated to where Defendants brazenly, still, demonstrate administration
      racketeering and corruption capability cultivation-that, too, is strongly demonstrated by
      Defendants' contumacious fraud against this Court with vast spoliation, et cetera: thus
      such cluster of "advanced municipal corruption liability," which continued the injuring of
      Plaintiff and aggravated injuries, et cetera, are set into COUNT II (~ 202): given that both
      may be found about now (by default or determination by law)-no time to organization
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             and the ad damnum is $ 21 MN USD as of the F.A.C. or unless the F.A.C. is

             amended. is the compensatory and punitive (to be added to ,i 1102-with the

             award of ,i 1102 procedurally coming first) damages remuneration upon default

             when such as Count I or equivalent is found. The formula of punitive damages in

             default accords with Title 18 intent to punish Defendants' criminal activities,

             which are ongoing in these matters and accord acceptably with Second Circuit

             principles of general limit appropriate for the extremely malicious conduct of

             Defendants of police-sex-bribery-based personal injury by State power (as

             opposed to considering the magnitude of the accompanying and following more

             constitutionally-substantive capacity, facility, organization, operation, et cetera of

             State tyranny of the ,i 1104 adjudication).

     1104.   Remedy of Advanced Municipal Co1ruption Defendant Default (finding or default

             on COUNT II) to the ,i 1104 Adjudication resolving the liability beyond that in

             the scope resolved by ,i 1103. 2 MN USD minimum compensatory for the

             magnitude of municipal co!Tuption aggravating the mental anguish taking the

             kafka-esque-ness of the intentional infliction of mental anguish to such heights

             with (plus) a presumptive ten to one ratio of punitive damages in such

             adjudication upon findings of the globular nature of the municipal corruption

             [with particular regard to such Claims under CoA[Y] CoA[Q] CoA[f] CoA[X]

             CoA[N] and CoA[0] . Whether the default amoun of $ 22 MN USD for the

             instantly stated advanced municipality corruption liability is reached in default,


      motion before Defendants Answer to the F.A.C. (other immediate and scheduling issues
      to consider and even with both of these defaults found-such as, particularly, injuntive
      Remedies should require some continued discovery and litigation).      The Advanced
      Municipal Corruption Default Remedy
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             partly by default and by matters of law, or sufficienty, independently, upon

             findings of matters of law: or with highly involved damages calculation of larger

             amount for this ,r 1104 segment of liability: Defendants' payment of this liability,

             which occurs contingent with the "Commission" (see        ,r   1101, [add subsequent

             detailed specification of commission upon the   ,r 1104 finding]), does not resolve
             all liability for the corruption identified and treated-that is to say the Court may

             control the subsequent litigation implication for damages outside the scope of the

             punition addressed in the instant Litigation for the corruption infrastructure, et

             cetera discovered in the instant Litigation. Thus while

     1105.   Remedy of Defamation-Mitigating Injunction. Reasonable officers rejected all

             assertions that Plaintiff had committed any transgression except the allowing of

             consideration of defensive text messages against Defendants' corruption and

             racketeering misappropriate harassment, unlawful enrichment, or extortion with

             mashed misappropriated material.

     1106.   Remedy of Defamation Repair (Defamation Injury General Default Count (Count

             VII)

     1107.   Remedy latent for early determination

     1108.   Remedy latent for early determination

     1109.   Remedy of Defendants' Spoliation Penalty of over$ 2.5 MN USD: an immediate-

             compensatory award to Plaintiff and $ 2.5 to drawn from through a blind-

             transferred (from a Defendant funded spoliation penalty account) unique account

             by which Plaintiff will exercise costs plan for the varieties of expenses necessary




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             for the adjudication (such is well-proportional with Defendants' liabilities in the

             Action, public interest, et cetera).

     1110.   Remedy categories overview:      i! 1120 Adjudication measures needed early to best
             facilitate Adjudciation (including potential early partial trial) as necessary and

             hearing and adjudication immediate, and upon more discovery yet ahead of trial,

             of Plaintiffs clear laying out of legal determinations of Defendant liabilities, et

             cetera-facilitating    Defendant       concession   or,   otherwise,   fully   enabling

             vindication and name-clearing; ,i 1130 Injunctions for Plaintiff; ,i 1150 Injunctive

             reform of Defendants ,i 1195           Injunctive measures upon non-parties ,i 1205

             Compensatory monetary damage award Remedy details [bodily distinguished]

             [such as lost profits also described in statutory section] [mental anuguish

             compounded, aggravating, and continuing] [defamation fixing requiring money

             sufficient to permanently address Defendants' toxic dump [various aspects to

             discuss across various components closely with details of injuries paragraphs

             section]]; ,i 1230 Punitive monetary damage awards Remedy details ,i 1245

             Plaintiff attorney reimbursement; ,i 1250 Costs

     1111.   Remedy by Recovery Schedule 196 : provides organization of from among

             multifarious Claims achieving relief of the one, whole recovery-the order (or

             schedule) of Claims to achieve that one, whole recovery. 197




      196
          The instant item of Remedy is under development, it is appropriate for Plaintiff to
      organize the schedule of recove1y-though there has not yet been time to prioritize such.
      197
          Given the multifariousness of the applicable law: the one, whole recovery can be
      achieved meeting all general sufficient need for findings (including for appropriately
      sufficient injunctions, et cetera) in any number of slightly different technically ways,
      sufficiently equivalent in context.
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     1112.   Remedy measure that upon General Default ('1!1103), but without Advanced

             Municipal Corruption Default ('1!1104): there should be Adjudication of the

             remaining liabilities (thus neither would resolve the whole Action, but the roughly

             separable compensatory-heavy General Default and heavier-punitive (Advanced

             Municipal Corruption Default). It is more likely that in the case of the arrival-at-

             by-law or default to the Advanced Municipal Corruption Default that the General

             would be sufficiently found.      Proceedings in discovery would be likely for

             Remedies and remaining liabilities would be likely even with both ad damnum

             found soon or early.



      1120. ,i 1120 Adjudication measures needed early to best facilitate Adjudciation

             (including potential early partial trial) as necessary and hearing and adjudication

             immediate, and upon more discovery yet ahead of trial, of Plaintiffs clear laying

             out of legal determinations of Defendant liabilities, et cetera-facilitating

             Defendant concession or, otherwise, fully enabling vindication and name-clearing

             (including ,i 1129 Discovery enforcement including immediate sizeable-with-

             respect-to-Damages     punitive    sanctions   for    Defendants'    contumacious

             obstruction);

      1121. Remedy of Rule 11 Sanctions against Defendants' counsel-should Defendants'

             counsel does not concede to the violations to be put to Defendants' counsel as

             Plaintiff discussed in Plaintiffs last January 2019 Filing and otherwise (and if

             such exercise of Due Process rights of confrontation if Defendants should have

             attempted any ex parte communication to defraud the Court as to Plaintiffs



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            justified warnings to Defendants counsel concerning Defendants' counsel's Rule

            11 violations, et cetera (Plaintiff particularly has in mind an email (which looked

            like it was written to be submitted as a pretext) from Mr. Rosenkilde saying in

            effect my-[Mr. Rosenkilde's]-ethics-cannot-be-impeached to which Plaintiff

            parsed Plaintiffs rightful criticism which had been made in reply upon which

            nothing of Mr. Rosenkilde's further Filings or communications suggested

            anything other than having conceded the points Plaintiff parsed and continued to

            propound upon as necessary and Mr. Rosenkilde's seeming observation that Mr.

            Rosenkilde had been at least partly put up to unethical or wrongful assignment-

            which Plaintiff has observed regarding Plaintiffs observations regarding

            Plaintiffs observations of Mr. Rosenkilde's likely wanting reassignment to avoid

            the continued captaining a doomed ship).

      1122. Remedying meaure of Separated Immediate Trial of Ierardo Counts and

            Tomasello Culkin Henderson of Counts under Federal Rule of Civil Procedure

            38.

      1123. Discovery enforcement including immediate sizeable-with-respect-to-Damages

            punitive sanctions for Defendants' contumacious obstruction)



      1130. Injunctions for Plaintiff: requmng, should the municipality not come fmward

            appropriately, permant protections against defamation, commending Plaintiffs

            improvement of the municipality via Plaintiffs petitioning against Defendants'

            corruption




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      1131. Remedy enjoining the Communications and Operations of the City of New York

            to    maintain   non-disparagement   of Plaintiff.   [non-disclosure    and   non-

            disparagement binding the City of NY]

      1132. Remedy enjoining non-disclosure non-disparagement for Plaintiff from non-

            party-injunctees]

      1133. Remedying Scrubbing Databases and Record of Defendants' Libel (injunction for

            utter, thorough, interconnected resources expunction of defamatory process, et

            cetera)

      1134. Remedying injunction order Ms. Obi to send letters by mail and email notifying

             all who may have been recipients of Ms. Obi's defamation against Plaintiff that

            her reports and accounts (speaking generally to avoid further connectivity to

             Plaintiff or specifics) were false about whatever it was she made into her

             fraudulent defamatory reports. Such serves to inoculate against future damages as

             retraction and admission of fraud would be widely published through the same

             network.

      1135. Remedying injunction for law enforcement commendation by the law

             enforcement, corporation counsel of, and and the City of New York for Plaintiffs

             improvement oflaw enforcement in New York

      1136. Injunctive repair to Plaintiff: Commendation by the State of New York of

             Plaintiff's service to improve the integrity of New York City law enforcement at

             considerable sacrifices; other ameliorative and defamation-inoculating injunctive

             relief.

      1137. Remedy ofNotice to reported-to-parties of fraudulent record creation.



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      1150. Remedies oflnjunctive Reform of Defendants

      1151. Remedy Commissioning certain reform of precinct operations

      1152. Remedy Commissioning ce1iain reform of information technology

      1153. Remedy Commissioning certain reform of body camera and uniform technology

            with regard of laying the groundwork for necessary adapations to policing

            training, supervision, discipline, and organization staffing.

      1154. Remedy Commissioning general reform of King's County (District) Attorney

            training, supervision, discipline, and staffing.

      1155. Remedy Commissioning certain reform of King's County (District) Attorney

            information technology.

      1156. Remedy Commissioning certain reform of King's County (District) Attorney

            implementing counter corruption organizational measures.

      1157. Remedy Commissioning certain reform of City of New York Corporation

            Counsel training, supervision, discipline, and staffing with regard to

      1158. Remedy Commissioning certain reform of municipal systems responsible for

            establishing the sufficiently surety of Sixth Amendment representation protections

            (with regard to Defendants' practices of coercion) in King's County

      1159. Remedy Commissioning certain reform of Corporate Counsel

      1160. Remedy Commissioning ce1iain reform of the Defendant City's legal staffing,

            training, supervision, et cetera: with personnel review and outside-the-region

            retraining.

      1161. Remedies Commissioning certain reform of IAB



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      1162. Remedy Commissioning certain examination of all JAB personnel with regard to

            surveying duty performance

      1163. Remedy Commissioner certain examination of all JAB records with regard to

            salient matters, issues, and corrupt facility of JAB established and discussed in the

            Proceeding

      1164. Remedy Commissioning certain examinations of non-New York City employees

            regarding matters of investigation of corruption of JAB

      1165. Remedy Commissioning certain reform of Unconstitutional polices regarding

            obstructing, duties to citizens to investigate municipal crime

      1166. Remedy Commissioning other reform ofNYPD

      1167. Remedy     Commissioning certain reform of different agencies regarding

            information technology fraud protection

      1168. Remedy Commissioning certain reform of different agencies regarding different

            agencies regarding: audio visual capture cameras

      1169. Remedy Commissioning certain reform of amendment ofpost-Mollen-Oversight-

            Committee powers, process, observation, and resources for observation and

            investigation or reconstitution

      1170. Remedy Commissioning ce1iain reform of (perhaps, Alternative) injunction (or

            paii of the resultant mix of injunction needed:) injunctive reform would be to

            expand the CCRB authorization to be able to conduct interviews of police on

            occasions (or even some occasions) of upon corruption allegations (nuisance

            factor could easily be slight given that a perjured JAB-complaint could be

            generated under status quo under the four types of investigations the CCRB does



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            conduct) particularly where other police divisions with exclusive powers of

            agency and authority over such examination are avoiding putting persons on

            record as was a tortious act of the instant Case injuring Plaintiff (additionally, in

            such a case of deferring to any substantive CoD investigation the CCRB could

            potentially by certain procedures obtain certain relevant record)

      1171. Remedy Commissioning certain reform for inbound-only data capture facility of

            secure access by New York State officials (hiring specifications, particulary for

            the commencement-CCRB or other City data access.--consideration of research

             access-special design for sealing or redaction

      1195. Injunctive measures upon non-parties (non-parties found to participate with

             Defendants: particularly where such is assistance with the corruption organization

             or racketeeringfiirtherance array. non-party-injunctees: to be injuncted relative to

             findings of non-party-injunctees involvement in Defendants' tort-as the Court

             should find appropriate-e.g. submission to examination, review, published

             reprimand, or sanction

      1196. set upon racketeering paiiicipants particularly identified in the Complaint [others

             needing such as retraining, but not identified as racketeers

      1197. mechanism from criminal-defendant-attorney racketeering

      1198. regarding misappropriation and harassment fromjoint-tortfeasors

      1199. set regarding investigation, data, and reports



      1205. Compensatory monetary damage award Remedy details [bodily distinguished]

             [such as lost profits also described in statutory section] [mental anuguish



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             compounded, aggravating, and continuing] [defamation fixing requiring money

             sufficient to permanently address Defendants' toxic dump [various aspects to

             discuss across various components closely with details of injuries paragraphs

             section]];

      1206. Remedy of Defendants' Remunerating Plaintiffs Private & Confidential

             Information-Related Damages as separate item as such considerations would be

             damaging to have outside of particularly sensitive consideration.

      1207. Survivalability against Second Circuit appeal for Remittur Property values

             performance in Bedford Stuyvesant have performed among the strongest in the

             New York City metropolitan area (if not the strongest) such has implications

             regarding some of the excellent collection of Million Dollar Buildings

             appreciating beyond derivative growth goals at the front of Real Estate return.

      1208. Reputational or Professional Property (with full injunctive or consented relief or

             without)

      1209. Survivalability against Second Circuit appeal for Remittur Property values

             performance in Bedford Stuyvesant have performed among the strongest in the

             New York City metropolitan area (if not the strongest) such has implications

             regarding some of the excellent collection of Million Dollar Buildings

             appreciating beyond derivative growth goals at the front of Real Estate return.

      1210. Defamation Repair Compensatory (with full injunctive or more otherwise as far

             greater repair would be needed)

      1211. Reputational General




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      1212. Societal (with full injunctive or consented relief or without, i.e. lifelong

            alteration), and Latent Damages (doctorate, law school, et cetera; damages upon

            other damages)

      1213. Regarding Multifariousness of the sufficient of causes of action and sets of

            injuries in causing compensable damages.

      1214. 1.6 MN USD Lost Profits based on brokerage budgeted in-process transactions

            destroyed by Defendants; 2 MN USD Defamation repair compensation concurrent

            with injunctive relief; 3 MN USD bodily harm compensatory; 1 MN USD

            Outrage Compensatory; other Family, Social (protective order contributing to

            R.I.C.O.) .   Compensatory Total (excluding R.I.C.O., i.e. professional, business,

            property): 9 MN USD minimum . R.I.C.O. total 8 MN USD minimum: Punitive:

            20 MN USD minimum

      1215. Gross outrage compensatory 7 MN USD minimum (including collateral damages

            Defamation, family, social, et cetera which sufficiently casually rests on

            Defendants' intentional infliction of mental anguish as in seeking to cause mental

            anguish Defendants caused collaterally other harms which compounded and

            aggravated the various strains of Defendants' intentionally inflicted mental

            anguish). In addition to the compensatory is the finding of the collective outrage

            Counts carries the Civil R.I.C.O. award and gross outrage punitive remuneration

            of a minimum of$ 21 MN USD (+ 15 MN USD minimum with the any needed

            post General Default Adjudication (11112)).

      1216. Gross retaliation compensatmy 7 MN USD minimum (including collateral

            minimum damages Defamation, family, social, et cetera which sufficiently



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            casually rests on Defendants' First Amendment-or-Substantive-Due-Process-

            Right-to-Petition Retaliation against Plaintiff as in seeking to cause mental

            anguish Defendants caused collaterally other harms which compounded and

            aggravated the various strains of Defendants' intentionally inflicted mental

            anguish).

      1217. Lost Profits Compensation Detail.       Damages real estate brokerage business

            immediately payable to Plaintiff based on Plaintiffs quarter of transactions in

            progress at the time of injury continued-Plaintiff sought to either immediately

            make the provided move to commercial or after continuing or increasing the three

            hundred and thirteen dollar-per-year rate at which Plaintiff was in transaction at

            the time of Defendants commencement of the ongoing injuring of Plaintiff

            (transactions (in billing at the time: $3,650, $27,000, and $45,000 = $75,650 per

            quarter) themselves are indicative whereas tax returns are not as Plaintiff received

            less as a result of injury plus the $2,500 or more collected in August on a lease

            giving a subtotal= $78,150); furthermore, it is noticeably common knowledge in

            the real estate industry that profits follow activity by periods of six months to

            year, with a longer period following one's start in the industry-thus Plaintiffs

             2013 and 2014 are not exemplary of 2015, 2016, 2017, 2018, 2019, 2020, or

             2021; Plaintiff began in New York real estate brokerage in the late spring of

             2013-Plaintiff assisted other brokers for most of the first year including being

             second agent on a nine million dollar Central Park South listing.]] as Plaintiff had

             clear plans to expand business annual increases could be plotted at 20% thus

             estimating over five years: $313,000(5) + $313,000(1+.2)"5 = $1,565,000 +



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            $779,000 = $2,344,000 in earnings from 2015 through 2019 on top of2014 losses

            of at least $60,325. While the real estate figures could have been higher, they

            could have been lower and Plaintiff will prepare to argue details in support of

            higher estimation: as a contingency against lower estimation: Plaintiff might have

            otherwise still entered the race in the Minnesota Second District which, had

            Plaintiff not been injured by Defendants, Plaintiff would have won as Plaintiff

            would have won the subsequent election: the value of salary and benefits

            (including lifetime Congressional legislated benefits of office) would not be less

            than the $2,344,000 (or one could calculate the residential (and more) real estate

            income (in addition to the lost pending 2014 business including matters which

            much be discussed under the protective order) from 2015). It is well noteworthy

            that many factors of upside to Plaintiffs real estate business that was occurring

            prior to Defendants' disabling Plaintiff can only be discussed confidentially, but

            transactions were in progress of which the City of New York had notice as a Party

            involving earnings several times greater than the estimate of lost earnings

            presented for calculation of damages, partly due to the fact that even though time

            is lost, particular transactions, upon that relief prayed for in 17CV4519, might

            potentially have new breath with potential investments in New York City real

            estate of large magnitude precipitating, although market factors are always

            changing, even if slightly. Additionally, a certain matter under negotiation (which

            must be discussed under very limited circumstances to be discussed further under

            the mutual protective order) at the time would have been resolved in radically

            different circumstances as would have improved the result for Plaintiff as is to be



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             addressed privately. Many of the particular details of these transactions must be

             discussed under the terms of the Mutual Protective Order.           Prejudgment or

             damages interest does apply.

      1218. [Paragraph to discuss the (a) # 1 ripest-for-award lost profits damages in the

             context of additional professional, business, and property recovery as well as

             additional recovery under Civil RICO b] The damages should be calculated as

             Defendants' required immediate payment to Plaintiff of R.I.C.O. Damages

             (applied to Plaintiff professional lost profits as calculated from Plaintiffs

             transaction in process from the quarter up to October 8th . 2014 when Defendants

             destroyed Plaintiffs life and exercise of such and other profession. Additional

             R.I.C.O. professional damages not calculable qua the prima facie calculable by

             rate of transaction-in-process-of-the-quarter continued at a presumable one

             percent quaiierly rate [with an addition ten percent loss as expenses] . The

             amount undergoes statutorily specified (18 U.S.C. § 1964 et sequent) Civil

             R.I.C.O. transformation to arrive an award amount. The Remedy instrument of

             the further Civil R.I.C.O. professional damages (and other Civil R.I.C.O.

             damages:    property, personalty,    costs,   attorney fees,   business damages,

             professional damages, reputational property damages) remuneration is at 1 1[] [] [].

      1219. Plaintiffs permanent deprivations of chattels-thefts, destructions, et cetera.

      1220. Regarding Plaintiffs monetary damages: repairing systemic corruption begins

             considerable process of reducing continuing and furthering aggravations caused

             by the community's dealing with police criminality almost never proved due to

             the success of corruption measures (Plaintiffs total compensation is considerably



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             less than the likes of such as Booz Allen or McKinsey would provide for findings

             establishing the means to modify towards compliance and dramatic mitigations to

             the incurring of liabilities and caustic fraudulent police enforcement underbelly

             raising massive expenses in the heightened animosities in ligitation as well as

             costs of such seen in 2015 with the closing of streets, overtime, et cetera)



      1230. Punitive monetary damage awards Remedy details

      1231. Remedy of punitive damages for usurpation

      1232. Remedy of punitive damages for negligence

      1233. Remedy of punitive damages for obstrnction

      1234. Remedy of punitive damages for tyranny

      123 5. Remedy of punitive damages for conuption

      1236. Remedy of punitive damages for operations and corruption and racketeering

             facility

      1237. Punitive for Bodily Danger to Plaintiff

      1238. Punitive for Mortal Danger to Plaintiff

      1239. Punitive for Systemic Corruption and Outrageous Substantive Abuse (awareness

             and notice established; defrauded mini-Mollen)

      1240. Punitive for Harms to Others within Local Jurisdiction Plaintiff that Plaintiff will

             turn over to Charitable Entity supporting Education, Civic Legal Initiatives, et

             cetera.

      1241. Remedy of punitive Damages remuneration for Damages to the public




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      1242. Damages in the punitive capacity should seek recompense for the entire scope of

              malfeasance against the public within the jurisdiction. Each act risking mortality,

              each policy risking mortatily: Plaintiff mortality damages as model.

      1243. Plaintiffs swating of Defendants' obstructions does not mitigate the punitive

              liability based with respect to the intended injury and the compensatory injury of

              intentionally-inflicted mental anguish is considerable.



      1245. Statutory monetary damage award Remedy details [Civil R.I.C.O.]

      1246. Additional R.I.C.O. (other than immediate-quarter-based damages) remuneration

      1247.

      1250. Remedy of Plaintiffattomey-fee recovery. Attorney Fees to be retained regarding

              Mr. Stancati stated he had completed something somewhere around $70,000

              worth of billable hours, but refuses to submit documentation of such among other

              hostile action for the benefit of Defendants (see   ,r []). 198


      1255. Remedy of Costs: paper, writing, writing supplies; research operational expenses

              (computing, transportation); Filing and mail expenses; $13,500 King's County

              comt and Federal Comt appearance travel with necessary non-appearance

              appointments in Manhattan and occasions where Plaintiff was notified an

              appearance was scheduled, but the appearance did not occur due to such as

      198
         resolution with Mr. Stancati on Februaty 811\ 2018 was settled to avoid dispute with
      agreement that Mr. Stancati receive no more than $17,500 regardless of case settlement,
      award, verdict, terms, et cetera; the issue of Mr. Stancati's voiding his eligibility for a
      not-more-than-$17,500 interest in matters by refusing to follow through with agreed and
      complete transfer of material is a separate issue to be consider separate from Mr. Stancati
      being ordered to supply hours
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            weather (e.g. January snow day, and resulting Court docket crowding

            rescheduling in 2015), two post Enactment; $17,000 moving and storage

            expenses; interest on costs (driving there and back $2500, 1 lk, finance, 700, );

            17,500 Stancati (alternatively); $600 K, K, & S; w int $75k,




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    1300.       Racketeering predicates under definitions with respect to 18 U.S.C. § 1961 as

                pertains to   ,r 101.   The greatest multitude of injurious-as-in-causing-Plaintiffs

                professional, business, property (et cetera 18 U.S.C. 1964-eligible) damages are

                the three-figure number of Counts of Obruction of Federal Civil Rights

                Proceeding. 199 Predicates include acts of the larger racket including the police sex

                bribery (formely including rape) allegations Anna Chambers; admitted Pay-for-

                Play between a Criminal Defense firm and 2014-2015 KCDA, Mr. Kenneth

                Thompson; briberies for off-book police uniformed and equipped security

                services, police-supported (fromer-police owned) brothels recently reported of

                involving Brooklyn police connections in Queens; post-Mollen-Oversight-

                Committee recently reported on a police administrator being insufficiently

                disciplined for publicized transgression that IAB reported at least some substance

                about to the post-Mollen-Oversight-Committee regarding improperly taking

                flights and benefits to or in Las Vegas; Destruction of lab report intended to

                falsify Ms. Obi-2014-affilliated-academic-institution class record of victim

                 student.

     1301.       Regarding § 1962 (d): The minimum of two predicates for the application of

                 § 1962 (d) to selected individual Defendants is described in the Assignment of

                 Liabilities, supra.

     1302.       Predicates committed by the racket causing Plaintiffs injuries include the form of

                 criminal offenses under State Law and Federal Offenses allowed under 18 U.S.C.

                 § 1961 are outlined for the purposes of ensuring the threshold of predicates, even



       199
             42 U.S.C. § 1985 (2); CoA [f]-'I! 124;
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             though the vast number of obstructions of justice against the instant Proceeding

             are far more than sufficiently abundant.

     1303.   Fraudulent documents were transmitted interstate-including some data from the
             . ,,,ormatwn-assem
             m         .        blage 200 amountmg
                                                •      •
                                                   to w1re "
                                                           1raud, 20 I a1ong wit. h other wire
                                                                                           .
               1


             fraud identified in the Counts including a recently committed wire fraud of a third

             party material.

     1304.   2018 Mail fraud by Defendants injmying Plaintiff: Defendants mailed-interstate

             fraudulent Defendants-Tomasello-and-Culkin reports under the racketeering and

             furtherance of crime directly overseen by Defendant Henderson to Plaintiff

             committing mail fraud predicate and also attempting obstruction of justice to

             unconstitutionally and fraudulently strike at via fabrication of intented to obstruct

             the instant Proceeding documentation.

     1305.   R.I.C.O. predicate: Title 18 obstructions of justice (see ,i,i [,]);NY Penal Law§§:

             120.05, 202 120.10, 18 125.25, 203 125.2?1 9 under the attempt statute-110.05;

             160.15,204 [second degree], 20 ; 121.13 or 121.12 under the attempt statute 110.05

             (see ,i []); 120.13 (see ,i []); 135.65 205 (see ,i []); 200.00; 135.10 206 (see ,i []).

             Regarding other R.I.C.O. elements see ,i [], and R.I.C.O. damages, ,i [].




      200
          (term defined in ,i 2, supra) police fabricated documents and materials complied with
      f,olice instructions for malicious and obstructive use to KCDA
       01
          wire fraud under 18 U.S.C. § 1343
      202
          See ,i [] regarding Defendants' attempted murder of Plaintiff
      203
          See ,i [] regarding Defendants' attempted assault of Plaintiff
      204 See ,i []
      205
          See ,i [] "coercion" qua the R.I.C.O. predicate of "extortion" as identified as a
      f,redicate under Title 18 § 1961(l)(A).
       06
          See ,i [] ."unconstiutional imprisonment" qua the R.I.C.O. predicate of "kidnapping"
      as listed in Title 18 § 196l(l)(A)
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     1306.   Background of police sex-bribery R.I.C.O. cause of action detailing part [] 207 of

             []: Title 18 obstructions of justice pre. See       ,r,r []   and [] for further details on

             particulars [reference May 71\ 2015 antecedent and state simply for purposes of

             R.I.C.O.]

     1307.   Background of police sex-bribery R.I.C.O. detailing part [] of []: Title 18

             obstructions of justice part [] of [].      See   ,r,r []     and [] for further details on

             particulars [reference post   ,r 24   identification of so potent a cause of action to

             falsify 81 st Precinct duty in following c01Tupt protocol in attempt to prevent filing

             of Section 1983 action. by Plaintiff antecedent and state simply for purposes of

             R.I.C.O.]

     1308.   Background of police sex-bribery R.I.C.O. cause of action detailing part [] of[]:

             Title 18 obstructions of justice part [] of[]. See ,r,r       [] and [] for further details on
             particulars [reference post Rosello destruction of IAB materials to thwart

             discove1y of known filing by Plaintiff antecedent and state simply for purposes of

             R.I.C.O.]

     1309.   Background of police sex-bribery R.I.C.O. cause of action detailing part[] of[]:

             Title 18 obstructions of justice part [] of[]. See ,r,r       [] and [] for further details on
             particulars [reference March 281\ 2018 antecedent and state simply for purposes

             ofR.I.C.O.]




      207
         See ,r [] for the opening overview of the R.I.C.O. claim. ,r,r [] through [] identify
      paiticular R.I.C.O. predicates under Federal and New York State criminal law as defined
      by Title 18 § 1961(1)(A). ,r,r []through[] address the satisfaction of Title 18 § 196[]
      requirement beyond Title 18 §1962 [?] predicate acts pertaining more broadly to the
      nature, purpose, construction, and utility of the 18 U.S.C. § 1964[?] claim by Plaintiff
      against Defendants in 17CV4519.
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     1310.   Background of police sex-bribery R.I.C.O. cause of action detailing part [] of []:

             Title 18 obstructions of justice part [] of []. See ,i,i [] and [] for further details on

             particulars [reference August[], 2018 antecedent and state simply for purposes of

             R.I.C.O.]

     1311.   Background of police sex-bribery R.I.C.O. Counts Robbery or theft predicate part

             1 of 2: NY State Penal Code §§ 160.15, 160.[], and Robbery-Robbery was an

             unconstitutional grant accepted by Ms. Obi for her part in the state-action sex-

             bribery exchange; the city facilitated and supported Ms. Obi's theft, theft which

             had opportunity upon the violence also facilitated and supported by the City and

             the unconstitutional seizing of Plaintiff (Det. Tomasello's pointedly gratuitous

             and intended-to-be-message-sending-and-aggravating a pointed example of

             municipal endorsement of the theft produced as a part of the sex-bribery act).

     1312.   Background of police sex-bribery R.I.C.O. cause of action detailing part[] of[]:

             Robbery or theft predicate part 2 of 2: Robbery or theft predicate part 1 of 2: NY

             State Penal Code       §§ 160.15, 160.[], or 155.35 (Det. Tomasello's pointedly

             gratuitous      and   intended-to-be-message-sending-and-aggravating        a   pointed

             example of municipal endorsement of the theft produced as a part of the sex-

             bribery act).

     1313.   Background of police sex-bribery R.I.C.O. cause of action detailing part [] of[]:

             Ms. Obi acting with municipal dispensation to violence attempted strangulation

             by Ms. Obi's hand on Plaintiff's neck (detailed further and less specifically for

             purposes of stating R.I.C.O. predicate at ,i []): felony in the vein of murder or

             assault: relevant NY Penal Law: §§ 125. 25, 121.13,



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     1314.   Background of police sex-bribery R.LC.O. cause of action detailing part[] of[]:

             Ms. Obi acting with municipal dispensation to violence attempted strangulation

             by Ms. Obi's hand on Plaintiffs neck (detailed further and less specifically for

             purposes of stating R.LC.O. predicate at ,i []): felony in the vein of murder or

             assault: relevant NY Penal Law: §§ 125. 25, 121. 13,

     1315.   Background of police sex-bribery R.LC.O. cause of action detailing part[] of[]:

             Ms. Obi acting with municipal dispensation to violence attempted skull fracture

             with ceramic or ceramic-like bathroom object (detailed further and less

             specifically for purposes of stating R.LC.O. predicate at ,i []): felony in the vein of

             murder or assault: relevant NY Penal Law: §§ 125. 25,

     1316.   Background of police sex-bribery R.I.C.O. cause of action detailing part [] of []:

             Ms. Obi acting with municipal dispensation to violence to state to Plaintiff that

             she, Ms. Obi "will kill" Plaintiff (detailed further and less specifically for

             purposes of stating R.LC.O. predicate at ,i []): felony in the vein of murder or

             assault: relevant NY Penal Law: §§ 135.65 menacing in the first degree

     1317.   Background of police sex-bribery R.LC.O. cause of action detailing part[] of[]:

             wire fraud under 18 U.S.C. § 1343 patt; Transmission of racketeering purposed

             document which is fraudulent and defamatory to harm Plaintiff to federal and

             other out-of-NY databases. Each transmission a separate racketeering predicate.

             The "Additional Fingerprint Response" indicates transmission was made at least

             to the FBI, which is a transmission to federal government databases in

             Washington, D.C. and all States.




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     1318.   Background of police sex-bribery R.l.C.O. cause of action detailing part[] of[]:

             Ms. Obi acting with municipal dispensation to violence by seeking to instigate a

             pretext to wage physical violence causing Plaintiffs bodily harm (detailed further

             and less specifically for purposes of stating R.I.C.O. predicate at   ,r []):   felony in

             the vein of murder or assault part [] of[]: relevant NY Penal Law: §§ 120.10

             Assault in the First Degree, 120.25 "Reckless Endangerment",

     1319.   Background of police sex-bribery R.I.C.O. cause of action detailing part [] of[]:

             kidnapping (see U.S.C. Title 18 § 1961 et sequent regarding "kidnapping") qua

             unconstitutional or tortious confinement 1 Ms. Obi's State-action racketeering

             mounting of Plaintiff after pushing Plaintiff onto Plaintiffs back on Plaintiffs

             bed

     1320.   Background of police sex-bribery R.I.C.O. cause of action detailing part[] of[]:

             kidnapping (see U.S.C. Title 18 § 1961 et sequent regarding "kidnapping") qua

             unconstitutional or tortious confinement 2 Ms. Obi's confining Plaintiff in the

             downstairs bathroom as Ms. Obi threatened and attempted to murder Plaintiff

     1321.   Background of police sex-bribery R.l.C.O. cause of action detailing part[] of[]:

             kidnapping (see U.S.C. Title 18 § 1961 et sequent regarding "kidnapping") qua

             unconstitutional or tortious confinement 2 Ms. Obi's confining Plaintiff in the

             upstairs bathroom as Ms. Obi threatened and attempted to murder Plaintiff

     1322.   Background of police sex-bribery R.l.C.O. cause of action detailing part [] of[]:

             kidnapping (see U.S.C. Title 18 § 1961 et sequent regarding "kidnapping") qua

             unconstitutional or tortious confinement 2 Sergeant Brown




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     1323.   Background of police sex-bribery R.I.C.O. cause of action detailing part[] of[]:

             coercion qua extortion dangerous confinement, new court

     1324.   Background of police sex-bribery R.I.C.O. cause of action detailing part[] of[]:

             coercion qua exto1tion May 7th

     1325.   Background of police sex-bribery R.I.C.O. cause of action detailing part[] of[]:

             sex bribery 1 NY Penal Law 200.00, 10.00 (17), i.e. the community of police sex-

             bribery racketeering women who recruited Ms. Obi testifying to the ease and

             value of their own New York City police sex bribe1y racketeering successes.

     1326.   Background of police sex-bribery R.I.C.O. cause of action detailing part [] of[]:

             sex bribery 2 NY Penal Law 200.00, 10.00 (17), i.e. the community of police sex-

             bribery racketeering women who recruited Ms. Obi testifying to the ease and

             value of their own New York City police sex bribe1y racketeering successes.

     1327.   Described as KCDA pay to play campaign (I can provide service because

             Kenneth Thompson will as has been established between us specifically with

             regard to my regular and ongoing campaign donations and financial support and

             contributions to Mr. Thompson: NY Penal Law 200.00,




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    1350.     Background to Counts          [Instant   section   generally    contains   additional

              information pertinent to Counts and references to such information.              The

              organization and structure of the instant section is considerably inconsistent

              [mirroring Counts or choosing alternate structure?)]]          General:      Callous,

              reckless, and wanton disregard of employment of seizure and instigation of false

              process demonstrating corruption racket exemplified in the Red Hook case where

              a upon person randomly seated at a bar near policeman was arrested by the

              policeman simply, as the policeman admitted, to meet a quota-this flippant

              attitude to Constitutional infraction is very much the character operational of

              Defendants and a product of the Commissioner and Command Center's

              maintenance of operational room form racketeering. [Section detailing discovery,

              particularly providing close parsing of Defendants' CCRB interviews balanced

              between getting certain arguments in the pleading and playing defense re: not

              facilitating mentiri by selecting reference to privilege and minimizing the

              assistance to Defendants' mentiri formation.] [Should well lay out highly detailed

              arguments including such as Defendants' brazen confidence and other details

              establishing Defendants' level of establishment and confidence in Defendants'

              racketeering mechanisms.]

     13 51.   Background to Counts, important to lay out the timing of Plaintiffs discovery

              [delay by Defendant fraud] of the fraud of the Sprint reports (2019-had not even

              realized there were two reports were fraudulent-reviewing evidentiary material

              uncovered the fraud). The importance of such should be highlighted with regard

              to the evidentimy material referenced, in addition to other significant parts of the



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             corpus of evidentiary material which wholly support the fraud of Defendants in

             fabricating these reports.

     1352.   Background concerning Defendants flippant misidentification (part 1 of []) of

             Plaintiff in police reports.    Defendants characterized Plaintiffs education as

             finishing at "18"-when in fact Plaintiff has 6 years of higher education including

             a start on a doctoral degree as is in subsequent court record.

     1353.   Background concerning Defendants' flippant misidentification (part 2 of []) of

             Plaintiff in police reports.    Defendants described Plaintiffs "Skin Tone" as

             "Dark:" Plaintiff skin tone does vary, but it was very much not particularly tan in

             October of 2014--and thus would have been described by someone actually

             observing Plaintiff as the opposite.

     1354.   Background concerning Defendants' flippant misidentification (part 3 of []) of

             Plaintiff in police reports. Defendants mischaracterized Plaintiffs Adidas athletic

             sneakers as dress shoes.

     1355.   Background concerning Defendants' flippant misidentification (part 4 of[]) of

             Plaintiff in police repmis. Defendants mischaracterized Plaintiffs jacket as a

             sport coat when the correct category brown suede, was an option.

     1356.   Background concerning Defendants' flippant misidentification (part 5 of []) of

             Plaintiff in police reports. Defendants mischaracterized Plaintiffs pants as being

             "slacks ... tan," when Plaintiff was not wearing tan slacks and in fact did not own

             tan (no brown, beige, khaki, et cetera) slacks for years.

     1357.   Background concerning Defendants flippant misidentification (part 6 of []) of

             Plaintiff in police reports.     Defendants mischaracterized Plaintiffs income



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             statement (taken at 110 Schermerhorn) by a reduction of One Hundred Thousand

             United States Dollars less per annum-or simply made up a number that was One

             Hundred Thousand United States Dollars less per annum.

     1358.   Background concerning Defendants' flippant misidentification (part 7 of []) of

             Plaintiff in police reports. Defendants mischaracterized Plaintiff as being born in

             NY, when Plaintiffs first visit to anywhere in the NY metropolitan area other

             than the interstate traveling through was at age 20. Plaintiff has no known family

             in New York though some ancestors did reside in New York State in the early

             period after Revolutionary War service, et cetera.

     1359.   Background concerning Defendants' flippant misidentification (part 8 of []) of

             Plaintiff in police reports. Defendants list Plaintiffs weight as being over twenty

             pounds less than Ms. Obi's weight was at the time while, Defendants fabricate

             concerning Plaintiff-Defendants so fabricate-performing nonsensical and

             physically impossible tasks, et cetera, which would be all the more doubtful if Ms.

             Obi had weighed over twenty pounds more than Plaintiff at the time. Plaintiff had

             not had such a weight since high school when Plaintiff was not as tall and thus

             such did not conform to Plaintiffs identification.

     1360.   Background concerning Defendants' flippant misidentification (part 9 of []) of

             Plaintiff in police repmis.

     1361.   Background concerning policy tolerating sex-bribery-and-equivalent misuse of

             police actions reflective of de facto New York City policy of tolerating such as

             sex bribery as if it were an acceptable, if discrete, perk in the following [] parts.




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     1362.   Background concerning policy tolerating sex-bribery-and-equivalent misuse of

             police actions, i.e. ,i [44-one above]; part A of[]. Did not even feel the need to

             fake a 9-1-1 call.

     1363.   Background detail to ,i 25: [Background of May 71\ 2018]part A of[]. Parties or

             non-government parties, legitimately or illegitimately involved, of actions at

             King's County Criminal Court are prohibited from recording proceedings m

             courtrooms.

     1364.   Background detail to ,i 25: part B of []. There is no video or audio record of

             proceedings under express New York State authority; there is only a court

             reporter's notes.

     1365.   Background detail to ,i 25: part C of[]. The King's County Criminal Court keeps

             a backup of court reporter's notes "upstate."

     1366.   Background detail to ,i 25: part D of [].       Ms. Doreen Ierardo, is the Court

             Reporter's Clerk or Manager, or managing official of other title, who controls

             access for authorized persons to obtain court reporters notes.

     1367.   Background detail to ,i 25: part E of [].       Ms. D. Ierardo has an assistant,

             receptionist, junior clerk, or assistant by some other title, who generally receives

             requests for court reporters' transcriptions from notes in person and via telephone.

     1368.   Background detail to ,i 25: part F of []. Ms. D. Ierardo on March 28 th via a

             telephone call to Plaintiff, said the she, Ms. Ierardo, was the "boss" of the woman

             identified in Number 46 as the assistant of Ms. Ierardo.

     1369.   Background detail to ,i 25: part G of[]. Plaintiff, upon firing Plaintiffs former

             and compromised-by-Defendants attorney, Mr. Stancati, for which Plaintiff



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             needed to appear before the Honorable Steven Tiscione on February 81\ 2018,

             went to 110 Schermerhorn, the King's County Criminal Court, where Plaintiff

             was repeatedly deprived of Constitutional guarantees for American life by agents

             bearing color of law, on February 71\ 2018 to obtain court transcripts.

     1370.   Background detail to   ,r 25:   part H of []. Plaintiff met with the assistant of Ms.

             Ierardo, who explained to Plaintiff pricing policy; Plaintiff ordered         certain

             important, involved, or substantive transcripts.      The assistant of Ms. Ierardo

             explained that she relayed requests for transcripts to the individual court reporters

             and managed the reporters' production of requests and explained that the back-up

             method of production for somebody retired or out-of-touch for any reason was,

             expressing consolation, a two-to-three month process to obtain the record from

             "upstate." Plaintiff realizing that this official, the assistant to Ms. Ierardo, had a

             considerable role in the safe and efficient production of the evidence Plaintiff

             rightly was obtaining, identified the critical absolutely most important record of

             November 2015 as it contained a prosecutor near confession of wrongdoing to

             Plaintiff concerning which Plaintiff was currently engaged and another certain

             record as the clear second most important record; this certain record certain, oft-

             repeated recitation of facts concerning October 81\           2014-that such was

             presented as it was when it was serving an importance to the concreteness of

             evidence in 17CV4519, the instant Proceeding. Plaintiff was told by the assistant

             of Ms. Ierardo that the records would be available for pick-up by the end of that

             month, February; when the assistant of Ms. Ierardo confirmed readiness by the

             end-of-the-month and that Plaintiff would need to pick up the records in person,



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              Plaintiff explained that Plaintiff's would be out of town until March when the

              next business in Plaintiff's proceeding was then scheduled and thus, Plaintiff

              would arrive to pick up items upon Plaintiff's return to the area in early March.

    1371.     Background detail to 125: part I of[]. Plaintiff called the assistant of Ms. Ierardo

              in early March as only 2 reporters had contacted Plaintiff, neither was the most

              important or second-most-important record.

     1372.    Background detail to 1 25: part J of [].      No additional reporters' contacting

              Plaintiff by March 27 th led Plaintiff to feel the importance of following up,

              particularly as Defendants had and are continuing to engage in evidence

              tampering and other obstructions of justice, et cetera, i.e. criminal, bad-faith,

              dangerous-to-judicial-proceedings-of-The United States behavior, and the clock

              was a measure of risk, and Plaintiff requested that for at least the most important

              record, the two-to-three-month process of obtaining the back-up record from

              "upstate" be initiated, as double the time scheduled from production had passed;

              the assistant of Ms. Ierardo said in response to Plaintiff's request to start the

              recovery of the "upstate" back-up copy that she, the assistant, would continue

              follow-ups with the reporter, that reporter is identified in 1 [] infra as non-party-

              Injunctee, Peter Appel.

     13 73.   Background detail to 1 25: part K of []. Ms. Ierardo called Plaintiff on March

              28''\ 2018

     1374.    Background to prosecutorial deprivations: part [] of[]: King's County (District)

              Attorney prosecutors, speaking on behalf of their authority, stated in the course of

              the State proceeding that Sergeant Brown was not involved with the matters



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              involving, connected to, or related to Plaintiff; when such was later admitted no

              explanation was provided and none has been provided for such a dramatic

              alteration which occurred by the time Plaintiff was provided with discovery in

              June of2015; King's County (District) Attorney prosecutors', speaking on behalf

              of their authority, insisting that they would officially block the 9-1-1-responding

              pair   (1 27) from   being in any way sources of evidence in the fraudulent actions

              against Plaintiff demonstrates clear absence of jurisdiction in their conduct.

     1375.    Hours of IAB recordings demonstrated without exception that by all calculable

              measures Plaintiff was telling the truth, Plaintiff is extraordinarily observant and

              Plaintiff witness would be of great value in addressing police corruption, Plaintiff

              was not rehearsed, Plaintiff had exceptionally good recall and would make an

              outstanding witness, Plaintiff was not and would not lie, Plaintiff was a victim of

              police crimes at the hands of Ms. Obi and others, Plaintiff was not predisposed

              with a grudge against police saw police as helpful agents until Plaintiffs eyes

              were opened to the reality of policing under the Corporation of New York.

     1376.    Sergeant Shaun Brown asked the happily ever after question to test Ms. Obi's

              reservations on the basis of having complained but expressed having up until

              recently different feeling.

     13 77.   Background delineation to       1 []   antimiscegeanation.   Sergeant Brown blatant

              comment made it clear he was not serious about operating constitutionally.

     1378.    Background delineation concerning Sergeant Brown's not being on duty, which

              substantiates the fraud of Defendants' representations that Sergeant Brown was on

              duty. Part [] of [] of count [] and claims []. When Sergeant Brown is introduced



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            in the CCRB questions, he answers the first few immediately without hesitation,

            he then is asked when his shift was and with a small panic in his voice he stutters

            blurts and fake start tiine and then awkwardly as if trying to elide into the fake

            closing time so as to make up the time from the stutter as if reducing the net delay

            would somehow hide the nervous wreck zips out the closing time.             Sergeant

            Shaun Brown's behavior when being questioned about the circumstances relating

            to supposedly being on duty on October 81\ 2014 indicates that he was not on

            duty. Forceful withholding of materials Lt. Parese indicated was the core and

            foundation of the IAB investigation indicates IAB supported the fabrication of

            duty records after the fact as Sergeant Brown was not on duty on October             8'\
            2014. Sergeant Brown and the nervous Officer trying not to be seen keeping-his-

            eyes-on-the-floor, who says he remembers nothing at all, who showed up with
                                                                                                  11
            Sergeant Brown have zero notice of shift in their memo books for October 8 ',

            2014, which strongly corroborates that as   ,r 24 affirmed that ,r 24 triple-checked
            all records that would indicate which police were on duty on October 8 1\ 2014
                                                                                        1



            and Sergeant Shaun Brown was not on duty on October 811\ 2014, someone else

            was in that role, i.e. not Sergeant Shaun Brown, on October 811\ 2014. []       ,r   24

            stated that   if 24 absolute, having-triple-checked, confidence led if 24 to be
            confident that Sergeant Brown was not on duty;     ,r 24 asked Plaintiff if Sergeant
            Shaun Brown had been dressed in uniform which        if 24 stated he could not have
            rightly done as he was not on duty on October 8"', 2014. IAB is withholding or

            has tried




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     13 79.   Background to Counts [search "fake quotation"] The document states that on

              October 81\ 2014 at "22:00" Plaintiff at 677 Quincy Street made a statement: the

              first fraudulent item is that Plaintiff was not at 677 Quincy Street at 22h00-

              Plaintiff had been taken to the precinct at 20h30.      There was no dispute on

              October 81\ 2014 other than whether Ms. Obi had municipal racketeering power

              enough to murder Plaintiff-Plaintiff disputed that Plaintiffs infringement of

              rights and liberties and Ms. Obi argued that per Ms. Obi's sex bribery contract

              with police racketeers, Ms. Obi had municipal privileges to homicidal tyranny

              against Plaintiff. Regarding the illegal recording of Plaintiff-October 81\ 2014

              was not to be about it-Ms. Obi admitted in front of the 9-1-1 calling witness that

              Ms. Obi's Kyocera contained material evidencing criminal activity of Ms. Obi

              against Plaintiff.   If Plaintiff had been allowed to speak-Plaintiff would have

              said that Ms. Obi was scheduled to be removed from the landlords' properties on

              October 91\ 2014-an event Ms. Obi had, by fraud, managed to delay until that

              date: Plaintiff would have said nothing of the sort of a "get along" issue-Ms. Obi

              had homicidally attacked Plaintiff, by three different means, in front of a witness

              after 9-1-1 was called and continued tJying to smash Plaintiffs head after the

              police arrived-the police (~ 27) seemed to have made it clear what the

              consequences would be if Ms. Obi attacked Plaintiff prior to Ms. Obi's removal

              the next day-if Plaintiff and the others were murdered asleep an international

              warrant would have been readied for Ms. Obi-"not getting along" had nothing to

              do with anything. Lastly is this doozy: Plaintiff "has been trying to get out of the

              lease" no, Plaintiff had not yet signed or been presented with the lease fro



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             signature-based on professional trust, Plaintiff was the first occupant, but not

             bothered with the lease when Plaintiff moved in on September 1O'\ 2014-the

             lease had not yet been prepared and Plaintiff and the landlord's agent made an

             agreement based on verbal exchange and custom-the terms were entirely

             loose-the arrangement was suggested to Plaintiff by the landlord's agent as a

             temporary fix to locate Plaintiffs Cal King bed (which Plaintiff would not need to

             say for anyone familiar with NYC real estate does not fit well in most bedrooms

             locally) and 100 square feet of stuff Plaintiff had recently removed from a storage

             unit in Washington D. C. The landlord's agent even told other tenants to relay

             inquiries to the landlord's agent to Plaintiff-so, no, Mr. Caracciolo's statement

             has essentially nothing to do with anything Plaintiff did say-see ,i regarding

             related circumstances--0r would have said had Plaintiff been allowed a fraction

             of what Plaintiff had a constitutional right to say

     1380.   Background delineation concerning Ms. Obi. Person to tell friends and strangers

             about crimes she committed.        Violent potentially measurably sociopathic or

             psychotic certainly to the extent of being observed.

     1381.   Background delineation concerning municipal custom and public knowledge of

             corruption: Borough President Eric Adams stated suspicions related to the low

             rate of investigations of IAB, et cetera, and the notary who backed out of work

             not wanting to expose dirty cops saying he would not be associated with P

             "Poking the bear."

     1382.   Background delineation to municipal custom and municipal notice of problem: 20

             years should be plenty of time to respond to warnings of the Mollen Commission



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            qua notice of municipal problem. Selwyn Raab (29Dec 1993) New York Times

            via    Wikipedia:       "the     'special    mayoral       panel     [The     Moll en

            Commission] ... asserted ... that the New York City Police Department had failed at

            every level to uproot corruption and had instead tolerated

    1383.   Background delineation concerning municipal custom and public knowledge of

            corruption: Borough President Eric Adams stated suspicions related to the low

            rate of investigations of IAB, et cetera, and the notary who backed out of work

            not wanting to expose dirty cops saying he would not be associated with P

            "Poking the bear."

    1384.   Background delineation to municipal custom and municipal notice of problem: 20

            years should be plenty of time to respond to warnings of the Mollen Commission

            qua notice of municipal problem. Selwyn Raab (29Dec 1993) New York Times

            via    Wikipedia:       "the     'special     mayoral      panel     [The     Moll en

            Commission] ... asserted ... that the New York City Police Department had failed at

            every level to uproot co1Tuption and had instead tolerated a culture that fostered

            misconduct and concealed lawlessness by police officers.' Mollen [the

            Commission chair Milton Mo lien] issued a report in July 1994. The conclusion:

            'Today's corruption is not the corruption of Knapp Commission days.

            Corruption then was largely a corruption of accommodation, of criminals and

            police officers giving and taking bribes, buying and selling protection.

            Corruption was, in its essence, consensual. Today's corruption is characterized

            by brutality, theft, abuse of authority and active police criminality."'




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    1385.    Background delineation [move up to count section supra-see Number 68] of

             count pertaining to the tampering of the November 9t1', 2015 Courtroom "Trial !"

             of at 110 Schermerhorn, Brooklyn, NY subsequent to the insinuated destruction

             of this record.   An example of the proof available 208 which has least risk of

             necessary impeachment value is that Anthony Barosi et alia Defendants' in

             fabricating upon the transcript of court reporter's notes taken by a Mr. Peter

             Appel of that day, November 911\ 2015, with the assistance of Mr. Appel,

             regarding Plaintiffs May 7th Complaint: concocted material as pseudo defense to

             selected claims of 17CV4519. Mr. Barosi et alia, inferred from Mr. Barosi's

             raging against Plaintiff in February of 2015 immediately prior to Plaintiffs

             message to Mr. Waters at the King's County Attorney's office, which-had it not

             been negligently ignored--{'.ould have brought about resolution sooner, and

             fabricated "[lines about Sergeant Brown said not to leave messages]" several

             organizations have not-leaving-messages policies, but this error in fabrication is

             rather telling as King's County imputed their own response to the 81 st Precinct.

             Plaintiff was never offered and never left Sergeant Brown a voice message,

             Plaintiff does speak of a direct communication to Sergeant Brown on January 8'1\

             2015, which Barosi et alia carelessly assumed was a voice message---Sergeant

             Brown spoke with Plaintiff in the call on January 811\ though Plaintiff did almost

             all of the talking a delivered a succinct remarks attempting make Sergeant Brown

             question his motivations in injuring Plaintiff, et cetera, which Sergeant Brown

             heard before ending the call. Barosi et alia did not consult Sergeant Brown in the


      208
          though full pleading of this fraud is taken away given need for such as impeachment,
      et cetera. [sloppy sentence]
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             fabrication as they have already correctly decided Sergeant Brown's career with

             the NYPD is over, and fabricated statements of the penultimate King's County

             representative, i.e. the advocate representing King's County on November 91'\

             2015 against Plaintiff, which he did not come close to saying on November 91'\

             2015 as if the penultimate representative of the County had said such then:

             Sergeant Brown would not have said to the King's County (District) Attorney's

             office that Plaintiff should not leave messages as Plaintiff had not left him a

             message, did not know that he had voicemail, Plaintiff did not leave general voice

             messages or voice messages for Chief Inspector Scott Henderson, Plaintiff did

             make general communications and ascertained certain things had been conveyed

             to Chief Inspector Scott Henderson, and followed up with Detective Thomas

             Fellows as the Precinct directed, but not after Detective Thomas Fellows stated he

             was not going to take any steps to investigate as such a complaint needed to be

             assigned to someone as a matter of course209 for any such repmi to a precinct of

             crime [vocabulary use of"complaint?''] in regard of the generally-known interests

             of the precinct. Nothing Mr. Appel could have hear on November 9th , 2015 could

             have been put into notes resulting in such a transcription: Mr. Barosi et alia

             Defendants had significant reason to insert such fabrication and unique reasons to

             make such errors as puts Defendants' tampering beyond reasonable doubt.

             Tampering with evidence in attempt to react to prosecution for Section 1985 (2)

             violation of directing Ms. Doreen Ierardo to insinuate destruction of the same

      209
         when Plaintiffs complaint regarding trespass of chattel and conversion (see 1 [])
      while Plaintiff was confined by the State was passed to him after being received from
      intake as Detective Fellows was known by Chief Inspector Henderson to perform the
      sought deprivation of Plaintiffs of Constitutional rights.
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              transcript and obstruct others, see   ,r [], that production of tampered record would
              pose as partial resolution of the particular Section 1985 (2) claim, 210 itself a

              subsequent supplemental claim via Section 1985 (2) and otherwise (see           ,r,r []), is
              not an advocacy function of a case of the people of King's County's business-

              quite a-judicial considering the roots of what can be protected of people's

              advocates' conduct. Considering the (see      ,r []   general [concerning quotation that

              pecuniary damages are about the only measure available] resort to pecuniary

              damages given difficulties of injunctions addressing unconstitutional conduct,

              addressing intentional torts by the King's County (District) Attorney's office

              should be significantly punitive pecuniation given the complexity of addressing

              the County Attorney for intentional to11, which Plaintiff presumes is more difficult

             than in addressing intentional to11 by police.

     1386.    Background to there-is-one-unus-est.         After Defendants' malicious-effected

              substitution of Mr. Gutman, Plaintiff felt it urgent to make a new Complaint to

              IAB about IAB inaction regarding IAB findings that Sgt. Brown was not on duty.




      210
          As Plaintiff spoke of in May 7'h notice of Plaintiffs preliminary statement of such
      claim and intention to separate Jury Trial for the claim to occur (for damages to have
      accrued up to the point of concessory production or time of the immediate-upon
      scheduling of depositions and other business to keep consolidated schedule given
      Plaintiffs travel, i.e. that depositions, hearings, and the first separated trial occur within
      the same span of time that travel arrangement can be consolidated as having to make such
      travel is itself part of the unconstiutional seizure that continues-Plaintiff specifically
      noted that if the transcript were produced upon Plaintiffs notice of intent to separate and
      bring about immediately jury trial regarding the counts (see ,r [] and the attached petition
      for separated trial) that damages would be sufficient to cover the elapsed time prior to
      production). Currently, the transcript is only partly produced-as to the current standing
      of the transcript see the attached Motion to Restrict Defendants or anyone from obtaining
      the tampered transcript.
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     1387.   Background supplement to    ,r []   malicious and false use of process. Immediately

             after being permitted to exit 110 Schermerhorn, Brooklyn on October 91\ 2018 in

             return for Plaintiffs silence, at the top of the subway exit of the West Fourth

             Street stop at West Third Street and Sixth Avenue where a man of a-few-inches-

             of-five-eight in height and medium skin color held out an approximately-inch-

             and-a-half-square transparent plastic bag of what he identified as crack very

             directly and deliberately to Plaintiff; Plaintiff refused. Ironically, when Plaintiff

             first lived in New York for a month in 2006, as discussed in       ,r   [],Plaintiff has

             never had any incident similar to this approach with an offer of free crack made

             on October 91'\ 2014 as Plaintiff first exited the subway some matter of minutes

             whence exiting 110 Schermerhorn as addressed in the first sentence of this

             paragraph. It was obvious to Plaintiff that such was likely a product of whence

             Plaintiff had just exited-the man not treating Plaintiff indifferently with respect

             to Plaintiffs identity. Plaintiff can not rep01t crimes witnessed given standing

             danger from police as addressed in ,r [], a New York attorney warned Plaintiff that

             if this attorney were in Plaintiffs shoes a la the NYPD this attorney would fear

             being shot-a begrudged criminal pretext creating a potential increased likelihood

             of such a concern. Plaintiff has never been in the identified presence of crack, so

             the shear mathematical odds that this occurring upon exit of 110 Schermerhorn

             combined with the direct, personal approach of free product make such either

             evidence of the defamation injury or worse. If that crack-offerer was police than

             he and anyone to be involved with such targeting would be named Defendants.




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    1388.    Background CoA[0]yuvfoh (i.e. Investigative) Internet is rightly of significance

             relevance to scene as Plaintiff has frequently stated: Ms. Scarcella unintentionally

             highlights this in the Complaint Room Screening Sheet by stating such is the

             circumstance of contact on October 8th 2014, the TPO (if that means time, place,

             occurrence): as such, a reasonable inquiry ex post facto (to reverse disposition)

             would have needed to go over such. Defendants story screams with falsehood as

             a matter of law: the Internet cost $55 total-so why would a 4-way split cost 3

             persons $25 each: et cetera, as Plaintiff has numerous times documented with

             entire consistency. The $55 alone demonstrates Ms. Obi is being false-Plaintiffs

             worksheet and other evidentiary material support the situation being as Plaintiff

             originally documented in privileged material and as Plaintiff has always

             maintained. Such an objective falsehood concerning the primaiy matter of the

             TPO being given the KCDA oath of asseveration is by itself a strong indicator

             that what investigation the Fourth Amendment requires and Procedural (Plus) Due

             Process requires did not occur as this nail-up-from-the-floor-obvious hazard was

             imbibed and broadcast by Defendants.

     1389.   Background to ,i 24: IAB insisted ,i 24 was lying upon full investigation, while

             reserving belief, Plaintiff held this until it became beyond all reason after

             continued cover up activity [list written] brown & h no memos.

     1390.   Background to Lieutenant Parese call.         Lt. Parese and Plaintiff conversed

             considerably on how Lt. Parese had filed the entire file under the complaint

             focused on the discove1y by ,i 24 that Sergeant Brown was not on duty on the

             evening on October 811', 2018, when he appeared at 677 Quincy Street, Brooklyn,



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             that 1 24 had triple-checked all of the paperwork related to that shift and Sergeant

             Brown's name was not there, the position was carried out by another police. 211

              That the City does not want federal evidence of IAB conspiring to fabricate police

              documents, et cetera, to cover up municipally-backed-furthered-and-sustained

              criminal privileges is rather further sustained by the City's statement that the prior

             interview is the only. [Separate into additional point:] IAB interrogatory

             techniques indicate the believed     1 24 reported   Sergeant Brown was not on duty.

             Plaintiff asserted as explained to IAB previously that Ms. Obi would be easy to

             interview and have fold upon quick initiation of interrogation: that she would

             admit perjury, Sergeant Brown criminality, coordination of other police m

              furtherance of sex-bribery-et-alia-policy, and identify the sex-bribery ring of

              which she was part-putting the whole thing on the plate for an hungry IAB to

             expose and correct. As Plaintiff has asseverated, Lt. Parese was only interested in

             discovering whether Plaintiff was filing a suit and the identity of the detective that

              was Plaitniffs last contact with the 81 st •

     1391.   Background to Municipal Policy: Notable Extrinsic Federal Evidence in Anti-

             Miscegenation suit involving Policewoman [A Lieutenant? At a Manhattan

             precinct.] antimiscegeanation which is noted in recent $15 MN USD lawsuit

             concerning workplace discrimination of antimiscegenatory nature;



      211
          Plaintiff has adopted the use of"police" as directed by Internal Affairs in one of the
      phone conversations, discussions, and reports via telephone that individual police are
      correctly referred to by rank or use of the term police, generically, but that it is improper
      to refer to a police generically as "officer," a practice which Plaintiff had always thought
      of as politically correct and commonplace in legal texts; Plaintiff faithfully thence
      adopted and uses "officer," "police," and rank designations in deference to IAB
      advisement of protocol.
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    1392.   Background regarding the Kyocera ejectum in question and possession issues: at

            least seven distinct justifications for Plaintiffs reception of the ejectum as has

            been asserted.

    1393.   Background to (27 hours in coerced custody) exhaustion of remedies or otherwise

            sectioned or categorized-point concerning final October 8th text message.

            Plaintiff sent the text message that Plaintiff had worked on in the IKEA parking

            lot shortly after C&C arrived and then one stepped out and returned saying the

            Boss knew everything and ; Plaintiff stated to IAB that text message was an

            effective time stamp of arrival as Plaintiff wrapped up a conclusory reference to

            Ms. Obi's earlier events and sent while Officers Caracciolo and C announced wait

            for Sergeant Brown. C or C did not actually radio or such would have been time

            stamped and unavoidable fact of timing lied about[-though there was some radio

            to get there, unless it was cell phones.]

    1394.   Background to Tomasello. Upon reporting trespass of chattel and provocative

            message-sending conversion at 8 I st , received by the intake officer with sincere

            concern, Plaintiff was directed to call back and inquire as to the identity of the

            Detective to be assigned. Plaintiff subsequently did as instructed and was, after

            delay, instructed to contact the assigned Detective, Detective Tomasello, after he

            had some time to investigate. Plaintiff followed up and inquired for a Detective

            Tomasello and was told there was no Tomasello; Plaintiff said this was

            impossible, that Plaintiff had written down the name, et cetera. Plaintiff was put

            on hold; then the police said, oh, you meant Detective Thomas Fellows. Plaintiff

            was not going to quibble over games, but was concerned about the due



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             policework the claim merited and thence began communications to Glenn

             Tomasello as if his name were Thomas Fellows. Detective Tomasello, as the fake

             Detective Fellows told Plaintiff to call back after two weeks [phone records will

             indicate precisely], Plaintiff did so and was, again, by the same man, who is now

             known to be Det. Tomasello, to call back.           Finally, after several total calls

             following up on the preceding call-back instruction, Detective Tomasello,

             referenced precinct coordination against Plaintiff and stated he was not

             investigating anything he was supposed to by no other reason than supporting the

             precincts coordinated activity against Plaintiff.     Detective Tomasello said that

             Plaintiff certainty that Ms. Obi performed the trespass and conversion of

             Plaintiffs chattel did not matter, as Det. Tomasello already had determined he

             would do nothing. Plaintiff shortly requested a different Detective be assigned as

             Det. Tomasello was refusing the slightest investigative action over the deliberate

             destruction of around $2500 worth of chattel 212 not including intellectual property

             and with damages going far beyond considering the impact to Plaintiffs activities

             and the mental anguish of, under the circumstances of Title 42 corruption,

             Plaintiffs personal chattel being trespassed and converted.

     1395.   Background to Counts          C & C were neither shown nor observed any

             bruising, et cetera, or the slightest manifestation of physical harm to Ms. Obi, but


      212
         a large screen Samsung laptop, which was then about two years old, with no defects or
      malfunction, and containing intellectual property and of vital use in Plaintiffs business,
      and around thirty dollars worth of Starburst candy which Ms. Obi had demanded Plaintiff
      give to Ms. Obi to spoil, i.e. favor with treat, Ms. Obi as a gratuitous-injmy criminal-
      signature-gesture from Ms. Obi as an I-trespassed-and-converted-your-chattels-
      signature-Ms. Obi had not demanded the Starbursts in the presence of others, cashmere
      sweaters of Plaintiff, and Plaintiffs Ipad charger-which is of ready street cash resale
      value.
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            did observe the black-eye-clear-as-daylight scratch across Plaintiff's face that Ms.

            Obi had inflicted upon Plaintiff qua State-action.

    1396.   Background to Counts Casciola forgot to erase or spoil the electronic record of,r

            27 which states that Ms. Obi's demand that Plaintiff be cited for sending a series

            of defensive text messages (Ms. Obi had been very interested in spying into

            Plaintiff's personal life and relationship (e.g. commenting on Plaintiff's text

            messages with Plaintiff's extremely private social text messages with certain

            young woman as an absolute violation of Plaintiff's privacy by Ms. Obi's

            accessing Plaintiff's phone without Plaintiff's consent, assent, knowledge,

            permission, or approval (as Plaintiff immediately set down in confidential-

            privileged paper) that Ms. Obi intended Ms. Obi's extortion to be based in a claim

            of relationship between Plaintiff and Ms. Obi-thus the text messages served to

            demonstrate interpersonal communication which could inoculate such a Jerry

            Springer-Maury claim. The harshest thing Plaintiff stated in the text messages

            was that in Plaintiff's limited knowledge of criminology, it seemed as though Ms.

            Obi's criminal habits might only be resolved by penal reform and that it might be

            wagered that Ms. Obi had a fifty percent chance of not accomplishing or receive

            the reform Ms. Obi needed without penal reform (Plaintiff had not yet been

            informed that Ms. Obi had just gotten off of a three-year probation per a violent

            felony-charges plea deal). Was such nice? No-and yet-yes. Plaintiff expressed

            that Ms. Obi's conduct was shocking and appalling-that closure of the

            acquaintance was made without straying from the strictly platonic as Plaintiff had

            become all the more insistent as Ms. Obi's conduct became increasingly



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            problematic-including matters to be discussed under the mutual protective order

            ('I! 25) to best mitigate risks (see Privacy Declaratory Judgment)-which Plaintiff

            politely turned down. Suffice it to say that Ms. Obi said the text messages, which

            were made October 7th 2014 had upset Ms. Obi and even if there was nothing the

            Officers were by law allowed to cite Plaintiff for October 8th Ms. Obi demanded

            the Officers cite the text messages (hoping to appease Ms. Obi that after an hour

            of bizarre complaining patently without cause and giving every reason to have

            less than a five percent chance of subsequently uttering a credible allegation after

            Ms. Obi's successive retractions of allegations after periods of ten to fifteenth

            minutes thinking in silence about what to make up next: i.e. Ms. Obi asserted one,

            then retracted one and admitted assertion one was false, idem two, idem three, and

            so on: behavior certainly caused by Ms. Obi trying to posture for a situation that

            would give Sgt. Brown the best situation with which to racketeer, et cetera: 'I! 27

            told Plaintiff that Plaintiff could include any explanation or defense Plaintiff had

            for the text messages with Plaintiffs communications to the same judge who

            would provide Plaintiff with restraining order protection from Ms. Obi, et cetera.

            Plaintiff did not explain the context of situation much beyond explaining that Ms.

            Obi was scheduled to be removed the next day which would rather end the most

            immediate concerns-'I! 27 understood that Plaintiff clearly needed and wanted

            safe passage until then and that Plaintiff certainly wanted to avoid Ms. Obi for the

            remaining time; as Ms. Obi had been charged with a potential year in jail Class A

            Misdeamoner for Ms. Obi's confessed homicidal attacking of Plaintiff, which 'I!

            27 furthermore witnessed in the latter of the three forms, an hour earlier-



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            Plaintiff saved Plaintiffs breath for the judge-it was obviously in Ms. Obi's vein

            and far-off searching for the least-unworkable fabrication that Ms. Obi would

            attempt to use any further debating of Plaintiff towards Ms. Obi's fabrications-

            and thus as ,i 27 clearly said the matters were furthermore for the judge as police

            business was closed Plaintiff did not articulate the apparent Defense that given the

            State-action extortion of Ms. Obi and other serious criminal State-action

            misconduct of Ms. Obi that Plaintiffs text messages were actually considerably

            blunted rather than sharp and such was not a cause of downfall of a situation, but

            rather putting Plaintiffs defensive articulation into text-Plaintiff was

            deliberately made to fear for Plaintiffs safety with Ms. Obi's State-action

            invasions and theft and thus articulating the standing and proper accusation of Ms.

            Obi's criminality into writing simply provided temporary necessary relief given

            the heightened threat of Ms. Obi Oct 7th 2014 announcement of extortion by

            misappropriated recordings immediately prior to Plaintiffs text messages of that

            day sent within a short sequence somewhat piecemeal. Officer Caraciolo forgot

            to erase that the text message like-a-"parking ticket" citation for something which

            Plaintiff did not discuss having sent or submitted with the Officers making no fact

            of Plaintiff sending any texts to Ms. Obi other than Ms. Obi showing Officers text

            from someone presumably named by Plaintiffs first name in Ms. Obi's phone-

            Plaintiff made no recognition as given the text messages' content, purpose,

            function, and general benignity-Ms. Obi's quest for an accusation falling to such

            did not raise Plaintiffs concern to comment. Plaintiff discussed such on recording

            line with Sgt. Rosello (particularly, and otherwise elsewhere) and Defendants



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            attempts to refuse production of such by committed Obstruction of this Federal

            Proceeding by falsely asserting (see the inherent power sanction motion of the

            instant Filing).      Officer Vasco entered the text message complaint by Ms. Obi

            (image if everyone who said something as harsh as you-might-need-criminal-

           justice-system-reform-to-straighten-you-out to someone who had committed

            crimes against the speaker and was threatening further was given a ticket-there

            is nothing wrong with such a defense as putting a criminal on notice that the

            criminal justice system is there and that if the criminal does not cut it out the

            government is likely to end up determining the system needs to be applied upon

            the criminal);     ,r 27   heard Ms. Obi's side of the text message issue and without

            hearing from Plaintiff said, effectively, if we give the opportunity to voice such a

            complaint will you, Ms. Obi, give it a rest so that we,      ,r 27,   can get out of here

            knowing that you, Ms. Obi, have been warned enough that we,                    ,r   27, are

            confident Ms. Obi will not continue crimes against Plaintiff through the next day.

            ,r   27 entered the text message complaint as "ready for sign off," which

            Defendants, including Defendant Casciola, tried falsely represent without

            realizing that the "ready for sign-off' had been accidentally left on one of the

            forms sent in the 03h25 et sequent fax of October 9th , 2014. Plaintiff would

            reference Plaintiffs Declaratory Judgment with the February 20'\ 2019

            Extrapolation of the January 18 th , 2019 Complaint and Plaintiffs description in

            Plaintiffs May      7'" 2018 Filing on how Defendants had Plaintiff leave Plaintiffs
            phone while Plaintiff was unconstitutionally seized at the precinct without

            explanation that Ms. Obi could send text messages from Plaintiffs phone giving a



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            pretext for the racketeering end already chosen by ,i 28, for the further injuring of

            Plaintiff.   [Specific reference] .   When one is put under proven threat of

            criminality by another-it is a legitimate defense for the one to warn the other of

            potential consequences to continued crime. Plaintiff did not say: I am going to

            prosecute you; Plaintiffs comment was: kid, you're acting like the only way

            you'll straighten out is law enforcement's hard way. Paragraph Twenty-Seven

            said the judge would deal with comprehensive relief and thus when Ms. Obi

            complained the prior-day's text messages where mean, and it would have taken

            much explanation to recount the entire situation of Ms. Obi's criminality which

            led up to the text messages and given the risks of unnecessarily informing a

            fabricator and ,i 27 stating that the text message issue did not reflect on any

            matters of October 8, 2014.

    1397.   [Removed from CoA] Failure to Train As a result of the parallel corruption track

            of operations to those more conforming with Constitutional operating requirement

            under the Amendment XIV to the United States Constitution, expressed

            accurately as an effect of the agency of command qua the corruption racketeering

            enterprise: standards of training are lowered that the distance for a recruit, not

            outright or expressly recruited for willful racketeering operations functionality;

            both by generally dulling and numbing the trainee population's from fierce belief

            in Constitutionality as can be accomplished by this general malaise the

            racketeering and otherwise corruption activity has a less hostile environment in

            those police not, or less, participatory in conuption and racketeering.

            Furthermore, standards of training are lowered to more easily include trainees and



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            trainee actions into deliberate and non-deliberate-occasional acts of racketeering

            and corruption, i.e. where the control or non-infected with corruption and

            racketeering is closer to the corruption or racketeering participation, it is not only

            closer to the racketeering or corruption that there is less distinction to object to

            from those lower level police who would object (as described in the first sentence

            of the instant paragraph) but it is less of a distinction or distance to overcome to

            obtain the participation of those who would fall to the parallel track of corruption

            or racketeering participation in non-deliberate occasional or deliberate

            participation or corrupt or racketeering leadership. The police command training

            of racketeering, deliberate Substantive corruption, outrage, and conspiracy (both

            of such are CoA[X]) participants is under CoA [A], CoA [0], CoA [X] (at             ,r []
            and ,r   [], respectively) et cetera in certain considerations ofliability brought under
            the stated Cause of Action as mostly opposed to Failure to Train (CoA []) as

            Failure to Train may primarily be brought simply to address (as is generally found

            to the extent stare decisis generally describe a species of Constitutional

            deprivation) a deficit of needed affirmative training to do and not to do: as

            opposed to the training of Defendant commanders to do deliberately do wrong;

            thus Plaintiff considers that as Cause of Action are set forth as functions

            describing components of Defendant activity in tort and Constitutional

            deprivation of Plaintiff causing damages, Plaintiff would apply these three CoA []

            failures to train, supervise, and discipline (at this point Plaintiff is entirely

            ignorant of hiring procedures of the NYPD and if a pertinent claim arose in

            Discovery such would relate back-Plaintiff has particular reason to inquire about



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            the background oflnspector Butler as Plaintiff believes Inspector Butler was hired

            to assistant racketeering activity and corruption from within the CCRB in addition

            to the CCRB failures to train, supervise, and discipline such as Defendant

            Inspector Butler (see Claim[] at ,r []).

    1398.   Ms. Obi prior residential incident of August 2014 resulting in emergency

            situation.

    1399.   Unconstitutional capture, storage, organization, and retention of data from

            operations.

    1400.   That Defendants' left blank "Miranda given by:" because Defendants had not-

            rather than calculate a best fraud-Defendants hesitated and left the form blank.

    1401.   Background to Counts: Sgt. Brown's happily after ever comment was purposed to

            test that Ms. Obi's hatred was resolved. To smoke out a confidence level on Ms.

            Obi's position as Sgt. Brown knew that Ms. Obi's dedication was a matter of

            security for Sgt. Brown going forward. Plaintiff has described how awkward,

            strange, apparently-baseless this comment was and its function as a part of the

            pre-medittaed contrivance as it is admitted earnest research was evaded, avoided,

            and obstructed by Sgt. Brown.         Sgt. Brown wanted Ms. Obi's response a a

            measure upon which Sgt. Brown could estimate Ms. Obi's comittement, as Sgt.

            Brown considered Ms. Obi (in the world of fraudulent police racketeering

            furtherance pre-baked) and to create a suiting mood for the sex bribey exchange.

            Inspector Butler committed tort in trying to spin false paraphrase that would lead

            Defendants in interviews to no avail. Plaintiff has further asserted Sgt. Brown

            may have concurrently strategized such a comment would confuse



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    1402.   Inspector   Butler general     background     details    including    observations     m

            conversations inclining to finding of intent to serve Defendants [Butler in CCRB

            interviews, each interview the prejudicing conduct] []

    1403.   [Removed from    ,r 104:] It is of great evidentiary degree that Plaintiff captured the
            events of September and October of 2014 in privileged, i.e. as readers are aware,

            identified in disclosure, but exempt from production (though Plaintiff may

            produce as many parts are necessary after such as depositions) written word-no

            other documents than Plaintiff can compare per the substance, fibers, literal

            meaning, spirit, intelligence, et cetera of the Federal Rules of Evidence: such

            importantly regard a lay document differently than one formed from legal

            knowledge: such, with other evidentiary material, assures Plaintiffs assertions.

            Defendants' municipal racketeering the cause of Ms. Obi's practice of criminal

            and tortious disposition: and caused Ms. Obi's tortious and criminal violations of

            Plaintiff-license in terms of State action usually involves discussions about how

            government permitting is not permission: what Ms. Obi demonstrated and stated

            Ms. Obi had obtained: Ms. Obi's police sex bribery was a sure, recruited

            guarantee   of    a   get-out-a-jail-free-plus-State-fraudulent-arrest-of-Ms.        Obi-

            victim's: such was the precise and certain terms Ms. Obi was so confident in that

            Ms. Obi was literally discussing its use in having just committed a crime against a

            student at Brooklyn College (which Plaintiff reported out of duty and from having

            served as an academic integrity elected official offended by Ms. Obi's criminal

            retaliation against a victim who refused to give Ms. Obi answers: Ms. Obi

            gloated to Plaintiff and the 9-1-1 caller about how [move to State Action



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            discussion ,r [99?] Ms. Obi had secreted the lab report of Ms. Obi victim from the

            instructor or professor's desk and destroyed it-Plaintiffs report was to serve as

            valuable information to the instructor or professor, victim student, and institution

            that the lab report was submitted and there was not mystery or blame to spoil the

            work of the victim student and professor or instructor: Plaintiff conveyed the

            report precisely as such-as Plaintiff documented).

    1404.   Sex bribery with Anna Chapman of Hall and

    1405.   Appropriately considered public interest as Plaintiff found the matters potent for

            Swift-Pope-type critical poetry of which Plaintiff had never so particulary

            endeavored to apply Plaintiffs potential in such vein (late May 2015).

    1406.   Recordings protection measure employed by Plaintiff, also redressing Ms. Obi

            fault pursuant to the landlord agent's pronounced attempts to seek Ms. Obi to

            make sufficient apology from criminal misconduct (serving the landlord agents'

            interests in avoiding the statistical negative mark of having to alter a lease and

            remove home equity collateral (Ms. Obi's parents out-of-state) from the

            portfolio). Text messages should be reviewed only with regard to the extremely

            prejudicing circumstances followed as a result of Defendants tort-given such, as

            the text messages do not show clear violation, review should be truncated with

            such a conclusion inferable from self-defense and appropriate vindication from

            Defendant's caused tortfeasance.

    1407.   [Plaintiff could not have created a st01y with the instant Action in mind, Plaintiff

            was clearly ignorant of the applicable law (as Plaintiff understood was essentially

            the professional treatment of a professional-not to seek knowledge the fiduciary



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            should know-though the fiduciary should be able to explain for the lay client

            how things should work with respect to needs and information]

    1408.   Processing police member saying you are getting the drubbing irrespective of

            your actions.

    1409.   Time of held at 81 st-there being no identification of designating the agent of

            Plaintiffs being removing-seized.

    1410.   Cited only for menacing as being liberal to keep the action under felony and to

            provide for Plaintiffs needed protection after Ms. Obi's scheduled removal the

            next day.

    1411.   Summary of important 1 22 exchanges [compare to email]

    1412.   Ierardo [Chi] prior general based on Plaintiffs comments, plan particular to

            Plantiff prior to 8 Feburary 2018, particular exchange after-particularly upon

            emphasized follow-up after period instructed that follow up may be necessary

            after two weeks if there have been no calls, targeting, mail room, tampering.

            Reference Filings to Court and Third Parties that need to be prevented from

            disclosure given spoliation risks to the public, et cetera. [Move to CoA section

            and footnote?]

    1413.   Explain process from presuming that Defendant Brown was an affiliate for the

            recipient of the police sex bribery and that Plaintiff would need both phone

            records to find the police sex bribery recipient who requested the action from

            Defendant Brown. When Defendants denied Defendant Brown's presence the

            plausibility that an intermediary would have been more likely used was

            eviscerated: risks of concealing the presence of a police member were far greater



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            than risks considered safer of the police sex bribery recipient usmg an

            intermediatry. Furthermore, the location was not cheaper for Ms. Obi and was not

            convenient for Ms. Obi: it was chosen to be within the precinct that Ms. Obi

            intended to most likely use it as encouraged by Defendant Brown-it took Ms.

            Obi an hour to get to school from the location-which otherwise did not have any

            draw for Ms. Obi-similar, nicer, and less expensive areas were located at much

            more convenient locations and Ms. Obi's language indicated the cause was to be

            in Defendant Brown's precinct--considering occasions (before Ms. Obi explained

            the police sex bribery contract, admissibly, et cetera) when Ms. Obi discussed

            how there was only one reason to be so far away from school to make such a

            hastle worthwhile, but not wanting to reveal, at the time, that cause. Furthermore,

            Defendant Brown was not on duty, according to IAB; furthmore, Defendant

            Brown was not allowed to be dressed on that day; furthermore, neither Defendant

            Brown nor Officer Hellberg (Defendant Brown's operator (driver) on 8 October

            had any memo book entries for 8 October 2014-according to Defendant Brown,

            Defendant Hellberg, and Defendant Butler on the audio recording of Defendant

            Butler's interviews of those two-which Defendant Butler filed a CCRB report

            concerning for disciplinary consideration against Defendants Brown and

            Hellberg; furthermore, Plaintiff called Defendant Brown on 8 January of 2015 and

            had Defendant Brown confirm recall the removing-seizure of Plaintiff from 677

            Quiincy on 8 October 2014, which Defendant Brown did. Plaintiff then related to

            Defendant Brown how Ms. Obi had explained the police sex bribery contract that

            Ms. Obi had with Defendant Brown prior to 8 October 2014: Defendant Brown



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            did not deny the occurrence, and immediately after the call-exited the 81 st

            Precinct to use Defendant Brown's cell phone; furthermore, Corporate Counsel,

            Mr. Rosenkide, Admitted in late October 2017 that Defendant Brown and Ms.

            Obi did have a prior relation before 8 October 2014; furthermore, Defendant

            Brown relays on the CCRB interview of Defendant Brown that Defendant Brown

            was not really supposed to appear at 8 October 2014 and that it just sort of

            happened that day that Defendant Brown needed to appear-in sum and

            substance, like an aligning of stars; furthermore, the CCRB of Ms. Obi

            considerably indicates that Ms. Obi's only substantive contact, interaction, and

            relation was with Defendant Brown, whom Ms. Obi disrobed for privately in Ms.

            Obi's bedroom (at the same time chronologically as Plaintiff has always decribed

            as is consistent with Defendant Brown's CCRB interview); furthermore, et cetera

            [the preceding phrases are not in any pmiicular order]. All of the preceding

            phrases and sentences of the instant paragraph entirely accord with all evidentimy

            materials-particularly with respect to chronology, et cetera. As there was the

            opposite of a finding of any innocence of Ms. Ierardo, in Ms. Ierardo's subsequent

            interaction with Plaintiff: Ms. Ierardo was soaked with guilt in, after ignoring

            Plaintiffs call concerning confirmation Plaintiff had received confirming

            Plaintiffs ready-drawn funds, Ms. Ierardo stated that she had not checked mail

            for a week, et cetera as described,

    1414.   That Mr. Harvitz expressed as last breath upon Mr. Harvitz' animosity upon

            breaking (the second time) his oral contract with Plaintiff: that Mr. Harvitz'




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            hostility was added upon with menace a specific individual, non-New York City

            politician.

    1415.   Defendants took language Mr. Appel, the person identified by the Court Reporters

            as the Reporter of the November 2015 Absolutely-Seizing (CoA [Z]) Appearance,

            knew to be of the Judge of the Day, Supervising Judge Yavinsky, (likely

            Judicially Noticable that Mr. Appel has many times records the frequently Sitting

            Supervising Judge Yavinsky-this attempt is rather belied by Supervising Judge

            Yavinsky's experience with Plaintiff, there is particular reason to suspect that

            Judge Yavinsky managed to Sit for the September, October, and November

            Seized-Appearances (CoA [Z]) et cetera, with the pattern as described

            considerably in the May 7th Filing of Plaintiff.




     Sincerely with full asseveration of Complaint Pleading for Filing and Docketing in 17-
     CV-4519,

                                ISi                9 September 2019
            David Benson-Staebler                  9 September 2019

            612 West 5th Street Morris, MN 56267
            917.960.1189 bensonst(cl)gmgi l.c9111




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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     _______________x
     David Benson-Staebler

                                     Plaintiff,

                         -against-                              FOURTH AMENDED

     The Corporation of the City of New York;                      COMPLAINT

     NYPD Defendants: (Tax# in parentheses)                    17-CV-4519 (AMD) (ST)
     Sir William Bratton,
     Commissioner James O'Neill,
     Commissioner (Office)
     Chief of Staff (for Commissioner Bratton)
             John or Jane Doe 1
     Chief of Staff (for Commissioner O'Neill)
             John or Jane Doe 2
     Police Administration Staff
             John or Jane Does (Twenty)
     Police Operations Staff and Senior Systems
             Administrators J. Does (Ten)
     Deputy Commissioner Reznick,
     Deputy Commissioner IAB (Office)
     IAB Command Center (all command or
             critical operations personnel
             John or Janes Yoes (Twenty)
     Internal Affairs Senior Management
             John or Janes Yoes (15))
     Deputy Commissioner, Information
             Technology Jessica Tisch
     Deputy Commissioner, Counsel to Police
             Commissioner Ashley Waters
     Deputy Commissioner, Legal Matters
             Ernest F. Hart
     Staff of Deputy Commissioner, Legal
             Matters (Does [])
     Deputy Commissioner, Risk Management
             Jeffrey Schlanger
     Deputy Commissioner of Intelligence
             John Miller
     Deputy Commissioner, Trials
             Rosemarie Maldonado
     Retired Chief of Department Carlos Gomez


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